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                                          No. 25-1087

                INTHE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                         INRE:

   CENTER FOR BIOLOGICAL DIVERSITY, PEOPLE FOR PROTECTING
    PEACE RIVER, BAYOU CITY WATERKEEPER, HEALTHY GULF,
   MANASOTA-88, PORTNEUF RESOURCE COUNCIL, RISE ST. JAMES
      LOUISIANA, SIERRA CLUB, WATERKEEPER ALLIANCE, and
                    WATERKEEPERS FLORIDA,

                                    Petitioners.


             APPENDIX OF ATTACHMENTS IN SUPPORT OF
                 PETITION FOR WRIT OF MANDAMUS

                                VOLUME 5 of7



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             Rulemaking, 86 Fed Reg. 27546
             (May 21, 2021)
 27          Complaint (ECF 1), USA v. Mosaic       APPX ATT_V4_1611–1708
             Fertilizer, No. 15-cv-2286-JDW
             TBM (M.D. Fla.) (Sept. 30, 2015)
 28          Consent Decree (ECF 2) and             APPX ATT_V4_1709–1793
             Appendix 2 (ECF 3-1) (Excerpt),
             USA v. Mosaic Fertilizer, No. 15-
             cv-2286-JDW-TBM (M.D. Fla.)
             (Sept. 30, 2015)
 29          Consent Decree (ECF 2-1), USA v.       APPX ATT_V4_1794–1878
             Mosaic Fertilizer, No. 15-cv-4889
             (E.D. La.) (Sept. 30, 2015)
 30          Mosaic Green Bay Notice of             APPX ATT_V4_1879
             Reactivation (July 22, 2021)
 31          Christopher O'Donnell, Mosaic          APPX ATT_V4_1880–1882
             plant sinkhole dumps 215 million
             gallons of reprocessed water into
             Floridan Aquifer, Tampa Bay
             Times (Sept. 16, 2016)
 32          Mosaic Fertilizer, New Wales           APPX ATT_V4_1883–1960
             Facility, Phase IV Gypsum Stac
             Extension - FDEP Construction /
             Operation Permit Application and
             Supporting Engineering Report,
             Vol. 1, Sec. 1 (Feb. 15, 2024)
 33          Jaclyn Lopez, EPA’s Opportunity        APPX ATT_V4_1961–1988
             to Reverse the Fertilizer Industry’s
             Environmental Injustices, 52 ELR
             10125-10152 (2022)
 34          EPA 2023 Biennial National             APPX ATT_V4_1989–1992
             Hazardous Waste Report Summary
 35          Emergency Final Order, In Re:          APPX ATT_V4_1993–2002
             HRK Holdings, L.L.C.’s a.k.a
             Eastport Terminal, OGC File No.
             21-0323 (Mar. 29, 2021)
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             Interest 4 (Dec. 14, 2023)
 44          Louisiana Department of              APPX ATT_V5_2088–2089
             Environmental Quality (LDEQ),
             Public Notice: Mosaic Fertilizer
             LLC – Uncle Sam Plant, Gypsum
             Management Area and
             Appurtenances, Public Hearing and
             Request for Public Comment on a
             Draft Solid Waste Permit Renewal
             & the Associated Environmental
             Assessment Statement (EAS)
             (2024)
 45          Notice of Approval for Other Use     APPX ATT_V5_2090–2091
             of Phosphogypsum, 89 Fed. Reg.
             104353 (Dec. 23, 2024)
 46          Approval of the Request for Other    APPX ATT_V5_2092–2094
             Use of Phosphogypsum by the
             Fertilizer Institute, 85 Fed. Reg.
             66550 (Oct. 20, 2020)
 47          Withdrawal of Approval for Use of    APPX ATT_V5_2095
             Phosphogypsum in Road
             Construction, 86 Fed. Reg. 35795
             (Jul. 7, 2021)
 48          Mosaic Fertilizer, LLC – Riverview   APPX ATT_V5_2096–2152
             Facility Initial Application to
             Construct Class I Injection Well
             System, Hillsborough County (Oct.
             17, 2023)
 49          Mosaic Fertilizer, LLC – New         APPX ATT_V5_2153–2203
             Wales Facility Initial Application
             to Construct Class V Exploratory
             Injection Well, Polk County (Feb.
             16, 2024)
 50          Mosaic Fertilizer, LLC – Green       APPX ATT_V5_2204–2253
             Bay Bartow Facilities Initial
             Application to Construct Class V
             Exploratory Injection Well, Polk
             County
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  www.tampabay.com /news/environment/2021/04/17/failure-at-piney-point-a-disaster-foretold/


  Failure at Piney Point: Florida let environmental risk
  fester despite warnings
  Bethany Barnes, Christopher O'Donnell, Zachary T. Sampson ⋮ 21-26 minutes ⋮ 4/17/2021


  PALMETTO — As early as 2008, the U.S. Army Corps of Engineers was predicting
  possible disaster at the old Piney Point phosphate plant in Manatee County if a plan to
  use the site for dredging went forward.

  The “worst case scenario,” the Army Corps cautioned, would be a tear in the plastic liner
  that engineers were counting on to hold back water perched atop dangerous waste
  material. Another worry the Army Corps raised: What if the private company in charge
  went bankrupt?

  Army Corps officials warned the Manatee County Port Authority, which was counting on
  the increase in business. They warned the Florida Department of Environmental
  Protection, which stood to show it could transform a costly mess into an asset. And those
  warnings reached HRK Holdings, the private company that bought the site and planned to
  make millions from storing dredge material.

  All of them pushed back. And then the worst happened. The liner failed almost
  immediately after dredging began. Now, 10 years later, it has happened again.

  This month, a leak at Piney Point drove Manatee County to the nervous edge of
  catastrophe. Fearing a flood would rip through the surrounding community, authorities
  ordered the evacuation of more than 300 homes. More than 200 million gallons of
  wastewater have been pumped into Tampa Bay, the environmental impact of which is still
  unknown.

  Under a spotlight in the aftermath, the Florida Department of Environmental Protection is
  pledging to hold HRK accountable. But the agency isn’t a minor actor in the story of what
  went wrong at Piney Point. Florida’s environmental regulator agreed to a plan that put a
  group of New York financiers in charge of what was arguably the state’s biggest ecological
  risk. The agency questioned warnings from engineers who sounded the alarm that a major
  leak could happen. And the state knew HRK was behind on its goal to get rid of the
  polluted water.

  Even the agency’s top official is bewildered by how Piney Point was ever allowed to
  become a dump site run by an inexperienced private company.



                                     APPX ATT_V5_2003
USCA
  “TheCase
       more#25-1087       Document
            I learn, the less        #2105058
                              I understand,”          Filed: 03/10/2025
                                             said Department               Page
                                                             of Environmental    11 of 322
                                                                              Protection
   Secretary Noah Valenstein during a news conference with the governor this week.




         Florida Department of Environmental Protection Secretary Noah Valenstein
         speaks to a state House committee about Piney Point on April 7. [ The Florida
         Channel ]

   The state had money to close Piney Point for good before but chose to leave the site open
   for future business interests, the secretary told lawmakers April 7. That has left “the
   property still there as a risk,” Valenstein said.

   Since the latest leak was first noticed, a familiar pattern has emerged. Everyone involved
   is pointing fingers elsewhere. But records show officials at all levels — the state, the
   company, the county — had a hand in what Piney Point became. The county backed an
   idea to put more waste at Piney Point, the company looked at an environmental risk and
   saw a chance to profit, and the state stood by as a looming environmental danger festered
   on its watch.

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                                     APPX ATT_V5_2004
USCA Case #25-1087            Document #2105058           Filed: 03/10/2025      Page 12 of 322




          An overhead view of water around Port Manatee, near Piney Point. [ LUIS
          SANTANA | Times ]

  Dredging Port Manatee
  Port Manatee was looking to dredge a new berth, becoming an attractive destination for
  huge freighter ships sailing through the Panama Canal. It needed a place to put all the
  muck.

  In Piney Point, port officials saw opportunity.

  The Port Authority, made up of Manatee County commissioners, approached the Florida
  Department of Environmental Protection about the idea, the Bradenton Herald reported in
  2005.

  The state was on board, seeing a chance to make something useful out of an industrial
  site with a troubled history. It had spent years trying to drain acidic wastewater from Piney
  Point’s radioactive phosphogypsum stacks, replacing the ponds with plastic-lined
  reservoirs.

  Port records show that department officials and a consultant engineer, Ardaman &
  Associates, met with the Port Authority’s governing board in October 2005. They touted
  the strength and longevity of the liner, saying it was a material that would “survive the
  elements well past our lifetimes.”

  Former commissioner and Port Authority board member Joe McClash said board
  members were given samples to touch.

  “There was a high degree of confidence because it was the same material used for
  landfills,” said McClash.



                                   APPX ATT_V5_2005
USCA  Casecompany
  A private #25-1087saw opportunity,
                        Document #2105058               Filed: 03/10/2025
                                     too. Despite the contamination, industrial Page  13 ofto322
                                                                                land close
   a seaport made Piney Point an enticing real estate investment for HRK, which purchased
   the roughly 700-acre site in 2006. In a dredging agreement with the port, HRK could
   quickly make millions of dollars and fill in some of the old gypsum stacks.

   But in 2008, the Army Corps of Engineers released a 72-page study calling the idea a risk.

   “I got through 5 pages of this utter nonsense from the (Army Corps of Engineers) before
   my blood pressure hit the red zone,” HRK representative Art Roth wrote after reading the
   report, according to an email filed in court records. “Obviously, facts, experience and
   expert opinion don’t matter.”




         Raw materials are offloaded from the Ivy Unicorn cargo ship at Port Manatee
         earlier this month. [ DOUGLAS R. CLIFFORD | Times ]

   HRK executives didn’t have first-hand experience in dealing with the complex geology of a
   gypsum stack, but they did have something else working in their favor: the Florida
   Department of Environmental Protection and its engineering consultants at Ardaman.

   HRK, with the agency’s approval, tapped Ardaman to rebut the Army Corps. The engineer
   had a long history with Piney Point, having worked with the state on closure efforts for
   years.

   Ardaman tamped down fears in a report, professing confidence and repeatedly calling a
   leak “unlikely.”

   The Army Corps continued to oppose the project.

   An Army Corps official wrote to the executive director of the port in 2009 saying that even
   if the risk of failure was low, “the consequences could be great.” He noted HRK could go
                                   APPX ATT_V5_2006
USCA Case #25-1087
  bankrupt,               Document
            like prior owners        #2105058
                              who operated            Filed:
                                           the phosphate plant03/10/2025      Page
                                                               on the site. That   14 of
                                                                                 would put322
   the state in a jam. More to the point, the risks were unnecessary because a cheaper, safer
   option existed to dump the dredge material miles offshore into the Gulf of Mexico.

   The Florida Department of Environmental Protection threw its weight behind Piney Point,
   too. Then-Secretary Michael Sole wrote to an Army Corps leader that the state had
   “previously identified several benefits to the local environment and community” from
   disposing of dredge spoils there.

   An official under him at the agency noted the department had spent more than $100
   million cleaning Piney Point and continued to hope the new reservoirs would be useful for
   a project such as dredging. The agency gave assurances that the Army Corps would be
   shielded from litigation if something went wrong.

   The Army Corps was still worried, records show, almost right up until the 2011 dredge
   operation began. A high-ranking Army Corps official in Washington, D.C., wrote the port
   saying the plan was needlessly risky.

   The Army Corps would not agree to an interview for this story. Ultimately, it let the
   dredging go forward.

   Disposal began that April. In May, there were signs of a leak, which an expert eventually
   traced to a tear in the liner. The Department of Environmental Protection, fearing the leak
   would disrupt the gypsum stacks, issued an emergency order letting crews send about
   170 million gallons of potentially contaminated water toward Tampa Bay.

   HRK has since sued Ardaman saying the company relied on the engineering firm’s
   assurances and expertise that the plastic liner system would hold. That litigation has been
   tied up in court for eight years. Ardaman’s attorney did not answer emails for comment.
   The company did not reply to a request for comment submitted through a contact form.

   Now, with another breach to answer for, HRK is again arguing it was misled by Ardaman.




                                  APPX ATT_V5_2007
USCA Case #25-1087         Document #2105058              Filed: 03/10/2025       Page 15 of 322




        Effluent flowed from a pipe into a drainage ditch at Port Manatee South Gate
        across from the old Piney Point phosphate plant site earlier this month.
        [ DOUGLAS R. CLIFFORD | Times ]

  A recent warning
  The liner that kept water in the large reservoir at Piney Point, stopping it from leaking, is
  about 0.08 inches thick. That’s equal to 76 Hefty strong trash bags.

  After the 2011 leak, and subsequent fixes, officials continued to trust the plastic liner. But
  fears did not subside, and the state required HRK to make routine inspections.

  As recently as March 2020, an independent engineer brought on to evaluate Piney Point
  warned of a looming disaster.

  The potential for “catastrophic damage to the public and the environment is considered
  unacceptable,” two engineers for the firm, Wood, declared in a letter to HRK and the
  Department of Environmental Protection.

  The engineers described liner tears above the water level, the “unknown and likely
  compromised condition” below the surface and possible lingering trouble from the 2011
  incident. They suggested the reservoir “should immediately be drained” and kept stable
  until the gypsum stack system could be closed.

  State regulators were taken aback. The letter contained “several factually incorrect
  statements,” according to the state.

  In response, John Coates, the manager for the Department of Environmental Protection’s
  mining and mitigation program, questioned what proof Wood could have for some of the
  letter’s assertions. The engineers had only looked at part of the liner that was above
                                   APPX ATT_V5_2008
USCA Case
  water,    #25-1087
         which           Document
               would be more        #2105058
                             worn from               Filed:
                                       the sun, he wrote.   03/10/2025
                                                          Coates          Page 16with
                                                                 had been involved of 322
   oversight at Piney Point for years.

   If the Wood engineers had qualms about lingering issues from the 2011 leak, Coates
   wrote, they could have spoken up earlier, in previous years working at the site. The
   agency did not make Coates available for an interview.

   Dee Ann Miller, a spokesperson for the Department of Environmental Protection, said the
   state did not receive a reply to Coates’ letter. But it did receive an annual inspection report
   dated June 2020 in which the same engineering firm described the phosphogypsum stack
   system as “generally in good condition based on Wood’s visual inspection.”

   A Wood representative declined to comment.




         An overhead image shows work on the Piney Point site at the corner of a
         wastewater pond. [ LUIS SANTANA | Times ]

   Throughout the rest of 2020, records show, HRK staffers continued to document small
   cracks or potential flaws above the water line.

   “HRK routinely inspects, notifies FDEP, and corrects synthetic liner flaws identified above
   the water line of the water storage compartments,” the company said in a statement this
   week. Valenstein, the department secretary, has said “that’s the ongoing process with a
   liner system.”

   About a year after Wood’s warning, residents around the old plant property would flee their
   homes on the recent Easter weekend, as authorities warned that a leak from a liner tear
   could cause the collapse of Piney Point.

   Then, the blame began.

   Signs of trouble
                                    APPX ATT_V5_2009
USCA
  HRKCase #25-1087
      Holdings has two Document  #2105058at Piney Filed:
                       main responsibilities      Point,03/10/2025
                                                         according to a Page 17 of 322
                                                                        presentation
   Coates, of the Department of Environmental Protection, gave to Manatee commissioners
   in January 2019.

   • Clean up and manage the site.

   • Provide financial assurance that the property will be cared for decades into the future.

   It was the department’s job to make sure they did that, Coates said. “They have to be held
   accountable, and they are being accountable.”

   But HRK has struggled to meet its obligations, records show.

   Engineers working at the site repeatedly documented how the company was not disposing
   of polluted water fast enough to meet a Feb. 15, 2019, deadline in an agreement with the
   state. HRK did not have the technology or equipment needed to finish the job on time, the
   independent engineers said.

   The company said this week it “has continuously and diligently relayed concern to all who
   would listen of the impending problems and risks” at Piney Point and “has proposed
   numerous solutions to” state and local government without getting approval or funding.
   HRK pushed for a deep well to inject wastewater underground, among other solutions.




         A sign regulates passage into an inlet at a coastal mangrove estuary off Port
         Manatee near Piney Point. [ DOUGLAS R. CLIFFORD | Times ]

   Rain has continued to fill the site. Jeff Barath, HRK’s manager at Piney Point, recently told
   elected officials in Manatee that without help, wastewater could soon overwhelm the
   ponds.


                                   APPX ATT_V5_2010
USCA  Case #25-1087
  To assure                Document
            the state that Piney Point #2105058          Filed:
                                       will be managed into the 03/10/2025      Pagehas
                                                                future, the company  18 had
                                                                                        of 322
   to keep money in a trust. HRK says it has to get state approval to pay for at least some
   repairs on the property.

   The fund gives the Department of Environmental Protection money in case HRK goes out
   of business and the state has to step in to manage Piney Point again. That’s what
   happened when the plant’s last private owner, Mulberry Corp., failed two decades ago.
   Coates said the acidic wastewater ponds would have overflowed without state
   intervention.

   But, Coates told commissioners in early 2019, the money HRK held with the state was not
   enough to take care of all the waste at Piney Point in the event the company went out of
   business.

   As of March 31, about the time this leak was reported, a financial report provided by the
   Department of Environmental Protection showed that HRK had less than $2.5 million in a
   fund overseen by the Florida Department of Financial Services.

   Lawmakers are now talking about spending as much as $200 million to close the place for
   good.

   The money men
   HRK Holdings was an unusual choice to take over an abandoned phosphate plant.

   Valenstein, the state’s top environmental official, has said other sites like Piney Point are
   run by active mining companies.

   HRK was created by a group of three Wall Street financiers: William “Mickey” F. Harley III,
   Scott Rosenzweig and Gary Kania. The firm, set up as a limited liability corporation, took
   its name from their initials with Harley and Rosenzweig each owning 40 percent and Kania
   20.

   Kania later left HRK and Rosenzweig died in 2012.

   Harley had a reputation for buying companies in financial trouble. A 2004 profile in Forbes
   described him as a “vulture” who learned about distressed firms while working at
   investment bank Allen & Co., before he moved on to manage Mellon HBV’s $1.2 billion
   hedge fund. It catered to affluent investors who could afford the $1 million minimum
   investment.

   Harley declined to comment for this story.

   A graduate of the Yale School of Management, Harley at one time owned a handful of
   Hooters franchises and held $6 million in stock in Frederick’s of Hollywood, the lingerie
   retailer, where he also served on the board of directors. He sat on the board of a

                                   APPX ATT_V5_2011
USCA Case #25-1087
  Canadian-based energyDocument    #2105058
                        firm that mined             Filed:
                                        for uranium in     03/10/2025
                                                       Namibia.            Page 19inof a322
                                                                Later, he invested
   pecan farm.

   The Bradenton Herald reported that the investors learned of Piney Point from Roth, a
   fertilizer consultant, who was then hired by HRK.

   But records show that in 2001 Kania was following the bankruptcy of Mulberry Corp.
   closely. He was a vice president at a New York-based bank and was listed as its contact in
   a claim made in bankruptcy filings that Mulberry owed the bank $36.6 million.




         Piney Point opened in 1966 as a Borden Chemical Co. plant. [ STAFF | Times
         files ]

   Tampa attorney Herb Donica was hired by Mulberry Corp bankruptcy trustee John Brook
   after Piney Point closed. He visited the site off U.S. Hwy. 41 so often, paint began to peel
   from his silver Mercedes, the result of acid from an abandoned pond on the site drifting
   through the air, he said.

   The job of the trustee was to get the best deal for Mulberry’s many creditors, but it wasn’t
   like a normal bankruptcy since the site was under the control of the Florida Department of
   Environmental Protection, Donica told the Tampa Bay Times.

   Manatee commissioners declined the chance to buy the site for $4 million, saying it was
   too polluted even for that bargain price.

   Other companies were interested in acquiring Piney Point, but Kania’s familiarity with the
   site gave HRK an advantage, Donica said this week.
                                    APPX ATT_V5_2012
USCA Case
  Around the#25-1087     Document
             time of the sale, he told#2105058         Filed: 03/10/2025
                                       the Sarasota Herald-Tribune:          Page us
                                                                    “They satisfied 20 that
                                                                                        of 322
   they knew what they were getting into. We were never going to turn it loose to someone
   who wasn’t aware of the managing and monitoring that is required.”

   Brook, the trustee, said last week that the Department of Environmental Protection vetted
   HRK and approved the sale.

   HRK financed the $4.3 million purchase through a $10 million loan secured by a mortgage
   on Piney Point from AmSouth Bank, which later merged with Regions Bank. It was also
   required to pay $3.8 million to the department toward the ongoing cleanup of the site.

   Court records show that the company struggled even as it borrowed more money from
   Regions. By 2008, liens were being filed against the Piney Point property, and HRK was
   sued for $1.7 million because it failed to pay a construction company to demolish old
   phosphate factory equipment.

   By 2010, Regions agreed to consolidate the firm’s debt into a single promissory note of
   $17.5 million.




         Storage containers are seen in March at the old Piney Point phosphate plant
         site. [ DOUGLAS R. CLIFFORD ]

   There was some money coming in. The firm leased land to a salt company that wanted
   storage. A warehouse for keeping fertilizer was built and the start of the pumping of
   dredging material from Port Manatee’s Berth 12 project promised more revenue. Port
   records show HRK was paid $3 million through 2011.

   The company’s finances nosedived after the first leak.



                                   APPX ATT_V5_2013
USCA Case
  Barely   #25-1087
         more          Document
              than a year           #2105058
                          later, it filed              Filed:
                                          for Chapter 11      03/10/2025
                                                          bankruptcy         Page
                                                                     protection    21 of 322
                                                                                in Tampa
   federal court. Claims from creditors reached $33 million. That included a $12 million lien
   from Port Manatee, which had been sued by the dredging company claiming that the
   delay caused by the leak had cost it $4.7 million.

   Harley, HRK’s principal owner, was also hit with a lawsuit filed a few months later by the
   Claude Worthington Benedum Foundation. The wealthy Pittsburgh nonprofit accused
   Harley of misusing its $2 million investment to make payments to companies he owned,
   including HRK, through his hedge fund.

   Soon after, regular reports showed the value of the nonprofit’s investment was
   plummeting. By April 2008, its $2 million investment had dwindled to $306,000, the lawsuit
   claims.

   Around June 2009, Harley closed the hedge fund’s offices, the lawsuit states, and started
   operating the fund out of a Hooters basement.

   The lawsuit alleged that he transferred the remaining investment funds into a company he
   owned called the Arsenal Group. Arsenal sent hundreds of thousands of dollars to HRK
   during its bankruptcy, court records show. The lawsuit was closed after the two sides
   agreed to a settlement. The terms were not disclosed.

   HRK emerged from bankruptcy in 2017, although it remained millions of dollars in debt to
   Regions Bank.




         An aerial perspective on HRK Holdings' Piney Point property looking toward
         Port Manatee. [ LUIS SANTANA | Times ]

   What now?
   The state is vowing this will be Piney Point’s “last chapter.”


                                    APPX ATT_V5_2014
USCA
  HowCase
      that #25-1087
           will happen isDocument  #2105058
                          unclear. Gov.            Filed:
                                        Ron DeSantis  has 03/10/2025    Page 22 ofof322
                                                          directed the Department
   Environmental Protection’s scientists and engineers to draw up a plan. Valenstein, the
   department’s secretary, said closure will mean draining and filling the ponds to make sure
   water can no longer be stored at Piney Point.

   The governor has redirected about $15 million toward treating water at the site. State
   lawmakers say they could greenlight up to $200 million for closure.

   The leaking reservoir today, according to state regulators, contains a mix of old seawater
   from the dredging, rainwater and polluted water related to the fertilizer industry.




         Florida Gov. Ron DeSantis speaks during a news conference at Piney Point.
         Department of Environmental Protection Secretary Noah Valenstein stands
         over the governor's shoulder. [ RYAN CALLIHAN | AP ]

   Manatee County administrator Scott Hopes says what happened isn’t the county’s fault
   and points out that Piney Point was the responsibility of a private landowner that was
   overseen by the state.

   “Certainly, the county did not have the resources to do what’s being done right now,” he
   said.

   Valenstein told lawmakers this month that he is interested in ordering a report detailing his
   agency’s actions at Piney Point.

   Already, another business is circling the property.

   In September, Regions Bank assigned HRK’s outstanding debt to Fortress 2020 Landco.
   Soon after, Fortress sued HRK seeking to foreclose on several debts and lines of credit
   that HRK has failed to repay. The loans total $25 million, according to the lawsuit.
                                    APPX ATT_V5_2015
USCA   Case #25-1087
  It’s unclear what investorDocument #2105058
                             or company                 Filed:
                                        is behind Fortress. The03/10/2025
                                                                company was Page  23 ofin322
                                                                            registered
   August in Delaware, a state that draws hundreds of thousands of business registrations
   because of laws that keep executives’ names confidential.

   Records filed with Florida’s Division of Corporations, also in August, list a business
   address in Fort Worth, Texas. Orla Drilling, which works with oil and mining companies, is
   listed as operating from that site. HRK has filed motions seeking to have the Fortress
   lawsuit dismissed.

   This new legal battle could complicate the governor’s plan for the state to clean up the site
   permanently and hold HRK accountable.

   Glenn Compton, who is chairperson of the local environmental group ManaSota-88,
   doubts the state will be able to get much money from HRK. He has long criticized what he
   sees as mismanagement and poor regulation of Piney Point. He considers it a “historic
   mistake” that will be difficult to bring to a close, the culmination of decades of poor choices
   and the lasting fallout of Florida’s fertilizer industry.

   “What we’ve learned is there’s no such thing as a future beneficial use of a
   phosphogypsum stack. These are wastelands, and they’ll be wastelands for generations
   to come,” Compton said. “The price is being paid by the taxpayers and the environment.”




         An overhead drone image shows water off Manatee County near Piney Point.
         [ LUIS SANTANA | Times ]




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associated with these stacks (Beck et al., 2018a; El Zrelli et al., 2015;        2. Methods
Pérez-López et al., 2016; Sanders et al., 2013; Tayibi et al., 2009).
    The geology of central Florida is rich in phosphates that have sup­          2.1. Simulation modeling
ported a multi-billion dollar mining industry for fertilizer to support
agricultural production (Henderson, 2004). By 2001, an estimated 36                  Monitoring of the natural resources of Tampa Bay in response to the
million metric tons of phosphogypsum were created each year in                   release from Piney Point began in April 2021 and continued for six
northern and central Florida (Burnett and Elzerman, 2001). Effective             months through September. These data were collected through a coor­
management and final closure of these facilities are imperative to reduce        dinated effort under the guidance of a plume simulation by a numerical
threats to prior ecosystem recovery efforts and investments. The Piney           circulation model run by the Ocean Circulation Lab at the University of
Point facility located in Palmetto, Florida is a large, remnant gypstack         South Florida (USF), College of Marine Science. The plume evolution
with three holding ponds located 3 km from the shore of Tampa Bay and            from Piney Point was simulated using the Tampa Bay Coastal Ocean
near two Florida Aquatic Preserves [see supplement for a history of the          Model (TBCOM) nowcast/forecast system (Chen et al., 2018, 2019),
facility; Henderson, 2004]. Holding capacity of the ponds has decreased          with an embedded tracer module that included realistic release rates.
over time from seasonal rain events, tropical storms, and storage of             Normalized tracer distributions were automatically updated each day,
dredging material from nearby Port Manatee. Releases from the stacks             providing 1-day hindcasts and 3.5-day forecasts throughout the period
occurred in the early 2000s and in 2011 to nearby Bishop Harbor con­             of discharge and subsequent Tampa Bay distribution. The modeled
nected to Tampa Bay. Those releases resulted in spatially-restricted,            plume evolution web product (http://ocgweb.marine.usf.edu/~li
ecosystem responses including localized harmful algal blooms and                 u/Tracer/) served as the principal guidance for coordinating the data
increased macroalgal abundance (Garrett et al., 2011; Switzer et al.,            collection during the event. Preliminary model results for Piney Point
2011).                                                                           are reported in Liu et al. (2021) and previous model veracity testing was
    In March 2021, leakages were detected from a tear in the plastic liner       described in Chen et al. (2018) and Chen et al. (2019) (and references
of the southern holding pond (NGS-S) at Piney Point. At that time,               therein).
approximately 1.8 billion liters of mixed legacy phosphate mining
wastewater and seawater from port dredging operations were being held            2.2. Monitoring response to the emergency release
in the failing gypstack. Piney Point historically produced Diammonium
Phosphate ((NH4)2HPO4) and the remnant stackwater has very high                      Monitoring agencies and local partners that collected data using
concentrations of total nitrogen (TN), in addition to total phosphorus           standardized protocols included FDEP, Environmental Protection Com­
(TP). Water quality parameters of NGS-S measured in 2019 showed TP               mission (EPC) of Hillsborough County, Parks and Natural Resources
(160 mg/L) and TN (230 mg/L) were approximately three orders of                  Department of Manatee County, Pinellas County Division of Environ­
magnitude higher than typical concentrations in Tampa Bay. From                  mental Management, Fish and Wildlife Research Institute (FWRI) of the
March 30th to April 9th, approximately 814 million liters (215 million           Florida Fish and Wildlife Conservation Commission (FWC), City of St.
gallons) of stack water were released to lower Tampa Bay following an            Petersburg, Tampa Bay Estuary Program (TBEP), Sarasota Bay Estuary
emergency order authorized by the Florida Department of Environ­                 Program, Environmental Science Associates, University of South Flor­
mental Protection (FDEP). Over this ten day period, an estimated 186             ida, University of Florida, and New College of Florida. Monitoring efforts
metric tons (205 tons) of nitrogen were delivered to the bay, exceeding          focused on a suite of parameters expected to respond to increased
contemporary annual estimates of external nutrient loads to lower                nutrient loads into the bay, including water quality sampling, phyto­
Tampa Bay in a matter of days (Janicki Environmental, Inc., 2017).               plankton identification, and seagrass and macroalgae transect surveys
    This paper provides an initial assessment of environmental condi­            (Fig. 1).
tions in Tampa Bay over the six month period after the release of legacy             Water quality parameters included discrete, laboratory-processed
phosphate mining wastewater from the Piney Point facility in 2021. The           and in situ samples for TN (mg/L), total ammonia nitrogen (NH3 +
goal is to describe the results of monitoring data of surface waters             NH4+, mg/L, hereafter referred to as ammonia), nitrate/nitrite (NO3 +
collected in response to the event to assess relative deviation of current       NO2 , mg/L), TP (mg/L), orthophosphate (PO43 , mg/L), chlorophyll-a
conditions from long-term, seasonal records of water quality, phyto­             (chl-a, μg/L), pH, salinity (ppt), temperature (◦ C), and dissolved oxygen
plankton, and seagrass/macroalgae datasets available for the region.             saturation (%). Most samples were surface collections by boat, with
Numerous studies, as well as the successful nutrient management                  sample frequency approximately biweekly for locations around Piney
paradigm, have demonstrated nitrogen-limitation in Tampa Bay and the             Point, although effort varied by monitoring group and was more
system is generally considered phosphorus enriched (Greening et al.,             consistent during the first three months after the release. Established
2014; Greening and Janicki, 2006; Wang et al., 1999). As such, we focus          laboratory and field sample protocols for all survey methods were based
on nitrogen in our analyses as the identified limiting nutrient for Tampa        on an Interagency Monitoring Project Plan maintained by the TBEP and
Bay and its potential to create water quality conditions unfavorable for         those of the inter-agency partners. Data quality objectives followed
seagrass growth due to enhanced algal production. Our analysis evalu­            guidelines outlined in the USEPA-approved TBEP Data Quality Man­
ated datasets that are descriptive of the vulnerability of seagrasses to         agement Plan (Sherwood et al., 2020). Many of the local partners also
nutrient pollution though cascading negative effects of nitrogen,                participate in the Southwest Florida Regional Ambient Monitoring
phytoplankton growth and persistence, and water clarity on seagrass              Program (RAMP) that ensures similar standards and protocols are fol­
growth and survival (Beck et al., 2018b; Dixon and Leverone, 1995;               lowed in the collection and processing of monitoring data, including
Greening and Janicki, 2006; Kenworthy and Fonseca, 1996). A timeline             routine cross-reference of split samples between laboratories to check
of events is provided, which is supported by the quantitative results from       precision of measured values. Samples requiring laboratory analysis (e.
2021 routine and response-based monitoring of conditions in and                  g., nutrient assays) were obtained primarily from bottle collection at the
around Port Manatee, FL – the focal point of emergency releases from             surface, whereas in situ measurements were available for many pa­
the Piney Point facility. The results from this paper provide an unprec­         rameters (e.g., dissolved oxygen, Secchi depth, etc.). In situ measure­
edented chronology of short-term estuarine response to acute nutrient            ments were collected using common monitoring equipment, such as YSI
loadings from legacy mining facilities, where context would not have             sondes or Seabird CTD casts, depending on monitoring agency. Labo­
been possible without the long-term monitoring datasets available for            ratory methods used to process samples were based on accepted pro­
the region.                                                                      cedures promoted through the Southwest Florida RAMP. Additionally,
                                                                                 the Sentinel-3 satellites were used to derive chl-a maps, which were
                                                                                 subsequently calibrated using field-measured chl-a in surface waters.

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Fig. 1. Areas of interest and long-term monitoring stations (a) for evaluating status and trends in response-based monitoring data and sample locations from March
through September 2021 by monitoring data type (b) in response to release from Piney Point. Data types include algae sampling, seagrass and macroalgae, water
quality (field-based and laboratory samples), and mixed monitoring (algae, seagrass and macroalgae, water quality). Inset shows location of Tampa Bay on the Gulf
coast of Florida, USA.


    Phytoplankton samples included a mix of quantitative (cells/L) and              Bridge at the mouth of Tampa Bay, and major bay segments used by
qualitative (presence/absence) samples for major taxa at similar fre­               TBEP for assessing annual water quality targets). Observations at each
quency and spatial distribution as the water quality samples. Harmful               long-term monitoring station were averaged for each month across years
Algal Bloom (HAB) data for Karenia brevis were obtained from event-                 from 2006 to 2020. This period represents a “recovery” stage for Tampa
based monitoring samples from the FWC-FWRI HAB Monitoring Data­                     Bay where water quality conditions were much improved from historical
base. HAB sampling typically occurs in response to bloom events or fish             conditions during a more eutrophic period and when seagrass areal
kills with extensive quality control of cell counts conducted by FWC-               coverage was trending toward and above a 1950s benchmark target of
FWRI (additional details in Stumpf et al., 2022). HAB data were                     15,378 ha (38,000 acres, Greening et al., 2014; Sherwood et al., 2017).
restricted to Tampa Bay boundaries and over 90% of the samples were                 For each month, the mean values +/ 1 standard deviation for each
collected within one meter of the surface. Bloom sizes for K. brevis were           parameter at each station were quantified and used as reference values
described qualitatively as low/medium/high concentrations based on                  relative to results at the closest water quality monitoring station that was
FWC breakpoints at 10,000/100,000/1,000,000 cells/L. Fish kill reports              sampled in response to Piney Point. This comparison was made to ensure
were obtained from the FWC online database. Seagrass and macroalgae                 that the response data were evaluated relative to stations that were
sampling occurred approximately biweekly at 38 transects using a                    spatially relevant (e.g., long-term conditions near the mouth of Tampa
modified rapid assessment design, where species were identified and                 Bay are not the same as those in the middle of the bay) and seasonally-
enumerated using Braun-Blanquet abundances in a 0.25 m2 quadrat at                  specific (e.g., historical conditions in April are not the same as historical
10 m distances along each 50 m transect (see supplement). Finally,                  conditions in July). In some cases, the nearest long-term station did not
precipitation and wind data were from Albert Whitted Airfield at St.                include data for every monitoring parameter at a response location and
Petersburg, Florida and inflow estimates to Tampa Bay were based on                 the next closest station was used as a reference. The average distance
summed hydrologic loads of major tributaries from US Geological Sur­                from a monitoring location in 2021 to the long-term sites was 1.6 km
vey gaged sites (similar to Janicki Environmental, Inc., 2012). Addi­               (see https://shiny.tbep.org/piney-point/ for a map of the matches).
tional details of the sampling methods and data sources are provided in                 The historical monitoring data were also used to model an expected
supplement.                                                                         seasonal pattern for water quality parameters from April to October in
                                                                                    2021. This was done by estimating smoothed annual and seasonal
                                                                                    splines with Generalized Additive Models (GAMs) using data only from
2.3. Data analysis                                                                  the “recovery” stage of Tampa Bay (2006 to 2020). GAMs were used to
                                                                                    model time series of water quality parameters as a function of a
    Long-term water quality monitoring data from Hillsborough and                   continuous value for year (i.e., decimal year) and as an integer value for
Manatee counties (accessible at https://wateratlas.usf.edu/, Hills­                 day of year. The continuous year value was modeled with a thin plate
borough County collected monthly, Manatee County collected quar­                    regression spline and the day of year value was modeled with a cyclic
terly) were used to establish baseline conditions for major areas of                spline (following similar methods as Murphy et al., 2019). The modeled
interest in Fig. 1a to compare with the response monitoring data                    results provided an estimate of the expected normal seasonal variation
described above. These areas (Area 1: closest to Piney Point; Area 2:               that takes into account a long-term annual trend. Differences in the
north of Piney Point; Area 3: south of Piney Point including northern               observed values sampled in the April to October time periods from the
Sarasota Bay) were identified based on anticipated impacts from ex­                 “forecasted” predictions of the baseline GAMs through 2021 provided an
pected plume patterns following the TBCOM simulations and other                     assessment of how the current data may have deviated from historical
prominent bay boundaries relative to Piney Point (i.e., the main ship­              and normal seasonal variation.
ping channel in the bay, inflow boundaries, location of the Skyway

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    Statistical assessments were conducted only on TN, chl-a, and Secchi          Table 1
disk depth as a general analysis of potential patterns in eutrophication in       Measured concentrations from the phosphogypsum stack (NGS-S) at Piney Point
nitrogen-limited systems. Spatial comparisons were based primarily on             from a 2019 sample and samples from April 2021 for relevant water quality
the three areas identified in Fig. 1a. Variables with log-normal distri­          variables. Values are compared to normal annual medians (min, max) for con­
butions were log10-transformed (i.e., nutrients, chl-a) prior to analysis.        centrations in lower Tampa Bay. Normal medians are based on data for a
                                                                                  baseline period from 2006 to 2020 from long-term monitoring stations in lower
Only the water quality data from FDEP were used for statistical analysis
                                                                                  Tampa Bay (Fig. 1a). The 2021 samples are from the NGS-S stack on April 13th
given the consistency of sample location and collection dates. Secchi
                                                                                  and directly from the outflow site at Port Manatee on April 6th. Missing values
observations that were visually identified on the bottom (71 of 431               were not measured in the stack water or release water.
observations in the FDEP data) were removed from analysis. Observa­
                                                                                   Water           2019        2021         2021         2006–2020 lower Tampa
tions for other parameters that were below laboratory standards of
                                                                                   quality         stack       stack        pipe         Bay median (min, max)
detection were evaluated with methods described below.                             variable        value       value        value
    Differences in observations between months for April to September
                                                                                   Nitrate/        0.004       0.292        0.004        0.012 (0.007, 0.014)
for water quality, seagrass, and macroalgae within each area (Fig. 1a)               Nitrite
were evaluated using a Kruskal-Wallis one-way analysis of variance                   (mg/L)
(ANOVA) followed by multiple comparisons using 2-sided Mann-                       NH3, NH4+       210         –            210          0.019 (0.007, 0.039)
Whitney U tests (Hollander et al., 2013). These tests were used to sta­              (mg/L)
                                                                                   TN (mg/L)       230                      220          0.288 (0.226, 0.385)
tistically characterize the temporal progression of changes in the bay
                                                                                                               –
                                                                                   TP (mg/L)       160         161          140          0.082 (0.058, 0.145)
following release from Piney Point, e.g., were July conditions signifi­            Ortho-P (mg/    150         155          140          0.049 (0.029, 0.055)
cantly different from April? Probability values were adjusted using the              L)
sequential Bonferroni method described in (Holm, 1979) to account for              DO (% sat.)     107.5       –            –            90.7 (86, 92)
                                                                                   pH              4                                     8.1 (8, 8.1)
the increased probability of Type I error rates with multiple compari­                                         –            –
                                                                                   Chl-a (μg/L)    –           105          –            3.1 (2.3, 3.5)
sons. An adjusted p-value < 5% (α = 0.05) was considered a significant
difference between months. For water quality variables, monthly aver­
ages from long-term monitoring data were subtracted from 2021 ob­                 chl-a were observed when comparing stack conditions with those of the
servations to account for normal seasonal variation not attributed to             ambient conditions in Tampa Bay.
potential effects from Piney Point. Similar corrections were not done for             Samples collected in the bay between April through September 2021
monthly comparisons of seagrass and macroalgae data because compa­                indicated that water quality conditions were outside of normal values
rable long-term seasonal data do not exist. Frequency occurrence esti­            expected for each month. A total of 7831 samples were collected and
mates were used to evaluate macroalgae and seagrasses as a standard               analyzed for chl-a, dissolved oxygen, TN, total phosphorus, total
metric used in previous analyses in Tampa Bay (Johansson, 2016;                   ammonia nitrogen, nitrate/nitrite, pH, salinity, Secchi depth, and tem­
Sherwood et al., 2017). Methods used to accommodate measured con­                 perature (Table 2). The percentage of observations outside of the normal
centrations of water quality variables that were below detection                  range (mean +/ 1 standard deviation from long-term data) varied by
included summary statistics (e.g., median, mean, and standard devia­              location and parameter. For chl-a, 50% of the observations from April
tion) following estimates of the empirical cumulative distribution                through September were above the normal range for Area 1 located
functions for each parameter using the Kaplan-Meier method for                    closest to the discharge point, whereas only 6% and 22% were above for
censored data (Helsel, 2005; Lee, 2020).                                          Areas 2 (to the north) and 3 (to the south), respectively. TN concen­
    The R statistical programming language (v4.0.2) was used for all              trations were above the normal range for 37% of observations in Area 1,
analyses (R Core Team, 2021). We imported data using the google­                  whereas concentrations were above for 22% of observations in Area 2
sheets4 (Bryan, 2020) and googledrive (D'Agostino McGowan and                     and 22% in Area 3. Secchi observations were below the normal range for
Bryan, 2020) R packages and used tidyverse (Wickham et al., 2019)                 41% of observations in Area 1 and for 18% and 36% of observations in
packages to format data for analysis. The tbeptools R package (Beck               Areas 2 and 3. Notable differences were also observed for dissolved
et al., 2021b) was used to import and summarize long-term monitoring              oxygen (e.g., 53% were above in Area 1, 44% in Area 2). Physical pa­
data (EPC water quality data and seagrass transect data). The NADA R              rameters (salinity, temperature) and inorganic nitrogen (ammonia, ni­
package (Lee, 2020) was used for analysis of censored data. All spatial           trate/nitrite) were more often in normal ranges, although initial time
analyses were done using the simple features (sf) R package (Pebesma,             series showed much higher concentrations for ammonia in April near
2018). The mgcv R package (Wood, 2017) was used to create the GAMs                Area 1. Ammonia concentrations near the point of discharge were
for water quality parameters. All datasets used in this study are available       observed in excess of 10 mg/L in April, about three orders of magnitude
from an open access data archive hosted on the Knowledge Network for              above baseline (Figs. S2, S3), similar to the discharge measurements in
Biocomplexity (Beck, 2021). Materials for reproducing the analyses,               Table 1. Inorganic nitrogen did not persist at high concentrations past
figures, tables, and other content in this paper are provided in a GitHub         April as it was likely rapidly utilized by phytoplankton (see below).
repository. Finally, the Piney Point Environmental Monitoring Dash­               Spatial variation among the parameters showed that values were
board can be used to view all data included in this paper through an              generally above the normal range (or below for Secchi depth) for many
interactive, online application (Beck et al., 2021a). Links and details are       locations near Piney Point (Area 1), Anna Maria Sound (Area 3), and the
provided in supplement.                                                           northern mouth of Tampa Bay (Area 3, Fig. 2).
                                                                                      TN, chl-a, and Secchi depth followed temporal progressions in 2021
3. Results                                                                        that were distinct from long-term seasonal trends estimated from his­
                                                                                  torical data (Fig. 3). For Area 1, TN and chl-a concentrations were
3.1. Water quality trends                                                         frequently above normal ranges during April. Chl-a concentrations were
                                                                                  observed in excess of 50 μg/L, although median concentrations for each
    Water quality conditions in the northern gypstack measured in 2019            week in April were <10 μg/L. The initial chl-a peak was associated with
and measured directly at the point of discharge in 2021 showed con­               a localized phytoplankton bloom generally dominated by diatoms. The
centrations that were generally much higher for key water quality pa­             initial diatom bloom did not persist past April. Chl-a concentrations
rameters as compared to baseline conditions in Tampa Bay (Table 1).               decreased slightly until June and July when values increased again
Notably, total ammonia nitrogen was measured at 210 mg/L at Piney                 above the seasonal expectation, coincident with an increase in K. brevis
Point and in the discharge, compared to a long-term median of 0.02 mg/            concentrations to bloom levels. Many Secchi observations in Area 1 were
L in lower Tampa Bay. Similar differences for total phosphorus, TN, and

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Table 2                                                                               Table 2 (continued )
Summary of water quality variables collected in Tampa Bay from April through           Area    Water         Med.        N       % in      %         %         % outside
September 2021 following the release of water from Piney Point. Variables are                  quality       (min.,      obs.    range     above     below     detection
grouped by major areas of interest for evaluating status and trends shown in                   variable      max.)
Fig. 1a. Summaries are median, minimum, and maximum values. Total obser­
                                                                                               Secchi        1.9 (0.2,   225     46        17        36        11
vations (N obs.) and the percentage of observations in range, above, or below
                                                                                               (m)           5.5)
normal ranges are also shown. Normal ranges are defined as within ±1 standard                  Temp          27 (19.6,   294     64        13        24         0
deviation of the mean for the month of observation from 2006 to 2020 for values                (C)           32.1)
collected at the nearest long-term monitoring site to each sample location. The                TN (mg/       0.33        249     73        22         5        10
final column shows the percentage of total observations that were outside of                   L)            (0.152,
detection, defined as minimum laboratory detection limits for all parameters                                 1.78)
and values on the bottom for Secchi observations. Medians denoted by “–” could                 TP (mg/       0.06        256     78        11        12        17
not be calculated due to insufficient values above detection.                                  L)            (0.019,
                                                                                                             0.589)
  Area    Water       Med.           N      % in    %       %       % outside
          quality     (min.,         obs.   range   above   below   detection
          variable    max.)                                                           lower than normal in April and July. Observations in Areas 2 and 3 were
  1       Chl-a       4.3 (1.1,      485    44      50       6       0                more often within the normal seasonal range, with some exceptions for
          (μg/L)      265.01)                                                         TN and chl-a in Area 3 in April, May, and July. These field-based ob­
          DO (%       97.9 (28.3,    430    30      53      17       0
                                                                                      servations were in line with remotely-estimated chl-a using satellite
          sat.)       215.3)
          NH3,        0.005 (0,      495    66      18      17      26                observations. These observations showed an initial bloom on April 5,
          NH4+        14.86)                                                          which peaked on April 9 with a bloom area of about 25 km2 (about 10
          (mg/L)                                                                      km alongshore and 2.5 km cross-shore) in Area 1 of Fig. 1a, with chl-a
          Nitrate/    0 (0,          517    63      19      18      70                ranging between 5 and 40 μg/L. The bloom disappeared on April 12
          Nitrite     0.14352)
                                                                                      but reappeared on April 15 at the same location, then disappeared after
          (mg/L)
          pH          8.1 (6.8,      476    58      29      14       0                April 22. Notably, similar blooms at this location were not observed
                      9.1)                                                            from satellite in the month of April since Sentinel-3 satellite data became
          Sal (ppt)   30.2 (12.9,    441    83       4      13       0                available in 2016. Clearly, the bloom was induced by the wastewater
                      34.6)
                                                                                      discharge, but localized and also short lived.
          Secchi      2.4 (0.4,      350    37      22      41      25
          (m)         9.5)
                                                                                          Statistical comparisons between months for seasonally-corrected
          Temp        25.5 (19.6,    442    66      15      19       0                observations of TN, chl-a, and Secchi depth (Table 3) supported the
          (C)         32.9)                                                           results in Fig. 3. Kruskal-Wallis tests that assessed if at least one of the
          TN (mg/     0.41           429    59      37       4       4                months had significantly different observations for each parameter were
          L)          (0.178,
                                                                                      significant (p < 0.05) for TN, chl-a, and Secchi depth for Areas 1 and 3
                      5.6)
          TP (mg/     0.12           485    81      15       4       1                and for TN and chl-a for Area 2 (Table 3). Further analysis with multiple
          L)          (0.019,                                                         comparison tests generally showed that April/May were different from
                      3.9)                                                            June/July depending on Area and parameter, such that observations in
  2       Chl-a       2.7 (1.08,      78    60       6      33       0
                                                                                      the later months were generally higher (or lower for Secchi) corre­
          (μg/L)      42)
          DO (%       95 (60.6,       73    42      44      14       0
                                                                                      sponding to increasing K. brevis abundances by mid-summer.
          sat.)       153.3)
          NH3,        0.004           76    86       1      13      21
          NH4+        (0.002,                                                         3.2. Macroalgae and seagrass trends
          (mg/L)      0.071)
          Nitrate/    –               87    63      18      18      79
          Nitrite     (0.00078,                                                           A total of 38 transects were sampled for macroalgae and seagrass
          (mg/L)      0.037)                                                          from April through September, each visited on average 1.7 times per
          pH          8 (7.3, 8.6)    92    72      16      12       0                month. Macroalgae observed along the transects varied in coverage,
          Sal (ppt)   27.3 (18.1,     73    90       0      10       0                with red macroalgae groups having the highest frequency occurrence of
                      32.3)
                                                                                      57%. Common taxa in the red group included genera Gracilaria and
          Secchi      2 (0.5, 3.5)    44    41      41      18      39
          (m)                                                                         Acanthophora. Green macroalgae and filamentous cyanobacteria were
          Temp        25.3 (19.9,     73    73       7      21       0                less common, with frequency occurrences of 7% and 13%. Common taxa
          (C)         31.6)                                                           in the green group included genera Ulva and Caulerpa, whereas cyano­
          TN (mg/     0.344           63    65      22      13      14
                                                                                      bacteria biomass was dominated by the benthic filamentous genus Dapis.
          L)          (0.068,
                      1.13)
                                                                                      Brown macroalgae (primarily in the genus Feldmannia) were only
          TP (mg/     0.1 (0.05,      67    60      12      28       0                observed at one transect in April (2% frequency occurrence). For sea­
          L)          0.235)                                                          grasses, turtle grass (Thalassia testudinum) was the dominant species
  3       Chl-a       2.9 (0.93,     254    69      22       9       0                with frequency occurrence of 50% across all locations and sample dates.
          (μg/L)      25.9)
                                                                                      Manatee grass (Syringodium filiforme) and shoal grass (Halodule wrightii)
          DO (%       98.7 (42.4,    223    53      26      21       0
          sat.)       229.9)                                                          had similar coverage across all transects, with frequency occurrences of
          NH3,        0.003          248    55       0      45      50                31% and 33%, respectively. The frequency occurrences of seagrasses
          NH4+        (0.002,                                                         near Piney Point were similar to the long-term record of seagrass tran­
          (mg/L)      0.041)
                                                                                      sect data available for Tampa Bay (Sherwood et al., 2017, also see https
          Nitrate/    –              267    60       9      31      89
          Nitrite     (0.00078,
                                                                                      ://shiny.tbep.org/seagrasstransect-dash), with turtle grass being the
          (mg/L)      0.046)                                                          dominant species in more euhaline waters closer to the Gulf. There is no
          pH          8.1 (6.2,      245    70      21       9       0                historical macroalgae record for Tampa Bay that is comparable to the
                      9.8)                                                            spatial and temporal resolution of the 2021 samples. Only annual his­
          Sal (ppt)   31.8 (1.4,     294    81       8      11       0
                                                                                      torical data are available for seagrasses, with no seasonal data compa­
                      36.5)
                                                                                      rable to the results herein.
                                                                                          A typical temporal pattern for macroalgae and seagrass observed at

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Fig. 2. Water quality data (raw observations) for April through September 2021 following the release from Piney Point for (a) total nitrogen (mg/L), (b) chlorophyll-
a (μg/L), and (c) Secchi disk depth (meters). Values outside of the normal range (above for total nitrogen and chlorophyll-a, below for Secchi) are outlined in black
and those in normal range are outlined in light grey. Color ramps and point sizes show relative values (reversed for Secchi). Normal ranges are defined as within ±1
standard deviation of the mean for the month of observation from 2006 to 2020 for values collected at the nearest long-term monitoring site to each sample location
(Fig. 1a). Values below detection limits (or Secchi on bottom) are not shown. (For interpretation of the references to color in this figure legend, the reader is referred
to the web version of this article.)


many of the transects is shown in Fig. 4, using transect S3T6 near Port                 frequency occurrence in Area 3 were observed for all species starting in
Manatee as an example. Macroalgal abundances changed over the                           July, with a slight reduction in frequency occurrence of turtle grass and
course of sampling similar to the remainder of transects sampled during                 an increase in shoal grass and manatee grass. Statistical analyses with
the study. Red macroalgae were present in high abundances from April                    multiple comparison tests confirmed the general trends described above,
to May. Filamentous cyanobacteria (Dapis spp.) mats were first observed                 with significant changes observed over time only for macroalgae
on May 24th and was present at all of the sample locations along this                   (Tables S1, S2). Tests using Braun Blanquet cover estimates confirmed
transect on June 4th and 15th. Filamentous cyanobacteria persisted                      the results from the frequency occurrence estimates (Tables S3, S4).
through June and July, but was not observed in abundance after July
20th. Green macroalgae taxa were first observed in July, although at                    3.3. Red tide impacts
generally low abundances. Red macroalgae were the dominant taxa by
the end of September. Overall abundance of seagrass did not change                          On April 20th, the HAB species Karenia brevis was observed near
from April 22nd through September. The site is dominated by manatee                     Anna Maria Sound at the southern edge of the mouth of Tampa Bay. This
grass that was observed at nearly all of the sample points along the                    first Tampa Bay influx likely originated from an ongoing coastal bloom
transect at varying coverages.                                                          in the Gulf of Mexico, as is common when red tide is observed in the bay
    Monthly summaries in frequency occurrence by area (Fig. 5) pro­                     (Flaherty and Landsberg, 2011; Steidinger and Ingle, 1972). By May 23,
vided an indication of macroalgae and seagrass trends in 2021 across all                bloom concentrations of K. brevis were observed in lower Tampa Bay
transects. No transects were sampled in Area 2 to the north of Piney                    (lower/middle bay boundary Fig. 1b), with concentrations peaking (106
Point and no transects were sampled past September in Area 1 given                      to 107 cells/L) by the week of July 4th in middle Tampa Bay, after which
allocated sampling effort following projected dispersal patterns of the                 concentrations declined (Fig. 6b). The increase in K. brevis from April to
discharge from the TBCOM simulations. Red macroalgae was the                            July was an anomaly in 2021 that is not regularly observed in Tampa
dominant group across all months and areas, with the highest frequency                  Bay. The historical record from 1953 to present (Fig. 6a) shows cell
occurrences observed in April (81% in Area 1, 95% in Area 3). Re­                       concentrations sampled in Tampa Bay between April and September,
ductions in red macroalgae frequency occurrence were observed in June                   with only a few years having cell concentrations >105 cells/L, notably
when cyanobacteria frequency occurrence peaked, with greater                            1963, 1971, 2005, 2018, and 2021. Median cell concentrations for most
coverage of cyanobacteria in Area 3 (43%) compared to Area 1 (36%).                     years were well below 1000 cells/L. The two highest concentrations in
Notable blooms of the filamentous cyanobacteria (Dapis spp.) were                       the long-term record were observed in 1971 (20 million cells/L) and
observed in Anna Maria Sound (Area 3) and near Port Manatee (Area 1)                    2021 (17.6 million cells/L), both being over an order of magnitude
(Fig. 1), typically observed covering benthic and seagrass habitats, in                 above the high category. Cumulative rainfall and associated inflow from
addition to large floating mats on the surface. Green macroalgae had the                the main rivers entering Tampa Bay in 2021 were below historical
second lowest frequency occurrence, although it increased slightly by                   values (2006–2020) in the months preceding the highest bloom con­
the end of the study period (9% in September in Area 1, 31% in October                  centrations (i.e., January to June, Fig. 6c, d). This likely contributed to
in Area 3). For seagrass, both areas had generally stable total frequency               elevated salinity in lower and middle Tampa Bay that created conditions
occurrence. Turtle grass (T. testudinum) occurred in higher frequency                   favorable for K. brevis growth in 2021 (Figs. S2f, S3f), in addition to the
occurrence in both areas (45% overall in Area 1, 58% overall in Area 3),                elevated nutrient concentrations from the Piney Point discharge.
compared to shoal grass (H. wrightii, 31% Area 1, 38% Area 3) and                           Fish kill reports attributed to K. brevis at the cities of Tampa and Saint
manatee grass (S. filiforme, 30% Area 1, 31% Area 3). Slight changes in                 Petersburg, FL closely tracked cell concentrations during June and July

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Fig. 3. Expected 2021 (a) total nitrogen (mg/L), (b) chlorophyll-a (μg/L), and (c) Secchi disk depth (meters) by area based on historical seasonal models. Predictions
(expected values) from the historical models for dates during and after the Piney Point release are shown in thick lines (+/− 95% confidence), with observed samples
overlaid on the plots to emphasize deviation of 2021 data from historical seasonal estimates. Expected values are based on Generalized Additive Models fit to
historical baseline data from 2006 to early 2021, where historical predictions are shown as thin grey lines, with darker lines for more recent years. Results are
grouped by assessment areas shown in Fig. 1a.


2021 (Fig. 6e). In total, 331 reports were made in Saint Petersburg and               diatom bloom (~25 km2, chl-a between 5 and 40 μg/L) in April in the
65 in Tampa. The combined weekly reports in 2021 for Tampa and Saint                  vicinity of the release at Port Manatee, 2) high abundance of filamentous
Petersburg peaked the week of July 4th, the same week as the peak of                  cyanobacteria in Anna Maria Sound and near Port Manatee, 3) medium
K. brevis cell concentrations (Fig. 6b). Notably, all of the fish kill reports        to high bloom concentrations of the ride tide organism K. brevis in lower
occurred within a 1.5 month period when K. brevis cell concentrations                 and middle Tampa Bay from June through July, and 4) high incidence of
were consistently above the medium threshold (104 cells/L). The center                fish kill reports prompting local governments to remove over 1600
of Tropical Storm Elsa (Fig. 6f, pre-, post-storm wind roses) also passed             metric tons of dead fish from shoreline areas. The water quality condi­
through the bay area on July 5th, causing a shift in winds that likely                tions observed during the study period, particularly for TN, chl-a, and
disturbed the water column and altered the spatial distribution of                    Secchi depth, were outside of normal seasonal ranges for many of the
K. brevis in the bay. Strong southeasterly winds also likely moved dead               observations (Fig. 2, Table 2). The Piney Point event also represented an
fish closer to heavily populated areas of Tampa Bay, specifically near St.            anomalous volume and load of labile nitrogen released directly into
Petersburg and Tampa, contributing to an increase in fish kill reports. It            lower Tampa Bay. Spill events reported to FDEP (e.g., industrial spills,
is important to note that high cell concentrations (>106 cells/L) were                service line failures, sanitary sewer overflows) provide additional
observed in middle Tampa Bay (Fig. 6b) and fish kills were reported both              context for Piney Point relative to other potential anomalous releases to
before and after storm passage (Fig. 6e). By August, cleanup efforts                  Tampa Bay. An assessment of over 800 reports to FDEP for the Tampa
removed over 1600 metric tons of dead fish near public and private                    Bay watershed over the last five years showed spill volumes for these
shoreline areas (K. Hammer Levy, Pinellas County, pers. comm. Aug.                    events are small (median volume 13.7 thousand liters TBEP unpublished
2021).                                                                                analysis) compared to the 814 million liters released from Piney Point.
                                                                                      Moreover, the estimated nutrient load of 186 metric tons of nitrogen to
4. Discussion                                                                         Tampa Bay from Piney Point over the ten day period, exceeded current
                                                                                      annual estimates of all external loading sources into lower Tampa Bay
    The observed conditions in Tampa Bay in 2021 following releases                   (Janicki Environmental, Inc., 2017). External nitrogen loads to lower
from Piney Point provide multiples lines of evidence for an adverse                   Tampa Bay averaged 164 metric tons per year for the baseline period of
environmental response to a large pulse of inorganic nitrogen into the                2006 to 2020 (https://tbep-tech.github.io/load-estimates/).
system. Collectively, these observations show that conditions in 2021
were anomalous when compared to long-term monitoring data for
                                                                                      4.1. Potential nutrient cycling
Tampa Bay, although some of the anomalies may not be related to the
Piney Point release. These anomalous events (Fig. 7) included 1) a large
                                                                                         The events of 2021 can be considered together to develop a narrative

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Table 3
Comparison of total nitrogen, chlorophyll-a, and Secchi depth by areas of interest (Fig. 1a) and month. Overall significance of differences of concentrations between
months for each water quality variable and area combination are shown with Chi-squared statistics based on Kruskall-Wallis rank sum tests. Multiple comparisons with
Mann-Whitney U tests (Comp. column) were used to evaluate pairwise monthly concentrations for each water quality variable in each area. Rows that share letters
within each area and water quality variable combination have concentrations that are not significantly different between month pairs. All statistical tests were
performed on the seasonally-corrected water quality values that were based on observations with the long-term monthly median subtracted (observed medians are
shown for comparison). **p < 0.005, *p < 0.05, blank is not significant at α 0.05.
  Area             Water quality variable     Chi-Sq.          Comp.           Month           N obs.          Observed median           Seasonally-corrected median

  1                TN (mg/L)                  25.01**          a               Apr             135             0.390                       0.008
                                                               b               May              32             0.360                       0.110
                                                               ab              Jun              38             0.430                       0.112
                                                               b               Jul              24             0.520                       0.178
                                                               ab              Aug              25             0.470                       0.065
                                                               ab              Sep               8             0.390                       0.075
                   Chl-a (μg/L)               61.84**          a               Apr             144             3.300                       1.010
                                                               b               May              32             2.400                       0.870
                                                               a               Jun              38             6.600                       1.960
                                                               a               Jul              24             5.600                       0.310
                                                               c               Aug              27             3.300                       3.590
                   Secchi (m)                 47.47**          a               Apr             118             2.900                       0.000
                                                               b               May              28             3.000                       0.600
                                                               b               Jun              34             2.000                       0.900
                                                               b               Jul              18             2.000                       0.700
                                                               c               Aug              15             3.500                       0.400
                                                               c               Sep              12             3.600                       0.900
  2                TN (mg/L)                  20.85**          a               Apr              18             0.390                       0.002
                                                               b               May               4             0.390                       0.160
                                                               ab              Jun               3             0.500                       0.113
                                                               ab              Jul               3             0.510                       0.097
                                                               ab              Aug               3             0.540                       0.174
                                                               ab              Sep               1             0.570                       0.049
                   Chl-a (μg/L)               10.76*           a               Apr              22             2.500                       1.390
                                                               a               May               4             2.150                       2.590
                                                               a               Jun               4             6.000                       1.050
                                                               a               Jul               3             7.200                       0.940
                                                               a               Aug               3             5.200                       4.940
                   Secchi (m)                  3.82            a               Apr              17             2.000                       0.200
                                                               a               May               1             2.000                       0.500
                                                               a               Jun               3             2.100                       0.700
                                                               a               Jul               1             1.400                       0.100
  3                TN (mg/L)                  22.13**          a               Apr              48             0.330                       0.010
                                                               b               May              16             0.335                       0.079
                                                               ab              Jun              10             0.350                       0.087
                                                               ab              Jul              12             0.365                       0.043
                                                               ab              Aug               4             0.435                       0.126
                                                               ab              Sep               7             0.380                       0.023
                   Chl-a (μg/L)               33.62**          ab              Apr              48             1.900                       0.900
                                                               ac              May              16             2.350                       0.450
                                                               b               Jun              12             2.800                       1.580
                                                               cd              Jul               8             4.150                       0.770
                                                               bd              Aug               4             3.200                       3.100
                                                               abcd            Sep               8             3.600                       1.500
                   Secchi (m)                  8.77            a               Apr              41             2.700                       0.000
                                                               a               May              16             2.200                       0.500
                                                               a               Jun              12             2.200                       0.400
                                                               a               Jul              12             2.200                       0.100
                                                               a               Aug               3             2.000                       0.800
                                                               a               Sep              11             2.200                       0.000



of the temporal shift of nutrient pools between ecosystem components of               phytoplankton to drift macroalgae communities or changing availability
the bay from April through September, starting with the influx of inor­               of nutrient ratios creating favorable conditions for macroalgae growth
ganic nitrogen from Piney Point. TN concentrations first peaked in April              (Cohen and Fong, 2006; Valiela et al., 1997). During peak macroalgae
(Fig. 8a), as did chl-a concentrations (Fig. 8b). The initial peak in water           growth, TN and chl-a concentrations remained relatively low as nutri­
quality parameters suggested a rapid response of the phytoplankton                    ents were likely retained in macroalgae, until late June and early July
community as an increase in diatoms (e.g., centric species, such as                   when K. brevis concentrations peaked (Fig. 8e). The co-occurring decline
Skeletonema sp., and also Asterionellopsis sp., Fig. 8c) that can readily             in macroalgae and increase in K. brevis suggests a release of nutrients
utilize inorganic forms of nitrogen that were present in the initial                  from the former that could have stimulated growth of the latter,
discharge (Bates, 1976; Domingues et al., 2011). These results were                   although residual nutrients from the initial release from Piney Point
evidenced by taxonomic enumeration of phytoplankton samples                           were likely still available (Liu et al., 2021). Finally, conditions were
collected near Port Manatee. Water quality indicators improved slightly               relatively stable in August and September with relatively improved
following the decrease in diatoms in late April, as noted by relatively               water quality conditions and no dominant algal blooms.
lower concentrations of TN and chl-a as the bloom dispersed. However,                     Our quantitative results provide some evidence to support the pro­
filamentous cyanobacteria biomass increased after the initial diatom                  gression of events outlined above as a flow of nutrients over time. The
bloom and peaked in June (Fig. 8d), suggesting a shift of nutrients from              distinct temporal progression can be readily identified through an


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Fig. 4. Results for (a) macroalgae and (b) seagrass rapid response transect surveys at a site (S3T6, − 82.55866 W longitude, 27.64483 N latitude) near Piney Point.
Sample dates in 2021 are shown in rows with transect meter results shown in columns (0 m nearshore, 50 m offshore). Results show dominance of manatee grass
(Syringodium filiforme) and red macroalgae groups, with abundances of Dapis spp. (cyanobacteria) peaking in June and green macroalgae (Ulva spp.) increasing in
July. Abundances are Braun-Blanquet coverage estimates. (For interpretation of the references to color in this figure legend, the reader is referred to the web version
of this article.)


ordination plot (Fig. S7) for the observed data in Fig. 8. Weekly sum­                 of reduced water quality with increased nutrient loads. Temporally,
maries of the data are clearly separated in the ordination into monthly                these changes were observed at different times and for different species
groups where different communities were dominant and is partially                      of phytoplankton. The initial increase in chl-a was first associated with a
explained by orientation of the water quality vectors relative to cyano­               diatom bloom in April. The red tide species K. brevis was also first
bacteria, diatoms, and K. brevis. For example, TN and chl-a are strongly               introduced to Tampa Bay from the Gulf of Mexico in April, but was not
aligned with the K. brevis axis as nutrients were likely available in                  observed at high densities in the Bay until June and July. Peaks in dis­
organic form during the peak of the red tide event. However, this simple               solved oxygen saturation were also observed as an indicator of elevated
analysis only demonstrates an association in the observed data and                     phytoplankton production (Kemp and Boynton, 1980), particularly in
cannot be verified without additional information. Additional data to                  July with the peak K. brevis bloom (Figs. S2d, S3d). Of note is that
support these results could include explicit load-based estimates for all              inorganic species of nitrogen, mainly ammonia, were only present at
sources entering the bay through 2021 and these estimates are forth­                   high concentrations in early April. Management concerns of the negative
coming. Laboratory-based methods, such as isotopic analyses of nutrient                impacts of nutrients on water quality focused primarily on the high
signatures found in biological tissues (e.g., macroalgae) compared to                  concentrations of ammonia in the discharge (Table 1), which can be
those from the release, could provide a more comprehensive description                 utilized rapidly by many phytoplankton taxa (Bates, 1976; Domingues
of the recycling of nitrogen from Piney Point. Additional confounding                  et al., 2011). Low concentrations of ammonia after April may be
variables can also obscure the association between water quality and                   explained by quick uptake by the initial diatom bloom, where TN that
community changes. Bay conditions preceding the 2021 events, as well                   included particulate and dissolved organic sources was at high con­
as the passage of tropical storm Elsa, could obscure these associations                centrations through April and again peaked in July. Variation in
(described below).                                                                     observed concentrations of nutrients is complex given that high con­
    Several of the water quality responses are consistent with observa­                centrations may suggest availability to support phytoplankton growth,
tions of nutrient loading in other shallow Gulf Coast estuaries (Caffrey               whereas low concentrations may imply cycling of available nitrogen in
et al., 2013; Doering et al., 2006; Greening et al., 2014). The relationship           organic forms already utilized by different taxa, including macroalgae
between nutrients, chl-a, and water transparency followed expectations                 (Cohen and Fong, 2006; Valiela et al., 1997).


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Fig. 5. Frequency occurrence estimates for (a) Area 1 and (b) Area 3 (see map Fig. 1a for locations) for macroalgae (top) and seagrass (bottom) rapid response
transect surveys across all transects (n   38). Estimates are grouped by sample months in 2021. Frequency occurrences are absolute for each taxon based on
presence/absence, whereas the total frequency occurrence applies to any taxa observed on each transect. Points are offset slightly for readability. No transects were
sampled in Area 2 to the north of Piney Point and no transects were sampled past September in Area 1 given allocated sampling effort following projected dispersal
patterns of the plume from model simulations.


4.2. Additional interpretation of impacts                                                 Macroalgae trends across the study period were much more dramatic
                                                                                      than the minimal changes observed in the seagrass community. This was
    Previous research for Tampa Bay has identified water quality con­                 expected given both the documented changes from past releases from
ditions that are likely to promote seagrass growth (Greening et al., 2014,            Piney Point (Switzer et al., 2011) and the more rapid response of mac­
and references therein; Greening and Janicki, 2006). Water quality re­                roalgae to changing water quality conditions relative to seagrasses
sults in 2021 suggested that conditions may have been light-limiting for              (Valiela et al., 1997). In Tampa Bay, red macroalgae groups (e.g., Gra­
seagrass growth (e.g., high chl-a concentrations, low Secchi observa­                 cilaria spp., Acanthophora sp.) are more common than green macroalgae
tions), although the conditions likely did not persist long enough to                 (e.g., Ulva spp., Caulerpa spp.) and occur earlier in the growing season.
impact seagrasses. The long-term effects of the Piney Point discharge on              The dominance of the red groups early in the summer followed by an
the seagrass community remains uncertain. From 2018 to 2020, seagrass                 increase in the green alga Ulva spp. may reflect a natural phenology in
coverage declined by 16% in Tampa Bay, with similar losses observed in                Tampa Bay. The most notable change in the macroalgal community in
Sarasota Bay (18%), Lemon Bay (12%), and Charlotte Harbor (23%) to                    2021 was a high abundance of filamentous cyanobacteria (i.e., Dapis
the south (Southwest Florida Water Management District, unpublished                   spp.) in May and June. High abundances of Dapis spp. were observed in
results). These broader trends suggest regional drivers are affecting                 Anna Maria Sound near the mouth of Tampa Bay and near Port Manatee
seagrass communities (e.g., variation in precipitation, Tomasko et al.,               at the release site, which is uncommon at these locations. Long-term
2020), yet local issues specific to individual bays also pose challenges to           monitoring data describing normal seasonal variation in macroalgae
managing water quality and subtidal habitats. Recent seagrass losses in               are unavailable and we cannot distinguish between seasonal and inter­
Sarasota Bay may be linked to decreased light availability from a                     annual changes and those in potential response to the Piney Point
persistent K. brevis bloom in 2018. Although the 2021 red tide in Tampa               release. Filamentous cyanobacteria has been observed during routine
Bay was short-lived, potential long-term effects on seagrasses remain a               annual transect monitoring in Tampa Bay and it has previously been
concern (e.g., alteration of sediment geochemistry, Eldridge et al.,                  documented in public reports to the Florida Department of Environ­
2004). Ecosystem shifts from seagrass to macroalgae dominated com­                    mental Protection. However, these communities can respond rapidly to
munities are also a concern, both in 2021 and as observed at some lo­                 external nutrient inputs (Ahern et al., 2007; Albert et al., 2005), often
cations in recent years from annual transect monitoring results for                   exhibiting lagged responses with characteristic growth/decay periods
Tampa Bay. In particular, increasing abundance in recent years of the                 similar to observations herein (Estrella, 2013), and it is not unreason­
green algae Caulerpa sp. has been observed at long-term transects that                able to expect these trends to be related to nutrients from Piney Point.
were previously dominated by seagrass. These changes may be indica­                   Although long-term seasonal data are unavailable for comparison,
tive of broader ecosystem shifts concurrent with alteration of nutrient               anecdotal reports suggested that the observed biomass in 2021 was very
loads or system resilience at the expense of seagrass communities (Lloret             unusual (R. Woithe, Environmental Science Associates, pers. comm.
et al., 2005; Stafford and Bell, 2006). Acute stressors from short-term               Dec. 2021).
events, such as unanticipated releases from Piney Point, create addi­                     There were also concerns that the release from Piney may have
tional and often preventable challenges to managing seagrass health.                  contributed to the persistence and intensity of K. brevis, having negative


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Fig. 6. Karenia brevis concentrations (cells/L) (a) by year and (b) by week in 2021, (c) cumulative precipitation in 2021 compared to past years, (d) cumulative
inflow in 2021 compared to past years, (e) fish kill reports in 2021, and (f) wind rose plots for 2021 with notable breaks before/after Piney Point release and tropical
storm Elsa. Wind roses show relative counts of six minute observations in directional (30 degree bins, north is vertical) and speed (m/s) categories.


effects on fisheries resources in June and July (Fig. 6). Fisheries re­                although HAB species (Prorocentrum minimum, Heterosigma akashiwo),
sources in Tampa Bay have previously been negatively affected by red                   including K. brevis and diatoms, were observed in Bishop Harbor during
tide (e.g., in 2005, Flaherty and Landsberg, 2011; Schrandt et al., 2021).             this time (Garrett et al., 2011). Prior blooms in Tampa Bay were more
For past Piney Point events, Switzer et al. (2011) evaluated nekton                    localized and K. brevis was at lower abundances in comparison to the
communities in Bishop Harbor from November 2003 to October 2004                        2021 bloom event, potentially mitigating exposure of fishes to related
following discharge to this subembayment. Fish community structure                     harmful conditions. In Sarasota Bay to the south, fish activity measured
and species composition did not differ compared to a pre-impact period,                by passive acoustic methods was significantly lower during a 2018 red


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Fig. 7. Graphical timeline of events in Tampa Bay from March 30th through September 2021 following the release from Piney Point. Inset image shows blooms of
filamentous cyanobacteria (Dapis spp.).


tide event as compared to pre-bloom levels (Rycyk et al., 2020). Water               the extreme bloom concentrations observed in July. Similarly, recent
quality conditions before and after passage of tropical storm Elsa may               studies have highlighted the role of anthropogenic forcing in increasing
have also contributed to fish kills by reducing bottom-water dissolved               bloom intensity in southwest Florida (Medina et al., 2020, 2022).
oxygen. Stevens et al. (2006) documented impacts of a category 4 storm                   In the broader context of mining impacts to surface waters, these
on fish resources in the Charlotte Harbor estuary, although tropical                 results reinforce the understanding that legacy pollutants from phos­
storm Elsa was much smaller and fish kills were documented prior to and              phate mining can negatively affect environmental resources. In addition
after arrival of the storm. Lack of continuous monitoring data for bottom            to Tampa Bay (Garrett et al., 2011; Switzer et al., 2011), other Gulf Coast
waters in Tampa Bay prevents a more detailed assessment of impacts of                estuaries have been affected by pollutants from unanticipated gypstack
the storm on water quality.                                                          releases. For example, two spills have occurred in Grand Bay, Mis­
    Establishing causal linkages between the nutrient inputs from Piney              sissippi, the first in 2005 following failure of the retaining walls after a
Point and the severity of the K. brevis bloom observed in Tampa Bay this             heavy rain event and the second in 2012 after passage of Hurricane Isaac
year is difficult in the absence of more quantitative results or mecha­              when the holding capacity of the local gypstack was exceeded again with
nistic tools to support understanding. Occurrence of this species has                heavy rainfall (Beck et al., 2018a; Dillon et al., 2015). The historical
historically been spatially distinct, with blooms originating in subsur­             context of Grand Bay is similar to Piney Point and other international
face water offshore on the West Florida Shelf (Liu et al., 2016; Stei­               examples, e.g., Huelva estuary in Spain (Pérez-López et al., 2010, 2016).
dinger, 1975; Weisberg et al., 2014, 2019) and occasionally occurring at             Legacy wastewater from fertilizer production has been poorly main­
bloom concentrations in lower and middle Tampa Bay. Although bloom                   tained at some facilities and long-term plans are insufficient to safely
concentrations in 2021 were extreme, historical blooms have been                     dispose of remnant pollutants that pose a risk of significant impacts to
observed in Tampa Bay with notable events occurring in 1971 (Stei­                   coastal resources that increases over time. These are not isolated ex­
dinger and Ingle, 1972), 2005 (Flaherty and Landsberg, 2011), and                    amples and enhanced regulatory oversight is needed to safely and
recently in 2018 (Skripnikov et al., 2021). Seasonal persistence in Gulf             effectively close these types of facilities (Nelson et al., 2021). Local,
waters in southwest Florida can vary between years, with some blooms                 regional, and state partners should continue to pursue management and
lasting as short as a few weeks, while others have been present for longer           policy actions that can mitigate the continued threats of these facilities
than a year (the 2018 bloom lasted sixteen months, Skripnikov et al.,                to the health of coastal resources. These efforts are critical to managing
2021). Severe K. brevis blooms are rarer in estuaries because high                   Gulf of Mexico ecosystems given past successes and the need to address
abundances are most common at higher salinities typical of coastal or                ongoing threats of climate change, human population growth, habitat
oceanic waters (Steidinger et al., 1998; Villac et al., 2020). Contributing          loss, severe weather events, and recurring pollutant sources.
factors in 2021, such as low rainfall preceding the bloom and varying
wind patterns, created conditions that were favorable for growth of                  CRediT authorship contribution statement
K. brevis in Tampa Bay. However, the results suggest a likely scenario
that residual nutrients from the Piney Point release, or indirectly                     Marcus W. Beck: Conceptualization, Data curation, Formal analysis,
through nutrients made available from the growth and decomposition of                Methodology, Writing – original draft, Writing – review & editing.
other primary producers (e.g., diatoms, macroalgae) stimulated by in­                Andrew Altieri: Data curation, Writing – review & editing. Christine
puts from Piney Point, were sufficiently available to allow growth of                Angelini: Conceptualization, Writing – review & editing. Maya C.
K. brevis to the concentrations observed in July (also see Medina et al.,            Burke: Project administration, Supervision, Writing – review & editing.
2020). Daily simulation results from the Tampa Bay Coastal Ocean                     Jing Chen: Data curation, Writing – review & editing. Diana W. Chin:
Model (Chen et al., 2018, 2019) suggested that the plume was wide­                   Data curation, Writing – review & editing. Jayne Gardiner: Data
spread throughout the bay and persisted for many months after the                    curation. Chuanmin Hu: Data curation, Writing – review & editing.
release ceased at Port Manatee. Plume dispersal also suggested that both             Katherine A. Hubbard: Data curation, Validation, Writing – review &
open-water and back-bay habitats were exposed to nutrient concentra­                 editing. Yonggang Liu: Data curation, Writing – review & editing. Cary
tions sufficient to stimulate phytoplankton production. Although Piney               Lopez: Data curation, Validation, Visualization, Writing – review &
Point did not cause red tide (i.e., it originates in the Gulf of Mexico), the        editing. Miles Medina: Formal analysis, Methodology, Visualization,
events of 2021 may have created conditions in Tampa Bay conducive for                Writing – review & editing. Elise Morrison: Data curation, Funding


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Fig. 8. Weekly summarized observations (medians, 2.5th to 97.5th percentiles) across all sampled locations for (a) total nitrogen concentrations, (b) chlorophyll-a
concentrations, (c) diatom cell concentrations, (d) filamentous cyanobacteria abundances, and (e) Karenia brevis cell concentrations. Values are summarized for all
samples within each week. The values suggest nutrient cycling between water column phytoplankton in the initial April diatom bloom, then to filamentous cya­
nobacteria in May to June, and then to K. brevis peaking in early July. The upper limit of the y-axis on (e) is truncated to emphasize trends. Quantitative cell counts
for diatoms are missing for several weeks, but see Fig. S6 for frequency occurrence estimates across all dates. Diatom concentrations are based on combined cell
counts from Asterionellopsis sp. and Skeletonema sp.


acquisition, Writing – review & editing. Edward J. Phlips: Data cura­                  Tomasko: Conceptualization, Data curation, Writing – review & editing.
tion, Funding acquisition, Writing – review & editing. Gary E. Rau­                    Robert H. Weisberg: Data curation, Writing – review & editing. Joseph
lerson: Data curation, Writing – review & editing. Sheila Scolaro: Data                Whalen: Conceptualization, Visualization.
curation, Writing – review & editing. Edward T. Sherwood: Project
administration, Supervision, Writing – review & editing. David

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 October 6, 2021

 Annette G. Roberts
 DEP Drinking Water and Aquifer Protection Program
 2600 Blair Stone Rd.
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 Tallahassee, FL 32399-2400
 APP@FloridaDEP.gov; Annette.g.roberts@floridadep.gov

 Re: Piney Point injection well UIC Permit No. 0322708-002-UC/1l, WACS Facility ID:
 101607
 The undersigned organizations request that you deny Manatee County’s permit application as the
 waste at Piney Point is hazardous, whether Bevill-exempt or not, and the uncertainty of deepwell
 injection in this area makes the injection of waste from Piney Point a risky experiment that
 presents an imminent and substantial endangerment to human health and the environment. The
 application should be rejected as too dangerous and instead FDEP, Manatee County, and all
 parties involved at Piney Point should aggressively explore other proven treatment and disposal
 methods.
    I.      Piney Point Background
 The Piney Point fertilizer plant consisted of an acid plant, a phosphoric acid plant, an
 ammoniated phosphate fertilizer plant with storage for ammonia, phosphoric acid, and other
 products necessary for the manufacture of fertilizer, and related facilities.
 Phosphoric acid production involves the use of acidic solutions to separate phosphorus from
 phosphate-containing rock. The resulting waste is phosphogypsum. Phosphogypsum is watery
 when it is first stored, but over time it dries, and a crust forms over the top, forming “stacks.” At
 Piney Point, this toxic waste was formed into large stacks 70-80 feet high and 457 acres wide.
 Phosphogypsum is radioactive and can contain uranium, thorium, and radium. Over time,
 uranium and thorium decay into radium, and radium subsequently decays further into radioactive
 radon, the second-leading cause of lung cancer in the United States. Radium-226, found in
 phosphogypsum, has a 1,600-year radioactive decay half-life. In addition to high concentrations
 of radioactive materials, phosphogypsum and associated process wastewater can contain
 carcinogens and heavy toxic metals like antimony, arsenic, barium, cadmium, chromium, copper,
 fluoride, lead, mercury, nickel, silver, sulfur, thallium and zinc.
         A. The Piney Point facility generated and stored monoammonium and/or
            diammonium phosphate.
 Operations at Piney Point documented the utilization of a monoammonium and/or diammonium
 phosphate production process in the creation of phosphate fertilizer. In 1990, Royster
 Phosphates, Inc., then-operator of the Piney Point facility, provided the United States
 Environmental Protection Agency with its response to a regulatory questionnaire entitled

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 “National Survey of Solid Wastes from Mineral Processing Facilities.” The questionnaire was
 “designed to obtain information on the generation and management of selected solid wastes from
 mineral processing facilities.” The questionnaire was EPA’s method of fulfilling the
 Congressional requirement that EPA determine whether “Special Wastes” such as
 phosphogypsum should be subject to the requirements of Subtitle C of the Resource
 Conservation and Recovery Act (RCRA), the chapter of RCRA that focuses on hazardous
 wastes.
 Royster Phosphates, Inc.’s response to EPA’s questionnaire included maps of the Piney Point
 facility that demonstrate the facility utilized a monoammonium (MAP) and/or diammonium
 phosphate (DAP) production process. The maps identify both a DAP plant as well a
 “diammonium phosphate pond” at the site and show that the waste stream from the DAP
 production process was disposed of in the phosphogypsum stack system.




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 The waste disposed of in the phosphogypsum stacks at Piney Point is hazardous waste from the
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 monoammonium and/or diammonium phosphate production process.1 In fact, the United States
 of America recently settled two lawsuits brought under RCRA through federal consent decrees
 brought against fertilizer manufacturers J.R. Simplot Company and Mosaic Fertilizer LLC. In
 those lawsuits, the United States of America alleged that defendants unlawfully disposed of
 hazardous wastes from monoammonium and/or diammonium phosphate production processes
 into phosphogypsum stacks, and that wastes generated from monoammonium and/or
 diammonium phosphate production processes are not within the scope of the Bevill amendment
 under 40 C.F.R. § 261.4(b)(7) & (b)(7)(ii)(D).2
 Phosphate fertilizer production at Piney Point continued until 1999. In 2001, Piney Point
 Phosphates, Inc., a wholly-owned subsidiary of Mulberry Corporation, operated the Piney Point
 site. In February 2001, Mulberry Corporation filed for bankruptcy and provided Florida State
 officials with 48 hours’ notice that it was abandoning the property.
 The property’s ownership and operation then passed to the Florida Department of Environmental
 Protection (FDEP) through a court-ordered receivership, also in February 2001. FDEP
 determined that the facility needed to be closed.
 At the time, Piney Point was equipped with a limestone or lime treatment facility which helps
 remove fluoride and phosphate, followed by ammonia via aeration, achieving over 97% removal
 of ammonia. While the necessary discharge rate of one million gallons a day (there was 1.2
 billion gallons of process wastewater in storage at that time) was too much to safely discharge
 into Bishop Harbor,3 if coupled with denitrification and releasing lower levels of water in the
 summer, wastewater at Piney Point could have addressed. But FDEP failed to act quickly enough
 and Tropical Storm Gabrielle forced the receiver into “emergency response” mode instead of
 “closure” mode.
 In that emergency situation, FDEP and the receiver turned to reverse osmosis (RO). RO treated
 350 million gallons of process water at Piney Point, which were later discharged into Tampa
 Bay. It was determined that the benefits of RO treatment as compared to other technologies are:
         -   Timeliness in installation, start-up, and water production.
         -   Modular equipment that enables flexibility to expand or add unit operation(s).
         -   High-quality RO effluent can be discharged and thus reduce the threat of an
             unplanned or uncontrolled release.
         -   Concentrate that remains results in smaller volume to “double lime” treat for
             final solution.
 It was planned that following the complete lining of the ponds, the remaining water would be
 treated and disposed using RO and lime treatment, but that never happened.

 1
   See 40 C.F.R. Part 261.
 2
   See U.S. v. J.R. Simplot Company & Simplot Phosphates, LLC, Case No. 2:20-cv-00125-NDF, Dkt. No. 10 (D.
 Wyo. 2020) (Consent Decree); U.S. v. Mosaic Fertilizer, LLC, Case No. 2:15-cv-04889, Dkt. No. 2-1 (E.D. La.
 2015) (Consent Decree).
 3
   Perpich, B. et al. 2005. Mobile Wastewater Treatment Helps Remediate Concentrated Acidic Process Water at
 Fertilizer Plant. Florida Water Resources Journal.
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        B. FDEP approved the use of Piney Point for harbor dredge storage.
 In 2005 the Manatee County Port Authority (MPCA) began exploring plans to create a
 deepwater berth for large shipping vessels and to reduce congestion in Port Manatee. The project
 was expected to produce 1,170,000 cubic yards of dredged material. Additional annual
 maintenance dredging was anticipated to produce 300,000 cubic yards of dredged material.
 Overall, MPCA determined it needed a disposal area sufficient to handle 3,220,000 cubic yards
 of material over a twenty-year maintenance period.
 MPCA developed a plan to pump the dredged materials from the Port expansion into Piney
 Point’s HDPE-lined impoundments on top of the phosphogypsum stacks. FDEP approved the
 permit necessary for MPCA to begin the dredging process in Environmental Resource Permit
 No. 0129291-0090-EM. FDEP was the real property owner of the site until August 2006 when
 HRK Holdings LLC (HRK) purchased Piney Point in connection with the Mulberry
 Corporation’s bankruptcy proceeding. Shortly thereafter MPCA began negotiations with HRK
 and entered into a “Dredged Materials Containment Agreement” (DMCA) with HRK on April
 19, 2007. FDEP and HRK entered into the First Amendment to the Administrative Agreement
 (hereinafter “Amended Agreement”) on August 20, 2007. The Amended Agreement stated that,
 since HRK’s purchase of Piney Point, FDEP “has continued to conduct [c]losure work and
 related tasks at the Site[.]” FDEP represented that “storage of dredged materials” to be generated
 by MPCA would be “compatible with the design and purpose of the lined reservoirs constructed
 by the Department[,]” and would “be of benefit to the Department.”
 FDEP stipulated in the Amended Agreement to not place a protective soil cover over the three
 impoundments to be initially used for dredged material storage: the OGS-N, OGS-S, and NGS-S
 (defined as the “lined DMCA Reservoir Compartments”). These impoundments would instead be
 used for the storage of dredged material from MPCA. FDEP specifically retained the right to
 “freely utilize” the NGS-N “for storage and management of process water[.]”
 In August 2008, the Army Corps of Engineers (Corps) issued its “Draft Phase IIII General
 Revaluation Report and Environmental Assessment Addendum” (Report) on the proposal. That
 Report explicitly warned FDEP and MPCA not to use the Piney Point site for disposal of
 dredged materials from the Port Manatee expansion, stating:
        The Corps of Engineers would need to perform analyses to determine if the
        disposal facility meets the design and construction criteria established in Corps of
        Engineers guidance such as EM 1110-2-5027 and others as appropriate. In the
        case of the Piney Point site, there is a heightened level of concern with regard to
        the integrity of the gypsum stack which forms the foundation of the dredged
        material handling facility. The heightened level of concern follows from the
        following considerations:
        • The gypsum stack itself is not an engineered structure. There are no design plans
        and specifications, nor as built drawings, nor construction documentation to
        support the assertion of structural integrity of the stack for the purpose of
        supporting a material handling facility to be constructed on top of the stack.
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        • The gypsum stack itself contains hazardous and toxic material.
        • There is documentation of past slope stability and piping issues experienced at
        the site.
        The local sponsor, the site owner, and the State of Florida Department of
        Environmental Protection (DEP) have supplied data and have asserted that the site
        is approved for the use intended. However, the Corps of Engineers has found the
        data to be inconclusive.
 The Corps described that “the worst case scenario for Piney Point being used as dredged material
 disposal facility would be a breach in the liner. Such a breach would allow water to saturate and
 cause a failure to the gypsum stack, enabling the mixing of large volumes of dredged material
 with large volumes of phosphogypsum.” Not only would this have dire environmental
 consequences, but it would also nullify the phosphogypsum stacks’ legal exemption from the
 definition of hazardous waste under RCRA and make the dredged spoils subject to RCRA as
 both a solid waste and a hazardous waste. As the Corps described:
        Water from rain and the placement of dredged slurry could percolate into [the]
        phosphogypsum stack releasing a leachate that could be corrosive and toxic. If
        leachate meets the characteristics according to 40 CFR 261.22 and 40 CFR
        261.24, then the leachate would be designated as hazardous waste. Then the
        mixture of a solid waste, with hazardous waste is considered a hazardous waste.
        The addition of dredged material to a hazardous waste will increase the
        probability of contaminating the surrounding surface and groundwater.
 The Corps required FDEP to certify “Piney Point as a Dredged Material Disposal Site,” to
 provide adequate documentation of the arrangements for use of Piney Point to store the dredged
 materials, and for extensive testing to ensure “that there is no hazardous material that will enter
 the site.” It is unclear whether that ever happened.
 The Corps also asked FDEP to prepare a risk assessment of potential failure modes, and for
 FDEP to evaluate the probability or likelihood of such failure modes. Despite having prior
 knowledge that the Piney Point gypsum stacks were already at risk of failure due to settling of
 the gypsum stacks and foundational soils, FDEP wrote to the Corps on April 8, 2010, explaining
 its support of the proposed use of the Piney Point phosphogypsum stacks for storage and disposal
 of the dredged material from the Port Manatee berth expansion. Two days later, the Corps
 responded, noting that Engineer Regulation 1165-2-132, “Hazardous Toxic Radioactive Waste
 for Civil Works Projects,” specifically directed that construction in such areas should be avoided
 where practicable, reaffirming its position that the use of Piney Point for disposal carries
 unnecessary risks to the public and the environment.
 FDEP continued to ignore the Corps’ warnings, and as a result, the Corps requested, and FDEP
 provided, a formal covenant not to sue relative to the use of the closed Piney Point
 phosphogypsum stacks for storage and disposal of dredged material. The Corps also required


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 assurances from FDEP that the Corps would not be considered a potentially responsible party for
 purposes of environmental clean-up in the event of a leak or discharge at Piney Point.
        C. Tears in Piney Point’s HDPE liners lead to mixing of hazardous waste and
           phosphogypsum stack failures.
 In February 2011, as Piney Point was being prepared for the dredging and disposal operations, a
 crane collapsed and punctured the HDPE liner in NGS-S. Ardaman drained NGS-S and visually
 inspected the floor of the liner. Approximately 150 feet from the location where the crane
 impacted the liner, Ardaman discovered a 6-inch breach in the liner along an extruded ballast
 trench seam. Beneath the liner breach, there was a “solution cavity” four feet in diameter and at
 least four feet deep. FDEP eventually approved all the remaining necessary state permits for
 MPCA to begin the dredging project, and dredging began on April 22, 2011.
 Just weeks later, as the dredging process was continuing and wastes were being disposed of at
 Piney Point, HRK reported to FDEP increased flows, conductivity, and chloride concentrations
 in the buried drains based on monitoring that was required specifically for the approved dredge
 disposal operations at the site. On May 29, 2011, FDEP issued an Emergency Final Order (EFO
 No. 11-0813) that ordered HRK to take actions to help prevent the collapse of the
 phosphogypsum stack system and its impoundments, and authorized controlled emergency
 discharges as needed to protect the integrity of the stack system or its impoundments and protect
 waters of the state.
 On June 4, 2011, FDEP directed that dredging operations be fully suspended due to continued
 changes in site conditions. Specifically, decreasing water levels in the NGS-S indicated a leak of
 at least 12,000 gallons per minute. On June 6, 2011, a strong vortex was identified near the
 water’s edge in the southwest corner of NGS-S, similar to what FDEP’s contractor, Ardaman,
 identified and disclosed to FDEP nearly a decade prior in the NGS-N in the 2001 Geotechnical
 Study. Attempts to repair the liner hole were unsuccessful and the flow rate increased to 35,000
 gallons per minute. This created another vortex by the toe of the slope of the impoundment,
 threatening catastrophic failure.
 On June 7, 2011, FDEP required HRK to perform a controlled breach to NGS-S to relieve stack
 pressures onsite, and to prevent an uncontrolled loss of containment from the stack system to
 offsite property. Emergency discharges were performed by HRK as required by FDEP in its
 Emergency Final Order until June 16, 2011.
 All told, 169 million gallons of wastewater, consisting of dredged seawater mixed with process
 wastewater were discharged. Following this event, FDEP and Ardaman inspected the liner at
 NGS-S and identified 29 stress cracks in the liner. In October 2011, an additional five stress
 cracks in the liner of NGS-S were identified.
 HRK completed grouting and repair operations to the phosphogypsum stack system and its
 impoundments by July 19, 2011, and the dredging project was allowed to resume and was
 completed on October 21, 2011. HRK filed for bankruptcy on June 27, 2012, after the Port
 Manatee expansion and dredging project was complete. Beginning in August 2012, HRK

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 transferred 72-107 MG of process water from NGS-N to NGS-S, followed by subsequent smaller
 transfers. HRK emerged from bankruptcy March 20, 2017.
        D. The 2021 Piney Point discharge polluted Tampa Bay and fueled a red tide
           bloom.
 On or about March 13, 2020, an engineering firm hired by HRK warned FDEP of serious
 problems with the integrity of the site and its HDPE liner. The firm explained that the risk of an
 uncontrolled release or breach from the site was elevated due to the deteriorating liner conditions
 above the water line, compromised conditions below the water line, and voids in the dikes that
 hold the water at the NGS-S impoundment.
 On or about March 25, 2021, HRK reported to FDEP increased flow and conductivity
 measurements in the drains that surround the phosphogypsum impoundments. HRK’s report
 indicated that over a 24-hour period, flow in the buried seepage interceptor drains increased over
 30 gpm without any associated rainfall. Additionally, HRK reported that conductivity
 measurements from the drain system had gone up from previous readings of up to 6,800
 umhos/cm to readings of up to 9,960. FDEP concluded that the NGS-S compartment had a leak
 below the water level in the impoundment.
 On March 26, FDEP determined that the increased flow in the drains showed that leakage
 emanating from the NGS-S lined compartment was being intercepted by the buried silica-gravel
 drain system that surrounds the system to protect against outward migration of seepage that
 would otherwise impact site groundwater and discharges from Piney Point into Piney Point
 Creek began. FDEP later reported that a “boil,” or an upwelling of water, had been observed
 along the east wall of the NGS-S, and HRK placed an earthen berm to provide initial
 containment within the stormwater ditch, through which contamination was seeping.
 Despite continuous pumping, multiple boils, openings and associated releases continued and
 FDEP authorized the discharge of up to 480 million gallons into Tampa Bay. The governor
 issued a state of emergency and voluntary evacuation order for Manatee County, which turned
 into a three-county state of emergency and mandatory evacuation order due to worsening
 conditions at the site. By April 5, FDEP had taken emergency efforts to address the uncontrolled
 flooding from the northern toe of the NGS-N. Both siphons were discharging 24,000
 gallons/minute from the NGS-N directly into Port Manatee. These discharges would continue
 unabated for days, releasing over 215 million gallons of untreated wastewater into Tampa Bay.
 The resulting discharges of nutrient-laden wastewater from Piney Point into Tampa Bay
 contributed to a massive red tide blooms (Karenia brevis).
 FDEP sampling shows algae was detected in 12 water samples taken in Tampa Bay from April
 8-14, 2021 in response to the Piney Point wastewater discharge, according to an FDEP blue-
 green algae report. Some samples have also contained trace levels of cyanotoxins. On May 26,
 2021, aquaculture was closed in the area due to red tide concerns. On June 3, 2021, Hillsborough
 County issued a health advisory for the area near Piney Point due to red tide blooms detected in
 the area. During the week of June 9, 2021, red tide was detected in bloom concentrations of

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 greater than 100,000 cells/liter in Pinellas, Manatee, and Hillsborough counties, and fish kills
 suspected to be related to red tide were reported in the same counties. In June 2021, a Lyngbya
 bloom was identified in Anna Maria Sound and in Upper Sarasota Bay. Lyngbya is a
 cyanobacteria that can cause skin irritation and potentially lethal if ingested, even indirectly by
 eating fish that have fed on Lyngbya. More than 1,800 tons of dead marine wildlife have been
 collected in Tampa Bay, and sea turtles and dozens of manatees have died as a result of red tide.
     II.      Manatee County Injection Well System Permit Application
 In April 2021, Manatee County applied for a permit for a Class I industrial injection well for
 disposal of non-hazardous industrial wastewater from the Piney Point Facility’s phosphogypsum
 stacks and phreatic water collected by the underdrain system.4 Manatee County also requested to
 convert an existing exploratory well into a monitoring well for the Class I injection well system.5
 The injection well is proposed to inject wastes from Piney Point into the Lower Floridan Aquifer
 with casing to a depth of 1,950 feet and an open hole from 1,950 feet to 3,300 feet.6 The
 applicant speculates that the injection zone is “confined from the Upper Floridan aquifer by a
 thick confining bed.”7 The permit application admits that Manatee County does not know the
 precise geologic strata in the location where the well is planned to be installed. Instead, Manatee
 County asserts that the “anticipated geologic strata” were identified based on a well installed five
 miles away from the planned well site. The permit application further admits that Manatee
 County does not know the precise location where the Underground Source of Drinking Water
 begins or ends.
 Furthermore, the applicant states that a pre-treatment facility will be “designed concurrently with
 permitting and construction phase of the wells,” and that the specific pre-treatment strategy has
 not yet been determined,8 but in any event will only assure the avoidance or limitation of the
 potential for plugging of the formation.9 It states that there will be no pretreatment for any other
 purpose, including to treat hazardous waste:10
           The source water will undergo pre-treatment to adjust the water chemistry to
           assure compatibility… The pre-treatment facility has not been constructed and
           will be designed concurrently with permitting and construction phase of the well.
           The pre-treatment strategy is not to reduce constituents to any regulatory standard
           as the water has been characterized as non-hazardous and is acceptable for Class I
           injection. Rather, the treatment will be to assure chemical compatibility with the
           injection zone to avoid or limit the potential for plugging of the formation to the


 4
   ASRUS, L.L.C & Jacobs, Florida Department of Environmental Protection Class I, Injection Well Construction
 and Testing Permit Application, Manatee County Piney Point Injection Well Part II, submitted by Manatee County,
 at 2-1 (April 2021).
 5
   Id.
 6
   Id.
 7
   Id.
 8
   Id.
 9
   Id.
 10
    Application at 2-1 (emphasis added).
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             degree possible. The type and level of treatment is yet to be determined and will
             be the scope of Jacobs Engineering.
 The application does not clarify who deemed the waste non-hazardous or when, but FDEP
 Secretary Shawn Hamilton recently confirmed at a House Environment, Agriculture and
 Flooding Subcommittee hearing that the waste from Piney Point will not be pretreated for any
 other purpose than to ensure the integrity of the well.11 This is despite the fact that water quality
 sampling information included with the permit application from April 9, 2019 and August 22,
 2019 shows that the wastewater proposed to be disposed of in the underground injection well
 contains hazardous levels of pollutants, including heavy metals and radioactive waste. Notably,
 no sampling of the phreatic water or other wastes stored at Piney Point were provided with the
 permit application.
      III.      Florida’s Ban on Hazardous Waste in Injection Wells
 Florida banned hazardous waste landfills, including injection wells, when the Florida Legislature
 passed the Water Quality Assurance Act in 1983.12 Floridians had significant concerns about the
 safety of Florida’s drinking water that stemmed from the widespread use of pesticides in
 Florida’s agricultural regions, the lack of information regarding the cumulative effects of the
 large number septic tanks in use throughout Florida, and a heavy reliance on groundwater for
 drinking water and irrigation.13
 The statute explains that the prohibition was necessary because of Florida’s high water table and
 soil permeability.14 The Final Report from the Task Force explained that Florida was ill-suited
 for hazardous waste landfills due to its 1,000+ miles of coastline and vulnerability to saltwater
 intrusion.15 It also found that Florida is highly vulnerable to groundwater contamination due to
 its thin soil cover, high water table, highly porous and channelized limestone formation, and high
 and uneven rainfall.16 The Task Force concluded that disposal of hazardous waste by
 underground injection was not environmentally sound due to Florida’s hydrogeological
 conditions.17
 Furthermore, in 1985, Florida’s administrative agency established a general prohibition of Class
 I wells from injecting hazardous waste which defines hazardous waste by reference to 40 §
 C.F.R. 261.18 That regulation, in turn, identifies and describes hazardous waste under RCRA.

 11
    Sept. 22, 2021, at minute 43 https://thefloridachannel.org/videos/9-22-21-house-environment-agriculture-and-
 flooding-subcommittee/.
 12
    Fla. Stat. § 403.7222 (2020).
 13
    Patricia E. Norris et al., Water Quality Policy in Three Southern States: A Comparison and Analysis of
 Institutional Design, Southern Rural Development Center, at 20 (1994); Wade L. Hopping & William D. Preston,
 The Water Quality Assurance Act of 1983 – Florida’s “Great Leap Forward” into Groundwater Protection and
 Hazardous Waste Management, 11 Fla. St. U. L. Rev. 599, 602 (1983).
 14
    Fla. Stat. § 403.7222(b) (2020); Assault on Water Bill, St. Petersburg Times, April 18, 1983; Robert Barnes,
 Legislature Wins Praise for Water Protection, St. Petersburg Times, July 3, 1983.
 15
    H.R. Rep., Report of the Speaker’s Task Force on Water Issues, at 8-12 (1983).
 16
    Id. at 118.
 17
    Id. at 9.
 18
    Fla. Admin. Code R. 17-28.20 (1985); Fla. Admin. Code R. 62-528.400 (2020).
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 Congress passed RCRA in 1976 to address the problems associated with industrial and municipal
 waste.19 RCRA’s purpose is to ensure that human health and the environment were protected
 from solid waste.20 RCRA aims to regulate hazardous wastes which are discarded wastes that
 due to the quantity, concentration, or characteristics
            cause or significantly contribute to an increase in mortality or serious irreversible,
            or incapacitating reversible illness, or pose a substantial present or potential
            hazard to human health or the environmental when improperly treated, stored,
            transported, or disposed of, or otherwise managed.21
 Because of the potential hazard for human health or the environment, phosphogypsum process
 wastewater were originally considered a hazardous substance for purposes of RCRA hazardous
 waste regulations. Phosphate rock is mined and processed to make fertilizer by exposing it to an
 acidic solution.22 The acidic solution, after dissolving the rock, is considered waste and it
 generally contains uranium, thorium, and radium.23 The most concerning constituents of the
 waste for human health are arsenic, chromium, selenium, cadmium, radium-226, lead, vanadium,
 copper, antimony, thallium, and fluoride.24 Of those, arsenic, lead, cadmium, chromium,
 antimony, thallium, and copper are listed in EPA’s Appendix VIII of 40 C.F.R § 261 list of
 hazardous constituents.25 Thus, in addition to being radioactive and extremely corrosive, several
 of the constituents in phosphogypsum process water are hazardous.
 Unfortunately, the 1980 Bevill Amendment paved the way for phosphogypsum and process
 wastewater associated with phosphate mining to ultimately be excluded from regulation under
 RCRA.26 Specifically, in 1991, the EPA made a determination that due to costs to the industries
 to comply with Subtitle C of RCRA, phosphogypsum and the process waste water would be
 excluded from regulation.27 Therefore, even though phosphogypsum and process water are
 hazardous to human health and the environment, they are not regulated by the EPA as hazardous
 waste due to a regulatory loophole.
      IV.      Piney Point Process Wastewater and Gypstacks are Hazardous Waste
 Florida law prohibits the use of a Class I underground injection well for the disposal of
 hazardous waste.28 However, the wastes proposed for disposal through the underground injection

 19
    42 U.S.C. § 6901(b) (202).
 20
    Id. at § 6902.
 21
    Id. at § 6903(5).
 22
    Environmental Protection Agency, Radioactive Material From Fertilizer Production,
 https://www.epa.gov/radtown/radioactive-material-fertilizer-production#about-radioactive-material-from-fertilizer-
 production.
 23
    Id.
 24
    Environmental Protection Agency, Report to Congress on Special Wastes from Mineral Processing: Summary and
 Findings Methods and Analyses Appendices, at 12-1 (1990).
 25
    Id. at 12-8.
 26
    Environmental Protection Agency, Final Regulatory Determination for Special Wastes from Mineral Processing
 (Mining Waste Exclusion), Final Regulatory Determination and Final Rule, 56 Fed. Reg. 27300 (June 13, 1991).
 27
    Id.
 28
    F.A.C. 62-528.400(1) (prohibiting the injection of hazardous waste through any well or septic system “except for
 those Class 1 wells permitted to inject hazardous waste as of January 1, 1992”). Florida expressly adopted federal
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 are hazardous waste.29 Phosphogypsum stacks and associated process wastewater are exempt
 from regulation under RCRA as hazardous wastes by operation of the “Bevill Amendment,” but
 not from regulation as solid wastes.30 Moreover, documentation from former operators at Piney
 Point show the facility utilized a MAP and/or DAP production process, meaning the waste
 stream at Piney Point was never within the scope of the Bevill amendment, and therefore subject
 to regulation as hazardous waste under RCRA Subchapter C. The process water currently in
 several of Piney Point’s gypstacks contain ammonia as nitrogen and nitrate/nitrite as nitrogen.31
 Phosphogypsum process water at Piney Point, given that it has been mixed with ammonia and
 nitrates, is a hazardous under the Bevill Mixture Rule.32 Because monoammonium and/or
 diammonium phosphate production processes are not within the scope of the hazardous waste
 exclusion under 40 C.F.R. § 261.4(b)(7), the wastes proposed to be disposed of by Manatee
 County through the underground injection well are properly classified as hazardous waste –
 waste that is prohibited from being disposed of through underground injection.

 Furthermore, as FDEP was warned by the Corps over a decade ago, the use of Piney Point for the
 storage of dredged materials has caused leachate to intermix with the process wastewater and
 phosphogypsum stacks. Specifically, the Corps warned that:

         Water from rain and the placement of dredged slurry could percolate into the
         phosphogypsum stack releasing leachate that could be corrosive and toxic. If
         leachate meets the characteristics according to 40 CFR 261.22 and 40 CFR
         261.24, then the leachate would be designated as hazardous waste. Then the
         mixture of a solid waste, with hazardous waste is considered a hazardous waste.
         The addition of dredged material to a hazardous waste will increase the
         probability of contaminating the surrounding surface and groundwater.

 The Corps’ fear has become reality. Multiple liner tears have caused dredged material to leach
 through the liner and mix with the existing solid waste, creating a new waste material that
 satisfies the regulatory requirements for categorization as hazardous waste.

 Federal law defines hazardous waste as any solid waste that is on lists of hazardous wastes and
 any other waste having a hazardous characteristic.33 These characteristics are corrosivity,
 ignitability, reactivity, and toxicity.34 The wastewater at Piney Point, which the applicant states
 will undergo no pretreatment for hazardous constituents, appears to be acidic and contain arsenic

 definitions and exclusions for solid and hazardous waste. F.A.C. 62-730-30(1) (adopting by reference the provisions
 of 40 C.F.R. Part 261).
 29
    This argument is also detailed in the enclosed notices of intent to sue and amended complaint.
 30
    See, e.g., 40 C.F.R. § 261.4(b)(7) (preceding title: “Solid wastes which are not hazardous wastes.”) & §
 261.4(b)(7)(ii)(D).
 31
    Environmental Protection Agency, Memorandum: Final Analytical Report at 5-11 (April 16, 2021);
 Environmental Protection Agency, Memo: Final Analytical Report, at 7, 11, 13 (April 19, 2021).
 32
    40 C.F.R. § 261.3(a)(2)(i), (g)(4) (2020); Consent Decree, U.S. & Florida Department of Environmental
 Protection v. Mosaic Fertilizer, L.L.C., at 23 (M.D. Fla 2015), available as document at
 https://www.epa.gov/enforcement/mosaic-fertilizer-llc-settlement.
 33
    40 C.F.R. § 261.3(a)(2)(i).
 34
    40 C.F.R.§ 261.20-262.24.
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 (25-100 mg/L), barium, cadmium (up to 18 mg/L), chromium (up to 16 mg/L), chloride, iron,
 nitrogen, ammonia, lead, magnesium, nickel, phosphorous, total gross alpha, selenium (over 4
 mg/L) and many other constituents of concern.35 More concerning, the sampling information
 provided to Manatee County and included in the permit application are not representative of the
 entirety of the waste stored at Piney Point. Therefore, regardless of whether the waste at Piney
 Point enjoys Bevill exemption from RCRA regulation or not, the waste poses “a substantial
 present or potential hazard to human health or the environment when improperly treated, stored,
 transported, or disposed of, or otherwise managed.”36
      V.      Injection Wells Risks
 The Floridan Aquifer is relatively well-studied in south Florida, particularly in Broward County
 and Miami-Dade County, but is not as well researched in Manatee County.37 In fact, there are
 only two Class I well in Manatee County: one is inactive the other accepts treated wastewater.38
 Several reports describe the geologic and hydrogeologic frameworks of the Floridan Aquifer,
 however “these studies differ in their respective delineations” and provide inconsistent results.39
 The Floridan Aquifer is heterogenous meaning that it is not uniform throughout the entire aquifer
 system.40


 35
    Arsenic (5 mg/L), lead (5 mg/L), selenium (1 mg/L), cadmium (1 mg/L), chromium (5 mg/L) are on EPA’s list of
 hazardous waste due to toxicity characteristic 40 C.F.R. § 261.24.
 36
    Id. at § 6903(5).
 37
    Kevin J. Cunningham, Integration of Seismic-Reflection and Well Data to Assess the Potential Impact of
 Stratigraphic and Structural Features on Sustainable Water Supply from the Floridan Aquifer System, Broward
 County, Florida, U.S. Geological Survey Open-File Report 2014–1136 (2014); Kevin J. Cunningham, Seismic-
 Sequence Stratigraphy and Geologic Structure of the Floridan Aquifer System Near "Boulder Zone" Deep Wells in
 Miami-Dade County, Florida, U.S. Geological Survey Scientific Investigations Report 2015-5013 (2015).
 38
    Gao, J. 2010. Collection and analyses of physical data for deep injection wells in Florida. A Thesis Submitted to
 the Faculty of The College of Computer Science and Engineering in Partial Fulfillment of the Requirements for the
 Degree of Master of Science.
 http://fau.digital.flvc.org/islandora/object/fau%3A3548/datastream/OBJ/view/Collection and analyses of physical
   data for deep injection wells in Florida.pdf.
 39
    Id.; James A. Miller, Hydrogeologic framework of the Floridan aquifer system in Florida, and in parts of
 Georgia, Alabama, and South Carolina, U.S. Geological Survey Professional Paper 1403–B, 91 (1986).; Frederick
 W. Meyer, Hydrogeology, ground-water movement, and subsurface storage in the Floridan aquifer system in
 southern Florida, U.S. Geological Survey Professional Paper 1403–G, 59 (1989); Ronald S. Reese & Kevin J.
 Cunningham, Hydrogeologic Framework and Salinity Distribution of the Floridan Aquifer System of Broward
 County, Florida, U.S. Geological Survey Scientific Investigations Report 2014–5029, 60 (2014); Ronald S. Reese &
 Emily Richardson, Synthesis of the Hydrogeologic Framework of the Floridan Aquifer System and Delineation of a
 Major Avon Park Permeable Zone in Central and Southern Florida, U.S. Geological Survey Scientific
 Investigations Report 2007–5207, 60 (2008); Kevin J. Cunningham, Seismic-sequence Stratigraphy and Geologic
 Structure of the Floridan Aquifer System Near “Boulder Zone” Deep Wells in Miami-Dade County, Florida, U.S.
 Geological Survey Scientific Investigations Report 2015–5013, 28 (2015); Lester J. Williams & Eve L. Kuniansky,
 Revised Hydrogeologic Framework of the Floridan Aquifer System in Florida and Parts of Georgia, Alabama, and
 South Carolina, U.S. Geological Survey Professional Paper 1807, 140 (2015); Kevin J. Cunningham, et al., Three-
 dimensional Seismic Characterization of Karst in the Floridan Aquifer System, Southeastern Miami-Dade County,
 Florida, U.S. Geological Survey Scientific Investigations Report 2018–5177, 39 (2018).
 40
    A. B. Tihansky, Effects of Aquifer Heterogeneity on Ground-Water Flow and Chloride Concentrations in the
 Upper Floridan Aquifer near and within an Active Pumping Well Field, West-Center Florida, U.S. Geological
 Survey Scientific Investigations Report 2004-5268, 2 (2004).
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 The contours of the Lower Floridan aquifer are not as well studied or known as the Upper
 Floridan aquifer, but much of it contains saltwater.41 One study from 2019 attempted to clarify
 the geological and hydrogeological framework of the Lower Floridan Aquifer at a wastewater
 treatment plant in Miami-Dade County.42 The study was needed because monitor zones above
 the injection zone for a wastewater treatment plant’s Class I injection well system detected
 ammonia.43 The single-well and multi-well aquifer packer tests aimed at describing the hydraulic
 characteristics of the aquifer were “inconsistent and largely qualitative.”44 Thus, the status of the
 confinement between the Boulder Zone and the top of the Lower Floridan Aquifer was
 inconclusive.45 The monitor wells used to complete multi-well aquifer tests showed poor
 confinement, but the single well aquifer tests showed effective confinement.46 The study
 addressed this contradiction by explaining that the two tests assess different volumes and part of
 a heterogenous and anisotropic aquifer.47 The study looked at geological and geophysical data to
 conceptually understand the porosity and permeability of the system.48 Another study on this
 issue found monitoring wells recorded ammonia concentrations above ambient levels 1,000 feet
 above injection depths.49
 Manatee County included a Well System Diagram that shows IW-1 having casing until 1,950
 feet, then an open hole until around 3,300 feet where the hole meets backfilled cement. The
 Diagram shows that the casing would be installed about 50 feet after the bottom of the Middle
 Confining Unit II and indicates that the underground sources of drinking water are protected
 from contamination by the well via the Middle Confining Unit II. While one landscape-scale
 study cited in the application suggests that aspects of the Middle Confining Unit II is a “non-
 leaky confining unit” and that this unit has poor connection with the freshwater in the overlying
 Upper Floridan Aquifer, the Diagram fails to show that the Middle Confining Unit II is not
 uniform throughout all of Florida. In West-central Florida, the Middle Confining Unit II is
 suspected to be non-leaky but East-central Florida (Orange County) and South Florida (Palm
 Beach County) do not have the same confining unit. Instead, this region has a non-evaporate
 bearing, semi-confining unit. Even if the underwater source of drinking water can be protected
 by the Middle Confining Unit II at the well site, this does not mean that that the underground
 sources of drinking water in other areas of the state are protected from the injection substances.




 41
    https://pubs.usgs.gov/ha/ha730/ch_g/G-text6.html Ground Water Atlas of the United States Alabama, Florida,
 Georgia, South Carolina HA 730-G.
 42
    Kevin L. DeFosset, Hydrogeologic Characterization of Part of the Lower Floridan Aquifer at the South District
 Wastewater Treatment Plant, Miami-Dade, Florida, U.S. Geological Survey Report 2019-1034, 1 (2019).
 43
    Id.
 44
    Id. at 13.
 45
    Id.
 46
    Id.
 47
    Id. Anisotropic means “having a physical property that has a different value when measured in different
 directions. A simple example is wood, which is stronger along the grain than across it.”
 48
    Id.
 49
    Sepulveda, N. and M. Lohmann. 2021. Migration of Injected Wastewater with High Levels of Ammonia in a
 Saline Aquifer in South Florida. Ground Water 59(4): 597-613.
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 Beneath the Middle Confining Unit II in West-central Florida is the Lower Avon Park permeable
 zone, the glauconite marker unit, and the Oldsmar permeable zone.50 Beneath the non-evaporate
 semi-confining unit of East-central Florida (Orange County) and South Florida (Palm Beach
 County), there are also those same zones.51 Based on several different diagrams, the Lower Avon
 Park permeable zone, glauconite marker unit, and Oldsmar permeable zone are connected
 throughout the entire state of Florida from the west to the east coasts.52
 A study by Ardaman in 2019 for the Florida Industrial and Phosphate Research Institute, a
 legislatively-created industry think-tank, used geochemical modeling to perform leaching tests
 for process wastewater.53 The purpose of the study was “to investigate use of deep injection
 wells for disposal of treated process water and contaminated non-process water” “instead of
 treating the water to best available technology” to “result in significant savings in treatment
 costs”. The study found that process wastewater with lime treatment plus filtration of process
 water had the most favorable results, but that wastewater, including wastewater from Piney Point
 which served as a sample for the modeling, had unacceptable levels of leaching without
 treatment. It found that:
          Lime-treatment of process waters is necessary to avoid significant reduction in
          horizontal hydraulic conductivity ovpinellaser time in the injection zone of a deep
          injection well due to the precipitation of minerals within the rock formation. This
          reduction in horizontal hydraulic conductivity could ultimately lead to failure of
          the deep injection well.
 Process water treated to a pH of 8.0 to precipitate fluoride and phosphorous and other
 constituents using a lime slurry showed a more favorable potential for using deepwell injection.
 Process water run through only a 0.45-micron filter, including wastewater from Piney Point
 (Source #7A), showed less favorable potential for using a deep injection well, and that the
 wastewater from Piney Point had relatively high phosphorous concentrations. The model was run
 through core samples from southwest Florida, southeast Florida and the Atlantic coast, but not
 from the Tampa Bay region.
 A study of all Class 1 injection wells in Florida found that depth below the drinking water source
 was the most significant factor to prevent upward migration of the injected fluid.54 It found that
 in the southwest district (Pinellas, Manatee, Polk, and Sarasota counties) 36% of Class 1 wells
 were leaking.55


 50
    Id. at 83.
 51
    Id. at 18
 52
    Id.
 53
    Ardaman. 2019. Leaching study for select process and non-process waters relative to future disposal through a
 deep injection well.
 54
    Gao, J. 2010. Collection and analyses of physical data for deep injection wells in Florida. A Thesis Submitted to
 the Faculty of The College of Computer Science and Engineering in Partial Fulfillment of the Requirements for the
 Degree of Master of Science.
 http://fau.digital.flvc.org/islandora/object/fau%3A3548/datastream/OBJ/view/Collection and analyses of physical
   data for deep injection wells in Florida.pdf.
 55
    Id.
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 Another study comparing southeast Florida and Pinellas County found that the risk to human
 health from fluid movement into drinking water was higher in Pinellas County than other study
 areas because the shallower aquifer depth and lack of confinement.56 It noted that the risk would
 be even higher but for the fact that effluent is subject to high levels of disinfection.
 Rising seas and saltwater intrusion also pose an uncertainty with potential for change in Florida’s
 aquifer system. Global average sea level rose by seven to eight inches over the past century as
 the oceans have warmed and land-based ice has melted. Sea level rise is accelerating in pace
 with almost half of recorded sea level rise occurring since 1993. The Fourth National Climate
 Assessment estimated that global sea level is very likely to rise by 0.3 to 0.6 feet by 2030, 0.5 to
 1.2 feet by 2050, and 1.0 to 4.0 feet by the end of the century relative to the year 2000, with sea
 level rise in excess of 8 feet possible.57 The impacts of sea level rise will be long-lived: under all
 scenarios, sea levels will continue to rise for many centuries.58
 Unfortunately, the sea level rise projected for Florida reflects the global outlook, with sea level
 rise projections of between 2 and 6 feet within this century. The Southeast Florida Regional
 Climate Change Compact counties released a 2019 update to their “Unified Sea Level Rise
 Projection” for south Florida with projections for south Florida sea-level rise in excess of the
 expected global average: 0.6 to 1.0 feet by 2030; 1.1 to 1.9 feet by 2050; and 2.7 to 6.1 feet by
 2100. These projections are considered most likely, but less conservative estimates indicate that
 sea level rise could go as high as 1.2, 2.5, and 8.6 feet in 2030, 2050, and 2100, respectively.59 It
 is unclear how this would impact the Floridan aquifer system and this well in particular.
 In sum, there is very little site-specific research about the geology and potential impacts of
 injecting hazardous waste at the location of the proposed underground injection well, including
 its possible contamination of underground drinking water resources. Most of the research that
 exists for the Lower Floridan Aquifer is conceptual and based on studies treating municipal




 56
    EPA. Relative Risk Assessment of Management Options for Treated Wastewater in South Florida.
 https://www.nrc.gov/docs/ML1710/ML17103A460.pdf.
 57
    Hayhoe, K., D.J. Wuebbles, D.R. Easterling, D.W. Fahey, S. Doherty, J. Kossin, W. Sweet, R. Vose, and M.
 Wehner. 2018. Our Changing Climate. In Impacts, Risks, and Adaptation in the United States: Fourth National
 Climate Assessment, Volume II [Reidmiller, D.R., C.W. Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis, T.K.
 Maycock, and B.C. Stewart (eds.)]. U.S. Global Change Research Program, Washington, DC, USA, pp. 72–144.
 doi: 10.7930/NCA4.2018.CH2.
 58
    Walsh, J., D. Wuebbles, K. Hayhoe, J. Kossin, K. Kunkel, G. Stephens, P. Thorne, R. Vose, M. Wehner, J. Willis,
 D. Anderson, S. Doney, R. Feely, P. Hennon, V. Kharin, T. Knutson, F. Landerer, T. Lenton, J. Kennedy, and R.
 Somerville. 2014. Ch. 2: Our Changing Climate. Climate Change Impacts in the United States: The Third National
 Climate Assessment, J. M. Melillo, Terese (T.C.) Richmond, and G. W. Yohe, Eds., U.S. Global Change Research
 Program, 19-67. doi:10.7930/J0KW5CXT; U.S. Global Change Research Program (USGCRP). 2017. Climate
 Science Special Report: Fourth National Climate Assessment, Vol. I. Available at:
 https://science2017.globalchange.gov/.
 59
    Southeast Florida Regional Climate Change Compact Sea Level Rise Work Group. 2019. Unified Sea Level Rise
 Projection for Southeast Florida. A document prepared for the Southeast Florida Regional Climate Change Compact
 Climate Leadership Committee. 36 p. Available at http://southeastfloridaclimatecompact.org/.
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 waste not hazardous waste. Given the added uncertainties of sea-level rise, it is there are too
 many unknowns to proceed safely.
    VI.     Conclusion
 The waste at Piney Point is hazardous, whether Bevill-exempt or not. It is inappropriate and
 unlawful to inject that waste in a Class 1 well without significant pretreatment. Moreover, the
 uncertainty of deepwell injection in this area makes Piney Point a poor testcase. Much of the data
 necessary to determine if the well can be compliant with state regulations will not come until
 after FDEP has issued the permit and the well has been bored. Given FDEP’s track record at
 Piney Point, the required monitoring well and financial assurances do not cure this uncertainty.
 FDEP did precious little while Piney Point’s monitoring wells for 20 years detected waste from
 the stack polluting groundwater while various companies took possession and moved through
 bankruptcy and FDEP waived financial assurances.
 Deepwell injection of Piney point waste should be abandoned as too risky. Manatee County’s
 efforts should be invested in proven treatment technologies that have already been piloted at
 Piney Point, such that future storage and/or disposal of Piney Point’s waste is no longer needed.
 Please do not hesitate to contact us at 727-490-9190 or jlopez@biologicaldiversity.org with any
 questions or concerns about these comments.
 Please send each of the undersigned organizations notice of FDEP’s intent to issue the
 permit and any other correspondence regarding this permit application at the email
 addresses provided below.
 Thank you,


  Center for Biological Diversity                   Suncoast Waterkeeper
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  Our Children’s Earth Foundation             Healthy Gulf
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 Enclosures




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1. Introduction                                                                          While the initial effects of the discharge have been reported, the
                                                                                    long-term effects on water quality and phytoplankton community
     Cultural eutrophication and climate change are two of the most                 structure have not yet been investigated. Here, we further investigate
important threats to the health and sustainability of coastal ecosystems            the fate of nutrients released from Piney Point and characterize the
around the world (Nixon, 1995; Hoegh-Guldberg and Bruno, 2010;                      water quality conditions and phytoplankton community composition
Doney et al., 2012). From an algal perspective, cultural eutrophication             for the year following the event. We hypothesized that the initial pulse
has elevated the potential for harmful algal blooms (HABs; Cloern,                  of inorganic nutrients was readily utilized by phytoplankton
2001; Paerl et al., 2006; Heisler et al., 2008; Glibert, 2020; Gobler,              communities. This likely led to internal cycling of Piney Point-derived
2020). Current trends in climatic conditions are exacerbating the                   nutrients within the Bay, although other mechanisms, such as the
challenges associated with eutrophication due to increases in                       deposition of nutrients into bay sediments and transport of nutrients
temperature, changes in rainfall patterns, and increases in the intensity           outside of the bay were also likely important mechanisms influencing
of tropical storms (Webster et al., 2005; Oneil et al., 2012; Wetz and              the fate of nutrients discharged from the facility. To evaluate this
Yoskowitz, 2013; Glibert et al., 2014; Griffith and Gobler, 2020; Phlips            hypothesis, we monitored changes in water column nutrients, in situ
et al., 2020). One of the potential mechanisms for the combined                     water quality parameters, stable isotopes of carbon (C) and nitrogen
impacts of eutrophication and climate change is the disruption of                   (N) in suspended particulate material (SPM), chlorophyll a
engineered structures associated with water treatment and retention                 concentrations, and phytoplankton community structure over the
(Lehner et al., 2011; Beusen et al., 2015; Grill et al., 2015; Maavara              course of a year after the event.
et al., 2015). Accidental or unavoidable discharges from compromised                     Our year-long monitoring campaign confirmed there was an
infrastructure can expose surrounding aquatic environments to                       initial diatom bloom adjacent to the location of the discharge that
excessive nutrient, algal and pollutant loads that negatively affect water          dissipated by the end of April 2021, as previously described in Beck
quality, including elevated risks for HABs (Sin et al., 2013; Phlips et al.,        et al. (2022), and revealed that elevated diatom biomass was more
2020; Herren et al., 2021; Metcalf et al., 2021). In this study,                    extensive than previously recognized as it extended to back bay
we examined an emergency release of water from a retired phosphorus                 regions. During the summer, the site adjacent to Piney Point had high
mining reservoir into Tampa Bay, Florida and evaluated changes in                   K. brevis biomass (3 mg C L−1), which then declined into the fall.
water quality and algal populations in the Bay a year after the event.              We found that the stable isotope values of C and N (δ13C and δ15N) of
     Tampa Bay was designated as an impaired coastal waterbody in the               the discharge water SPM were-15.23‰ ± 0.53 and-17.88‰ ± 0.76,
1980s, in part because of widespread losses of seagrasses. Subsequent               respectively. A δ15N value of-17.88‰ is exceptionally low and was
restoration efforts and targeted nutrient management strategies resulted            unique relative to other nutrient sources in the region, likely due to
in successful restoration of seagrass habitats by the end of the century            isotopic fractionation associated with ammonium assimilation within
(Yates et al., 2011; Greening et al., 2014; Sherwood et al., 2017; Tomasko          the reservoir. In May and early June of 2021, all sites in the discharge
et al., 2018; Beck et al., 2019; DeAngelis et al., 2020; Tomasko et al.,            region exhibited a sharp decline in the δ15N values of SPM, suggesting
2020). Despite these successes, nutrient management is an ongoing                   that discharge N was incorporated into SPM after the event, which
challenge due to increased development, reclaimed water usage, and                  may have been driven either by phytoplankton uptake of N and/or N
septic and industrial activities adjacent to the Bay. Recently, higher              sorption onto particulate material in the bay. This was further
shallow water temperatures and relatively high, sustained hydrologic                supported by concomitant declines in C:N values. After mid-June
inputs potentially linked to climate change drivers may also                        2021, δ15N values generally returned to April 2021 values. This study
be confounding nutrient management efforts (Tampa Bay Nitrogen                      found that phytoplankton communities and water quality were altered
Management Consortium (TBNMC), 2022). During the 2016–2022                          by the Piney Point event and that these dynamics can be influenced by
period, significant seagrass coverage was lost according to aerial                  tropical storms, highlighting the synergistic effects between
photography estimates (>25% decline from 2016 peak coverage,                        disruptions of engineered structures and periodic events such as
or > 11,000 acres of seagrass coverage loss; SWFWMD, unpublished                    storms, which are predicted to increase in intensity due to climate
data). In addition to this recent bay-wide and regional seagrass loss,              change (Webster et al., 2005; Wetz and Yoskowitz, 2013).
water quality declines in the northern portion of the bay (Old Tampa
Bay) have occurred, and unexpected events, such as periodic releases of
industrial process water, have caused further management challenges                 2. Methods
(Tampa Bay Estuary Program, 2022).
     In late March 2021, an impaired liner at a decommissioned                      2.1. Site description
fertilizer facility (Piney Point) prompted the emergency release of 814
million liters of process water mixed with dredge water into the Bay,                   Four sites were selected in consultation with the Tampa Bay
from March 30th to April 9th, 2021 (Nelson et al., 2021; Beck et al.,               Estuary Program (TBEP) and the University of South Florida’s Tampa
2022). The discharge water was high in inorganic nutrients, specifically            Bay Coastal Ocean model (Chen et al., 2018, 2019). The sites included:
ammonium and orthophosphate, prompting concerns that this pulse                     one site proximal to Piney Point Creek, which is connected to the
of nutrients might result in increased primary productivity, including              Piney Point facility via drainage canals (hereafter referred to as Piney
phytoplankton, macroalgae and HABs, with adverse effects to seagrass                Point), two back bay regions that were located south of the discharge
meadows and other coastal habitats. Initial analyses soon after the                 location and forecast to have longer residence times (Bishop Harbor
event determined that there was a localized diatom bloom, and that                  and Joe Bay), and one reference site outside of the Bay (St. Joseph
the excess nutrients within the bay may have exacerbated the                        Sound; Figure 1). All sites were located adjacent to TBEP seagrass
development of a red tide (Karenia brevis) bloom that was transported               monitoring transects (Beck et al., 2022) and had depths that varied
into the Bay (Beck et al., 2022).                                                   with the tidal cycle, but generally ranged from 1–3 m. One of the back

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bay regions (Bishop Harbor) was the site of previous releases from the            An additional sample collection was conducted in October 2021 at the
Piney Point facility (Garrett et al., 2011; Switzer et al., 2011), and the        southern holding pond where the initial liner tear occurred to evaluate
reference site was outside of the Bay, at a relatively pristine location          seasonal changes in reservoir characteristics and efforts to employ
with healthy seagrass meadows (Tomasko et al., 2020). For this event,             innovative treatment technologies within the remaining wastewater
emergency releases were conveyed directly into Tampa Bay in the                   held at the facility following the emergency release. All samples were
vicinity of Port Manatee from March 30th to April 9th 2021, while an              transported on ice and either refrigerated or frozen until analyzed.
uncontrolled discharge to Piney Point creek occurred from March
30th to April 3rd, 2021 (Florida Department of Environmental
Protection, 2021; Figure 1).                                                      2.2. Chlorophyll a and phytoplankton
    Water samples were collected on a bi-weekly basis from April 2021             analyses
until April 2022. At each site, water samples were collected from
surface to near bottom (to avoid collection of bottom material) on a                   Water samples were collected and filtered for chlorophyll a
near bi-weekly basis using a depth-integrated pole sampling method                analysis in the field. Phytoplankton were filtered onto 0.7-μm
(Phlips et al., 2010) to minimize any bias from water column                      Whatman glass fiber filter and stored in a dark container at
stratification. Water samples were collected for total and dissolved              −20°C. Chlorophyll a was solvent extracted (Sartory and Grobbelaar,
nutrients, suspended particulate material (SPM), chlorophyll a, and               1984) and measured spectrophotometrically according to Standard
phytoplankton community analyses, as described below. In addition                 Methods (American Public Health Association, 2005).
to bi-weekly water samples, a discharge water sample was collected on                  Integrated, whole water samples were preserved on-site with
April 7th, 2021, and processed as described for other water samples.              Lugol’s solution (American Public Health Association, 2005) and
                                                                                  analyzed microscopically for phytoplankton abundance and species
                                                                                  composition. General phytoplankton abundance and composition
                                                                                  were determined using the Utermöhl method (Utermohl, 1958), as
      A                                                                           described in Badylak et al. (2014). Samples preserved in Lugol’s were
                                                                                  settled in 19 mm diameter cylindrical chambers. Phytoplankton cells
                                                                                  were identified and counted at 400× and 100× with a Leica phase
                                                                                  contrast inverted microscope. At 400×, a minimum of 100 cells of a
                                                                                  single taxon and 5 grids were counted. If 100 cells were not counted
                                                                                  by 30 grids, up to a maximum of 100 grids were counted until 100 cells
                                                                                  of a single taxon were reached. At 100×, a total bottom count was
                                                                                  completed for taxa >30 μm in size.
                                                                                       Picocyanobacteria abundances were determined using a Zeiss
                                                                                  Axio compound microscope, using green and blue light excitation
                                                                                  (Fahnenstiel and Carrick, 1992; Phlips et al., 1999). Samples were
                                                                                  preserved with buffered glutaraldehyde. Subsamples of water were
                                                                                  filtered onto 0.2 μm Nucleopore filters and mounted between a
                                                                                  microscope slide and cover slip with immersion oil and picoplankton
                                                                                  counted at 1000x magnification.
      B
                                                                                       Count data were converted to phytoplankton biovolume, using
                                                                                  the closest geometric shape method (Smayda, 1978; Sun and Liu,
                                                                                  2003). Phytoplankton C values (as mg C L−1) were estimated by
                                                                                  applying conversion factors for different taxonomic groups to
                                                                                  biovolume estimates (expressed as 106 μm3 mL−1): i.e., 0.065 ×
                                                                                  biovolume of diatoms, 0.22 x biovolume for cyanobacteria, and
                                                                                  0.16 × biovolume for dinoflagellates or other taxa (Strathmann, 1967;
                                                                                  Ahlgren, 1983; Sicko-Goad et al., 1984; Verity et al., 1992; Work
                                                                                  et al., 2005).



                                                                                  2.3. In situ measurements

                                                                                      A YSI EXO2 multiparameter sonde was deployed at each of the
                                                                                  four study sites on April 16th, 2021, soon after the discharge ceased
    FIGURE 1
    (A) Location of the Piney Point facility and study sites within and           on April 9th. Deployment depth ranged from 1–3 m, depending on
    outside Tampa Bay. (B) Lower bay sites and their location in                  the site. Sondes continuously measured salinity, optical dissolved
    relationship to Piney Point and the discharge locations. Discharges
                                                                                  oxygen (DO), in situ chlorophyll, phycoerythrin (PE), fluorescent
    occurred at Port Manatee from March 31st to April 9th, and at Piney
    Point Creek until April 3rd. Sites are marked with yellow points,             dissolved organic matter (fDOM), specific conductivity, temperature,
    locations of interest are marked with red points.                             pH, total dissolved solids, turbidity, and total suspended solids every
                                                                                  10 min. The average value for each day is reported here. Sondes were


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nanophytoplankton, but the biomass contributions of these taxa were              Karlodinium veneficum and K. brevis. These similarities fall in line
minor, i.e., < 0.02 mg C L−1.                                                    with the lack of significant differences between sites for mean values
     The time-series of total phytoplankton biomass for the three lower          of cyanobacteria and dinoflagellates biomass over the study period
bay sampling sites (i.e., Piney Point, Bishop Harbor, and Joe Bay) from          (Table 1). By contrast, for diatoms, there was a wider range of species
April 9th, 2021, through May 2022 exhibited similar temporal                     and higher biomass values for the lower bay sites than the reference
patterns, with elevated levels in the late Spring of 2021, with peaks            site (Table 2). The Top-150 list for the lower bay sites was led by
near, or over, 1.5 mg C L−1 (Figure 3). In mid-summer, biomass levels            spherical picoplanktonic cyanobacteria, other undefined small
declined, and remained near, or below, 0.5 mg C L−1 through the end              nanoplanktonic eukaryotes and the euryhaline cosmopolitan diatom
of the study period in May 2022. The reference site in St. Joseph Sound          species Skeletonema costatum, L. danicus and Rhizosolenia setigera, in
had modestly elevated total biomass in June and July, with peaks near            terms of frequency on the list (Table 2). In terms of highest biomass
0.5 mg C L−1, then remained below 0.3 mg C L−1 for the rest of the               observations, the dinoflagellate K. brevis, and the diatoms L. minimus,
study period. Mean total phytoplankton biomass values for the study              L. danicus, Guinardia delicatula, Skeletonema costatum, and C. pelagica
period were similar across the three lower bay sampling sites, while             led the Top-150 list, with peak biomass values greater than
the reference site exhibited the lowest value – although statistically it        0.40 mg C L−1.
could not be differentiated from the Bishop Harbor or Piney Point                     The Top-50 list for the St. Joseph Sound reference site was led by
sites (Table 1).                                                                 spherical picoplanktonic cyanobacteria, other undefined small
                                                                                 nanoplanktonic eukaryotes, and the dinoflagellate Karlodinium
                                                                                 veneficum, in terms of frequency on the list (Table 2). for the three
3.2. Phytoplankton composition                                                   primary sampling sites. In terms of highest biomass observations in
                                                                                 the Top-50 list for the St. Joseph Sound reference site, only K. brevis
     The initial peaks in phytoplankton biomass at the Bishop Harbor,            had a peak value similar to that encountered in the Top-150 list, i.e.,
Joe Bay and Piney Point sites in May 2021 were dominated by diatoms              0.25 mg C L−1.
(Figure 3). Three diatom taxa, Leptocylindrus minimus, Leptocylindrus                 Another feature of the Top-50 and Top-150 lists of highest
danicus, and Cerataulina pelagica, dominated the initial peak period             biomass observations was the presence of known HAB species, most
in terms of biomass (Table 2). The subsequent major peak in biomass              of which are potential producers of toxins (Lassus et al., 2015;
at the Piney Point site in June was dominated by the toxic dinoflagellate        Table 2). The largest number of HAB species for both lists were
Karenia brevis and reached 3 mg C L−1. The more modest peaks in                  dinoflagellates. K. veneficum, K. brevis, Takayama sp. and Akashiwo
biomass at St. Joseph Sound in May and June of 2022 were dominated               sanguinea were near the top of both lists in terms of HAB species.
by dinoflagellates, including K. brevis in June. After July 2022, the            K. brevis had the highest peak biomass for HAB species in both lists,
Bishop Harbor, Joe Bay, and Piney Point sites showed variability in              with a peak of 2.71 mg C L−1 (i.e., 3.9 million cells L−1) on the
dominant taxa, with periods of supremacy by all four major                       Top-150 list, which represents a major bloom. The potentially toxic
phytoplankton groups, i.e., dinoflagellates, diatoms, cyanobacteria              filamentous nitrogen-fixing cyanobacterium Trichodesmium
(primarily picocyanobacteria), and “other” taxa (most prominently                erythraeum and pennate diatom Pseudo-nitzschia sp. were on both
nanophytoplankton, such as cryptophytes; Figure 3; Table 2).                     lists. Karenia brevis was the only HAB species that reached major
     Over the study period, mean biomass of diatoms were higher than             levels of concern in terms of harmful impact during this
dinoflagellates, cyanobacteria and “other” taxa at Bishop Harbor and             study period.
Joe Bay (Table 1). At Piney Point, mean dinoflagellate and diatom
biomass was higher than cyanobacteria and “other” taxa. At St. Joseph
Sound, there were no significant differences in mean biomass of the              3.3. Total and dissolved nutrients
four phytoplankton groups. In terms of regional differences within
each phytoplankton group, mean dinoflagellate and cyanobacteria                       On April 6th, 2021, the water discharged from the facility was
biomass levels across all the sites were not significantly different,            dominated by inorganic nutrients, namely ammonium-N (210 mg L−1)
despite the high mean value of dinoflagellates at the Piney Point site           and orthophosphate (140 mg L−1), with NOx concentrations of
(Table 1). The apparent anomalously high annual mean at Piney Point              0.004 mg L−1 (Supplementary Table 1; Beck et al., 2022). All sites
reflects the effect of exceptionally high biomass of K. brevis in June on        exhibited their greatest orthoP values in April 2021, with lower orthoP
the mean. Joe Bay had a significantly higher mean diatom biomass                 concentrations seen at sites further from the discharge site at that time
than at St. Joseph Sound. For “other” taxa, Joe Bay had the highest              (Supplementary Tables 1, 2). OrthoP values were greater in April 2021
mean biomass and St. Joseph Sound had the lowest mean biomass.                   when compared to April 2022 for all sites. All sites also exhibited their
     To examine more specific differences in taxonomic composition               highest average total P values in April 2021 and had lower TP values in
at the reference and lower study sites, a comparison was made of the             April 2022 when compared to April 2021, except for the reference site
individual taxa that accounted for the top 10% of biomass observations           St. Joseph Sound. St. Joseph Sound had slightly lower total P values in
in the two regions, which roughly represented the Top-50 taxa                    April 2021 (11.38 μg L−1) when compared to April 2022 (13.71 μg L−1).
observations at the St. Joseph Sound (reference site), and the Top-150           For all sites, ammonium-N was highest in the first 5 months after the
taxa observations for the combined results from the Bishop Harbor,               event, and in January 2022 with concentrations peaking in June and
Joe Bay and Piney Point sites (lower bay sites; Table 2). There were             July of 2021 and in January 2022. Average monthly ammonium-N
several key similarities, including the strong representation of                 values in the lower Tampa Bay sites were from 0.14 mg L−1 (Piney Point
cyanobacteria on both lists, and many similarities in the list of                and Bishop Harbor) to 0.17 mg L−1 (Joe Bay). Generally, NOx was not
dinoflagellate species, including the prominence of the HAB species              detectable at our sites (Supplementary Tables 1, 2).


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TABLE 1 Mean biomass of four groups of phytoplankton (i.e.,
dinoflagellates, diatoms, cyanobacteria and all “other” taxa) at the four
                                                                                                   values in the late fall and winter (Figure 4C). At Bishop Harbor, in situ
sampling sites (i.e., Bishop Harbor, Joe Bay, Piney Point and St. Joseph                           chlorophyll was greatest in early September 2021 (24.99 μg L−1), and lowest
Sound) over the entire study period.                                                               in late December 2021 (0.59 μg L−1). At Joe Bay, the greatest in situ
                                                                                                   chlorophyll values were in late June 2021 (36.96 μg L−1), and the lowest
 Phytoplankton                         Mean Biomass, μg carbon L−1
                                                                                                   values were in early December 2021 (0.95 μg L−1). At the Piney Point site,
 Group                           Bishop             Joe          Piney            St.              the greatest in situ chlorophyll was in early July 2021 (30.21 μg L−1), and
                                 Harbor             Bay          Point          Joseph
                                                                                                   the lowest values were in mid-December 2021 (2.55 μg L−1). At St. Joseph
                                                                                Sound
                                                                                                   Sound, the greatest in situ chlorophyll values were in mid-July 2021
 Dinoflagellates                   0.050 b         0.055 b        0.168 a         0.048 a
                                                                                                   (24.4 μg L−1), and the lowest values were in mid-October 2021 (0.03 μg L−1).
                                   (0.015)         (0.014)        (0.113)         (0.013)               Phycoerythrin (PE) was greatest at Piney Point and Joe Bay, which
                                      A               A             A                A             had spikes in PE in June and July of 2021 (Figure 4D). Similar to in
                                                                                                   situ chlorophyll, PE was greatest in mid-summer 2021, corresponding
                                                                                                   with K. brevis blooms in the region, and lowest in the winter months.
 Diatoms                           0.192 a         0.329 a        0.115 a         0.035 a
                                                                                                   At Bishop Harbor, PE was greatest in early September 2021 (15.55
                                   (0.054)         (0.143)        (0.050)         (0.018)          relative fluorescent units [RFU]) and lowest in late November 2021
                                     AB               A             AB               B             (0.63 RFU). At Joe Bay, PE was greatest in mid-June 2021 (15.81 RFU)
                                                                                                   and lowest in early December (0.69 RFU). At Piney Point, PE was
                                                                                                   greatest in early July (14.74 RFU) and lowest in mid-May (1.32 RFU).
 Cyanobacteria                     0.050 b         0.048 b       0.044 b          0.045 a
                                                                                                   At St. Joseph Sound, the greatest PE values were in mid-July (9.74
                                   (0.005)         (0.005)       (0.005)          (0.008)
                                                                                                   RFU), and lowest values were in mid-December (0.05 RFU).
                                      A               A             A                A                  Florescent dissolved organic matter (fDOM) was consistently
                                                                                                   higher in the back bay sites Bishop Harbor and Joe Bay, and lowest in
                                                                                                   the reference site, St. Joseph Sound. All lower bay sites exhibited an
 Other Taxa                        0.054 b         0.085 b       0.039 b          0.030 a
                                                                                                   increase in fDOM in late July 2021 (Supplementary Figure 1). At
                                   (0.008)         (0.010)       (0.005)          (0.003)
                                                                                                   Bishop Harbor the lowest value was early October 2021 (10.97 quinine
                                      B               A             BC               C             sulfate units [QSU]) and greatest in mid-August 2021 (54.54 QSU).
                                                                                                   Joe bay was lowest in March 2022 (0.67 QSU) and highest in late July
                                                                                                   (42.84 QSU). Piney Point was lowest in mid-April 2022 (15.11 QSU)
                                                                                                   and greatest in mid-August 2021 (55.84 QSU). St. Joseph Sound was
 Total                              0.347           0.516         0.366            0.159
                                                                                                   lowest in mid-December 2021 (5.15 QSU) and greatest in mid-October
                                   (0.065)         (0.153)       (0.131)          (0.027)          2021 (22.34 QSU).
                                     AB               A             AB               B                  Patterns of turbidity varied by region (Supplementary Figure 1).
Standard errors are shown in parentheses. The results of Duncan multiple range tests are           The turbidity at Bishop Harbor was lowest in mid-August 2021 [0.31
shown as letters associated with the mean values. Capital letters relate to statistical            formazin nephelometric units (FNU)] and greatest in early September
differences between mean values for a phytoplankton group at each of the four sampling
                                                                                                   2021 (22.71 FNU), which coincided with higher in situ chlorophyll
sites. A comparison of mean values for total phytoplankton biomass at the four sampling
sites is shown at the bottom of the Table. Lower case letters relate to differences in mean        and PE values. The turbidity at Joe Bay was lowest in late January 2022
values for the four phytoplankton groups at each site. Mean values with the same letter            (0.70 FNU) and greatest in mid-September 2021 (42.59 FNU). Piney
designation are not significantly different.
                                                                                                   Point had the lowest turbidity in mid-August 2021 (0.41 FNU) and
                                                                                                   greatest in late November 2021 (68.12 FNU). St. Joseph Sound had the
     Dissolved oxygen (DO) was greatest at the reference site, St.                                 lowest turbidity in mid-October 2021 (0.29 FNU) and greatest in
Joseph Sound, and at Piney Point, while DO was lower in the back bay                               mid-July 2021 (82.76 FNU).
sites (Figure 4B). DO values tended to be lowest in mid- to late
summer of 2021 and were highest from December 2021 to February
2022. All sites exhibited a slight decline in DO into the summer, and                              3.5. Suspended particulate material
experienced increases in DO starting in October 2021, with a peak in
DO in early 2022. The lowest daily mean DO at Bishop Harbor was at                                      The discharge water SPM had an exceptionally depleted δ15N value
the end of September 2021 (1.52 mg L−1) and greatest in early February                             of −17.88‰ ± 0.76, and a δ13C value of −15.23‰ ± 0.53. Stable isotope
2022 (8.98 mg L−1). The lowest DO at Joe Bay was in mid-June                                       values were determined with a precision of 0.05‰ and 0.09‰ for δ15N
(3.45 mg L−1) and highest in December 2021 (8.63 mg L−1). The lowest                               and δ13C, respectively. The total nitrogen (TN) of the discharge water
DO at Piney Point was at the end of June (4.64 mg L−1) and greatest in                             SPM was 2.8% ± 0.1, and total carbon (TC) was 11.9% ± 0.5, with a C:N
early July 2021 (10.27 mg L−1; Figure 4B), at the time of peak K. brevis                           ratio of 4.3 ± 0.2. The SPM of the reservoir water in October had similarly
blooms in the Bay. The lowest DO at the reference site St. Joseph                                  low δ15N and δ13C values as the discharge water from April,
Sound was at the end of September 2021 (4.06 mg L−1) and greatest in                               −19.15‰ ± 0.05 and −13.44 ‰ ± 0.03, respectively. Differences between
February 2022 (9.90 mg L−1).                                                                       the SPM from April discharge and October reservoir samples are likely
     In situ chlorophyll was consistently higher when compared to                                  due to the fact that on-site treatment technologies were being employed
extracted chlorophyll a (described above), and was greatest at Joe Bay and                         at the site since April 2021.
Piney Point, both of which exhibited an increase in June and July 2021. In                              The greatest particulate TC values (2.88–3.77%) were seen in April
general, sites exhibited the greatest in situ chlorophyll values in                                2021 for three of the four sites and then declined over the course of the
mid-summer 2021, during the period of peak K. brevis blooms, and lowest                            study period (Figure 5A). The only exception was Piney Point, which

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TABLE 2 List of Top-50 individual biomass observations for individual taxa over the study period at the reference site, St. Joseph Sound (top panel), and
Top-150 for the combined record for the three lower bay sites, i.e., Bishop Harbor, Joe Bay, and Piney Point (bottom panel).

                                                        Reference site – St. Joseph Sound
                                                                            Frequency                   Biomass range                     Max. #Cells
 Species                                       Group                            Top-50                  Carbon mg L−1                     103 cells L−1
 Cryptophyte spp.                            Cryptophytes                          3                          0.02–0.03                        3,537

 Spherical picocyanobacteria spp.                                                 15                          0.03–0.16                       894,902
 Synechococcus spp.                          Cyanobacteria                         2                          0.02–0.04                       116,726
 Trichodesmium erythraeum*                                                         1                            0.05                            5

 Leptocylindrus danicus                                                            3                          0.04–0.08                        362
 Chaetoceros sp.                                                                   2                          0.04–0.13                        2,181
 Amphora/Entomoneis sp.                                                            2                          0.02–0.11                        907
                                                Diatoms
 Chaetoceros wighamii                                                              1                            0.09                          15,600
 Pseudo-nitzschia sp.*                                                             1                            0.04                           3,265
 Thalassionema bacillare                                                           1                            0.02                           181

 Karlodinium veneficum*                                                            5                          0.02–0.16                        635
 Karenia brevis*                                                                   2                          0.07–0.25                        355
 Akashiwo sanguinea*                                                               2                          0.03–0.06                         8
 Takayama sp.*                                                                     1                            0.06                           181
                                             Dinoflagellates
 Protoperidinium brevipes                                                          1                            0.06                            91
 Gyrodinium pingue                                                                 1                            0.03                            91
 Prorocentrum texanum*                                                             1                            0.03                            9
 Prorocentrum minimum*                                                             1                            0.02                            91

 Nanoplankton spp. (2 μ–5 μ) (UD)         Nanophytoplankton                        5                          0.02–0.05                       15,238

                                                                                               Biomass range in top-50: 0.02–0.25

                                         Primary sites – Bishop Harbor, Joe Bay, and Piney Point
                                                                     Frequency                      Biomass range                     Max. #Cells
                                                                                                                       −1
 Species                                       Group                 Top-150                        Carbon mg L                       103 cells L−1
 Cryptophyte spp.                            Cryptophytes                          3                          0.04–0.05                        5,351

 Spherical picocyanobacteria                                                      32                          0.05–0.16                       894,902
                                             Cyanobacteria
 Trichodesmium erythraeum*                                                         1                            0.05                            5

 Rhizosolenia setigera                                                             9                          0.06–0.12                        2,902
 Skeletonema costatum                                                              7                          0.19–0.42                       29,568
 Leptocylindrus danicus                                                            7                          0.08–0.73                        3,325
 Chaetoceros sp.                                                                   5                          0.05–0.06                        3,627
 Dactyliosolen fragilissimus                                                       4                          0.08–0.36                        3,265
 Cerataulina pelagica                                                              4                          0.07–0.42                        2,358
 Guinardia delicatula                                                              4                          0.05–0.61                        1995
 Leptocylindrus minimus                                                            3                          1.05–1.95                       132,393
 Amphora/Entomoneis sp.                                                            3                          0.06–0.11                        907
 Pennate diatom sp.                                                                3                          0.05–0.07                       12,879
                                                Diatoms
 Bellerochea horologicalis                                                         2                          0.04–0.05                         9
 Coscinodiscus sp.                                                                 1                            0.14                            2
 Chaetoceros wighamii                                                              1                            0.09                          15,600
 Cyclotella choctawhatcheana                                                       1                            0.08                          28,117
 Thalassionema bacillare                                                           1                            0.08                           605
 Chaetoceros costatus                                                              1                            0.07                           726
 Grammatophora marina                                                              1                            0.07                           181
 Rhabdonema adriaticum                                                             1                            0.07                            11
 Chaetoceros danicus                                                               1                            0.05                           605
 Pseudo-nitzschia sp.*                                                             1                            0.04                           3,265

                                                                                                                                                       (Continued)




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TABLE 2 (Continued)

                                                    Primary sites – Bishop Harbor, Joe Bay, and Piney Point
                                                                                        Frequency                              Biomass range                       Max. #Cells
                                                                                                                                                    −1
 Species                                                    Group                       Top-150                                Carbon mg L                         103 cells L−1
 Karlodinium veneficum*                                                                                 17                                0.05–0.19                             726
 Karenia brevis*                                                                                         4                                0.04–2.71                            3,847
 Takayama sp.*                                                                                           4                                0.06–0.07                             302
 Karenia mikimoto*                                                                                       2                                0.10–0.11                             181
 Prorocentrum rhathymum*                                                                                 2                                0.06–0.34                             94
                                                         Dinoflagellates
 Akashiwo sanguinea*                                                                                     2                                0.06–0.27                             31
 Gymnoid sp.                                                                                             2                                0.06–0.09                            2,720
 Peridinium quinquecorne                                                                                 1                                    0.2                               181
 Prorocentrum texanum*                                                                                   1                                    0.1                               29
 Protoperidinium brevipes                                                                                1                                   0.06                               91

 Nanoplankton spp. (2 μ–5 μ) (UD)                     Nanophytoplankton                                 18                                0.05–0.20                           64,088

                                                                                                                        Biomass range in top-150: 0.04–2.72
Frequency of occurrence on the “Top” lists for each taxon are shown, along with the range of biomass values for the observations on the list, and the highest cell density observed for taxa on
the lists. Taxa* with an asterisk are species on the IOC Harmful Algal Bloom list (Lundholm et al., 2009 onwards). “UD” indicates observations without a specific species identification.




exhibited its highest TC values (2.4% ± 1.3) in June 2021 coinciding with                           which coincided with a drop in C:N values, possibly driven by
the K. brevis bloom in the bay and had its second highest TC in April                               terrestrial inputs of N, or remineralization by macroalgae in
2021 (average 1.8% ± 0.5; max 2.6%), concurrent with the release from                               the region.
the Piney Point facility. The lowest TC values at Bishop Harbor and St.                                 In April 2021, δ13C values were consistently low at all sites ranging
Joseph Sound site were seen in mid-July 2021 (0.2 ± 0.02%). A similar                               from −26.1 ± 3.3 at St. Joseph Sound to −22.6‰ ± 0.9 at Joe Bay. An
trend was seen in TN values, where Bishop Harbor and Joe Bay exhibited                              increase in δ13C values was seen in May 2021 (Figure 6B), possibly
their greatest TN values in April 2021 (0.3–0.46%) Piney Point had its                              driven by C input from SPM within the Piney Point discharge, which
greatest particulate TN value in June 2021 (0.32% ± 0.10; Figure 5B).                               had δ13C values ranging from −14.01 to −15.82‰.
After early July 2021, sites exhibited a decline in particulate TN, with the
exception of St. Joseph Sound, which exhibited an increase in particulate
TN in August 2021, followed by a decline.                                                           4. Discussion
     Over the study period, the lower Tampa Bay sites showed similar
trends in C:N values, with all sites exhibiting a higher C:N value in                               4.1. Initial phytoplankton response to the
April 2021, with a subsequent decline in C:N to a value of ~5 in June                               discharge
2021 (Figure 5C). After June 2021, C:N values of the bay sites
increased and then stabilized from July 2021 to April 2022. Patterns                                     Temporal trends in phytoplankton composition and biomass
in C:N were slightly different at the reference site, St. Joseph Sound,                             offer insights into possible effects of the 2021 Piney Point discharge
which also had high C:N values in April 2021, and a subsequent                                      event on Tampa Bay proper. Chlorophyll a concentrations in the 3
decrease in June 2021. However, in July 2021 there was a decline in                                 months following the discharge period were significantly higher
C:N at St. Joseph Sound, likely driven by an influx of N derived from                               than the same period in the following year at all three Bay sites
the surrounding watershed in association with Tropical Storm Elsa’s                                 proximal to the source of the discharge (i.e., Bishop Harbor, Joe Bay,
passing. Values then quickly increased and plateaued, until another                                 and Piney Point). At the reference site, St. Joseph Sound, outside of
decline in C:N was seen in January 2022 at St. Joseph Sound. The                                    Tampa Bay proper, there was no major elevation of chlorophyll a
lower Tampa Bay sites also exhibited a slight decrease in C:N at this                               concentrations during the 3 months directly after the discharge
time, but to lesser degrees.                                                                        period, followed by moderately elevated concentrations in July and
     All sites exhibited similar trends from April to December 2021                                 August of 2021, coincident with red tide blooms that extended along
for δ15N in SPM (Figure 6A). Specifically, δ15N values declined in all                              the Southwest Florida coast during this time. During the 3 months
regions in May 2021, with values as low as −11.4‰ at Bishop Harbor,                                 following the discharge, peak chlorophyll a values at our Tampa Bay
and −10.8‰ ± 0.02 at Piney Point, while the lowest average values at                                sites fell within a range associated with meso-eutrophic coastal
the reference site, St. Joseph Sound (−8.75‰ ± 10.8). and Joe Bay                                   regions, i.e., > 10–20 μg L−1 (Hagy III et al., 2022). The latter
(−4.28‰ ± 7.7), were seen in June 2021. The decline in δ15N values                                  chlorophyll levels (~20 μg L−1) are common in the northeast region
may be related to mixing and/or uptake of N from the Piney Point                                    of upper Tampa Bay, which is subject to autochthonous HAB events,
discharge since the SPM δ15N value of the Piney Point discharge in                                  including blooms of the toxic dinoflagellate Pyrodinium bahamense,
April 2021 was −17.88‰ ± 0.76. Additionally, the Bishop Harbor and                                  but are rare in the outer regions of the bay (Badylak et al., 2007). As
St. Joseph Sound sites had an increase in δ15N values in January 2022,                              such, the chlorophyll a values seen in the three months following




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       A                                                                             B




       C                                                                             D




    FIGURE 4
    In situ measurements for daily means of (A) salinity (psu), (B) dissolved oxygen (mgL−1), (C) in situ chlorophyll (μgL−1), and (D) phycoerythrin (relative
    fluorescence units, RFU) over the course of the study. The Piney Point event (March 30th – April 9th, 2021) is denoted by the green line, the period
    with maximum (> 105 cells L−1) Karenia brevis cell counts (Beck et al., 2022) is shown in the red box, and the date of tropical storm Elsa (July 5th, 2021)
    is shown with the vertical dashed black line. The smoothing line was generated using local polynomial regression fitting with a span of 0.175.




the discharge exceeded the long-term median and range of                             et al., 2011; Karthik et al., 2017; Anderson et al., 2022), such as those
chlorophyll a values in lower Tampa Bay from 2006 to 2020, which                     observed with the Piney Point discharge, compared to many bloom-
was 3.1 μg L−1 and 2.3–3.5 μg L−1 (Beck et al., 2022), and exceeded                  forming dinoflagellates encountered in coastal ecosystems in Florida
the annual average lower bay management target of 4.6 μg L−1                         (Phlips et al., 2006, 2011) which have maximum growth rates less than
(Tampa Bay Estuary Program, 2022). High chlorophyll a levels are                     1 dbl. day−1 (Stolte and Garcés, 2006; Matsubara et al., 2007). This is
encountered along the southwest coast of Florida during red tides                    particularly true during cooler months of the year in Florida when
of the toxic dinoflagellate Karenia brevis (Heil et al., 2014; Milbrandt             water temperatures fall within 20–25°C, which is well within the
et al., 2021; Phlips et al., 2023), which periodically intrude into                  optimal temperature range for growth of these diatom species, as
Tampa Bay, as observed in this study (Beck et al., 2022).                            opposed to other regionally important bloom-forming cyanobacteria
     Peaks in phytoplankton biomass observed at the lower bay                        and dinoflagellate species which have growth temperature optima
sampling sites in the 2 months following the Piney Point discharge                   between 25 and 35°C (Phlips and Mitsui, 1982; Montagnes and
event were dominated by euryhaline diatom species (Eppley, 1977;                     Franklin, 2001; Phlips et al., 2006; Anderson and Rynearson, 2020).
Brand, 1984; Balzano et al., 2011; Karthik et al., 2017), most                       Another factor that can enhance the success of diatom taxa with
prominently Leptocylindrus minimus, Leptocylindrus danicus, and                      spines, a characteristic of the three aforementioned species, is lower
Cerataulina pelagica. The three species are commonly found in                        grazing loss rates (Irigoien et al., 2005). While most diatoms are not
estuaries around the world (Reynolds, 2006), and in Florida (Badylak                 viewed as serious HAB species, with the noted exception of toxin-
and Phlips, 2004; Quinlan and Phlips, 2007; Hart et al., 2015),                      producing species of Pseudo-nitzschia (Lassus et al., 2015), major
including Tampa Bay (Badylak et al., 2007). The euryhaline                           blooms of Leptocylindrus and Cerataulina have been implicated in
characteristic of these species makes them competitive in estuaries                  mortalities, or other health issues, in fish and shellfish populations, in
like Tampa Bay, in which salinities can range from mesohaline (i.e.,                 relationship to physical damage, production of congestive muscilage,
5–18 psu) to euhaline (i.e., >30 psu), as observed in the three lower                or generation of hypoxic conditions (Taylor et al., 1985; Buschmann
bay sites in this study. The three diatom species are also known to have             et al., 2006; Ianora et al., 2008; Martin and LeGresley, 2014). These
high maximum growth rates, i.e., >1.5 dbl. day−1 (Stolte and Garcés,                 observations highlight the importance of including these types of taxa
2006; Ajani et al., 2016). The high growth rates allow such species to               in monitoring and management plans for impacted ecosystems such
take advantage of pulses of nutrients (Litchman et al., 2007; Cermeño                as Tampa Bay.


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       A                                                                          B




        C




    FIGURE 5
    Bulk measures for suspended particulate material (SPM) for each location over the study period. Values for (A) total suspended particulate carbon,
    (B) total suspended particulate nitrogen, and (C) Carbon to Nitrogen (C:N) ratios are presented for each site. The Piney Point event (March 30th – April
    9th, 2021) is denoted by the green line, the period with maximum (> 105 cells L−1) Karenia brevis cell counts (Beck et al., 2022) is shown in the red box,
    and the date of tropical storm Elsa (July 5th, 2021) is shown with the vertical dashed black line. The smoothing line was generated using local
    polynomial regression fitting with a span of 0.175.




4.2. Karenia brevis bloom dynamics                                                   2009; Heil and Muni-Morgan, 2021). During this period, extensive
post-discharge                                                                       fish kills were also reported in Middle and Lower Tampa Bay (Beck
                                                                                     et al., 2022; Florida Fish and Wildlife Conservation Commission, 2022).
    Another noteworthy aspect of the post Piney Point discharge                           K. brevis is a HAB species whose blooms initiate on the west
period were peak biomass observations of the toxic red tide                          Florida Shelf from upwelling events and are then advected to the
dinoflagellate, K. brevis at the Piney Point site in June 2021. Karenia              nearshore through wind and currents, where they negatively affect
brevis was also observed at Bishop Harbor and St. Joseph Sound                       coastal communities, particularly on the southwest coast of Florida
during the same general time period, at lower biomass levels. This                   between Tampa Bay and the Caloosahatchee Basin (Heil et al., 2014;
corroborates with Beck et al. (2022), who reported high concentrations               Weisberg et al., 2019). The source of K. brevis at our study sites was
of K. brevis in lower and middle Tampa Bay for the weeks of June 13th                likely the Gulf of Mexico, brought inshore by winds and current, and
to July 18th, 2021. During the K. brevis bloom, there was an increase                was facilitated by high salinities and available nutrients in the bay at
in extracted and in situ chlorophyll, as well as in situ measurements of             that time, since K. brevis is known to be somewhat intolerant of low
PE. The peak biomass value for K. brevis observed at Piney Point was                 salinities (i.e., <20 psu; Steidinger, 2009; Beck et al., 2022). K. brevis
2.71 mg C L−1 (i.e., 3.85 million cells L−1), which ranks it as a major              blooms are a common feature along the west coast of Florida
bloom of concern to the health of the estuary - including the potential              (Steidinger, 2009; Vargo, 2009; Heil et al., 2014), and typically originate
for animal mortalities, development of anoxia, and human health                      offshore on the coastal shelf, and then are introduced to coastal
issues (Kirkpatrick et al., 2004; Fleming et al., 2005; Landsberg et al.,            estuaries through prevailing nearshore circulation patterns (Weisberg


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        A




       B




    FIGURE 6
    Stable isotope values for (A) nitrogen and (B) carbon in suspended particulate material (SPM). Values from the Piney Point discharge are shown with the
    horizontal green line. The Piney Point event (March 30th – April 9th, 2021) is denoted by the green line, the period with maximum (>105 cells L−1) Karenia
    brevis cell counts (Beck et al., 2022) is shown in the red box, and the date of tropical storm Elsa (July 5th, 2021) is shown with the vertical dashed black line.



et al., 2019). High nutrient discharge from the Piney Point reservoir                    values revealed that Piney Point discharge had a unique SPM source
was suspected to contribute to the high biomass of K. brevis observed                    signature. The discharge water SPM had an exceptionally low δ15N
in the Piney Point region in June and July. Once K. brevis reaches the                   value of −17.88‰ ± 0.76 (n = 5), and a δ13C value of −15.23‰ ± 0.53
nearshore, terrestrial nutrient sources may influence bloom                              (n = 5). A δ15N value of −17.88‰ is unusually low and is considerably
conditions, and several recent studies have observed positive                            lower than values reported for inorganic fertilizers, which can be as low
relationships between elevated nutrient concentrations in discharges                     as ~ −10‰ (Bateman and Kelly, 2007). In Tampa Bay, particulate and
from local coastal watersheds and the intensity of red tide events                       dissolved N stable isotopes have been used to identify N sources in
(Medina et al., 2020, 2022; Phlips et al., 2023). However, further                       stormwater runoff (Jani et al., 2020), constrain nutrient sources for
research is needed to define whether the high K. brevis biomass was                      K. brevis blooms (Havens, 2004), and asses N sources within the Gulf
associated with autochthonous production in the region, or                               of Mexico (Knapp et al., 2021), and our unusually low value makes the
allochthonous introduction of K. brevis from Tampa Bay, although                         δ15N value of Piney Point SPM unique, and much more depleted,
evidence suggests both occurred during this event.                                       relative to other nutrient sources in the region. Local rainfall nitrate
                                                                                         (NO3−) values range from −4.42 to 5.69‰, stormwater runoff δ15N-
                                                                                         NO3− values range from −9.72 to 8.06‰, particulate organic N values
4.3. Suspended particulate material                                                      range from −1.99 to 6.27‰, and local vegetation sources range from
                                                                                         −1.70 to −0.83 ‰ (Quercus virginia leaves), 1.55 to 1.60‰ (Quercus
    Stable isotopes of N have been utilized in Tampa Bay and other                       virginia acorns), and −1.93 to 0.68‰ (Stenotaphrum secundatum grass
coastal ecosystems to evaluate contributions from N sources and                          clippings; Jani et al., 2020). Additionally, the Piney Point SPM δ15N
investigate N cycling, and our investigation of particulate δ13C and δ15N                values are much lower than those reported for particulate N in the Gulf


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of Mexico (1.6–5.0‰; Knapp et al., 2021). The only available published          to members of Chlorophyta, as another laboratory study found that ɛ
study that reported exceptionally low δ15N values comparable to ours            values of the diatom Skeletonema significantly decreased from −7.8‰
was a study of seagrass meadows of Halodule uninervis in Qatar, which           to −27.2‰ when grown on increasing concentrations of ammonium,
documented δ15N values as low as ~ −12.4‰, which was attributed to              indicating that when ammonium concentrations are higher, 14N is
undefined but localized sediment processes (Walton et al., 2016).               incorporated faster than 15N, thereby depleting (lowering) the δ15N
     This unusual δ15N value is likely due to the unique characteristics        value of the phytoplankton and SPM (Pennock et al., 1996).
of the reservoir and the water discharged from it. The discharge water               Anomalously low SPM δ15N values seen at our study sites in May
was not pure diammonium phosphate, but rather a combination of                  and June of 2021 suggest that there was incorporation of highly depleted
waste derived from the production of diammonium phosphate,                      Piney Point discharge into particulate material in the region. Previous
seawater from dredging operations, and rainwater, which have created            work in Tampa Bay has suggested that K. brevis utilizes sources with low
unique conditions within the reservoir since it was partially filled in         δ15N values (Havens, 2004), however, the low SPM δ15N values occurred
2011 (Beck et al., 2022). Thus, the SPM collected from the reservoir            prior to the dates of the peak K. brevis bloom, suggesting that the NH4+
contained particulate material that included phytoplankton and other            from the discharge water was either (1) taken up by fast growing
microorganisms that were growing in the reservoir water, and as such,           diatoms in May/June and incorporated into phytoplankton biomass/
should not be expected to have δ15N values that exactly resemble                SPM; or (2) NH4+ may have been utilized during the early stage of the
ammonium (NH4+) fertilizer. Given the novel growth conditions                   bloom, as initially low K. brevis cell counts were seen in lower Tampa
presented at the reservoir, it is likely that the highly depleted values        Bay as early as the week of April 18th, 2021. However, we do not have
seen in the discharge water in April 2021 (−17.88‰ ± 0.76), and in the          sufficient evidence to explicitly evaluate these two scenarios.
reservoir water in October 2021 (−19.15‰ ± 0.05), were driven by                     The discharge water had a δ13C value of −15.23‰ ± 0.53, which is
isotope fractionation associated with ammonium transport and                    within the range of bacteria or C4 terrestrial organic matter (Lamb
assimilation within the reservoir. Differences between the April and            et al., 2006). All sites exhibited a increase in δ13C values concomitant
October δ15N and nutrient values are likely from on-site treatment              with the decrease in δ15N values, suggesting that C derived from the
technologies used since April 2021 to reduce total P and total N within         Piney Point discharge was also incorporated into SPM at the same
the reservoir.                                                                  time that δ15N and C:N values declined. Interestingly, while
     Stable isotope values of δ15N can be influenced by various isotopic        phytoplankton biomass was lower overall at the reference site, St.
fractionation pathways which we suggest explains the extreme δ15N               Joseph Sound, the same trends in SPM stable isotope values were seen
values we observed. Many phytoplankton and other microorganisms                 in the reference site. This may be an indication of the export of
preferentially utilize NH4+ rather than NO3−. When ammonium is                  discharge C and N into regions outside of the bay, which is supported
transported and assimilated by phytoplankton or other                           by initial findings from Liu et al. (2021) that showed the discharge was
microorganisms, isotopic fractionation can occur when they                      gradually flushed out of the bay and into adjacent coastal waters (Liu
preferentially utilize the light (14N) isotope and leave the heavy 15N          et al., 2021). The persistence of highly depleted SPM δ15N values
isotope behind. This process can be concentration dependent, and                approximately 50 km from the discharge site is unexpected, but other
when the ammonium concentration is higher, organisms discriminate               regions distant to the discharge site, such as upper Sarasota Bay were
more against the heavy isotope (15N) and take up more of the lighter            also likely affected by the discharged waters (Tomasko, 2023).
(14N) isotope. This transport and assimilation of 14N into their biomass        Additionally, we found that the reference site had elevated
decreases the relative proportion of 15N in their biomass, and                  orthoP values in April 2021 relative to April 2022, suggesting that
subsequently results in lower δ15N values of the SPM (δ15NSPM).                 orthoP from the discharge was also transported to the reference site.
We hypothesize that, under the extremely high (~210 mg L−1)                          It must be emphasized that while the stable isotope values reported
ammonium concentrations in the Piney Point reservoir, this isotope              here indicate a transport of discharge outside of the bay, we did not
fractionation occurred to such an extent that it resulted in extremely          observe large, associated shifts in chlorophyll values and phytoplankton
low δ15N values observed in the SPM of the reservoir.                           community structure at the reference site, suggesting that, even if the
     While no laboratory studies to date have explored isotopic                 SPM at the reference site reflects N contributions from the Piney Point
fractionation associated with ammonium concentrations as high as                discharge, these values may not have had adverse ecological effects at
those in the study reservoir, Liu et al. (2015) reported the occurrence         this location on the phytoplankton community. However, it should
of concentration dependent isotopic fractionation when Chlorella                be noted that the released nutrients may have had other fates such as
vulgaris F1068 was grown in media with 4, 10 and 50 mg L−1                      uptake into macroalgae and seagrasses, as well as deposition into bay
ammonium. C. vulgaris F1068 is a member of the division                         sediments, both of which may have important implications for the
Chlorophyta, which was also the division of the dominant alga                   long-term health of the Bay. For example, macroalgae blooms have
identified in the Piney Point reservoir. While the maximum C. vulgaris          contributed to seagrass losses throughout the Bay, which have been
F1068 growth rate was seen at 4 mg L−1, this species is capable of              ongoing since before Piney Point. After Piney Point, Ulva was abundant
tolerating high (50 mg L−1) concentrations of ammonium (Liu et al.,             in Hillsborough Bay and Dapis was abundant in most of the Bay
2015). While Liu et al. (2015) did not quantify the isotope enrichment          (Tomasko, 2023), which may adversely affect seagrass meadows.
factor (ɛ; a measure of isotopic discrimination against heavier                 Deposition into Bay sediments may also be an important mechanism
isotopes) at 50 mg L−1, they found an ɛ of −2.37‰ when C. vulgaris              by which nutrients from the discharge may have been removed from
was grown at 10 mg L−1 ammonium, and that there was greater                     the water column and stored in the sediments. This legacy nutrient
discrimination against the heavy isotope when C. vulgaris was grown             source may have implications for future water quality, as sedimentary
under higher ammonium concentrations (Liu et al., 2015).                        resuspension, and fluxes of inorganic nutrients from sediments can
Concentration dependent isotopic fractionation is not solely limited            provide an important source of nutrients to primary producers,


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including phytoplankton and HABs (Dixon et al., 2014). Further                      vulnerability of coastal infrastructure and the potential ongoing
investigation into macroalgae and seagrass stable isotope values and                threats these vulnerable facilities pose to coastal ecosystems.
sedimentary records from the study area will provide a more complete
picture of nutrient effects on the ecosystem.
                                                                                    5. Conclusion
4.4. Tropical storms and export of piney                                                 Here we document changes in phytoplankton community
point discharge to surrounding areas                                                composition, water quality, and SPM in the year following the 2021
                                                                                    Piney Point discharge event. Soon after the discharge, elevated diatom
     In addition to capturing some of the effects of the Piney Point                biomass was seen in the lower Tampa Bay sites, followed by high
discharge on Tampa Bay’s phytoplankton communities and particulate                  biomass of the harmful algae K. brevis in the summer of 2021.
material, we also detected a signal of Tropical Storm Elsa on the water             Nitrogen stable isotope values in SPM were very low in May and June
quality of different regions within the Bay. The passage of tropical                of 2021 and were similar to δ15N values from the discharge, suggesting
storm Elsa through the Tampa Bay area (July 5th, 2021) resulted in                  that N from the Piney Point discharge was incorporated into SPM in
approximately 8–18 cm of rain delivered to the west coast of Florida                the region. Low δ15N values were also seen in the SPM samples
(Cangialosi et al., 2022), and increased stream flows of the Anclote                collected from the reference site, St. Joseph Sound, and higher
River and Little Manatee River which are tributaries to our study area              orthophosphate concentrations were seen at the site in April 2021
(USGS, 2021a,b). The maximum stream flow reported for the Anclote                   versus 2022, further suggesting that some of the Piney Point discharge
river (USGS monitoring location 02310000), near the reference site St.              was exported out of Tampa Bay proper. While the stable isotope values
Joseph Sound, was 954 ft3 s−1 on July 10th, 2021, compared to 5.05 ft3 s−1          reported here indicate a transport of discharge outside of the bay,
during pre-storm conditions on July 1st, 2021 (USGS, 2021a), and the                chlorophyll values and phytoplankton communities did not exhibit
maximum stream flow reported for the Little Manatee River (USGS                     notable shifts at the reference site, suggesting that, even though SPM
monitoring location 02300500), closest to the lower Tampa Bay sites,                at the reference site reflects N contributions from the Piney Point
was 1,510 ft3 s−1 on July 8th compared to 43.1 ft3 s−1 during pre-storm             discharge, these values may not have had adverse ecological effects at
conditions on June 28th, indicating that there were considerable                    this location, at least from a phytoplankton perspective. While onsite
increases in stream flow rates associated with this storm event.                    treatment technologies have reduced the N and P concentrations in
     The increased rainfall and streamflow into the study sites was                 the reservoir, and have reduced the risk to nearby coastal ecosystems,
associated with lower salinities, particularly at the lower bay sites. A            the Piney Point event highlights the threat that industrial
decrease in fDOM, extracted and in situ chlorophyll, as well as PE                  infrastructure failures can cause along Florida’s coastlines. In addition,
were seen at the lower Tampa Bay sites, likely due to dilution of                   these vulnerabilities should be assessed with other factors, such as
terrestrial DOM, in the case of fDOM, and possibly due to flushing of               estuarine flushing rates, water residence times, climatic factors, and
phytoplankton from the bay, in the case of chlorophyll and PE. The                  storms and hurricanes, which can also influence the initiation and
effects of Tropical Storm Elsa also likely influenced particulate TC                persistence of HABs and the health of Florida’s coastal ecosystems
values, as the lowest TC values (0.2 ± 0.02%) at Bishop Harbor and St.              (Phlips et al., 2020; Tomasko et al., 2020). Here, the effects of Tropical
Joseph Sound site were seen immediately following the storm and                     Storm Elsa showed changes in water quality in the region, and storms
likely driven by a dilution effect from freshwater inflows. We also                 such as Hurricane Ian, which passed through the region in September
observed a decline in C:N values at these sites, likely driven by an                2022, may also have interactive effects with the discharge-impacted
influx of N derived from the surrounding watershed associated with                  regions in the Bay. This work underscores the need for comprehensive
the storm. Past work in the region found that after some storm events,              nutrient management strategies and convergent research to assess and
the concentration of all forms of N decreased, which was attributed to              manage the full range of consequences associated with anthropogenic
a dilution effect followed by a slight increase in TN concentrations                nutrient inputs into coastal ecosystems. Ongoing and anticipated
after rainfall ceased (Jani et al., 2020). This was seen in 3 out of 4 sites        impacts of accelerated climate change – such as increasing tropical
in this study following the passage of Tropical Storm Elsa, where                   storm intensity, temperatures, rainfall, and sea level rise – will amplify
particulate N values exhibited an initial decrease after the storm,                 this need.
followed by a slight increase at Bishop Harbor and St. Joseph Sound
sites, highlighting the important role that tropical storms play in
influencing nutrient fluxes from terrestrial systems.                               Data availability statement
     In addition, the occurrence of tropical storms and hurricanes can
have interactive effects with built infrastructure, potentially resulting               The datasets presented in this study can be found in online
in increased threats to coastal systems and changes in nutrient                     repositories. The names of the repository/repositories and accession
regimes. For example, the capacity of the holding reservoirs at Piney               number(s) can be found at: https://github.com/elisemorrison/
Point had decreased due to rain events and tropical storms in the years             PineyPoint2021
prior to the event (Beck et al., 2022) increasing the risk of overflow or
breaching which likely contributed to the 2021 event. Closure
activities at the site are now centered on reducing the accumulation of             Author contributions
rainfall within the wastewater reservoir system. As tropical storms and
hurricanes are projected to increase in frequency and intensity, events                 EM: conceptualization, data collection, field sampling, data
such as the Piney Point 2021 wastewater discharge emphasize the                     curation, formal analysis, methodology, writing – original draft, and


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writing – review and editing. EP: conceptualization, data curation, formal                            chlorophyll analyses; and Megan Sanford for laboratory support and
analysis, methodology, writing – original draft, and writing – review and                             sample preparation.
editing. SB: data curation, formal analysis, methodology, and writing –
review and editing. AC and AA: data collection, field sampling, data
curation, methodology, and writing – review and editing. TO: data                                     Conflict of interest
curation and writing – review and editing. DT: data curation and writing –
review and editing. MB and ES: writing – review and editing. All authors                                  The authors declare that the research was conducted in the
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Frontiers in Ecology and Evolution                                                               17                                                                              frontiersin.org
                                                                      APPX ATT_V5_2075
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Hillsbourgh counties.
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Fish kills suspected to be related to red tide were reported in Pasco, Pinellas, Hillsborough,
Manatee, Sarasota and Lee counties over the past week, according to the commission, as well
as respiratory irritation in many of the same counties.

                  RELATED ARTICLE
                  3 years ago, a massive algae bloom in Florida killed 2,000 tons of marine life. It's
                  threatening again




The blooms aren’t necessarily red or blue green. The US Centers for Disease Control and
Prevention says “blooms can look like foam, scum, mats, or paint on the surface of the water. A
bloom can change the color of the water to green, blue, brown, red or another color.”

“Red Tide in some parts of Tampa Bay in the past few days tested at ten to 17 times the
concentration considered “high,” which can cause significant respiratory issues in people as
well as fish kills,” Pinellas County officials said in a red tide update July 13.


Community members rally to see some change
Members of the Suncoast Surfrider Foundation, a non-profit that works to protect oceans and
beaches, and others in the community rallied against the problem Saturday, hoping to bring
their concerns to the Florida Gov. Ron DeSantis.

Thomas Paterek, chair of Suncoast Surfrider, told CNN he knew he had to do something when a
friend called him in tears because of the dead fish on the beach outside of their water rental
business.

“Hearing that phone call sparked a fire in me, to say if nothing is going to be happening, the
community needs to lead this,” Paterek said.

He said he decided to organize the rally to try to spark immediate change, including closing the
nearby Piney Point wastewater reservoir and enacting a state of emergency to help clean up
the waterways.

“I think everyone in the community is frustrated,” he said. “When you see dead dolphins in the
water, when you see dead manatees in the water, dead sea turtles … when you have captains
who have fished in the area for decades say they have never seen anything like this, that is
enough to declare a state of emergency and not just say it’s another naturally occurring
harmful algal bloom.”

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 1.   ♦Records and Reports:

      1.1    Observation: On October 20, 2023, the Department received State Watch Office
             (SWO) incident report number 2023-8712 regarding the release of an unknown
             amount of process water to the ground. Department Personnel also received verbal
             notification from facility representatives. The release event occurred near an are of
             the stack system known as Area of Interest number four (AOI-4).
      1.2    Observation: On October 21, 2023, the Department received the Critical Condition
             Notification and Notice of Pollution (Ref. 403.077, F.S.) regarding a liner tear and
             loss of an indeterminate amount of process water.
      1.3    Observation: At the time of the Site Visit, Department staff reviewed piezometer,
             seismic, and stack movement monitoring data. Piezometers used to monitor AOI-4
             under the secondary liner reported an elevation loss range of 8.3-4.8 ft. Mosaic staff
             reported that all piezometer instrumentation had been checked and calibrations
             verified.
 2. Facility Site Review:
      2.1    Observation: The Drilling Pad, created for the investigation of AOI-4, and side slopes
             of the surrounding area was observed during the Visit. Technicians were on-site
             reviewing data and verifying functionality of the active monitoring systems.
      2.2    Observation: The underdrain system serving the stack system containing the AOI-4
             location still appeared to have active flow, an indication of continued functionality.
             Mosaic personnel stated that the amount of flow from the underdrain system, visually,
             appeared to be unchanged and have field-verified a lack of suction in the system.
      2.3    Observation: The top of the stack system where the AOI-4 exclusion area is located,
             contained no ponded water and no visible indication of disturbance.
 3. Operation and Maintenance:
      3.1    Observation: The larger exclusion area for AOI-4 has been re-established.
      3.2    Observation: All process water has been removed from the top of the stack and all
             phosphogypsum stacking operations for that area have been discontinued.
      3.3    Observation: The area where the water loss event occurred is within the zone of
             capture for the facility’s recovery wells. Recent monitoring data results do not
             indicate any substantive change over the existing trends of the wells’ water quality.
      3.4    Observation: Mosaic intends to begin drilling operations to investigate the anomaly
             during the week of 10/23-10/28/2023.




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 DIGITAL PHOTOGRAPHIC LOG
    1. Type of Camera Used: iPhone 12
    2. Were the photos altered? NO ___ YES _X_
       Explain yes: Resized
    3. Photographer: Lance Kautz




                                                        IMG_0049: View to the west on the
                                                        AOI-4 drill Pad. Note the piezometers
                                                        and active calibration/data collection.




IMG_0045: Stack movement
monitoring instrumentation




       Mosaic, New Wales Concentrates Plant      Polk        FL0036421             SV – 10/21/2023
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                             IMG_0054: A zoomed-in photograph of the top of the
                             stack system containing the AOI-4 exclusion area.




                          IMG_0043: Northern view of the side slope from the drilling pad




     Mosaic, New Wales Concentrates Plant           Polk             FL0036421              SV – 10/21/2023
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                       IMG_0050: The top of the stack system containing the
                       AOI-4 exclusion area.




     Mosaic, New Wales Concentrates Plant         Polk             FL0036421      SV – 10/21/2023
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project meet the regulatory requirements        Comments related to EPA’s                    The Agency’s response to comments
of 40 CFR 61.206(c); that is, the project    management of phosphogypsum and its           document is available in the public
is at least as protective of public health   non-radiological contaminants under           docket 1 and on the EPA
as maintaining the phosphogypsum in a        the Resource Conservation and                 phosphogypsum website,2 together with
stack. Therefore, the Agency issued an       Recovery Act and other statutes               electronic copies of the application, the
approval of the small-scale pilot project    similarly fell outside the scope of the       EPA’s review, and relevant background
per 40 CFR 61.206, subject to terms and      current decision. EPA has documented          materials.
conditions which limit the project to the    other regulatory issues in its supporting
                                                                                           Joseph Goffman,
scope of the application. The terms and      documents, but EPA’s decision is only
conditions are included in the approval      a determination of the permissibility of      Assistant Administrator, Office of Air and
                                                                                           Radiation.
letter to Mosaic, which is available in      the project under the Clean Air Act
the public docket and on the EPA                                                           [FR Doc. 2024–30508 Filed 12–20–24; 8:45 am]
                                             National Emissions Standards for
website, https://www.epa.gov/radiation/      Hazardous Air Pollutants for                  BILLING CODE 6560–50–P
phosphogypsum. Approval by the               Radionuclides. It does not imply any
Agency is specific to the pilot project as   other regulatory approval or
described in the Mosaic request and          determinations of compliance. These           FEDERAL COMMUNICATIONS
indicates only that this project meets the   must be obtained or made separately           COMMISSION
approval requirements of Subpart R.          from this decision.
II. Public Comments and Responses               Some commenters indicated that EPA         [OMB 3060–1155; FR ID 269133]
                                             established a legal ban on the use of
   The EPA’s decision to approve or                                                        Information Collection Being Reviewed
                                             phosphogypsum in road construction by
deny a request for other use under 40                                                      by the Federal Communications
                                             considering but not issuing a categorical
CFR 61.206 is not a rulemaking. In                                                         Commission
                                             approval in 1992. Road use is not
December 2005, the EPA issued a
                                             prohibited by the regulation as amended       AGENCY: Federal Communications
guidance document, ‘‘Applying to EPA
                                             in 1992 and is eligible to be considered      Commission.
for Approval of Other Uses of
                                             as an ‘‘other use.’’
Phosphogypsum: Preparing and                                                               ACTION: Notice and request for
Submitting a Complete Petition Under            Commenters were critical of many
                                                                                           comments.
40 CFR 61.206, A Workbook’’                  aspects of the risk assessment.
(December 2005). Although this               Commenters questioned the EPA’s               SUMMARY: As part of its continuing effort
guidance is not binding, the EPA sought      overall ability to perform radiological       to reduce paperwork burdens, and as
public comment on this pending               risk assessment, use of fatal radiogenic      required by the Paperwork Reduction
approval using the procedure described       cancers as a health endpoint, selection       Act (PRA) of 1995, the Federal
in Section 2.4 of the Workbook. As           of dose and risk coefficients, selection of   Communications Commission (FCC or
outlined in the Workbook, the EPA            models, and selection of exposure             the Commission) invites the general
published a notice of availability of this   scenarios and whether current risk data       public and other Federal agencies to
pending approval in the Federal              was used. Specifically, several               take this opportunity to comment on the
Register on October 9, 2024, and opened      commenters believed that greater              following information collection.
a 30-day comment period, which was           emphasis should be placed on the              Comments are requested concerning:
extended in response to public requests      consideration of a future resident at the     whether the proposed collection of
for an additional 15 days to close on        site of the pilot project. These comments     information is necessary for the proper
November 23, 2024. Physical copies of        represent disagreements with decisions        performance of the functions of the
the Mosaic request and the EPA’s             that EPA has made in its evaluation of        Commission, including whether the
technical evaluation were placed for         potential risks associated with the           information shall have practical utility;
public review in the Mulberry Public         proposed pilot project, rather than new       the accuracy of the Commission’s
Library, 905 NE 5th Street, Mulberry, FL     information that the Agency has not           burden estimate; ways to enhance the
33860. The EPA also placed notices of        previously considered. After reviewing        quality, utility, and clarity of the
public availability in local newspapers.     the comments, the EPA continues to            information collected; ways to minimize
   The EPA has reviewed all comments         believe that the risk assessments             the burden of the collection of
received for their relevance to the          associated with this pilot project are        information on the respondents,
pending approval.                            consistent with current radiological risk     including the use of automated
   Many comments requested an                assessment methodologies and                  collection techniques or other forms of
extension of the 30-day comment              precedent, and sufficient to evaluate the     information technology; and ways to
period. The EPA extended the comment         project per the requirements of 40 CFR        further reduce the information
period in response to these requests.        61.206. Results from multiple modeling        collection burden on small business
   The majority of comments were             efforts indicate that risks due to the        concerns with fewer than 25 employees.
generally opposed to the use of              proposed pilot project are low. EPA           DATES: Written PRA comments should
phosphogypsum in public roads, and           believes that for this existing site, it is   be submitted on or before February 21,
critical of the current state of             most appropriate to consider the              2025. If you anticipate that you will be
phosphogypsum management; these              potential risk to site workers and the        submitting comments, but find it
comments were determined to be               nearest residents to the site when            difficult to do so within the period of
outside the scope of this action, which      determining whether the pilot project is      time allowed by this notice, you should
is specific to the small-scale pilot         as protective as leaving the                  advise the contact listed below as soon
project as it is described in Mosaic’s       phosphogypsum in the stack. No                as possible.
request. The EPA’s approval applies          comments raised topics which EPA did
only to the proposed pilot project and       not consider in its technical evaluation        1 https://www.regulations.gov, Docket ID No.
not any broader use. Any other use           or lead to a concern for human health         EPA–HQ–OAR–2024–0446.
would require a separate application,        or environmental impacts not                    2 https://www.epa.gov/radiation/

risk assessment, and approval.               previously considered.                        phosphogypsum#aaup.



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ACTION: Notice.                               Printing Office under the ‘‘Federal          EPA did, however, define in 40 CFR
                                              Register’’ listings at FDSys (http://        61.206 a process to request approval of
SUMMARY: The Environmental Protection         www.gpo.gov/fdsys/browse/                    other uses of phosphogypsum,
Agency (EPA) is approving, subject to         collection.action?collectionCode=FR).        including a risk assessment
certain conditions, a request by The                                                       demonstrating that the proposed use is
Fertilizer Institute for use of               II. Background and Overview of
                                                                                           at least as protective of human health,
phosphogypsum in government road              Decision                                     in the short- and long-term, as
projects. This decision and supporting          Phosphogypsum stacks are large piles       placement in a stack. As stated in the
information is being made available to        of waste from wet acid phosphorous           preamble to the final rule, the measure
the public through this notice. Under         production. There are more than 60           of protectiveness is lifetime risk of fatal
the Clean Air Act, the EPA may approve        stacks of phosphogypsum located in 13        cancer to individuals. In connection
a request for other use of                    different states. The majority of these      with the removal of phosphogypsum
phosphogypsum if it determines that the       stacks are located in the southeastern       from stacks for authorized uses, the EPA
proposed use is at least as protective of     region of the United States. Because the     incorporated sampling, certification,
human health as placement in a stack,         phosphate ore used to produce the            and record-keeping requirements into
which is the designated management            phosphoric acid contains relatively high     Subpart R at 40 CFR 61.207 through
method. With this approval, and in            concentrations of uranium and radium,        61.209.
accordance with its terms and                 phosphogypsum stacks also contain
conditions, government entities may use                                                    B. Request by The Fertilizer Institute
                                              high concentrations of these elements.
phosphogypsum for road construction           The presence of radium in the stacks            On October 15, 2019, The Fertilizer
projects.                                     causes them to release radon gas into        Institute (TFI) submitted its initial
DATES: October 20, 2020.                      the atmosphere.                              ‘‘Request for Approval of Additional
                                                The EPA regulates the management of        Uses of Phosphogypsum Pursuant to 40
FOR FURTHER INFORMATION CONTACT:
                                              phosphogypsum based on its elevated          CFR 61.206,’’ requesting that EPA
Jonathan P. Walsh, Radiation Protection
                                              levels of radium and its decay products,     approve the use of phosphogypsum in
Division, Office of Radiation and Indoor
                                              including radon gas, which is classified     road construction. Subsequently, on
Air, Mail Code 6608T, Environmental
                                              as a hazardous air pollutant under the       April 7, 2020, TFI submitted, on behalf
Protection Agency, 1200 Pennsylvania
                                              Clean Air Act. As required by 40 CFR         of its members that own or operate
Ave. NW, Washington, DC 20460;
                                              part 61, subpart R (hereafter ‘‘Subpart      phosphogypsum stacks, a revised
telephone number: (202) 343–9238; fax
                                              R’’), phosphogypsum must be disposed         request: ‘‘Revised Request for Approval
number: (202) 343–2304; email address:
                                              of in engineered piles, called stacks,       of Additional Uses of Phosphogypsum
walsh.jonathan@epa.gov.
   Organization of this document. The         with the exception of limited use for        Pursuant to 40 CFR 61.206: Use in Road
information in this notice is organized       agricultural and research purposes. In       Construction Projects Authorized by
as follows:                                   addition, applicants may request             Federal, State and Local Departments of
                                              approval of other uses of                    Transportation or Public Works.’’
I. General Information                                                                        TFI requested that phosphogypsum be
   A. How can I get copies of this document   phosphogypsum by following the
                                              process prescribed in 40 CFR 61.206.         approved specifically for government
     and other related information?
II. Background and Overview of Decision                                                    road projects authorized by federal, state
                                              A. The EPA’s 1992 Risk Assessment            and local Departments of Transportation
   A. The EPA’s 1992 Risk Assessment
   B. Request by The Fertilizer Institute       The EPA initially established the          (DOT) or Public Works (PW), and
   C. TFI’s Risk Assessment                   requirement that phosphogypsum be            conducted as part of a government road
   D. Terms and Conditions of the Approval    placed into stacks without any               project using appropriate, generally
                                              exceptions (54 FR 51674, December 15,        accepted road construction standards
SUPPLEMENTARY INFORMATION:
                                              1989). In response to petitions for          and specifications such as ASTM,2
I. General Information                        reconsideration, the EPA re-evaluated        Federal Highway Administration,
A. How can I get copies of this               the risks of selected applications of        federal or state DOT standards and
document and other related                    phosphogypsum against the risks from         specifications, or standards developed
information?                                  stacking (57 FR 23305, June 3, 1992).1       or approved in consultation with the
                                              The EPA determined that the use of           appropriate regulatory DOT or PW
  1. Docket. The EPA has established a        phosphogypsum in limited agricultural        authorities. Notably, as envisioned by
docket for this action under Docket ID        and indoor research activities could be      the request, the submitter of the request
No. EPA–HQ–OAR–2020–0442.                     as protective of human health, in the        (TFI) would not be the entity using the
Publicly available docket materials are       short- and long-term, as stacking. These     phosphogypsum, although its members
available either electronically through       approved uses were incorporated into         may supply the phosphogypsum to the
www.regulations.gov or in hard copy at        Subpart R at 40 CFR 61.204–205.              end user (i.e., the government agency
the Air and Radiation Docket in the EPA         The EPA also assessed the use of           responsible for the road construction
Docket Center, (EPA/DC) EPA West,             phosphogypsum in road construction.          project). To address this situation, the
Room 3334, 1301 Constitution Ave. NW,         While the risks were found to be             terms and conditions of the approval
Washington, DC. The EPA Docket                acceptable from most of the exposure         require that the phosphogypsum
Center Public Reading Room is open            scenarios analyzed, the potential risks to   supplier (stack owner or operator) and
from 8:30 a.m. to 4:30 p.m., Monday           residents of dwellings constructed on an     the end user each provide information
through Friday, excluding legal               abandoned road were calculated to be         to the EPA, as appropriate, prior to
holidays. The telephone number for the        unacceptably high. The EPA therefore         removal of phosphogypsum from the
Public Reading Room is (202) 566–1744,        did not approve road construction as a       stack.
and the telephone number for the Air          categorical use of phosphogypsum. The           TFI estimates that the cost of
and Radiation Docket is (202) 566–1742.                                                    transportation would make the use of
   2. Electronic Access. You may access        1 ‘‘Potential Uses of Phosphogypsum and
this Federal Register document                Associated Risks: Background Information      2 Formerly the American Society for Testing and

electronically from the Government            Document,’’ EPA 402–R92–002, May 1992.       Materials, now ASTM International.



                                                   APPX ATT_V5_2093
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phosphogypsum uneconomical at                        D. Terms and Conditions of the                          • Continued control, maintenance,
distances greater than about 200 miles               Approval                                              and use of the road;
from a stack.3 In that case, the regional               The EPA has determined that, subject                 • Sampling, certification, and record-
distribution of phosphogypsum stacks                 to the terms and conditions summarized                keeping requirements in 40 CFR
suggests that its use for road                       below, phosphogypsum may be                           61.206(d) and 61.207 through 61.209;
construction would likely be                         removed from stacks and used in                         • Construction of the road consistent
concentrated in the southeastern part of             government road projects, as requested                with the assumptions, scenarios,
the country but could also occur in                  by TFI. This approval to use                          limitations, and parameters analyzed in
western states such as Idaho and                     phosphogypsum in road construction                    TFI’s risk assessment, including an
Wyoming.                                             does not authorize the removal of any                 average radium content of no more than
                                                     phosphogypsum from any stacks or the                  35 pCi/g, no more than 2.25% PG by
C. TFI’s Risk Assessment
                                                     use of any phosphogypsum for road                     weight in surface pavement and no
  As required by Subpart R, TFI                      construction unless and until the                     more than 50% PG by weight in the
submitted a risk assessment as part of its           information required by the ‘‘Initial                 road base; and
request.4 The risk assessment assessed               Conditions,’’ below, is provided to EPA.                • Notification and availability of
potential exposures to individuals in                Only after such information is provided               information for the public and road
various scenarios involving road users,              to EPA, may phosphogypsum be                          construction workers on the use of
nearby residents, and road construction              removed from stacks and used in road                  phosphogypsum in the road project.
workers. TFI’s exposure scenarios and                construction, further provided that the                 Any use of phosphogypsum not
modeling approaches were largely                     conditions expressed in ‘‘Other                       consistent with the terms and
consistent with the EPA’s 1992 analysis,             Conditions,’’ below, continue to be met.              conditions and any other limitations set
as were the overall results.                         A complete listing of the terms and                   forth in this approval shall be construed
  The EPA finds TFI’s risk assessment                conditions applicable to this approval                as unauthorized distribution of
to adequately demonstrate that the use               may be found in the approval letter.6                 phosphogypsum and may constitute a
of phosphogypsum in road construction                Additional supporting documentation,                  violation of or noncompliance with 40
will be at least as protective of human              such as the complete TFI request and                  CFR part 61, subpart R. This approval is
health, in the short- and long-term, as              risk assessment, are also in the docket.              pursuant to Subpart R promulgated
stacking.5 However, as in 1992, the EPA                                                                    under the authority of the Clean Air Act.
                                                     1. Initial Conditions                                 This approval does not relieve TFI,
remains concerned about potential
exposures should the road become                        Prior to the distribution and/or use of            phosphogypsum stack owners or
abandoned, particularly for a residence              phosphogypsum for any government                      operators or resellers, retailers,
built on road material containing                    road project, the owner or operator of                distributors, or end users or other
phosphogypsum. The EPA does not                      the stack from which phosphogypsum is                 entities handling, processing or using
agree that TFI’s assumptions in its                  to be distributed or the governmental                 phosphogypsum of responsibility to
analysis of this scenario, such as the use           entity responsible for building and                   comply with other applicable laws and
of radon resistant home construction                 maintaining the road, as appropriate,                 regulations.
techniques, could be relied upon to                  must submit to the Agency all
                                                     information required by 40 CFR                        Andrew Wheeler,
limit the potential risks to a future                                                                      Administrator.
residential individual from such an                  61.206(b), as more specifically described
occurrence. In this case, however, the               in the approval letter.                               [FR Doc. 2020–23154 Filed 10–19–20; 8:45 am]
                                                                                                           BILLING CODE 6560–50–P
EPA believes that this risk can be                   2. Other Conditions 7
acceptably mitigated by including                      Subsequent to the provision of the
appropriate terms and conditions in the              initial required information to EPA,                  ENVIRONMENTAL PROTECTION
approval.                                            phosphogypsum may be used in                          AGENCY
  In defining its request and exposure               government road projects in accordance
scenarios, TFI’s risk assessment assumes                                                                   [EPA–HQ–OPPT–2020–0077; FRL–10015–
                                                     with additional conditions, as stated in              81]
certain limitations involving the                    the approval letter, including, for
construction and placement of roads.                 example, conditions related to:                       Certain New Chemicals; Receipt and
For example, phosphogypsum                                                                                 Status Information for September 2020
incorporated into the road base and the                 6 Letter from Andrew Wheeler, Administrator,

road surface is limited in its radium-226            Environmental Protection Agency, to Corey             AGENCY: Environmental Protection
concentration and is assumed to be                   Rosenbusch, President and CEO, The Fertilizer         Agency (EPA).
                                                     Institute, Docket No. EPA–HQ–OAR–2020–0442.
mixed with other materials in limited                   7 In addition to the information required by 40    ACTION: Notice.
proportions. The terms and conditions                CFR 61.206(b), as noted in connection with the
of the approval reflect these                        ‘‘Initial Conditions,’’ the ‘‘Other Conditions’’      SUMMARY: EPA is required under the
assumptions and limitations.                         include conditions associated with the                Toxic Substances Control Act (TSCA),
                                                     requirements of 40 CFR 61.206(d) and 61.207–          as amended by the Frank R. Lautenberg
                                                     61.209; conditions inherent in the nature of or
  3 ‘‘Economic Analysis of Phosphogypsum Reuse,’’
                                                     limitations or assumptions associated with TFI’s
                                                                                                           Chemical Safety for the 21st Century
prepared for TFI by Policy Navigation Group,         request; and conditions imposed under the EPA’s       Act, to make information publicly
submitted as Appendix 6 to TFI’s Revised Request,    authority and discretion under 40 CFR 61.206(e).      available and to publish information in
December 2019, page 19.                              The EPA believes that these conditions are either
  4 ‘‘Radiological Risk Assessment in Support of
                                                                                                           the Federal Register pertaining to
                                                     required by 40 CFR part 61, subpart R or are
Petition for Beneficial Use of Phosphogypsum,’’      reasonably appropriate to help provide continued
                                                                                                           submissions under TSCA Section 5,
prepared for TFI by Arcadis Canada Inc., submitted   assurance that the use is at least as protective as   including notice of receipt of a
as Appendix 2 to TFI’s Revised Request, October      disposal of phosphogypsum in stacks and will          Premanufacture notice (PMN),
2019.                                                ensure that the removal of phosphogypsum from         Significant New Use Notice (SNUN) or
  5 ‘‘Review of the Radiological Risk Assessment     stacks and use in government road projects will be
Submitted in Support of Request for Approval of      consistent with TFI’s request and will occur with
                                                                                                           Microbial Commercial Activity Notice
Other Use of Phosphogypsum,’’ October 2019, The      public notice and appropriate information             (MCAN), including an amended notice
Fertilizer Institute.                                availability.                                         or test information; an exemption


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 Sincerely,




 Ben L Koplin
 Sr Manager, Environmental

 Encl:   FDEP Form 62-528.900(1)
         Certificate of Officer – Mr. Scott Wuitschick
         Mosaic Riverview Concentrate Facility Class I Injection Well Construction Permit
                 Application


 cc:     John Coates, FDEP
         Greg Howard, Mosaic
         Pat Kane, Mosaic
         Scott Wuitschick, Mosaic
         Santino Provenzano, Mosaic
         Dara Ford, Mosaic
         Monica Tochor, Mosaic
         Jackie Barron, Mosaic




                                   APPX ATT_V5_2097
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 LIST OF ACRONYMS AND ABBREVIATIONS
 AADF             Annual Average Daily Flow
 ASR              Aquifer Storage and Recovery
 AOR              Area of Review
 APPZ             Avon Park permeable zone
 ASTM             American Society for Testing and Materials
 BHCS             Borehole Compensated Sonic Log
 bls              below land surface
 CAL              Caliper Log
 CBL              Cement Bond Log
 DIL              Dual Induction Log
 DZMW             Dual-Zone Monitoring Well
 EOR              Engineer of Record
 FAS              Floridan Aquifer System
 F.A.C.           Florida Administrative Code
 FDEP             Florida Department of Environmental Protection
 FGS              Florida Geological Survey
 FM               Flowmeter Log
 FR               Fluid Resistivity Log
 FRP              Fiberglass Reinforced Plastic
 ft               Feet
 feet/min         Feet per minute
 feet/sec         Feet per second
 gpm              Gallons per minute
 HAC              Heat Pump/Air Conditioning
 HRT              High Resolution Temperature Log
 HVAC             Heating, Ventilation, and Air Conditioning
 ICU              intermediate confining unit
 ID               Inside diameter
 IW               Injection Well
 LFA              Lower Floridan aquifer
 LMZ              Lower Monitoring Zone
 MCU              Middle Confining Unit
 MGD              Million gallons per day
 mg/L             Milligrams per Liter
 MIT              Mechanical Integrity Testing
 NAVD             North American Vertical Datum
 NELAP            National Environmental Laboratory Accreditation Program
 NGR              Natural Gamma Ray Log
 NGVD             National Geodetic Vertical Datum
 OD               Outside diameter
 P&A              Plugging and Abandonment
 PMW              Pad Monitoring Well
 psi              Pounds per Square Inch
 PVC              Polyvinyl chloride
 RO               Reverse Osmosis
 RTS              Radioactive Tracer Survey


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 SAS              Surficial Aquifer System
 SWFWMD           Southwest Florida Water Management District
 SOP              Standard Operating Procedures
 SP               Spontaneous Potential Log
 TEMP             Temperature Log
 TD               Total Depth
 TDS              Total Dissolved Solids
 TV               Video Survey
 UFA              Upper Floridan aquifer
 UIC              Underground Injection Control
 UMZ              Upper Monitoring Zone
 USDW             Underground Source of Drinking Water
 USGS             United States Geological Survey
 VDL              Variable Density Log
 WRF              Water Reclamation Facility
 WTP              Water Treatment Plant




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 Permit Application and Documentation Format
 The information required in Florida Department of Environmental Protection (FDEP) Form No. 62-
 528.900(1) Application to Construct/Operate/Abandon Class I, III, or V Injection Well Systems is included
 herein and is divided into the following sections:

 Section 1 -        FDEP Form No. 62-528.900(1) Application to Construct/Operate/Abandon Class I, III, or V
                    Injection Well Systems. The executed Class I Industrial Injection Well Construction Permit
                    application is contained in this section and addresses the specific information requested
                    in Application Form 62-528.900(1).

 Section 2 -        An introduction to the project that discusses well construction and testing is included in
                    this section.

 Section 3 -        Supporting Documentation and Responses to Part A. Class I Injection Well Construction
                    and Testing Permit. Section 3 includes Part A which is supporting documentation for the
                    construction and testing of industrial injection wells (IW), IW-1 and IW-2, and dual-zone
                    monitoring well (DZMW), DZMW-1.

 Section 4 -        Injection Well System Financial Assurance Documentation and Well Plugging Cost
                    Estimates. The financial assurance documents and Engineer’s opinion of cost for plugging
                    and abandoning (P&A) based on the proposed designs of IW-1 and IW-2, and DZMW-1 is
                    included in Section 4.

 All project well schematics and figures are included in the Exhibits.




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 1.0 FDEP Application to Construct/Operate/Abandon Class I,
     III, or V Injection Well Systems
 FDEP Rule No. 62- 528.900(1)] Forms for Underground Injection Control




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                                                                   DEP Form No:            62-528.900(1)
                                                                 Form Title: Application to Construct/
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                                                                         Operate/Abandon Class I, III,
                                                                             or V Injection Well Systems
                                                                   Effective Date:                      .
                                                                   DEP Application No,:                 .
             ENGINEERING AND HYDROLOGIC DATA                       :$&6BBBBBBBBBBBBBB (Filled in by DEP)
             REQUIRED FOR SUPPORT OF APPLICATION
             TO CONSTRUCT, OPERATE, AND ABANDON
             CLASS I, III, OR V INJECTION WELL SYSTEMS

 The following information shall be provided for each type of permit application.

 A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING PERMIT

    1. A map showing the location of the proposed injection wells of well field
       area for which a permit is sought and the applicable area of review.
       Within the area of review, the map must show the number or name, and
       location of all producing wells, injection wells, abandoned wells, dry
       holes, surface bodies of water, springs, public water systems, mines
       (surface and subsurface), quarries, water wells and other pertinent
       surface features including residences and roads.    The map should also
       show faults, if known or suspected. Only information of public record
       and pertinent information known to the applicant is required to be
       included on this map.

    2. A tabulation of data on all wells within the area of review which penetrate
       into the proposed injection zone, confining zone, or proposed monitoring
       zone.    Such data shall include a description of each well’s type,
       construction, date drilled, location, depth, record of plugging and/or
       completion, and any additional information the Department may require.

    3. Maps and cross sections indicating the general vertical and lateral limits
       within the area of review of all underground sources of drinking water,
       their position relative to the injection formation and the direction of
       water movement, where known, in each underground source of drinking water
       which may be affected by the proposed injection.

    4. Maps and cross sections detailing the hydrology and geologic structures
       of the local area.

    5. Generalized maps and cross sections illustrating the regional geologic
       setting.

    6. Proposed operating data.

       (a) Average and maximum daily rate and volume of the fluid to be injected;

       (b) Average and maximum injection pressure; and,

       (c) Source and an analysis of the chemical, physical, radiological and
           biological characteristics of injection fluids.

    7. Proposed formation testing program to obtain an analysis of the chemical,
       physical and radiological characteristics of and other information on the
       injection zone.

    8. Proposed stimulation program.

    9. Proposed injection procedure.

   10. Engineering drawings of the surface and subsurface construction details
       of the system.




                             APPX ATT_V5_2109
                                                                         DEP Form No:           62-528.900(1)
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                                                                               Operate/Abandon Class I, III,
                                                                                   or V Injection Well Systems
                                                                         Effective Date:                     .
                                                                         DEP Application No,:                .
         11. Contingency plans to cope with all shut-ins or well         :$&6BBBBBBBBBBBBBB(Filled in by DEP)
             failures, so as to protect the quality of the waters
             of the State as defined in Rule 62-3 and 62-520, F.A.C., including
             alternate or emergency discharge provisions.

         12. Plans (including maps) and proposed monitoring data to be reported for
             meeting the monitoring requirements in Rule 62-528.425, F.A.C.

         13. For wells within the area of review which penetrate the injection zone
             but are not properly completed or plugged, the corrective action proposed
             to be taken under Rule 62-528.300(5), F.A.C.

         14. Construction procedures including a cementing and casing program, logging
             procedures, deviation checks, proposed methods for isolating drilling
             fluids from surficial aquifers, proposed blowout protection (if
             necessary), and a drilling, testing and coring program.

         15. A certification that the applicant has ensured, through a performance
             bond or other appropriate means, the resources necessary to close, plug
             or abandon the well as required by Rule 62-528.435(9), F.A.C.

N/A    B. CLASS I INJECTION WELL OPERATION PERMIT

          1. A report shall be submitted with each application for a Class I Well
             operating permit, which shall include, but not be limited to, the
             following information:

             (a) Results of the information obtained under the construction permit
                 described in A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING
                 PERMIT, including:

                 (1) All available logging and testing program data and construction
                     data on the well or well field;

                 (2) A satisfactory demonstration of mechanical integrity for all new
                     wells pursuant to Rule 62-528.300(6), F.A.C;

                 (3) The actual operating data, including injection pressures versus
                     pumping rates where feasible, or the anticipated maximum
                     pressure and flow rate at which the permittee will operate, if
                     approved by the Department;

                 (4) The actual injection procedure;

                 (5) The compatibility of injected waste with fluids in the injection
                     zone and minerals in both the injection zone and the confining
                     zone; and,

                 (6) The status of corrective action on defective wells in the area
                     of review.

             (b) Record drawings, based upon inspections by the engineer or persons
                 under his direct supervision, with all deviations noted;

             (c) Certification of completion submitted by the engineer of record;

             (d) If requested by the Department, operation manual including emergency
                 procedures;

             (e) Proposed monitoring program and data to be submitted;


                                   APPX ATT_V5_2110
                                                                         DEP Form No:           62-528.900(1)
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                                                                               Operate/Abandon Class I, III,
                                                                                   or V Injection Well Systems
                                                                         Effective Date:                     .
                                                                         DEP Application No,:                .
             (f) Proof that the existence of the well has been           :$&6BBBBBBBBBBBBBB(Filled in by DEP)
                 recorded on the surveyor’s plan at the county
                 courthouse; and,

             (g) Proposed plugging    and   abandonment   plan    pursuant     to       Rule   62-
                 528.435(2), F.A.C.

N/A    C. CLASS I WELL OPERATION REPERMITTING

          1. An updated map showing the location of the injection wells or well field
             area for which a permit is sought and the applicable area of review.
             Within the area of review, the map must show the number or name, and
             location of all producing wells, injection wells, abandoned wells, dry
             holes, surface bodies of water, springs, public water systems, mines
             (surface and subsurface), quarries, water wells and other pertinent
             surface features including residences and roads.    The map should also
             show faults, if known or suspected. Only information of pubic record and
             pertinent information known to the applicant is required to be included
             on this map.

          2. A tabulation of data on all wells within the area of review which penetrate
             into the injection zone, confining zone, or monitoring zone. Such data
             shall include a description of each well’s type, construction, date
             drilled, location, depth, record of plugging and/or completion, and any
             additional information the Department may require.

          3. Maps and cross sections indicating the general vertical and lateral limits
             within the area of review of all underground sources of drinking water,
             their position relative to the injection formation and the direction of
             water movement, where known, in each underground source of drinking water
             which may be affected by the injection.

          4. Maps and cross sections detailing the hydrology and geologic structures
             of the local area.

          5. Generalized maps and cross sections illustrating the regional geologic
             setting.

          6. Contingency plans to cope with all shut-ins or well failures, so as to
             protect the quality of the waters of the State as defined in Rule 62-3
             and 62-520, F.A.C., including alternate or emergency discharge
             provisions.

          7. For wells within the area of review which penetrate the injection zone
             but are not properly completed or plugged, the corrective action proposed
             to be taken under Rule 62-528.300(5), F.A.C.

          8. A certification that the applicant has ensured, through a performance
             bond or other appropriate means, the resources necessary to close, plug
             or abandon the well as required by Rule 62-528.435(9), F.A.C.

          9. A report shall be submitted with each application for repermitting of
             Class I Well operation which shall include the following information:

             (a) All available logging and testing program data and construction data
                 on the well or well field;




                                   APPX ATT_V5_2111
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                                                                              Operate/Abandon Class I, III,
                                                                                  or V Injection Well Systems
                                                                        Effective Date:                     .
                                                                        DEP Application No,:                .
                                                                        :$&6BBBBBBBBBBBBBB(Filled in by DEP)

             (b) A satisfactory demonstration of mechanical integrity for all wells
                 pursuant to Rule 62-528.300(6), F.A.C.;

             (c) The actual operating data, including injection pressures versus
                 pumping rates where feasible, or the anticipated maximum pressure
                 and flow rate at which the permittee will operate, if approved by
                 the Department;

             (d) The actual injection procedure;

             (e) The compatibility of injected waste with fluids in the injection zone
                 and minerals in both the injection zone and the confining zone;

             (f) The status of corrective actin on defective wells in the area of
                 review;

             (g) Record drawings, based upon inspections by the engineer or persons
                 under his direct supervision, with all deviations noted;

             (h) Certification of completion submitted by the engineer of record;

             (i) An updated operation manual including emergency procedures;

             (j) Proposed revisions to the monitoring program or data to be submitted;
                 and,

             (k) Proposed plugging    and   abandonment   plan   pursuant     to       Rule   62-
                 528.435(2), F.A.C.

N/A    D. CLASS I WELL PLUGGING AND ABANDONMENT PERMIT

          1. The reasons for abandonment.

          2. A proposed plan for plugging and abandonment describing the preferred and
             alternate methods, and justification for use.

             (a) The type and number of plugs to be used;

             (b) The placement of each plug including the elevation of the top and
                 bottom;

             (c) The type and grade and quantity of cement or any other approved
                 plugging material to be used; and,

             (d) The method for placement of the plugs.

          3. The procedure to be used to meet the requirements of Rule 62-528.435,
             F.A.C.




                                   APPX ATT_V5_2112
                                                                      DEP Form No:           62-528.900(1)
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                                                                            Operate/Abandon Class I, III,
                                                                                or V Injection Well Systems
                                                                      Effective Date:                     .
                                                                      DEP Application No,:                .
                                                                      :$&6BBBBBBBBBBBBBB(Filled in by DEP)

N/A E. CLASS III WELLS CONSTRUCTION/OPERATION/PLUGGING AND ABANDONMENT PERMIT

    Construction Phase

       1. A map showing the location of the proposed injection wells or well field
          area for which a permit is sought and the applicable area of review.
          Within the area of review, the map must show the number or name, and
          location of all producing wells, injection wells, abandoned wells, dry
          holes, surface bodies of water, springs, public water system, mines
          (surface and subsurface), quarries, water wells and other pertinent
          surface features including residences and roads.    The map should also
          show faults, if known or suspected. Only information of public record
          and pertinent information known to the applicant is required to be
          included on this map.

       2. A tabulation of data on all wells within the area of review which penetrate
          into the proposed injection zone, confining zone, or proposed monitoring
          zone.    Such data shall include a description of each well’s type,
          construction, date drilled, location, depth, record of plugging and/or
          completion, and any additional information the Department may require.

       3. Maps and cross sections indicating the general vertical and lateral limits
          within the area of review of all underground sources of drinking water,
          their position relative to the injection formation and the direction of
          water movement, where known, in each underground source of drinking water
          which may be affected by the proposed injection.

       4. Maps and cross sections detailing the hydrology and geologic structures
          of the local area.

       5. Generalized maps and cross sections illustrating the regional geologic
          setting.

       6. Proposed operating data:

          (a) Average and maximum daily rate and volume of the fluid to be injected;

          (b) Average and maximum injection pressure; and,

          (c) Source and an analysis of the chemical, physical, radiological and
              biological characteristics of injection fluids, including any
              additives.

       7. Proposed formation testing program to obtain an analysis of the chemical,
          physical and radiological characteristics of and other information on the
          injection zone.

       8. Proposed stimulation program.

       9. Proposed injection procedure.

      10. Engineering drawings of the surface and subsurface construction details
          of the system.




                                APPX ATT_V5_2113
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   11. Contingency plans to cope with all shut-ins or well failures or
       catastrophic collapse, so as to protect the quality of the waters of the
       State as defined in Rule 62-3 and 62-520, F.A.C., including alternate or
       emergency discharge provisions.

   12. Plans (including maps) and proposed monitoring data to be reported for
       meeting the monitoring requirements in Rule 62-528.425, F.A.C.

   13. For wells within the area of review which penetrate the injection zone
       but are not properly completed or plugged, the corrective action proposed
       to be taken under Rule 62-528.300(5), F.A.C.

   14. Construction procedures including a cementing and casing program, logging
       procedures, deviation checks, proposed methods for isolating drilling
       fluids from surficial aquifers, and a drilling, testing and coring
       program.

   15. A certificate that the applicant has ensured, through a performance bond
       or other appropriate means, the resources necessary to close, plug or
       abandon the well as required by Rule 62-528.435(9), F.A.C.

   16. Expected changes in pressure, native fluid displacement, direction of
       movement of injection fluid.

   17. A proposed monitoring plan, which includes a plan for detecting migration
       of fluids into underground sources of drinking water, a plan to detect
       water quality violation in the monitoring wells, and the proposed
       monitoring data to be submitted.

 Operation Phase

    1. The following information shall be provided to the Department prior to
       granting approval for the operation of the well or well field:

       (a) All available logging and testing program data and construction data
           on the well or well field;

       (b) A satisfactory demonstration of mechanical integrity for all new
           wells pursuant to Rule 62-528.300(6), F.A.C.;

       (c) The actual operating data, including injection pressure versus
           pumping rate where feasible, or the anticipated maximum pressure and
           flow rate at which the permittee will operate, if approved by the
           Department;

       (d) The results of the formation testing program;

       (e) The actual injection procedure; and,

       (f) The status of corrective action on defective wells in the area of
           review.

 Plugging and abandonment Phase

    1. The justification for abandonment.




                             APPX ATT_V5_2114
                                                                         DEP Form No:           62-528.900(1)
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          2. A proposed plan for plugging and abandonment describing the preferred and
             alternate methods.

             (a) The type and number of plugs to be used;

             (b) The placement of each plug including the elevation of the top and
                 bottom;

             (c) The type and grade and quantity of cement or any other approved
                 plugging material to be used; and,

             (d) The method for placement of the plugs.

          3. The procedure to be used to meet the requirements of Rule 62-528.435,
             F.A.C.

N/A    F. EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT

          1. Conceptual plan of the injection project. Include number of injection
             wells, proposed injection zone, nature and volume of injection fluid, and
             proposed monitoring program.

          2. Preliminary Area of Review Study.     Include the proposed radius of the
             area of review with justification for that radius. Provide a map showing
             the location of the proposed injection well or well field area for which
             a permit is sought and the applicable area of review. Within the area of
             review, the map must show the number or name, and location of all producing
             wells, injection wells, abandoned wells, dry holes, surface bodies of
             water, springs, public water systems, mines (surface and subsurface),
             quarries, water wells and other pertinent surface features including
             residences and roads.     The map should also show faults, if known or
             suspected. Only information of public record and pertinent information
             known to the applicant is required to be included on this map.

          3. Proposed other uses of the exploratory well.

          4. Drilling and testing plan for the exploratory well. The drilling plan
             must specify the proposed drilling program, sampling, coring, and testing
             procedures.

          5. Abandonment Plan.




                                   APPX ATT_V5_2115
                                                                      DEP Form No:           62-528.900(1)
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N/A G. CLASS V WELL CONSTRUCTION PERMIT
     (This form should be used for Class V Wells instead of Form 62-528.900(3),
     F.A.C., when there is a need for a Technical Advisory Committee and an
     engineering report.)

        1. Type and number of proposed Class V Wells:

                   Wells Receiving Domestic Waste

                   Desalination Process Concentrate Wells (Reverse Osmosis, etc.)

                   Aquifer Storage and Recovery Wells

                   Aquifer Remediation Wells

                   Salt-water Intrusion Barrier Wells

                   Cooling Water Return Flow Wells Open-looped System

                   Subsidence Control Wells

                   $TXLIHU 5HFKDUJH Wells

                   Experimental Technology Wells

                   Wells used to inject spent brine after halogen recovery

                   Radioactive Waste Disposal Wells*

                   Borehole Slurry Mining Wells

                   Other non-hazardous Industrial or Commercial Disposal Wells

                   (explain)

                   Other (explain)

           *Provided the concentrations of the waste do not exceed drinking water
            standards contained in Chapter 62-550, F.A.C.

        2. Project Description:

           (a) Description and use of proposed injection system;

           (b) Nature and volume of injected fluid (the Department may require an
               analysis including bacteriological analysis) in accordance with Rule
               62-528.635(2)(b), F.A.C.; and,

           (c) Proposed pretreatment.

        3. Water well contractor’s name, title, state license number, address, phone
           number and signature.




                                  APPX ATT_V5_2116
                                                                      DEP Form No:           62-528.900(1)
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       4. Well Design and Construction Details. (For multi-casing configurations
          or unusual construction provisions, an elevation drawing of the proposed
          well should be attached.)

          (a) Proposed total depth;

          (b) Proposed depth and type of casing(s);

          (c) Diameter of well;

          (d) Cement type, depth, thickness; and,

           (e) Injection pumps (if applicable):                          gpm @                                psi

                                       Controls:




       5. Water Supply Wells - When required by Rule 62-528.635(1), F.A.C., attach
          a map section showing the locations of all water supply wells within a
          one-half (1/2) mile radius of the proposed well.    The well depths and
          casing depths should be included. When required by Rule 62-528.635(2),
          F.A.C., results of bacteriological examinations of water from all water
          supply wells within one-half (1/2) mile and drilled to approximate depth
          of proposed well should be attached.

       6. Area of review (When required by Rule 62-528.300(4), F.A.C.)

          Include the proposed radius of the area of review with justification for
          that radius. Provide a map showing the location of the proposed injection
          well or well field area for which a permit is sought and the applicable
          area of review. Within the area of review, the map must show the number
          or name, and location of all producing wells, injection wells, abandoned
          wells, dry holes, surface bodies of water, springs, public water systems,
          mines (surface and subsurface), quarries, water wells and other pertinent
          surface features including residences and roads.     The map should also
          show faults, if known or suspected. Only information of public record
          and pertinent information known to the applicant is required to be
          included on this map.

N/A H. CLASS V WELL OPERATION PERMIT
    (Final report of the construction that includes the following information may
    be submitted with the application to operate.)

        1. Permit Number of Class V Construction Permit:


        2. Owner’s Name:


        3. Type of Wells:




                                  APPX ATT_V5_2117
                                                                      DEP Form No:           62-528.900(1)
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    4. Construction and Testing Summary:

       (a) Actual Dimensions:

        Diameter                       Well Depth                          Casing Depth
                          (inches)                         (feet)                                   (feet)




       (b) Result of Initial Testing

    5. Proposed Operating Data:

       (a) Injection Rate (GPM);

       (b) Description of injected waste; and,

       (c) Injection pressure and pump controls.

    6. Proposed Monitoring Plan (if any):

       (a)   Number of monitoring wells;

       (b)   Depth(s);

       (c)   Parameters;

       (d)   Frequency of sampling; and,

        (e) Instrumentation (if applicable) Flow

                                           Pressure


 I. CLASS V WELLS PLUGGING AND ABANDONMENT PERMIT       N/A
    1. Permit number of Class V construction or operating permit.

    2. Type of well.

    3. Proposed plugging procedures, plans and specifications.

    4. Reasons for abandonment.




                               APPX ATT_V5_2118
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                                                                                or V Injection Well Systems
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N/A J. MONITOR WELL PERMIT
    This section should be used only when application is made for a monitor well
    only.   If a monitor well is to be constructed under a Class I, III, or V
    injection well permit, it is not necessary to fill in this section.

       1. A site map showing the location of the proposed monitor wells for which
          a permit is sought. The map must be to scale and show the number or name,
          and location of all producing wells, injection wells, abandoned wells,
          dry holes, water wells and other pertinent surface features including
          structures and roads.

       2. Maps and cross sections indicating the general vertical and lateral limits
          within the area of review of all underground sources of drinking water,
          their position relative to the injection formation and the direction of
          water movement, where known, in each underground source of drinking water
          which may be affected by the proposed injection.

       3. Maps and cross sections detailing the hydrology and geologic structures
          of the local area.

       4. Generalized maps and cross sections illustrating the regional geologic
          setting.

       5. Proposed formation testing program to obtain an anlysis of the chemical,
          physical and radiological characteristics of and other information on the
          monitor zone(s).

       6. Proposed monitoring procedure.

       7. Engineering drawings of the surface and subsurface construction details
          of the monitoring system.

       8. Proposed monitoring data to be reported       for   meeting     the    monitoring
          requirements in Rule 62-528.425, F.A.C.

       9. Construction procedures including a cementing and casing program, logging
          procedures, deviation checks, proposed methods for isolating drilling
          fluids from surficial aquifers, proposed blowout protection (if
          necessary), and a drilling, testing and coring program

      10. Monitor Well Information:

              On-site        Multizone        Single-zone

               Regional       Other (specify)

           Proposed Monitoring Interval(s)

           Distance and Direction From Associated Injection Well




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 2.0 Introduction
 This section addresses the requirements of Part II, Subpart B, General Project Description, as well as Part
 A of the Engineering and Hydrologic Data Required for Support of Application to Construct, Operate, and
 Abandon Class I, III or V Injection Well Systems. In accordance with FDEP Underground Injection Control
 (UIC) guidance, the proposed Class I Industrial Injection Well (IW) will adhere to all applicable permitting,
 design, construction, and testing criteria.

 This permit application is for a Class I Industrial IW System (IW System), consisting of IW-1 and IW-2, for
 injection of treated, non-hazardous industrial wastewater into the Lower Floridan Aquifer (LFA),
 specifically into a transmissive zone within the Oldsmar Formation at a depth of between approximately
 2,400 and 3,300 feet below land surface (bls). The applicant and the owner of the well is Mosaic Fertilizer,
 LLC. (Mosaic), and the proposed IW System will be located at the Riverview Concentrate Facility (Facility),
 with FDEP Wastewater Permit FL0000761 and FL0177130. The Facility is located in west Central Florida,
 as shown in Exhibit 1. The source water intended for injection includes water stored in the Facility
 phosphogypsum stack system, the phreatic water collected by the underdrain system, and potentially
 other Mosaic process water(s) stored in phosphogypsum stack systems. The source water will undergo
 pre-treatment to adjust the water chemistry for compatibility with the subsurface formations.

 Exhibits 2A and 2B show the potential locations of the proposed IW System, the associated dual zone
 monitoring well, DZMW-1, and proposed pad monitoring wells (PMWs). The exact location will depend
 on infrastructure layout and other site constraints. Both IW-1 and IW-2 will be located within 150 feet of
 DZMW-1.

 The pre-treatment edifice will be designed concurrently with the permitting and construction phase of
 the IW System. Pre-treatment will address injectate water chemistry to meet regulatory standards for
 Class I injection and chemical compatibility with the injection zone. Pre-treatment is a multi-staged
 chemical process including precipitation aids, pH adjustment, filtration and anti-scalants to clarify the
 injectate and inhibit clogging of the injection zone. The pre-treatment building will be located at the
 Facility.

 2.1     Class I Industrial Injection Well Design Criteria
 The IW System will inject non-hazardous, pre-treated industrial wastewater into the Lower Floridan
 Aquifer (LFA), specifically into a transmissive zone within the Oldsmar Formation at a depth of between
 approximately 2,400 and 3,300 feet bls.

 The IW System will be constructed with a 20-inch OD seamless steel final casing and a 10.72-inch ID FRP
 Red Box 1250 tubing installed to the base of the 20-inch OD seamless steel final casing along with packer
 seals immediately above the injection zone.

 In accordance with final casing fluid velocity limitations of the IW System (10 feet per second [feet/sec]),
 the maximum anticipated injection will be 2,775 gallons per minute (gpm), approximately 4.00 Million
 Gallons per Day (MGD).

 2.2     Well Design, Testing and Monitoring Details
 The IW System is designed to FDEP standards and the injectate will be pre-treated, non-hazardous water
 stored in the Facility phosphogypsum stack system, the phreatic water collected by the underdrain



 BLACK & VEATCH | Introduction                                                                             2-1

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 system, and potentially other Mosaic process water(s) stored in phosphogypsum stack systems from the
 Facility.

 2.2.1     Industrial Well Design
 As shown in Exhibit 3, IW-1 and IW-2 are multi-staged cased wells with a total depth (TD) of approximately
 3,300 feet bls. They will be constructed with four (4) telescoped steel casings (50-inch, 40-inch, 30-inch,
 and 20-inch OD) installed to isolate individual groundwater production zones as they are drilled to depth.
 FRP casing will be installed and cemented to surface inside the 20-inch OD seamless steel final casing
 along with a packer seal immediately above the injection zone. All steel casings installed during
 construction will have their annular spaces fully cemented to land surface. The final casing landing depth
 will be approximately 2,400 feet bls, utilizing 20-inch OD (0.500-inch wall thickness) seamless steel final
 casing. The IW System estimated total depth of 3,300 feet bls is approximately 900 feet below the landing
 depth of the 20-inch OD seamless steel final casing. The injection zone is in the Oldsmar Formation of the
 LFA.

 The base of the Underground Source of Drinking Water (USDW) (an aquifer that contains a Total Dissolved
 Solids [TDS] concentration of less than 10,000 mg/L) was estimated at 610 feet bls and is discussed further
 in Items No. 2 and 4 of Section 3 of this document. The 50-inch OD pit carbon steel casing will be installed
 to a depth to be determined by the contractor. The anticipated casing seating depths are: 40-inch OD
 surface carbon steel casing installed to approximately 420 feet bls, 30-inch OD intermediate carbon steel
 casing installed below the base of the USDW to an approximate depth of 1,500 feet bls, the 20-inch OD
 seamless steel final casing will be installed to approximately 2,400 feet bls and the 10.72-inch ID FRP Red
 Box 1250 tubing will be installed to approximately 2,390 feet bls. All final casing landing depths and TD of
 the IW System will be determined during construction and the 30-inch and 20-inch OD casing setting
 depths will be submitted to FDEP for prior approval.

 During construction, and subject to the Department’s approval, Mosaic may use an American Society for
 Testing and Materials (ASTM) C595M-21PLC/Type 1L cement with up to 6% bentonite or higher, by
 weight. Type II or IL neat cement will be used to cement the 50-inch and 40-inch OD carbon steel casings
 from their bases to ground surface. Type II or IL neat cement will be used to cement the 30-inch, 20-inch
 OD casings and the 10.72-inch ID RedBox 1250 FRP injection tubing from their bases in the casing-to-
 formation intervals and below the USDW. Type II or IL cement with up to 6% bentonite by weight may be
 used to cement the casing-inside-casing intervals above the USDW to ground surface for the 30-inch and
 20-inch OD casings and the 10.72-inch ID RedBox 1250 FRP injection tubing.

 2.2.2     Dual Zone Monitoring Well
 The industrial IW system will include one Dual-Zone Monitoring Well, DZMW-1, for continuous monitoring
 of hydraulic head within two (2) monitoring zones, the Upper Monitoring Zone (UMZ) and Lower
 Monitoring Zone (LMZ). The UMZ will be located just above the base of the USDW and the LMZ will be
 located below the base of the USDW. The LMZ will be above the principal confining strata in the lowermost
 permeable unit below the base of the USDW. DZMW-1 will also be used for collection of groundwater
 samples for laboratory analysis during IW system operation. The proposed UMZ and LMZ are anticipated
 to be located within the intervals from approximately 400 feet to 500 feet bls and 800 feet to 900 feet bls,
 respectively. The monitoring intervals will be confirmed during the construction of IW System. Following
 interval testing during the drilling of DZMW-1, groundwater quality will be evaluated, and the results
 provided to FDEP for final monitoring interval selection and approval.




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 DZMW-1 will have dedicated pumps and tubing installed to facilitate purging and collection of ground
 water samples produced from the monitoring zones to the industrial IW system. The final design of
 DZMW-1 will be contingent upon the results of drilling and testing.

 Operational testing and monitoring data collected from DZMW-1 monitoring zones will include permit
 specified groundwater quality analyses and the hydraulic head (elevation in feet) in both monitoring
 zones. Upon FDEP’s approval to commence operational testing, this data will be electronically measured
 and recorded for submittal with monthly operating reports (MORs).

 Exhibit 3 presents the DZMW-1 subsurface construction details.

 2.2.3     Drilling Fluid Containment Pad
 During drilling and testing, the IW system and associated DZMW-1 will be isolated within temporary
 fabricated-steel (or equivalent) fluid containment pads beneath the drilling rigs and substructures.
 Temporary fabricated-steel (or equivalent) secondary containment pads will be used beneath the mud
 tanks, pumps, and fuel tanks. Submittals provided by the drilling contractor related to the design and
 construction of the fluid containment pads will be submitted to FDEP for approval prior to the initiation
 of construction activities.

 2.2.4     Shallow Pad Monitoring Well Design
 Twelve (12) shallow Pad Monitoring Wells (PMWs) are planned to surround IW-1, IW-2 and DZMW-1, for
 Surficial Aquifer System (SAS) water level and water quality monitoring as shown in Exhibit 2A and 2B.
 The locations of these shallow PMWs will be submitted to FDEP for approval prior to their installation and
 initiation of construction activities. Construction details of the PMWs are detailed in Exhibit 4.

 2.2.5     Instrumentation and Control
 Temporary wellhead completion details for the IW System and associated DZMW-1 are provided in Exhibit
 5. Monitoring of data from the IW System will be designed to meet the Class I Industrial Injection Well
 Construction Permit requirements to ultimately allow for operational testing of the IW System. Design
 drawings for surface facilities will be submitted at a later date as part of a separate permitting submittal
 supporting this application.

 2.2.6     Testing During Construction
 Well construction relies on pilot holes to confirm stratigraphic targets predicted in the IW System and
 DZMW-1. Lithological samples are collected at 10 foot intervals during pilot hole drilling during direct mud
 rotary drilling and reverse air drilling methods. Mechanical surveys will be completed at 90-foot intervals
 to verify drilling trajectory. Once construction switches from direct mud rotary drilling to reverse air
 drilling method at approximately 420 feet bls, reverse air water quality samples will be collected at 45-
 foot intervals, in addition lithological samples are collected at 10 foot intervals. Geophysical logging will
 be conducted at the completion of every drilling stage. Hydrogeological testing and associated water
 analysis will be completed below the base of the USDW. Core samples and packer tests will be evaluated
 to characterize the subsurface hydrogeology. This information will confirm final IW System designs with
 respect to casing set depths, total borehole depth, and the associated Well DZMW-1 monitoring zones.
 The current testing and coring schedule for the IW System and associated DZMW-1 are shown as a
 schematic in Exhibit 6A, Exhibit 6B and Exhibit 6C.




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 2.3     Final Injection Testing and Operational Testing
 Following the construction of IW System and associated DZMW-1, written authorization for final injection
 testing will be requested from the FDEP. This authorized testing phase will commence following well
 completion and mechanical integrity testing (MIT) and will include short-term injection using freshwater
 and/or pre-treated non-hazardous process wastewater .Following successful completion of the short-
 term injection test and wellhead facilities’ construction, written authorization for full-scale operational
 testing will be requested from the FDEP. The proposed monitoring program for operational testing is
 described in Exhibit 7 and is in compliance with the FDEP-required parameters and frequency specified in
 the construction permit. Operational data including wellhead pressure, flow rates and injection volumes
 for the IW System, will have continuous recording in place with limit specifications. The injectate will be
 sampled and analyzed for the parameters required in the Class I Industrial Injection Well Construction
 Permit, once issued, following the FDEP required frequency. As required for the Class I Industrial Injection
 Well Construction Permit operational testing phase, an initial waste stream analysis will be collected from
 the Facility pre-treatment system for the following water quality parameters prior to operation:

        Primary Drinking Water Standards; excluding asbestos, Dioxin, butachlor, acrylamide, and
         epichlorohydrine;
        Secondary Drinking Water Standards; and Wastewater Quality Indicators




 BLACK & VEATCH | Introduction                                                                            2-4

                                         APPX ATT_V5_2124
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         4 Livestock
         285 Plugged
         6 Public Supply
         1 Repair Irrigation
         4 Repair or Deepen (use not specified)
         32 Test
 The wells identified in the SWFWMD inventory range from 6 feet to 1,068 feet bls, with the deepest well
 permitted to Cargill Fertilizer now Mosaic, was plugged and abandoned. Based on the location and depths
 of these wells, they are not expected to be affected by the operation of the proposed industrial IW system.

 FGS Well Inventory

 In the FGS database, shown in Exhibit 9C, 14 wells are documented within the AOR for this well survey.
 The wells identified in the AOR were classified as:

         8 Industrial wells
         2 Industrial wells Heat pump/Air Conditioning (HAC)
         1 Commercial well
         1 Public supply well
         1 Monitor well
         1 Unknown use well (plugged and abandoned)
 The wells identified in the FGS inventory range from 65 feet to 1,075 feet in depth. The deepest
 documented wells are permitted to U.S. Phosphoric Products, now Mosaic. Based on the location and
 depths of these wells, they are not expected to be affected by the operation of the proposed IW System.

 FDEP Well Inventory

 A total of 4 wells were identified within the 1-mile AOR in the FDEP well inventory. The wells identified in
 the AOR is classified as:

         2 Monitoring wells (Exhibit 9D)
         1 Class V non-aquifer storage and recovery (ASR) well (Exhibit 9E)
         1 Class V ASR well (Exhibit 9F) (not constructed)
         0 Class I Industrial Injection well (Exhibit 9G)
 The two (2) monitoring wells in the database are completed to a depth of 250 feet and 860 feet bls,
 respectively, and are part of an aquifer recharge project owned by Hillsborough County (South
 Hillsborough Aquifer Recharge [SHARE]). The Class V non-ASR well is identified as a recharge well and is
 constructed with a cased depth of 710 ft bls and a total depth of 1,100 feet bls, also owned by Hillsborough
 County’s SHARE project. The Class V ASR well identified in Exhibit 9F was proposed to be constructed with
 a cased depth of 400 feet bls and a total depth of 500 feet but has not been constructed. Based on the
 information provided in the FDEP inventory, no local existing use is expected to be affected by the
 proposed industrial IW system.


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                                             APPX ATT_V5_2128
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          formation and the direction of water movement, where known, in each underground source
          of drinking water which may be affected by the proposed injection.

 Exhibit 10 describes the Floridan Aquifer System (FAS) terminology (Williams and Kuniansky, 2015) and
 Exhibit 11 describes the hydrostratigraphy of the FAS based on the hydrogeologic framework report,
 Synthesis of the Hydrogeologic Framework of the FAS and Delineation of a Major Avon Park Permeable
 Zone (APPZ) in Central and Southern Florida (Reese, R. S. and Richardson E., 2007).

 Exhibits 12A, 12B and 12C present a location map and hydrogeologic cross-sections for wells within
 Sumter, Hernando, Pasco, Hillsborough, Manatee, Pinellas, Polk and Sarasota Counties. The cross-sections
 were developed based on the FDEP UIC Class I Injection Wells database (FDEP, 1990), for which the
 delineation of hydrostratigraphic boundaries were established primarily from the construction and testing
 reports of nearby wells as well as interpretation of geophysical logs and lithologic data. Hydrostratigraphic
 data for the existing wells located near the Facility was also included on the cross-sections.

 Exhibit 13A shows a potentiometric map of the Upper Floridan Aquifer (UFA) which shows groundwater
 flow is toward the coast (West). Exhibit 13B shows the thickness of the Upper Confining Unit of the FAS
 in the area of the Facility. Exhibit 13C and Exhibit 13D show the elevation of the upper and lower contact
 of the FAS (100 feet National Geodetic Vertical Datum 29 [NGVD 29] and -3200 feet NGVD 29, respectively)
 near the Facility. Since no operational UIC Class I wells were identified in the AOR, the presence of
 effluent/concentrate in the proposed injection zone or confining units is not expected during drilling and
 testing of the proposed IW System.

 4.       Maps and cross sections detailing the hydrology and geologic structures of the local area.

 Local hydrogeologic maps and cross-sections presented in Exhibits 12A, 12B, and 12C show the
 hydrogeology near the proposed Facility IW System. Review of published literature did not reveal any
 confirmed geologic, tectonic, or physiographic structures, such as faults, folds, or penetrating sinkholes,
 within the local area. Regional information on the geologic setting is presented below in Item No. 5.

 Mosaic plans to construct the IW System within the boundaries of the Facility’s property. Based on
 available data presented in the cross-sections (Exhibits 12A, 12B, and 12C), the base of the USDW is
 estimated to be encountered at an approximate depth of 610 feet bls, indicated primarily on Exhibit 12B,
 since there was more data available on nearby wells to estimate the base of the USDW.

 At the Facility, the proposed injection zone will be within the LFA, specifically, the Oldsmar Formation.
 The top of the Oldsmar formation is found at approximately 2,350 feet bls. The bottom of the LFA within
 the Oldsmar Formation is expected to extend to approximately 3,300 feet bls. An interval of approximately
 1,740 feet in thickness separates the base of the USDW and the top of the Oldsmar Formation at the
 Facility (Exhibit 12B).

 A Geologic Structure Map of Florida is shown in Exhibit 14 with a summary of the hydrostratigraphy.
 Exhibit 15 depicts the Geologic Units of Florida from Holocene to Eocene Epochs, or land surface to
 approximately 3,200 feet bls. Exhibit 15 shows the larger scale geological Map of Florida’s Southern
 Peninsula depicting the Facility situated in the Peace River Formation of the Hawthorn Group. This local
 section was compiled from cross-section interpolations shown on previously mentioned Exhibit 12B and
 12C, along with elevations and dimensions from maps of the FAS appearing in previously mentioned
 Exhibits 13A through 13D. The shallow stratigraphy was inferred from both the regional cross-sections
 and a cross-section local to the Facility (Exhibit 12A).


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 The locations of hydrogeologic cross-sections A-A’ and B-B’ are shown on section line maps provided in
 Exhibit 12A. The cross-sections were constructed for this application using hydrogeologic interpretations
 from engineering reports and published literature for the following localities:

         ROMP 102-5
         Larkin Co #8-4 P-743
         ROMP 86A
         SHARP SRWD-2 class v recharge well
         SHARP RW-1
         W-16618
         Manatee County Utilities’ IW-1
         COS RO WTP DIW-1
         P-75 Coastal Wright 1
         ROMP 49
         P-29 Humble Jameson 1
         TECO IW1&IW2
         ROMP 45-5
         P-403 Shepard Dairy Inc-1
 At the Facility, the uppermost aquifer system is the SAS. This aquifer system comprises undifferentiated
 sediments mainly composed of unconsolidated quartz sand with variable amounts of clay (ASRus, 2023).
 The SAS is underlain by the Peace River and Arcadia Formation sediments of the Miocene Epoch, which
 comprise the Hawthorn Group. The Peace River Formation is an orange limestone with phosphate sands
 and gravels, and quartz sand. The Tampa Member of the Arcadia Formation grades from a light orange
 clay to a fine crystalline limestone ranging from light orange-light brown at the top of the formation, to a
 cryptocrystalline/microcrystalline white limestone. Beneath the Facility, these sediments are anticipated
 to exhibit a thickness of approximately 135 feet.

 The top of the FAS is encountered near the base, or immediately below the Hawthorn Group, estimated
 at a depth that is approximately 160 feet bls. Beneath the Facility, the FAS consists of the Oligocene Epoch
 Suwannee Limestone, Crystal River Formation, and Ocala Limestone; and the Eocene Epoch Avon Park
 and Oldsmar Formations. The FAS contains several highly permeable zones interbedded with less
 permeable units. The zones of highest permeability typically occur at or near unconformities and are
 usually oriented sub-parallel to bedding (Meyer, 1989). In west-central Florida, the FAS consists of the
 following aquifer units presented from shallowest to deepest:

         UFA
         APPZ
         LFA
         Oldsmar Permeable Zone (OLDSPZ)




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 The UFA and the APPZ are grouped into the UFA system, while the OLDSPZ is located in the LFA system
 (Reese and Richardson, 2007).

 Researchers (Miller 1986; Reese, 1994) have described multiple discrete confining units separating the
 individual aquifers. A single unit, the middle confining unit 2 (MCU II) separates the UFA and LFA systems.
 Beneath the Facility, the MCU II displays an anticipated thickness of approximately 550 feet.

 Stratigraphically, the UFA falls in the Tampa member of the lower Arcadia formation and the Suwannee
 Limestone, while the APPZ occurs in the Avon Park Formation. The LFA is present from the lower part of
 the Avon Park Formation to the Oldsmar Formation. The high transmissivity zone encountered within the
 Oldsmar Formation is commonly known in west central Florida as the OLDSPZ.

 According to lithology logs from wells drilled by the Florida Geological Survey (FGS) within the Facility
 (FDEP, 2018), the Suwannee Limestone is normally a white, indurated, porous calcarenite that contains
 numerous fossil benthic foraminifera, bryozoa and worm traces. The Suwannee Limestone is underlain by
 the Eocene-age Crystal River Formation, which is logged as a grayish-brown to light orange, moderate to
 well-indurated, cryptocrystalline to microcrystalline limestone with trace sand and sparry calcite. The
 Crystal River Formation is underlain by the Eocene Epoch Ocala Formation, which is logged as a light
 orange to grayish brown, moderately indurated fossiliferous limestone. Underneath the Ocala Formation,
 the Eocene-age Avon Park Formation is composed of variably textured grayish brown to pale orange
 fossiliferous limestone, characterized by interbedded low porosity recrystallized limestone in the lower
 section. In addition to the APPZ, the relatively low permeability Avon Park Formation may comprise the
 Middle Confining and Composite Units (Williams and Kuniansky, 2015), also referred to simply as the MCU
 II, as recognized on a regional scale (Miller, 1986).

 Underlying the Eocene Epoch Avon Park Formation, the top of the Eocene Epoch Oldsmar Formation is
 anticipated to be encountered at approximately 2,350 feet bls at the Facility. The Oldsmar Formation is
 expected to extend to approximately 3,300 feet bls at the Facility.

 5.       Generalized maps and cross sections illustrating the regional geologic setting.

 The proposed Facility IW System is located within the Atlantic Coastal Plain physiographic region. The
 region’s geologic and tectonic setting is the product of a complex history of continental collisions and
 rifting followed by deposition of sediments on the Florida platform. Basement rocks consist of Paleozoic
 and Mesozoic aged igneous, metamorphic, and sedimentary rocks. The overlying Mesozoic Era carbonate
 and evaporite sedimentary rocks may be 15,000 feet thick (Miller, 1986). Overlying the Mesozoic Era
 rocks is approximately 6,000 feet of Cenozoic Era carbonate and siliciclastic sedimentary rocks (Applin and
 Applin, 1944, Arthur, J.D., 1988; Dallmeyer, R.D., 1989; Milton, C., 1972). The geologic structures as shown
 in Exhibit 14 that have affected shallow Tertiary and Quaternary Period sediments of the Florida Platform
 have been defined by numerous authors (Puri and Vernon, 1974; Miller, 1986; Scott, 1988; Scott, 1992).
 The majority of the structures recognized as influencing the deposition, erosion and alteration of the
 Cenozoic Era sediments in Florida do not appear to have had a significant effect on the surface expression
 of the lithostratigraphic units (Scott, 1988). A geologic map of the southern peninsula is presented in
 Exhibits 15.

 Previously mentioned, local hydrogeologic cross-sections for west-central Florida are shown in Exhibits
 12B and 12C. Regional hydrogeologic cross-sections have been included in Exhibits 16A through Exhibit
 16C as presented in the report, Revised Hydrogeologic Framework of the Floridan Aquifer System in
 Florida and Parts of Georgia, Alabama, and South Carolina (Williams and Kuniansky, 2016). The location


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 of the Facility is shown for reference on the cross-sections which show the general structure of the
 geologic units extending from land surface through the lower Eocene formations. Hydrostratigraphic
 boundaries for the following units are depicted:

         SAS
         Intermediate Confining Unit (ICU)
         UFA
         MCU II
         LFA
         OLDSPZ
 The Eocene-Oligocene-Miocene-Pleistocene Epochs carbonate sequence was deposited on a platform
 east of the South Florida Basin; a shallow, sloping depression with an axis oriented East-Northeast.
 Regional cross-sections oriented east to west (Exhibit 16C), crossing the peninsula several miles south of
 the Facility, and a regional cross section oriented north to south (Exhibit 16B), crossing the peninsula
 several miles east of the Facility, depicting a section that slopes gently south toward the Florida Keys.

 6.       Proposed operating data

      a) Average and maximum daily rate and volume of the fluid to be injected;

 The proposed operational protocol is dependent upon the final pipeline and valving design, which will be
 completed as part of the surface facility and injection pumping system design. These are currently under
 development and will be provided with the request for authorization to begin operational testing.

 Operation of IW System will begin once the well and respective above surface facilities are completed and
 authorized by FDEP to begin operational testing. The maximum daily injection rate for the IW System will
 be 2,775 gpm (4.0 MGD).

      b) Average and maximum injection pressure;

 Currently, the actual injection pressure for the proposed industrial IW System is not known, therefore,
 the pressure at the wellhead must be estimated based on data from injection wells in the vicinity.

 A Class I Deep Well Injection System, including Well IW-1 and associated dual-zone monitoring well, was
 recently constructed at a facility in Manatee County, FL, for Manatee County Utilities. The site is located
 approximately 19 miles southwest of the Facility and serves as a key well for site-specific hydrogeologic
 characterization for the Facility.

 The results of a 50-minute injection test and a 12-hour short-term injection test from Manatee County
 Utilities Injection Well IW-1 were obtained from the Construction and Testing Report (ASRus, 2023) and
 are presented below in Table 3-5.

 Table 3-6          Manatee County Utilities Injection Well IW-1 50-minute Injection Tests Results (ASRus,
                    2023)




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 8.       Proposed stimulation program.

 Depending on the injection capacity of the targeted injection zone, acidization may be performed
 following construction of the IW System. Prior to acidization, a plan to conduct the work will be submitted
 to FDEP after the target zone is evaluated.

 During the life expectancy of the IW System, redevelopment techniques may be necessary to remove scale
 from the well casing or remove accumulations from the open hole. This will be accomplished, if necessary,
 by a qualified contractor. The materials proposed for use in this IW system will not be adversely affected
 by limited use of the small quantities of chemicals or physical tools commonly used during redevelopment
 activities.

 9.       Proposed injection procedure.

 The injection procedure is dependent on the injectate pipeline and valving design which is under
 development, and will be provided in the operation and maintenance manual and with the request for
 authorization to begin operational testing. As a result, the description below is generalized.

 Water will be pre-treated prior to injection for compatibility with the injection zone. Prior to operational
 testing, drawings of the injection well facilities will be provided, and a detailed injection procedure will
 also be submitted to the Department for review.

 10.      Engineering drawings of the surface and subsurface construction details of the system.

 Exhibit 3 presents the subsurface construction details of the IW System while Exhibit 5 presents the
 wellhead construction details for the IW System and DZMW-1. Surface facilities are required to receive
 and deliver the non-hazardous waste streams to the proposed IW System. These surface facilities will
 include a pump station to receive and pump the waste streams, including structures, pumps, electrical
 power supply, instrumentation and controls, and associated appurtenances; yard piping for delivering
 non-hazardous waste streams to the injection well pump station and IW System; above grade piping and
 controls at the IW System; and above grade piping, horizontal centrifugal sample pumps, and
 instrumentation and controls at the DZMW-1.

 The final PE signed and sealed engineering drawings for wells and the surface facilities will be provided at
 a later date.

 11.      Contingency plans to cope with all shut-ins or well failures, to protect the quality of the
          waters of the State as defined in Rule 62-3 and 62-520, F.A.C., including alternate or
          emergency discharge provisions.

 In the event of a well shut-in, the Facility will maintain permitted options of managing wastewater using
 a Reverse Osmosis system, or transferring to Mosaic’s Green Bay Facility until UIC can be resumed.

 12.      Plans (including maps) and proposed monitoring data to be reported for meeting the
          monitoring requirements in Rule 62-528.425, F.A.C.

 Exhibit 7 outlines the referenced Rule; a description of each Class I monitoring requirement is described
 with a discussion of how Mosaic will conduct monitoring during injection operations. Table 3-6 provides
 a summary of the proposed monitoring program for the IW System, and Well DZMW-1. The following is a
 brief description of the proposed plan:


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         In accordance with 62-528.425(l)(a), F.A.C., the injectate will be sampled monthly to yield
          representative characteristics of the injected fluid.
         In accordance with 62-528.425(l)(b), F.A.C., the IW System will use continuous indicating,
          recording, and totalizing devices to monitor flow rate, injection volume, and wellhead pressure.
          DZMW-1 will be equipped with pressure transmitters that measure and display the well pressure
          of each zone. All data will be reported monthly to FDEP once the system is ready for startup and
          approved for operational testing.
         In accordance with 62-528.425(1)(c), F.A.C., a 12-hour short-term injection test will be conducted
          upon completion of the IW System. The short-term injection test plan will be submitted to FDEP
          for approval.
         In accordance with 62-528.425(l)(d), F.A.C., internal and external MIT will be performed every five
          years and will include a pressure test at no more than 1.5 times the permitted wellhead pressure.
         In accordance with 62-528.425(l)(e), F.A.C., monitoring parameters and frequencies for the IW
          System, and Well DZMW-1 will follow the proposed monitoring schedule provided in Table 3-6 in
          this Class I Injection Well Permit Application.
         In accordance with 62-528.425(l)(f), F.A.C., background groundwater samples will be collected
          from the injection zone, and each zone of DZMW-1. Samples will be analyzed for Industrial
          Wastewater Indicator Parameters and the Primary and Secondary Drinking Water Standards (62-
          550, F.A.C.), except asbestos, dioxin, butachlor, acrylamide and epichlorohydrin. All analytical
          methods and test procedures shall be in accordance with EPA’s latest revision of Methods for
          Chemical Analysis of Water and Wastes (EPA-600/4-79-020). The UMZ and LMZ will be sampled
          upon the completion, development, and purging of each zone. A groundwater sample from the
          injection zone will be collected following the installation of the 10.72-inch ID Red Box 1250 FRP
          tubing and injection zone development at IW-1 and IW-2. After removal of a minimum of 1 well
          volume from the well and after field parameters have stabilized according to FDEP SOPs, the
          contractor’s approved subcontracted National Environmental Laboratory Accreditation Program
          (NELAP) certified laboratory shall collect one (1) final unfiltered water sample and one (1)
          duplicate water sample. All samples shall be properly collected, preserved, stored on ice, and
          analyzed within the required hold time limits, following the latest version of the FDEP-Standard
          Operating Procedure (SOP) FDEP-SOP-001/01, FDEP Quality Assurance Rule, 62-160, F.A.C. FDEP.
         In accordance with 62-528.425(l)(g), F.A.C., Well DZMW-1 is designed to monitor the permeable
          unit just above the base of the USDW and the permeable unit located just above the principal
          confining strata and below the base of the USDW, respectively.




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 detailed the hydrology and geologic structures of the local area. Information from the pilot holes will be
 used to adjust casing seat depths and design the well accordingly.

 The drilling contractor will construct a steel (or equal as approved by the FDEP) fluid containment pad
 beneath the drill rig and rig substructure with secondary containment beneath mud tanks, mud pumps
 and fuel tanks, prior to commencing drilling at each well location to retain drilling fluids and to prevent
 water quality impacts to the SAS. Additionally, the drilling contractor will coordinate the collection of
 water quality samples and have a NELAP certified laboratory analyze (in accordance with FDEP Standard
 Operating Procedures [SOPs]) the PMWs throughout construction and testing to confirm no water quality
 impacts to the SAS.

 During well construction, it may be necessary to use an American Society for Testing and Materials (ASTM)
 C595M-21PLC/Type 1L cement with up to 6% bentonite or higher, by weight. This situation would be
 contingent upon FDEP approval.

 The proposed work sequence for the mobilization and site preparation is as follows:

          1. Install temporary water, sewer, electrical, wireless internet, and cell phone services.

          2. Conduct a pre-construction video survey of the site to document existing site conditions.

          3. Perform site preparation: clearing, grubbing, stripping and debris removal. Remove and
             dispose of non-hazardous debris and build up soil sub-base for drilling pad.

          4. Excavate fill materials and install a 50-inch OD (wall thickness to be determined by
             CONTRACTOR) carbon steel pit casing to the depth required for the drilling system. The pit
             casing shall be installed, as needed, by the drilling contractor, to stabilize the site for drilling
             operations at the location of the IW. The drilling contractor will determine the appropriate
             depth of pit casing. The final floor elevation within the pit casing will accommodate the
             installation of a rotating head or other sealing mechanisms to control fluids during drilling.
             Excavated materials shall be stockpiled onsite at the location designated by the OWNER.

          5. Construct a temporary fabricated steel (or equal) fluid containment pad. The drilling
             contractor shall provide containment pad details for information, which will be submitted for
             FDEP approval.

          6. Install, develop, and sample four 4-inch diameter polyvinyl chloride (PVC) shallow PMWs at
             approved locations, as required by the FDEP. PMW locations are shown in Exhibit 2A and 2B
             and PMW construction details are show in Exhibit 4. Background samples of water quality will
             be collected for analysis by a NELAP certified laboratory.

          7. Mobilize drilling and other required materials and equipment required for construction.

 The sequential description of drilling and testing for IW-1 is as follows:

          1. Drill a pilot hole with a 12.25-inch diameter bit to approximately 500 feet bls using the direct
             mud-rotary method. Record mechanical deviation surveys and collect rock formation samples
             in accordance with Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.




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          2. Conduct geophysical logging [Caliper (CAL), natural gamma-ray (NGR), spontaneous potential
             (SP), dual-induction (DIL), borehole compensated sonic w/ variable density log (BHCS/VDL),
             Acoustic Borehole Imager (ABI)] in accordance with Exhibit 17A - Summary of Testing for
             Industrial Injection Well IW-1.

          3. Ream the pilot hole to a nominal 50-inch diameter borehole to approximately to 425 feet bls
             using the direct mud-rotary method. Record mechanical deviation surveys at intervals in
             accordance with Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          4. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 17A - Summary of
             Testing for Industrial Injection Well IW-1.

          5. Install the 40-inch OD carbon steel surface casing (0.500-inch wall) to approximately 420 feet
             bls in accordance with Exhibit 3 - Mosaic Riverview Deep Injection Well No. 1 and Dual-Zone
             Monitor Well Construction Details, and cement to surface.

          6. Conduct geophysical logging [Temperature (TEMP) and NGR after each cement stage] in
             conjunction with measurement from tremie pipe hard tags in accordance with Exhibit 17A -
             Summary of Testing for Industrial Injection Well IW-1.

          7. Install the artesian flow control device, to control flow at the artesian head pressures within
             the Floridan Aquifer System during reverse-air circulation drilling.

          8. Drill out cement plug and drill a pilot hole centered at the bottom of the 40-inch OD carbon
             steel surface casing with a 12.25-inch diameter bit to approximately 1,600 feet bls using the
             reverse-air circulation method. Record mechanical deviation surveys, collect rock formation
             and water quality samples in accordance with Exhibit 17A - Summary of Testing for Industrial
             Injection Well IW-1.

          9. Collect up to four (4) rock cores during pilot hole drilling below the 40-inch OD carbon steel
             surface casing at depths selected by the ENGINEER in accordance with Exhibit 17A - Summary
             of Testing for Industrial Injection Well IW-1.

          10. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, video survey (TV)
              or Optical Borehole Imager (OBI) or ABI, TEMP, fluid resistivity (FR) and flowmeter (FM);
              Dynamic logs: TEMP, FR and FM) on the pilot hole in accordance to Exhibit 17A - Summary of
              Testing for Industrial Injection Well IW-1.

          11. Conduct up to four (4) packer tests at depths selected by the ENGINEER in accordance with
              Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          12. Back-plug the pilot hole with cement to the base of the 40-inch OD carbon steel surface
              casing.

          13. Ream the pilot hole to a nominal 40-inch diameter borehole to approximately 1,505 feet bls
              using the reverse-air circulation method. Record mechanical deviation surveys at intervals in
              accordance with Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          14. Conduct geophysical logging (CAL and NGR) in the reamed hole in accordance with Exhibit
              17A - Summary of Testing for Industrial Injection Well IW-1.


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          15. Install the 30-inch OD carbon steel intermediate casing to approximately 1,500 feet bls in
              accordance with Exhibit 3 – Mosaic Riverview Deep Injection Well No. 1 and Dual-Zone
              Monitor Well Construction Details and cement to surface. After each cement stage, perform
              static TEMP and NGR logs to confirm the top of cement in conjunction with measurement
              from tremie pipe hard tags.

          16. Drill out cement plug and drill a pilot hole centered at the bottom of the 30-inch OD carbon
              steel intermediate casing with a 12.25-inch bit to approximately 3,300 feet bls using the
              reverse-air circulation method. Record mechanical deviation surveys, collect rock formation
              and water quality samples in accordance with Exhibit 17A - Summary of Testing for Industrial
              Injection Well IW-1.

          17. During drilling of the pilot hole collect up eight (8) cores at depths selected by the ENGINEER
              in accordance with Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          18. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI,
              TEMP, FR and FM; Dynamic logs: TEMP, FR and FM) on the pilot hole in accordance to Exhibit
              17A - Summary of Testing for Industrial Injection Well IW-1.

          19. Conduct up to four (4) packer tests at depths selected by the ENGINEER in accordance with
              Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          20. Install drillable bridge plug at depth of ±2,420 feet as approved by Engineer.

          21. Back-plug the pilot hole with cement to the base of the 30-inch OD carbon steel intermediate
              casing.

          22. Ream the pilot hole to a nominal 30-inch diameter borehole to approximately 2,405 feet bls
              using the reverse-air circulation method. Record mechanical deviation surveys at intervals in
              accordance with Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          23. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 17A - Summary of
              Testing for Industrial Injection Well IW-1.

          24. Install the 20-inch OD seamless steel final steel casing to approximately 2,400 feet bls in
              accordance with Exhibit 3 – Mosaic Riverview Deep Injection Well No. 1 and Dual-Zone
              Monitor Well Construction Details and conduct a standard cement bond log on the casing,
              before cementing, in accordance with Exhibit 17A - Summary of Testing for Industrial
              Injection Well IW-1.

          25. Cement the 20-inch OD seamless steel final casing from the bottom of the casing to ± 300 feet
              bls. After each cement stage, perform static TEMP and NGR logs to confirm the top of cement
              in conjunction with measurement from tremie pipe hard tags in accordance with Exhibit 17A
              - Summary of Testing for Industrial Injection Well IW-1. Logging may be waived by the
              Engineer if poor fill-up is encountered.

          26. Conduct a standard cement bond log following completion of cementing of the 20-inch OD
              seamless steel final casing to within 300 feet of land surface in accordance with Exhibit 17A -
              Summary of Testing for Industrial Injection Well IW-1.



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          27. Conduct casing pressure test.

          28. Cement the final ±300 feet of the 20-inch OD seamless steel final casing

          29. Ream the pilot hole to a nominal 20-inch diameter borehole to approximately 3,300 feet bls
              using the reverse-air circulation method. Record mechanical deviation surveys at intervals in
              accordance with Exhibit 17A - Summary of Testing for Industrial Injection Well IW-1.

          30. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 17A - Summary of
              Testing for Industrial Injection Well IW-1.

          31. Install the 10.72-inch ID Red Box 1250 FRP tubing (or approved equal) and cementing packer
              to approximately 2,390 feet bls with Exhibit 3 – Mosaic Riverview Deep Injection Well No. 1
              and Dual-Zone Monitor Well Construction Details and conduct a standard cement bond log
              on the casing, before cementing, in accordance with Exhibit 17A - Summary of Testing for
              Industrial Injection Well IW-1.

          32. Cement casing in place to within 300 feet of land surface. After each cement stage, perform
              static TEMP and NGR logs to confirm the top of cement in conjunction with measurement
              from tremie pipe hard tags in accordance with Exhibit 17A - Summary of Testing for Industrial
              Injection Well IW-1.

          33. Conduct a standard cement bond log following required cement curing time.

          34. Complete cementing of 10.72-inch ID FRP injection tubing to surface.

          35. Develop the well (injection zone). Dispose of produced settled water in the discharge location
              at the Facility approved by the engineer of record (EOR). Purge well in accordance with FDEP
              SOP Protocol.

          36. In accordance with FDEP SOP protocol, upon completion of development, collect background
              groundwater samples from the injection zone and submit them to a NELAP-Certified
              laboratory for analysis of Primary and Secondary Drinking Water Standards (excluding
              asbestos, Dioxin, butachlor, acrylamide, and epichlorohydrine) and Industrial Wastewater
              Indicator Parameters for Groundwater Monitoring.

          37. Complete installation of wellhead fittings and valves in accordance with Exhibit 5 – Industrial
              Injection Well Wellhead Completion Details.

          38. Furnish and install temporary piping, pumps, and valves to deliver clean and clear water for
              conducting a color video survey for the final inspection of the 10.72-inch ID Red Box 1250 FRP
              tubing and open hole in accordance with Exhibit 17A - Summary of Testing for Industrial
              Injection Well IW-1.

          39. Conduct mechanical integrity testing of the 10.72-inch ID Red Box 1250 FRP tubing by
              performing a pressure test, geophysical logging (NGR, color video survey, high-resolution
              temperature [HRT] log and a radioactive tracer survey [RTS]) in accordance with Exhibit 17A
              - Summary of Testing for Industrial Injection Well IW-1.




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          40. Run a short-term injection test as approved by the FDEP UIC permit in accordance with Exhibit
              17A - Summary of Testing for Industrial Injection Well IW-1.

          41. Remove temporary steel drilling pad and install temporary barriers. Surface facilities
              contractor to install final concrete pad. Plug and abandon temporary shallow monitoring
              wells.

          42. Demobilize drilling equipment, clean, and restore disturbed areas around the drilling site as
              directed by Engineer.

 The sequential description of drilling and testing for Well IW-2 is as follows:

          1. Drill a pilot hole with a 12.25-inch diameter bit to approximately 500 feet bls (below land
             surface) using the direct mud-rotary method. Record mechanical deviation surveys and collect
             rock formation samples in accordance with Exhibit 17B - Summary of Testing for Industrial
             Injection Well IW-2.

          2. Conduct geophysical logging [Caliper (CAL), natural gamma-ray (NGR), spontaneous potential
             (SP), dual-induction (DIL), borehole compensated sonic w/ variable density log (BHCS/VDL),
             Acoustic Borehole Imager (ABI)] in accordance with Exhibit 17B - Summary of Testing for
             Industrial Injection Well IW-2.

          3. Ream the pilot hole to a nominal 50-inch diameter borehole to approximately to 425 feet bls
             using the direct mud-rotary method. Record mechanical deviation surveys at intervals in
             accordance with Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.

          4. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 17B - Summary of
             Testing for Industrial Injection Well IW-2.

          5. Install the 40-inch OD carbon steel surface casing (0.500-inch wall) to approximately 420 feet
             bls in accordance with Exhibit 3 - Mosaic Riverview Deep Injection Well Nos. 1 and 2, and
             Dual-Zone Monitor Well Construction Details, and cement to surface.

          6. Conduct geophysical logging [Temperature (TEMP) and NGR after each cement stage] in
             conjunction with measurement from tremie pipe hard tags in accordance with Exhibit 17B -
             Summary of Testing for Industrial Injection Well IW-2.

          7. Install the artesian flow control device, to control flow at the artesian head pressures within
             the Floridan Aquifer System during reverse-air circulation drilling.

          8. Drill out cement plug and drill a pilot hole centered at the bottom of the 40-inch OD carbon
             steel surface casing with a 12.25-inch diameter bit to approximately 1,600 feet bls using the
             reverse-air circulation method. Record mechanical deviation surveys, collect rock formation
             and water quality samples in accordance with Exhibit 17B - Summary of Testing for Industrial
             Injection Well IW-2.

          9. Collect up to four (4) rock cores during pilot hole drilling below the 40-inch OD carbon steel
             surface casing at depths selected by the ENGINEER in accordance with Exhibit 17B - Summary
             of Testing for Industrial Injection Well IW-2.



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          10. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, video survey (TV)
              or Optical Borehole Imager (OBI) or ABI, TEMP, fluid resistivity (FR) and flowmeter (FM);
              Dynamic logs: TEMP, FR and FM) on the pilot hole in accordance to Exhibit 17B - Summary of
              Testing for Industrial Injection Well IW-2.

          11. Conduct up to four (4) packer tests at depths selected by the ENGINEER in accordance with
              Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.

          12. Back-plug the pilot hole with cement to the base of the 40-inch OD carbon steel surface
              casing.

          13. Ream the pilot hole to a nominal 40-inch diameter borehole to approximately 1,505 feet bls
              using the reverse-air circulation method. Record mechanical deviation surveys at intervals in
              accordance with Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.

          14. Conduct geophysical logging (CAL and NGR) in the reamed hole in accordance with Exhibit
              17B - Summary of Testing for Industrial Injection Well IW-2.

          15. Install the 30-inch OD carbon steel intermediate casing to approximately 1,500 feet bls in
              accordance with Exhibit 3 – Mosaic Riverview Deep Injection Well Nos. 1 and 2 and Dual-
              Zone Monitor Well Construction Details and cement to surface. After each cement stage,
              perform static TEMP and NGR logs to confirm the top of cement in conjunction with
              measurement from tremie pipe hard tags.

          16. Drill out cement plug and drill a pilot hole centered at the bottom of the 30-inch OD carbon
              steel intermediate casing with a 12.25-inch bit to approximately 3,300 feet bls using the
              reverse-air circulation method. Record mechanical deviation surveys, collect rock formation
              and water quality samples in accordance with Exhibit 17B - Summary of Testing for Industrial
              Injection Well IW-2.

          17. During drilling of the pilot hole collect up eight (8) cores at depths selected by the Engineer in
              accordance with Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.

          18. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI,
              TEMP, FR and FM; Dynamic logs: TEMP, FR and FM) on the pilot hole in accordance to Exhibit
              17B - Summary of Testing for Industrial Injection Well IW-2.

          19. Conduct up to four (4) packer tests at depths selected by the ENGINEER in accordance with
              Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.

          20. Install drillable bridge plug at depth of ±2,420 feet as approved by Engineer.

          21. Back-plug the pilot hole with cement to the base of the 30-inch OD carbon steel intermediate
              casing.

          22. Ream the pilot hole to a nominal 30-inch diameter borehole to approximately 2,405 feet bls
              using the reverse-air circulation method. Record mechanical deviation surveys at intervals in
              accordance with Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.




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          23. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 17B - Summary of
              Testing for Industrial Injection Well IW-2.

          24. Install the 20-inch OD seamless steel final steel casing to approximately 2,400 feet bls in
              accordance with Exhibit 3 – Mosaic Riverview Deep Injection Well Nos. 1 and 2 and Dual-
              Zone Monitor Well Construction Details and conduct a standard cement bond log on the
              casing, before cementing, in accordance with Exhibit 17B - Summary of Testing for Industrial
              Injection Well IW-2.

          25. Cement the 20-inch OD seamless steel final casing from the bottom of the casing to ± 300 feet
              bls. After each cement stage, perform static TEMP and NGR logs to confirm the top of cement
              in conjunction with measurement from tremie pipe hard tags in accordance with Exhibit 17B
              - Summary of Testing for Industrial Injection Well IW-2. Logging may be waived by the
              ENGINEER if poor fill-up is encountered.

          26. Conduct a standard cement bond log following completion of cementing of the 20-inch OD
              seamless steel final casing to within 300 feet of land surface in accordance with Exhibit 17B -
              Summary of Testing for Industrial Injection Well IW-2.

          27. Conduct casing pressure test.

          28. Cement the final ±300 feet of the 20-inch OD seamless steel final casing

          29. Ream the pilot hole to a nominal 20-inch diameter borehole to approximately 3,300 feet bls
              using the reverse-air circulation method. Record mechanical deviation surveys at intervals in
              accordance with Exhibit 17B - Summary of Testing for Industrial Injection Well IW-2.

          30. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 17B - Summary of
              Testing for Industrial Injection Well IW-2.

          31. Install the 10.72-inch ID Red Box 1250 FRP tubing (or approved equal) and cementing packer
              to approximately 2,390 feet bls with Exhibit 3 – Mosaic Riverview Deep Injection Well Nos.
              1 and 2 and Dual-Zone Monitor Well Construction Details and conduct a standard cement
              bond log on the casing, before cementing, in accordance with Exhibit 17B - Summary of
              Testing for Industrial Injection Well IW-2.

          32. Cement casing in place to within 300 feet of land surface. After each cement stage, perform
              static TEMP and NGR logs to confirm the top of cement in conjunction with measurement
              from tremie pipe hard tags in accordance with Exhibit 17B - Summary of Testing for Industrial
              Injection Well IW-2.

          33. Conduct a standard cement bond log following required cement curing time.

          34. Complete cementing of 10.72-inch ID FRP injection tubing to surface.

          35. Develop the well (injection zone). Dispose of produced settled water in the approved
              discharge location at the Facility approve by the EOR. Purge well in accordance with FDEP SOP
              protocol.




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          36. In accordance with FDEP SOP protocol, upon completion of development, collect background
              groundwater samples from the injection zone and submit them to a NELAP-Certified
              laboratory for analysis of Primary and Secondary Drinking Water Standards (excluding
              asbestos, Dioxin, butachlor, acrylamide, and epichlorohydrine) and Industrial Wastewater
              Indicator Parameters for Groundwater Monitoring.

          37. Complete installation of wellhead fittings and valves in accordance with Exhibit 5 – Industrial
              Injection Well Wellhead Completion Details.

          38. Furnish and install temporary piping, pumps, and valves to deliver clean and clear water for
              conducting a color video survey for the final inspection of the 10.72-inch ID Red Box 1250 FRP
              tubing and open hole in accordance with Exhibit 17B - Summary of Testing for Industrial
              Injection Well IW-2.

          39. Conduct mechanical integrity testing of the 10.72-inch ID Red Box 1250 FRP tubing by
              performing a pressure test, geophysical logging (NGR, color video survey, high-resolution
              temperature [HRT] log and a radioactive tracer survey [RTS]) in accordance with Exhibit 17B
              - Summary of Testing for Industrial Injection Well IW-2.

          40. Run a short-term injection test as approved by the FDEP UIC permit in accordance with Exhibit
              17B - Summary of Testing for Industrial Injection Well IW-2.

          41. Remove temporary steel drilling pad and install temporary barriers. Surface facilities
              contractor to install final concrete pad. Plug and abandon temporary shallow monitoring
              wells.

          42. Demobilize drilling equipment, clean, and restore disturbed areas around the drilling site as
              directed by Engineer.
 The following provides a chronological description of the construction, well drilling, and testing activities
 associated with the construction of DZMW-1. Exhibit 17C provides a Summary of Testing to be conducted
 during construction activities. The final design of the DZMW will be contingent upon the results of IW-1,
 IW-2, and DZMW-1 drilling, geophysical logging, water quality and hydrogeologic testing.
          1. Excavate fill materials and install a 24-inch OD (0.375-inch wall) carbon steel pit casing to the
             depth required for the drilling system. The pit casing shall be installed as needed to stabilize
             the site for drilling at the location of the MWs. Excavated materials shall be stockpiled onsite
             at the location designated by Mosaic.

          2. Construct a temporary fabricated steel (or equal) fluid containment pad. The drilling
             contractor shall provide containment pad details for information.

          3. Install 4-inch diameter PVC shallow PMWs at locations approved by the FDEP. PMW locations
             are shown in Exhibit 2A and 2B and PMW construction details are show in Exhibit 4. NELAP
             certified laboratory shall collect and analyze background water samples for analysis.

          4. Mobilize and set up drilling equipment at the MW sites.




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          5. Drill a nominal 12.25-inch diameter pilot hole using the direct mud-rotary drilling method to
             approximately 425 feet bls, record mechanical deviation surveys and collect rock formation
             samples at intervals in accordance with Exhibit 17C – DZMW Summary of Testing.

          6. Conduct geophysical logging in accordance with Exhibit 17C – DZMW Summary of Testing
             (CAL, NGR, SP, DIL, BHCS w/ VDL, ABI).

          7. Ream pilot hole to nominal 24-inch diameter borehole using the direct mud-rotary drilling
             method to the 16-inch OD seamless steel casing setting depth of approximately 405 feet bls
             and record mechanical deviation surveys at intervals in accordance with Exhibit 17C – DZMW
             Summary of Testing.

          8. Conduct geophysical logging in accordance with Exhibit 17C – DZMW Summary of Testing
             (CAL and NGR log).

          9. Install approximately 400 feet of 16-inch OD (0.500-inch wall) seamless steel casing and
             perform the first CBL log on the uncemented casing. Cement with ASTM C-150 Type II or Type
             1L cement to approximately 200 feet bls. After each cement stage, perform hard tags,
             Temperature and NGR logs. Perform the second CBL on the 16-inch OD cemented casing.
             Cement the remaining annulus to surface using ASTM C-150 Type II or Type 1L cement.

          10. Once the cement has cured perform a casing pressure test in accordance with Exhibit 17C –
              DZMW Summary of Testing.

          11. Install the artesian flow control device, to control flow at the artesian head pressures within
              the Floridan Aquifer System during reverse-air circulation drilling.

          12. Drill out cement plug and drill a nominal 12.25-inch diameter hole centered at the bottom of
              the 16-inch OD seamless steel casing to approximately 900 feet bls using reverse-air
              circulation. Record mechanical deviation surveys, collect rock/water formation samples and
              analyze air-lifted water samples during reverse-air drilling in accordance with Exhibit 17C –
              DZMW Summary of Testing.

          13. Conduct static geophysical logging on the 12.25-inch diameter pilot hole to an approximate
              depth of 900 feet bls in accordance with Exhibit 17C – DZMW Summary of Testing (Static
              Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV, TEMP, FR and FM; Dynamic logs: TEMP, FR and FM).

          14. Conduct dynamic geophysical logging on the pilot hole to an approximate depth of 900 feet
              bls in accordance with Exhibit 17C – DZMW Summary of Testing while flowing or pumping
              the well at approximately 500 gpm. Perform the following dynamic logs: Temperature, Flow
              Meter, Flow Meter Interpretation, Fluid Resistivity, and TV survey (or BHTV).

          15. Conduct up to two (2) packer tests in the pilot hole between approximately 400 feet and 800
              feet bls in accordance with Exhibit 17C – DZMW Summary of Testing. Collect and analyze
              (NELAP-Certified laboratory) groundwater samples during packer testing to confirm the water
              quality of the UMZ and LMZ.

          16. Install approximately 800 feet of 6.21-inch ID FRP tubing with attached external cementing
              packer. Cement approximately 300 feet of the bottom of 6.21-inch ID FRP tubing using ASTM
              C-150 Type II or Type 1L cement. Cement placement will be accomplished using tremie pipe.


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               The top of the 6.21-inch ID FRP tubing cement fill-up will be at a depth of approximately 500
               feet bls. An open-hole annular monitoring zone shall be provided from the top of the 6.21-
               inch ID FRP tubing cement to 100 feet below (approximately 400 feet bls) the bottom of the
               16-inch OD seamless steel casing. After each cement stage, perform hard tags, Temperature
               and NGR to confirm the top of the annular cement. Once the cement has cured perform a
               casing pressure test (50 PSI for one hour) in accordance Exhibit 17C – DZMW Summary of
               Testing.

          17. Conduct CBL in accordance with Exhibit 17C – DZMW Summary of Testing.

          18. Install temporary wellhead appurtenances, and after the cement has cured, perform casing
              pressure test (minimum 50 psi) for one hour on the 6.21-inch ID FRP tubing using an inflatable
              down-hole packer in accordance with Exhibit 17C – DZMW Summary of Testing.

          19. Develop both monitoring zones by pumping and/or air-lift methods to obtain the maximum
              measured specific capacity for each monitoring zone in accordance with Exhibit 17C – DZMW
              Summary of Testing. Pump (or flow if rate is adequate) each monitoring zone a minimum of
              10 volumes or until temperature, chlorides and specific conductivity stabilize in accordance
              with FDEP SOP protocol. Upon completion of purging, collect a groundwater sample from
              each completed monitoring zone and submit them to a NELAP-Certified laboratory for
              analysis of Primary and Secondary Drinking Water Standards (excluding asbestos and dioxin)
              and Industrial Wastewater Indicator Parameters for Groundwater Monitoring.

          20. Perform final inspection of 6.21-inch ID FRP tubing by running a CAL log (open-hole only) and
              TV survey while flowing or pumping the 6.21-inch ID FRP tubing in accordance with Exhibit
              17C – DZMW Summary of Testing. Discharge produced settled water in the discharge location
              at the Facility approved by the EOR.

          21. Install temporary wellhead assembly and appurtenances in accordance with Exhibit 5 –
              Temporary Wellhead Drawings.

          22. Install temporary pressure transducer in each monitoring zone (UMZ and LMZ) of the MW for
              measurement of artesian head (elevation) during pre-injection test background period,
              injection testing, and recovery periods (pending FDEP approval).

 15.      A certification that the applicant has ensured, through a performance bond or other
          appropriate means, the resources necessary to close, plug or abandon the well as required by
          Rule 62-528.435(9), F.A.C.

 Financial assurance is discussed in Section 4.1. Mosaic will be using the financial test to demonstrate
 financial assurance, as required by Rule 62-528.435(9), F.A.C. The Engineer’s cost estimate for P&A of the
 IW System, and DZMW-1 is provided in Exhibits 18A. The P&A Plan for IW-1, IW-2, and DZMW-1 are
 discussed in Section 4.2 and details are provided in Exhibit 18B for IW-1, Exhibit 19C for IW-2, and Exhibit
 18D for DZMW-1.




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 4.0 Injection Well System Financial Assurance,
     Documentation and Well Plugging Cost Estimates
 (Responses to Part A, Number 15 of Form 62-528.900(1))

 4.1       Financial Assurance and Documentation
 Mosaic certifies that it has the necessary resources available to plug and abandon (P&A) the IW System
 and Well DZMW-1, should this action be required. Mosaic will be using the financial test to demonstrate
 financial assurance, as required by Rule 62-528.435(9), F.A.C.

 4.2       Abandonment Plan for IW System and DZMW-1
 This P&A plan outlines the procedures and cost for P&A of the IW System to a depth of 3,300 feet bls and
 of DZMW-1 to a depth of 800 feet bls located at the Facility. If the injection well system must be
 abandoned, the injection zone/monitoring zones must be effectively plugged and sealed to prevent the
 upward migration of fluid from the injection zone and/or an interchange of formation water between
 aquifers. The P&A opinion of costs are provided in Exhibit 18A and Abandonment Details are provided in
 Exhibits 18B, 18C and 18D.

 This P&A plan describes a procedure for plugging and sealing the IW System and both monitoring zones
 of DZMW-1 using gravel and cement. Gravel will be used to fill in the injection zone up to 10 feet below
 the base of the FRP tubing. The 17.98-inch ID FRP injection tubing is then plugged with cement from above
 the gravel top to land surface. For DZMW-1, each monitoring zone is filled with gravel in the open borehole
 and cemented to land surface.

 The following is a sequence of gravel and cement sealing of 1) the injection zone and 2) of the UMZ and
 LMZ. The cost calculations allow for the purchase of all the materials and services necessary for well
 abandonment tasks and represent the approximate cost for P&A of the IW System, including a 10%
 contingency and estimated associated oversight for engineering costs of 20%.

 As presented in Exhibits 18B and 18C, the materials quantities and services provided to plug the IWs will
 proceed as follows:

       1) Mobilize drill rig, kill the well by filling the cemented 10.72-inch ID FRP injection tubing with
          weighted drilling mud or salt, and remove the valve assembly and appurtenances from the
          wellhead. Conduct geophysical logging.

       2) Add a volume of crushed limestone to the well equal to the volume of the open hole section of
          Well IW-1 to fill the open formation to approximately 10 feet below the bottom of the 10.72-inch
          ID FRP injection tubing. Verify the depth to the top of the crushed limestone by tagging with a
          wireline. Place neat cement in stages into the 10.72-inch ID FRP injection tubing through a tremie
          pipe to the top of the crushed limestone. The quantity of cement pumped above the top of the
          gravel should be equivalent to the volume of slurry required to fill approximately 10 feet of open
          hole and the entire length of 10.72-inch ID FRP injection tubing.

       3) The cement should be allowed to set for 12 to 24 hours and then hard tagged with a wire line or
          tremie pipe to determine if sufficient fill up has been achieved.



 BLACK & VEATCH | Injection Well System Financial Assurance, Documentation and Well Plugging Cost
                                                                                                              4-1
 Estimates

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     4) The remainder of the 10.72-inch ID FRP injection tubing can then be filled with neat cement using
        the tremie method to land surface.

 The UMZ and LMZ of the DZMW will be plugged by filling the open-hole portion of each zone with gravel
 and pumping cement to land surface in stages. The LMZ will be abandoned first followed by the UMZ. As
 presented in Exhibit 18E, the proposed plan to abandon the DZMW lower and upper zones by gravel and
 cement method will proceed as follows:

     1) Mobilize a drill rig and kill the well by partially filling the 6.21-inch ID FRP tubing of the LMZ with
        a dense saltwater solution. Remove the wellhead flanges and appurtenances from the well.
        Conduct geophysical logging.

     2) Add a volume of gravel to the well equal to the volume of the open-hole sections of the
        monitoring zones. Fill the open-hole with gravel to approximately 10 feet below the bottom of
        each casing (to 710 feet bls within the 6.21-inch ID FRP tubing and to 430 feet bls within the
        annulus between the 6.21-inch ID FRP tubing and the 16-inch OD seamless steel casing). Verify
        the depth to gravel placement by hard tagging the gravel top in both zones with a wire-line or
        tremie pipe.

     3) For the LMZ, pump neat cement on top of the gravel placed in the 6.21-inch ID FRP tubing. For
        the UMZ, pump neat cement on top of the gravel through a tremie pipe placed in the annulus
        between the 6.21-inch ID FRP tubing and the 16-inch OD seamless steel casing. Fill the casings
        with the neat cement slurry in stages to land surface.

     4) Verify the depth of each stage by hard tagging the cement top with a wire line or tremie pipe.

     5) Complete below ground and add monument.




 BLACK & VEATCH | Injection Well System Financial Assurance, Documentation and Well Plugging Cost
                                                                                                              4-2
 Estimates

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 Sincerely,




 Ben L Koplin
 Sr Manager, Environmental

 Encl:   FDEP Form 62-528.900(1)
         Delegation of Authority – Mr. Nevin Maga
         Mosaic New Wales Facility Exploratory Well IW-1 Class V, Group 9, Exploratory
         Injection Well Construction Permit Application


 cc:     John Coates, FDEP
         Pat Kane, Mosaic
         Nevin Maga, Mosaic
         Santino Provenzano, Mosaic
         John Allen, Mosaic
         Monica Tochor, Mosaic
         Jackie Barron, Mosaic




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 Mosaic Fertilizer, LLC | Mosaic New Wales Facility Exploratory Well IW-1


 CERTIFICATIONS
 I certify under penalty of law that this document and all attachments were prepared under my direction
 or supervision in accordance with a system designed to assure that qualified personnel properly gather
 and evaluate the information submitted. Based on my inquiry of the person or persons who manage the
 system, or those persons directly responsible for gathering the information, the information submitted is,
 to the best of my knowledge and belief, true, accurate, and complete. I am aware that there are significant
 penalties for submitting false information, including the possibility of fine and imprisonment for knowing
 violations.

 PROFESSIONAL ENGINEER
 The engineering features of the Class V, Group 9, Exploratory Injection Well Construction Permit
 Application for Mosaic Fertilizer, LLC, February 2024, were prepared by, or reviewed by, a Licensed
 Professional Engineer in the State of Florida.


   Jon Dinges, P.E.


   ϮͬϭϲͬϮϬϮϰ
   Date


   Wϱϰϳϰϳ
   License No.


 PROFESSIONAL GEOLOGIST
 The geological evaluation and interpretations contained in the Class V, Group 9, Exploratory Injection Well
 Construction Permit Application for Mosaic Fertilizer, LLC, February 2024, were prepared by, or reviewed
 by, a Licensed Professional Geologist in the State of Florida.


   Ed Rectenwald, P.G.


   ϮͬϭϲͬϮϬϮϰ
   Date


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 LIST OF ACRONYMS AND ABBREVIATIONS
 ASR              Aquifer Storage and Recovery
 AOR              Area of Review
 APPZ             Avon Park Permeable Zone
 ASTM             American Society for Testing and Materials
 BHCS             Borehole Compensated Sonic Log
 bls              below land surface
 BZ               Boulder Zone
 CAL              Caliper Log
 CBL              Cement Bond Log
 DIL              Dual Induction Log
 DZMW             Dual-Zone Monitoring Well
 EOR              Engineer of Record
 FAS              Floridan Aquifer System
 F.A.C.           Florida Administrative Code
 FDEP             Florida Department of Environmental Protection
 FGS              Florida Geological Survey
 FM               Flowmeter Log
 FR               Fluid Resistivity Log
 FRP              Fiberglass Reinforced Plastic
 ft               Feet
 feet/min         Feet per minute
 feet/sec         Feet per second
 gpm              Gallons per minute
 HRT              High Resolution Temperature Log
 ICU              intermediate confining unit
 ID               Inside diameter
 IW               Injection Well
 LCPZ             Lower Cretaceous Permeable Zone
 LFA              Lower Floridan aquifer
 LMZ              Lower Monitoring Zone
 MCU              Middle Confining Unit
 MGD              Million gallons per day
 mg/L             Milligrams per Liter
 MIT              Mechanical Integrity Testing
 NAVD             North American Vertical Datum
 NELAP            National Environmental Laboratory Accreditation Program
 NGR              Natural Gamma Ray Log
 NGVD             National Geodetic Vertical Datum
 OD               Outside diameter
 P&A              Plugging and Abandonment
 PMW              Pad Monitoring Well
 psi              Pounds per Square Inch
 PVC              Polyvinyl chloride
 RTS              Radioactive Tracer Survey
 SAS              Surficial Aquifer System
 SFCU             Sub-Floridan Confining Unit


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 SFWMD            South Florida Water Management District
 SOP              Standard Operating Procedures
 SP               Spontaneous Potential Log
 SWFWMD           Southwest Florida Water Management District
 TEMP             Temperature Log
 TD               Total Depth
 TDS              Total Dissolved Solids
 TV               Color Video Survey
 UCPZ             Upper Cretaceous Permeable Zone
 UFA              Upper Floridan aquifer
 UIC              Underground Injection Control
 UMZ              Upper Monitoring Zone
 USDW             Underground Source of Drinking Water
 USGS             United States Geological Survey
 VDL              Variable Density Log
 WWTF             Wastewater Treatment Facility




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 Permit Application and Documentation Format
 The information required in FDEP Form No. 62-528.900(1) Application to Construct/Operate/Abandon
 Class I, III, or V Injection Well Systems is included herein and is divided into the following sections:

 Section 1 -      FDEP Form No. 62-528.900(1) Application to Construct/Operate/Abandon Class V Well
                  Systems. The executed Class V Exploratory Well Construction and Testing Permit
                  application is contained in this section and addresses the specific information requested
                  in Application Form 62-528.900(1).

 Section 2 -      Class V Exploratory Well Construction Supporting Data and Part F Responses to Part F of
                  Form 62-528.900(1).

 Section 3 -      Supplemental Information for Future Class I Industrial Well Construction Permit
                  Application. Section 3 provides additional information not specifically required for the
                  Class V Exploratory Well Construction Permit. This is a preview of information that will be
                  submitted at a later date for the Class I Well Construction Permit application and is
                  provided here only as general information to help with expediting the Class V Well
                  Construction Permit application review.

 All project well schematics and figures are included in the Exhibits.




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 Mosaic Fertilizer, LLC | Mosaic New Wales Facility Exploratory Well IW-1



 1.0 FDEP Application to Construct/Operate/Abandon Class I,
     III, or V Injection Well Systems
 FDEP Rule No. 62- 528.900(1)] Forms for Underground Injection Control




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                                                                   DEP Form No:            62-528.900(1)
                                                                 Form Title: Application to Construct/
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                                                                         Operate/Abandon Class I, III,
                                                                             or V Injection Well Systems
                                                                   Effective Date:                      .
                                                                   DEP Application No,:                 .
             ENGINEERING AND HYDROLOGIC DATA                       :$&6BBBBBBBBBBBBBB (Filled in by DEP)
             REQUIRED FOR SUPPORT OF APPLICATION
             TO CONSTRUCT, OPERATE, AND ABANDON
             CLASS I, III, OR V INJECTION WELL SYSTEMS

 The following information shall be provided for each type of permit application.

 A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING PERMIT

    1. A map showing the location of the proposed injection wells of well field
       area for which a permit is sought and the applicable area of review.
       Within the area of review, the map must show the number or name, and
       location of all producing wells, injection wells, abandoned wells, dry
       holes, surface bodies of water, springs, public water systems, mines
       (surface and subsurface), quarries, water wells and other pertinent
       surface features including residences and roads.    The map should also
       show faults, if known or suspected. Only information of public record
       and pertinent information known to the applicant is required to be
       included on this map.

    2. A tabulation of data on all wells within the area of review which penetrate
       into the proposed injection zone, confining zone, or proposed monitoring
       zone.    Such data shall include a description of each well’s type,
       construction, date drilled, location, depth, record of plugging and/or
       completion, and any additional information the Department may require.

    3. Maps and cross sections indicating the general vertical and lateral limits
       within the area of review of all underground sources of drinking water,
       their position relative to the injection formation and the direction of
       water movement, where known, in each underground source of drinking water
       which may be affected by the proposed injection.

    4. Maps and cross sections detailing the hydrology and geologic structures
       of the local area.

    5. Generalized maps and cross sections illustrating the regional geologic
       setting.

    6. Proposed operating data.

       (a) Average and maximum daily rate and volume of the fluid to be injected;

       (b) Average and maximum injection pressure; and,

       (c) Source and an analysis of the chemical, physical, radiological and
           biological characteristics of injection fluids.

    7. Proposed formation testing program to obtain an analysis of the chemical,
       physical and radiological characteristics of and other information on the
       injection zone.

    8. Proposed stimulation program.

    9. Proposed injection procedure.

   10. Engineering drawings of the surface and subsurface construction details
       of the system.




                             APPX ATT_V5_2166
                                                                   DEP Form No:           62-528.900(1)
                                                                 Form Title: Application to Construct/
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                                                                         Operate/Abandon Class I, III,
                                                                             or V Injection Well Systems
                                                                   Effective Date:                     .
                                                                   DEP Application No,:                .
   11. Contingency plans to cope with all shut-ins or well         :$&6BBBBBBBBBBBBBB(Filled in by DEP)
       failures, so as to protect the quality of the waters
       of the State as defined in Rule 62-3 and 62-520, F.A.C., including
       alternate or emergency discharge provisions.

   12. Plans (including maps) and proposed monitoring data to be reported for
       meeting the monitoring requirements in Rule 62-528.425, F.A.C.

   13. For wells within the area of review which penetrate the injection zone
       but are not properly completed or plugged, the corrective action proposed
       to be taken under Rule 62-528.300(5), F.A.C.

   14. Construction procedures including a cementing and casing program, logging
       procedures, deviation checks, proposed methods for isolating drilling
       fluids from surficial aquifers, proposed blowout protection (if
       necessary), and a drilling, testing and coring program.

   15. A certification that the applicant has ensured, through a performance
       bond or other appropriate means, the resources necessary to close, plug
       or abandon the well as required by Rule 62-528.435(9), F.A.C.

 B. CLASS I INJECTION WELL OPERATION PERMIT

    1. A report shall be submitted with each application for a Class I Well
       operating permit, which shall include, but not be limited to, the
       following information:

       (a) Results of the information obtained under the construction permit
           described in A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING
           PERMIT, including:

           (1) All available logging and testing program data and construction
               data on the well or well field;

           (2) A satisfactory demonstration of mechanical integrity for all new
               wells pursuant to Rule 62-528.300(6), F.A.C;

           (3) The actual operating data, including injection pressures versus
               pumping rates where feasible, or the anticipated maximum
               pressure and flow rate at which the permittee will operate, if
               approved by the Department;

           (4) The actual injection procedure;

           (5) The compatibility of injected waste with fluids in the injection
               zone and minerals in both the injection zone and the confining
               zone; and,

           (6) The status of corrective action on defective wells in the area
               of review.

       (b) Record drawings, based upon inspections by the engineer or persons
           under his direct supervision, with all deviations noted;

       (c) Certification of completion submitted by the engineer of record;

       (d) If requested by the Department, operation manual including emergency
           procedures;

       (e) Proposed monitoring program and data to be submitted;


                             APPX ATT_V5_2167
                                                                   DEP Form No:           62-528.900(1)
                                                                 Form Title: Application to Construct/
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                                                                         Operate/Abandon Class I, III,
                                                                             or V Injection Well Systems
                                                                   Effective Date:                     .
                                                                   DEP Application No,:                .
       (f) Proof that the existence of the well has been           :$&6BBBBBBBBBBBBBB(Filled in by DEP)
           recorded on the surveyor’s plan at the county
           courthouse; and,

       (g) Proposed plugging    and   abandonment   plan    pursuant     to       Rule   62-
           528.435(2), F.A.C.

 C. CLASS I WELL OPERATION REPERMITTING

    1. An updated map showing the location of the injection wells or well field
       area for which a permit is sought and the applicable area of review.
       Within the area of review, the map must show the number or name, and
       location of all producing wells, injection wells, abandoned wells, dry
       holes, surface bodies of water, springs, public water systems, mines
       (surface and subsurface), quarries, water wells and other pertinent
       surface features including residences and roads.    The map should also
       show faults, if known or suspected. Only information of pubic record and
       pertinent information known to the applicant is required to be included
       on this map.

    2. A tabulation of data on all wells within the area of review which penetrate
       into the injection zone, confining zone, or monitoring zone. Such data
       shall include a description of each well’s type, construction, date
       drilled, location, depth, record of plugging and/or completion, and any
       additional information the Department may require.

    3. Maps and cross sections indicating the general vertical and lateral limits
       within the area of review of all underground sources of drinking water,
       their position relative to the injection formation and the direction of
       water movement, where known, in each underground source of drinking water
       which may be affected by the injection.

    4. Maps and cross sections detailing the hydrology and geologic structures
       of the local area.

    5. Generalized maps and cross sections illustrating the regional geologic
       setting.

    6. Contingency plans to cope with all shut-ins or well failures, so as to
       protect the quality of the waters of the State as defined in Rule 62-3
       and 62-520, F.A.C., including alternate or emergency discharge
       provisions.

    7. For wells within the area of review which penetrate the injection zone
       but are not properly completed or plugged, the corrective action proposed
       to be taken under Rule 62-528.300(5), F.A.C.

    8. A certification that the applicant has ensured, through a performance
       bond or other appropriate means, the resources necessary to close, plug
       or abandon the well as required by Rule 62-528.435(9), F.A.C.

    9. A report shall be submitted with each application for repermitting of
       Class I Well operation which shall include the following information:

       (a) All available logging and testing program data and construction data
           on the well or well field;




                             APPX ATT_V5_2168
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                                                                        Operate/Abandon Class I, III,
                                                                            or V Injection Well Systems
                                                                  Effective Date:                     .
                                                                  DEP Application No,:                .
                                                                  :$&6BBBBBBBBBBBBBB(Filled in by DEP)

       (b) A satisfactory demonstration of mechanical integrity for all wells
           pursuant to Rule 62-528.300(6), F.A.C.;

       (c) The actual operating data, including injection pressures versus
           pumping rates where feasible, or the anticipated maximum pressure
           and flow rate at which the permittee will operate, if approved by
           the Department;

       (d) The actual injection procedure;

       (e) The compatibility of injected waste with fluids in the injection zone
           and minerals in both the injection zone and the confining zone;

       (f) The status of corrective actin on defective wells in the area of
           review;

       (g) Record drawings, based upon inspections by the engineer or persons
           under his direct supervision, with all deviations noted;

       (h) Certification of completion submitted by the engineer of record;

       (i) An updated operation manual including emergency procedures;

       (j) Proposed revisions to the monitoring program or data to be submitted;
           and,

       (k) Proposed plugging    and   abandonment   plan   pursuant     to       Rule   62-
           528.435(2), F.A.C.

 D. CLASS I WELL PLUGGING AND ABANDONMENT PERMIT

    1. The reasons for abandonment.

    2. A proposed plan for plugging and abandonment describing the preferred and
       alternate methods, and justification for use.

       (a) The type and number of plugs to be used;

       (b) The placement of each plug including the elevation of the top and
           bottom;

       (c) The type and grade and quantity of cement or any other approved
           plugging material to be used; and,

       (d) The method for placement of the plugs.

    3. The procedure to be used to meet the requirements of Rule 62-528.435,
       F.A.C.




                             APPX ATT_V5_2169
                                                                   DEP Form No:           62-528.900(1)
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                                                                         Operate/Abandon Class I, III,
                                                                             or V Injection Well Systems
                                                                   Effective Date:                     .
                                                                   DEP Application No,:                .
                                                                   :$&6BBBBBBBBBBBBBB(Filled in by DEP)

 E. CLASS III WELLS CONSTRUCTION/OPERATION/PLUGGING AND ABANDONMENT PERMIT

 Construction Phase

    1. A map showing the location of the proposed injection wells or well field
       area for which a permit is sought and the applicable area of review.
       Within the area of review, the map must show the number or name, and
       location of all producing wells, injection wells, abandoned wells, dry
       holes, surface bodies of water, springs, public water system, mines
       (surface and subsurface), quarries, water wells and other pertinent
       surface features including residences and roads.    The map should also
       show faults, if known or suspected. Only information of public record
       and pertinent information known to the applicant is required to be
       included on this map.

    2. A tabulation of data on all wells within the area of review which penetrate
       into the proposed injection zone, confining zone, or proposed monitoring
       zone.    Such data shall include a description of each well’s type,
       construction, date drilled, location, depth, record of plugging and/or
       completion, and any additional information the Department may require.

    3. Maps and cross sections indicating the general vertical and lateral limits
       within the area of review of all underground sources of drinking water,
       their position relative to the injection formation and the direction of
       water movement, where known, in each underground source of drinking water
       which may be affected by the proposed injection.

    4. Maps and cross sections detailing the hydrology and geologic structures
       of the local area.

    5. Generalized maps and cross sections illustrating the regional geologic
       setting.

    6. Proposed operating data:

       (a) Average and maximum daily rate and volume of the fluid to be injected;

       (b) Average and maximum injection pressure; and,

       (c) Source and an analysis of the chemical, physical, radiological and
           biological characteristics of injection fluids, including any
           additives.

    7. Proposed formation testing program to obtain an analysis of the chemical,
       physical and radiological characteristics of and other information on the
       injection zone.

    8. Proposed stimulation program.

    9. Proposed injection procedure.

   10. Engineering drawings of the surface and subsurface construction details
       of the system.




                             APPX ATT_V5_2170
                                                                  DEP Form No:           62-528.900(1)
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                                                                        Operate/Abandon Class I, III,
                                                                            or V Injection Well Systems
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   11. Contingency plans to cope with all shut-ins or well failures or
       catastrophic collapse, so as to protect the quality of the waters of the
       State as defined in Rule 62-3 and 62-520, F.A.C., including alternate or
       emergency discharge provisions.

   12. Plans (including maps) and proposed monitoring data to be reported for
       meeting the monitoring requirements in Rule 62-528.425, F.A.C.

   13. For wells within the area of review which penetrate the injection zone
       but are not properly completed or plugged, the corrective action proposed
       to be taken under Rule 62-528.300(5), F.A.C.

   14. Construction procedures including a cementing and casing program, logging
       procedures, deviation checks, proposed methods for isolating drilling
       fluids from surficial aquifers, and a drilling, testing and coring
       program.

   15. A certificate that the applicant has ensured, through a performance bond
       or other appropriate means, the resources necessary to close, plug or
       abandon the well as required by Rule 62-528.435(9), F.A.C.

   16. Expected changes in pressure, native fluid displacement, direction of
       movement of injection fluid.

   17. A proposed monitoring plan, which includes a plan for detecting migration
       of fluids into underground sources of drinking water, a plan to detect
       water quality violation in the monitoring wells, and the proposed
       monitoring data to be submitted.

 Operation Phase

    1. The following information shall be provided to the Department prior to
       granting approval for the operation of the well or well field:

       (a) All available logging and testing program data and construction data
           on the well or well field;

       (b) A satisfactory demonstration of mechanical integrity for all new
           wells pursuant to Rule 62-528.300(6), F.A.C.;

       (c) The actual operating data, including injection pressure versus
           pumping rate where feasible, or the anticipated maximum pressure and
           flow rate at which the permittee will operate, if approved by the
           Department;

       (d) The results of the formation testing program;

       (e) The actual injection procedure; and,

       (f) The status of corrective action on defective wells in the area of
           review.

 Plugging and abandonment Phase

    1. The justification for abandonment.




                             APPX ATT_V5_2171
                                                                   DEP Form No:           62-528.900(1)
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    2. A proposed plan for plugging and abandonment describing the preferred and
       alternate methods.

       (a) The type and number of plugs to be used;

       (b) The placement of each plug including the elevation of the top and
           bottom;

       (c) The type and grade and quantity of cement or any other approved
           plugging material to be used; and,

       (d) The method for placement of the plugs.

    3. The procedure to be used to meet the requirements of Rule 62-528.435,
       F.A.C.

 F. EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT

    1. Conceptual plan of the injection project. Include number of injection
       wells, proposed injection zone, nature and volume of injection fluid, and
       proposed monitoring program.

    2. Preliminary Area of Review Study.     Include the proposed radius of the
       area of review with justification for that radius. Provide a map showing
       the location of the proposed injection well or well field area for which
       a permit is sought and the applicable area of review. Within the area of
       review, the map must show the number or name, and location of all producing
       wells, injection wells, abandoned wells, dry holes, surface bodies of
       water, springs, public water systems, mines (surface and subsurface),
       quarries, water wells and other pertinent surface features including
       residences and roads.     The map should also show faults, if known or
       suspected. Only information of public record and pertinent information
       known to the applicant is required to be included on this map.

    3. Proposed other uses of the exploratory well.

    4. Drilling and testing plan for the exploratory well. The drilling plan
       must specify the proposed drilling program, sampling, coring, and testing
       procedures.

    5. Abandonment Plan.




                             APPX ATT_V5_2172
                                                                  DEP Form No:           62-528.900(1)
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 G. CLASS V WELL CONSTRUCTION PERMIT

 (This form should be used for Class V Wells instead of Form 62-528.900(3),
 F.A.C., when there is a need for a Technical Advisory Committee and an
 engineering report.)

    1. Type and number of proposed Class V Wells:

               Wells Receiving Domestic Waste

               Desalination Process Concentrate Wells (Reverse Osmosis, etc.)

               Aquifer Storage and Recovery Wells

               Aquifer Remediation Wells

               Salt-water Intrusion Barrier Wells

               Cooling Water Return Flow Wells Open-looped System

               Subsidence Control Wells

               $TXLIHU 5HFKDUJH Wells

               Experimental Technology Wells

               Wells used to inject spent brine after halogen recovery

               Radioactive Waste Disposal Wells*

               Borehole Slurry Mining Wells

               Other non-hazardous Industrial or Commercial Disposal Wells

               (explain)

               Other (explain)

       *Provided the concentrations of the waste do not exceed drinking water
        standards contained in Chapter 62-550, F.A.C.

    2. Project Description:

       (a) Description and use of proposed injection system;

       (b) Nature and volume of injected fluid (the Department may require an
           analysis including bacteriological analysis) in accordance with Rule
           62-528.635(2)(b), F.A.C.; and,

       (c) Proposed pretreatment.

    3. Water well contractor’s name, title, state license number, address, phone
       number and signature.




                              APPX ATT_V5_2173
                                                                   DEP Form No:           62-528.900(1)
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    4. Well Design and Construction Details. (For multi-casing configurations
       or unusual construction provisions, an elevation drawing of the proposed
       well should be attached.)

       (a) Proposed total depth;

       (b) Proposed depth and type of casing(s);

       (c) Diameter of well;

       (d) Cement type, depth, thickness; and,

        (e) Injection pumps (if applicable):                          gpm @                                psi

                                    Controls:




    5. Water Supply Wells - When required by Rule 62-528.635(1), F.A.C., attach
       a map section showing the locations of all water supply wells within a
       one-half (1/2) mile radius of the proposed well.    The well depths and
       casing depths should be included. When required by Rule 62-528.635(2),
       F.A.C., results of bacteriological examinations of water from all water
       supply wells within one-half (1/2) mile and drilled to approximate depth
       of proposed well should be attached.

    6. Area of review (When required by Rule 62-528.300(4), F.A.C.)

       Include the proposed radius of the area of review with justification for
       that radius. Provide a map showing the location of the proposed injection
       well or well field area for which a permit is sought and the applicable
       area of review. Within the area of review, the map must show the number
       or name, and location of all producing wells, injection wells, abandoned
       wells, dry holes, surface bodies of water, springs, public water systems,
       mines (surface and subsurface), quarries, water wells and other pertinent
       surface features including residences and roads.     The map should also
       show faults, if known or suspected. Only information of public record
       and pertinent information known to the applicant is required to be
       included on this map.

 H. CLASS V WELL OPERATION PERMIT

 (Final report of the construction that includes the following information may
 be submitted with the application to operate.)

     1. Permit Number of Class V Construction Permit:


     2. Owner’s Name:


     3. Type of Wells:




                               APPX ATT_V5_2174
                                                                      DEP Form No:           62-528.900(1)
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    4. Construction and Testing Summary:

       (a) Actual Dimensions:

        Diameter                       Well Depth                          Casing Depth
                          (inches)                         (feet)                                   (feet)




       (b) Result of Initial Testing

    5. Proposed Operating Data:

       (a) Injection Rate (GPM);

       (b) Description of injected waste; and,

       (c) Injection pressure and pump controls.

    6. Proposed Monitoring Plan (if any):

       (a)   Number of monitoring wells;

       (b)   Depth(s);

       (c)   Parameters;

       (d)   Frequency of sampling; and,

        (e) Instrumentation (if applicable) Flow

                                           Pressure


 I. CLASS V WELLS PLUGGING AND ABANDONMENT PERMIT

    1. Permit number of Class V construction or operating permit.

    2. Type of well.

    3. Proposed plugging procedures, plans and specifications.

    4. Reasons for abandonment.




                               APPX ATT_V5_2175
                                                                   DEP Form No:           62-528.900(1)
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 J. MONITOR WELL PERMIT

 This section should be used only when application is made for a monitor well
 only.   If a monitor well is to be constructed under a Class I, III, or V
 injection well permit, it is not necessary to fill in this section.

    1. A site map showing the location of the proposed monitor wells for which
       a permit is sought. The map must be to scale and show the number or name,
       and location of all producing wells, injection wells, abandoned wells,
       dry holes, water wells and other pertinent surface features including
       structures and roads.

    2. Maps and cross sections indicating the general vertical and lateral limits
       within the area of review of all underground sources of drinking water,
       their position relative to the injection formation and the direction of
       water movement, where known, in each underground source of drinking water
       which may be affected by the proposed injection.

    3. Maps and cross sections detailing the hydrology and geologic structures
       of the local area.

    4. Generalized maps and cross sections illustrating the regional geologic
       setting.

    5. Proposed formation testing program to obtain an anlysis of the chemical,
       physical and radiological characteristics of and other information on the
       monitor zone(s).

    6. Proposed monitoring procedure.

    7. Engineering drawings of the surface and subsurface construction details
       of the monitoring system.

    8. Proposed monitoring data to be reported       for   meeting     the    monitoring
       requirements in Rule 62-528.425, F.A.C.

    9. Construction procedures including a cementing and casing program, logging
       procedures, deviation checks, proposed methods for isolating drilling
       fluids from surficial aquifers, proposed blowout protection (if
       necessary), and a drilling, testing and coring program

   10. Monitor Well Information:

           On-site        Multizone        Single-zone

            Regional       Other (specify)

        Proposed Monitoring Interval(s)

        Distance and Direction From Associated Injection Well




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 2.0 Class V Exploratory Well Construction Permit Supporting
     Data
 (Responses to Part F of Form 62-528.900(1))
 The following addresses the information specifically required in FDEP UIC permit application (FDEP Form
 62-528.900(1)), page 10, Section F “EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT”. The
 permit application required information is shown in bold type followed by the supporting technical
 information.

 F. EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT
 1. Conceptual plan of the injection project. Include number of injection wells, proposed injection zone,
    nature and volume of injection fluid, and proposed monitoring program.

 Injection Well Hydraulic Design Criteria

 The proposed Exploratory Injection Well (IW-1) has been designed for the injection of pre-treated, non-
 hazardous industrial wastewater from the Mosaic Fertilizer, LLC (Mosaic) New Wales facility’s (Facility)
 (FDEP Wastewater Permits FL0036421 and FL0178527) phosphogypsum stack system (gypstack), the
 phreatic water collected by the gypstack underdrain system, recovery well water, and associated pre-
 treated process water(s). The phreatic water, or gypsum stack pore water, collected in the underdrain
 system is not considered a separate waste stream and is characteristically similar to ponded process
 water. The water collected in the underdrain system is returned to the gypstack and will be comingled
 with the process water that will go through pre-treatment. The Facility recovers water from a number of
 recovery wells to capture constituents and contain impacts onsite. Recovery well volumes, when
 operational, range from 3,800 gpm to 4,200 gpm. The constituent of concern in the recovered volumes
 is total dissolved solids. The concentration of other constituents in the recovery wells are below the limits
 of EPA’s primary and secondary drinking water standards.

 During construction of Well IW-1, the local hydrogeology will be investigated to confirm the properties of
 the target injection zone (Upper Cretaceous Permeable Zone [UCPZ]) as compatible for injection of pre-
 treated wastewater from the Facility. The location of the Facility is shown in Exhibit 1. The proposed
 locations for Exploratory Well IW-1 at the Facility is shown in Exhibit 2.

 As shown in Exhibit 3, the injection well will be constructed with a 20-inch outside diameter (OD), 0.500-
 inch wall, final seamless steel casing. A nominal 10.72-inch inside diameter (ID) RedBox 1250 FRP injection
 tubing with a packer assembly will be installed and cemented inside the 20-inch OD final seamless steel
 casing. In accordance with fluid velocity limitations for the injection well, the design injection capacity is
 approximately 2,775 gallons per minute (gpm) (or 4.00 Million Gallons per Day [MGD]) at 10 feet per
 second (ft/sec). The proposed injection well system will include a dual-zone monitoring well (DZMW-1)
 for continuous monitoring of the hydraulic head and water quality within two completed monitoring
 zones, above and below the underground source of drinking water (USDW).

 Following construction and provided the testing of IW-1 and DZMW-1 is favorable, Mosaic expects to seek
 to re-classify the exploratory well to a UIC Class I industrial injection well for operational testing. The Class
 I well will facilitate long-term water management strategies, through site closure. In the event of a well



 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                                2-1

                                            APPX ATT_V5_2178
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 Mosaic Fertilizer, LLC | Mosaic New Wales Facility Exploratory Well IW-1


 shut-in, the Facility will maintain permitted options for managing wastewater using a Reverse Osmosis
 system, transferring to another Mosaic facility, storing wastewater within the gypstack system, or other
 permitted treatment and disposal options, until the UIC can be resumed.

 As shown in Exhibit 3, IW-1 is designed as a multi-stage cased well with a total depth (TD) of approximately
 5,250 feet below land surface (bls). IW-1 will be constructed with five telescoped steel casings (diameters
 60-inch, 50-inch, 40-inch, 30-inch, and 20-inch) installed to isolate individual groundwater production
 zones as the well is drilled to depth, as shown in Exhibit 4. All steel casings installed during construction
 of the well will be cemented to land surface with type II or 1L cement. The final casing depth is estimated
 to be 4,110 feet bls. The well is planned to be drilled to TD estimated at 5,250 feet bls and completed with
 an open hole injection zone in the Upper Cretaceous Permeable Zone (UCPZ) of the Cedar Keys Formation
 and the underlying Lawson Limestone. Mosaic will confer with FDEP about potential changes to the
 injection zone based on findings through exploratory drilling.

 The base of the USDW (groundwater having a total dissolved solids concentration of less than 10,000
 milligrams per liter [mg/L]) was identified approximately 6 miles to the southeast at a depth of 2,950 feet
 bls at the Tampa Electric Company (TECO) Polk Power Station Well IW-1 (MWH, 2013) as shown on Exhibit
 16B. In addition, the USDW was identified at a depth of 2,794 feet bls approximately 6 miles north at the
 KC Industries Well IW-1 (FDEP, 2019) also shown on Exhibit 16B. Additionally, Exhibit 16C estimates the
 base of the USDW at the Facility at approximately 2,730 feet bls. Based on this information and
 hydrogeological data obtained from other nearby wells, it is anticipated that the base of the USDW may
 occur at approximately 2,800 feet bls. The 30-inch OD intermediate carbon steel casing and 20-inch OD
 final seamless steel casing for Well IW-1 is designed to extend below the base of the USDW and will be
 adjusted to accommodate geological findings as the well is constructed.

 During well construction cementing activities, and subject to the Department’s approval, Mosaic may use
 an American Society for Testing and Materials (ASTM) C595M-21PLC/Type 1L cement with up to 6%
 bentonite or higher, by weight. Type II or IL neat cement will be used to cement the 60-inch, 50-inch, and
 40-inch OD carbon steel casings from their bases back up to ground surface. Type II or IL neat cement will
 be used to cement the 30-inch and 20-inch OD casings and the 10.72-inch ID RedBox 1250 FRP injection
 tubing from their bases in the casing-to-formation intervals and below the USDW. Type II or IL cement
 with up to 6% bentonite by weight may be used to cement the casing-inside-casing intervals above the
 USDW to ground surface for the 30-inch and 20-inch OD casings and the 10.72-inch ID RedBox 1250 FRP
 injection tubing.

 Since Well IW-1 is designed to meet the construction requirements for an industrial injection well, Mosaic
 will install a packer assembly to isolate the nominal 10.72-inch ID RedBox 1250 FRP injection tubing within
 the 20-inch OD final seamless steel casing. The annulus between the 20-inch OD final seamless steel casing
 and the nominal 10.72-inch ID RedBox 1250 FRP injection tubing will be cemented back to ground surface.

 Well IW-1 will be drilled as a UIC Class V Exploratory Well (Class V, Group 9) to evaluate the injection
 potential of the UCPZ of the Cedar Keys Formation and the underlying Lawson Limestone. Mosaic intends
 to apply for re-classification (UIC Class I) following drilling and well construction in order to continue with
 operational injection testing as part of the long term water management strategy.




 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                              2-2

                                            APPX ATT_V5_2179
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 Dual-Zone Monitor Well (DZMW-1) Design (In Anticipation of Future Class I Permit)

 Following the successful re-classification of Well IW-1 from a Class V Exploratory Well Permit to a Class I
 Industrial Injection Well Construction and Testing Permit to allow for operational testing, a dual-zone
 monitoring well (DZMW-1) will be constructed for continuous monitoring of the hydraulic head within
 two isolated monitoring zones (Upper Monitoring Zone [UMZ] and Lower Monitoring Zone [LMZ]). The
 UMZ will be located above the base of the USDW and the LMZ will be located just above the principal
 confining strata and below the base of the USDW, based on local ambient water quality conditions. Well
 DZMW-1 will also be used for collection of groundwater samples for laboratory analysis during injection
 well operation. As shown on Exhibit 3, the UMZ is anticipated to be constructed to a depth approximately
 2,000 feet to 2,100 feet bls and the LMZ from approximately 2,920 feet to 3,020 feet bls. The exact
 monitoring intervals will be confirmed during the construction of IW-1. Following interval testing during
 the drilling of Well DZMW-1, groundwater quality will be evaluated, and the results provided to FDEP for
 final monitoring interval selection and approval.

 Well DZMW-1 will be designed with pumps and piping to facilitate purging and collection of groundwater
 samples produced from the monitoring zones for disposal in the injection well or to the pre-treatment
 pump station for disposal in the injection well. The final design will be contingent upon the results of IW-
 1 and DZMW-1 drilling and testing.

 Permit-specified groundwater quality analyses and hydraulic head measurements (elevation in feet) will
 be conducted in both monitoring zones (upper and lower) of Well DZMW-1. Upon FDEP’s approval to
 commence operational testing, the collected data will be electronically measured and recorded for
 submittal, including the monthly operating reports for Well DZMW-1.

 Shallow Pad Monitoring Well Design (For Monitoring During Construction)

 Four (4) shallow pad monitoring wells (PMWs) are proposed, which will surround Well IW-1, for Surficial
 Aquifer System (SAS) water level and water quality monitoring as shown in Exhibit 2A and 2B. The
 locations of these shallow PMWs will be submitted to FDEP for approval prior to their installation and
 initiation of installation activities. Construction details of the PMWs are detailed in Exhibit 5.

 Proposed Instrumentation and Control (For Future Class I Permit)

 A preliminary wellhead drawing for Wells IW-1 and DZMW-1 is provided in Exhibit 6. The preliminary
 process flow diagram that shows the interrelationship of the well, pumping station, and monitoring and
 control instrumentation will be provided with the UIC Class I Well Construction Permit Application
 submittal at a later date.

 Proposed Monitoring for Operational Testing (For Future Class I Permit)

 Following the construction and testing of Well IW-1, Mosaic expects to seek to re-classify the injection
 well system as a UIC Class I industrial injection well for operational testing. Once in service, a monitoring
 program will commence which will include the required operational data and water quality sampling per
 the Class I well construction permit.

 The Facility wastewater will undergo pre-treatment, including to adjust the water chemistry for
 compatibility with the subsurface formations. As required for the Class I re-classification, an initial waste
 stream analysis of the treated process water will be collected for the following water quality parameters
 prior to operation:


 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                            2-3

                                            APPX ATT_V5_2180
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 Exhibit 8 and Exhibits 10A through 10I are aerial maps showing the potential well siting area, the Facility
 (with the AOR), major roads and surface water bodies. The proposed Well IW-1 site has a land surface
 elevation of approximately 160 to 161 feet above the North American Vertical Datum of 1988 (NAVD 88)
 (ArcGIS, 2020), as shown in Exhibit 1. The Facility is located in a rural area and is approximately 22 miles
 inland from seawater (i.e., Tampa Bay).

 Over several decades, Mosaic has performed detailed investigations to locate all wells that extended
 through and below the SAS in the vicinity of the New Wales plant. As these wells were removed from
 service they were plugged and abandoned in accordance with State standards per Chapter 40D-3, Florida
 Statutes. For the purpose of this application, a comprehensive investigation including a review of multiple
 public databases was completed in February 2024. A total of 1,457 wells were identified within the AOR
 (which fully lies within the Mosaic property line) from the collection of well permits within the public
 domain databases from the United States Geological Survey (USGS), Florida Geological Survey (FGS)
 Bureau of Mining and Minerals, Florida Department of Environmental Protection (FDEP), South Florida
 Water Management District (SFWMD) and Southwest Florida Water Management District (SWFWMD), of
 which 1,428 wells are owned by Mosaic. These records were reviewed to assess the integrity of the
 confining units within the AOR. Many of the wells are represented in multiple databases, or even within
 the same database as both construction and abandonment permits for the same well. Exhibit 9 provides
 a tabulation of wells found within the AOR; the wells are indexed and presented on the aerial maps shown
 in Exhibits 10A through 10I. It should be noted that some of the wells in the inventory may be duplicated
 due to the nature of extracting data from numerous databases and therefore, Exhibit 9 provides a total
 tabulation of wells from each database. Exhibits are outlined as follows:

         Exhibits 9: Tabulation of Wells Found within the AOR;
         Exhibit 10A: FGS Database Wells within the AOR;
         Exhibit 10B: USGS Database Wells within the AOR;
         Exhibit 10C: SFWMD and SWFWMD Database Wells within the AOR;
         Exhibit 10D: FDEP Database UIC Monitoring Wells within the AOR;
         Exhibit 10E: FDEP Database UIC Class V Non-ASR Wells within AOR;
         Exhibit 10F: FDEP Database UIC Class V ASR Wells within AOR;
         Exhibit 10G: FDEP Database UIC Class I Wells within the AOR;
         Exhibit 10H: FDEP Permitted Oil and Gas Database Wells within the AOR;
         Exhibit 10I: Mosaic Wells Inventory within the AOR;
 There are no wells known to be improperly abandoned and none of the well construction permits
 identified within the AOR indicate penetration depths within an order of magnitude of the proposed
 injection or deep confining zones. The deepest well in the AOR belongs to Mosaic and was identified with
 the well ID of 038 with a total depth of 4,250 feet bls; according to the FDEP Class V Non-ASR database,
 the well has been properly plugged and abandoned. Therefore, no wells penetrate the depths of the
 proposed UMZ (2,000 feet to 2,100 feet bls), the LMZ (2,920 feet to 3,020 feet bls) or injection zone
 (beginning at approximately 4,110 feet bls). Table 2-3 and Table 2-4 summarize the wells in the AOR and
 are separated by agency database, well type, and maximum depth.




 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                           2-5

                                            APPX ATT_V5_2182
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 These wells vary in total depth from 315 feet to 814 feet. The deepest documented well is owned and
 operated by Mosaic and is located within the boundary of the Facility. Based on the location and depths
 of these wells, they are not expected to be affected by the operation of the proposed IW system.

 USGS Well Inventory

 In the USGS database, shown in Exhibit 10B, 20 wells are documented within the AOR for this well survey.
 The 20 wells identified in the AOR were classified as inactive groundwater monitoring wells.

 The wells identified in the USGS inventory range from 15 feet to 948 feet bls with the deepest well located
 within the boundary of the Facility. Based on the location and depth of these wells, they are not expected
 to be affected by the operation of the proposed IW System.

 SWFWMD/SFWMD Well Permit Inventory

 A total of 1,409 wells were identified within the AOR in the SWFWMD/SFWMD wells inventory, shown in
 Exhibit 10C, of which there are 4 wells highlighted in red and shown in Exhibit 9, that are not denominated
 as being on Mosaic’s property and are therefore mislocated in the SWFWMD database. Excluding these
 wells, the 1,409 wells identified in the AOR were classified as follows:

         1 Aquifer Performance Test
         468 Dewatering
         Ɣ 15 of these are Proposed Well Construction Permits (WCP) Wells
         7 Domestic
         2 Essential Services (Fire Protection)
         5 Industrial
         Ɣ 1 of these is Proposed WCP Well
         2 Irrigation
         5 Mining
         313 Monitor
         Ɣ 213 of these are Proposed WCP Wells
         394 Plugged
         Ɣ 335 of these are Proposed WCP Wells
         2 Public Supply
         1 Repair or Deepen (use not specified)
         7 Sealing water
         196 Test
         Ɣ 181 of these are Proposed WCP Wells
         6 Unknown




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 3. Proposed other uses of the exploratory well.

 Well IW-1 is expected ultimately be completed to meet the (F.A.C.) Rule 62-528 Class I Industrial injection
 well design, operation, and monitoring criteria. Following completion of IW-1 construction and testing,
 Mosaic expects to seek approval to convert to a Class I Industrial injection well, and will provide, as
 appropriate, any additional technical data, revised plugging and abandonment cost estimates, and
 financial assurance to support the change. The purpose of Well IW-1 is to obtain site specific geology,
 water quality and confinement characteristics to determine the ideal interval for the injection of pre-
 treated, non-hazardous process water.

 4. Drilling and testing plan for the exploratory well. The drilling plan must identify the proposed
    drilling program, sampling, coring, and testing procedures.

 The following section provides an overview of the construction program for the Well IW-1, and associated
 PMWs. The drilling and testing program for the Well IW-1, and associated PMWs will include information
 on cementing and casing programs, geophysical logging schedule, lithologic sampling, coring, packer
 testing, injection testing, and other hydrogeologic data collection procedures. These activities are detailed
 in Exhibit 11A. Pilot holes throughout the construction sequence shown below will be used to verify and
 validate the application information obtained from maps and cross-sections detailing the local area's
 hydrology and geologic structures. Information from the pilot holes will be then used to adjust casing set
 depths and design the well accordingly.

 As shown in Exhibit 11A and 11B, during all pilot holes for the construction of Wells IW-1 and DZMW-1,
 lithologic samples will be collected every 10 feet. Additionally, mechanical deviation surveys will be
 collected at 90-foot intervals. Once construction switches from direct mud rotary drilling to reverse air
 drilling method, reverse air water quality samples will be collected at 45-foot intervals. Geophysical
 logging will be completed at the completion of every pilot hole and reamed hole. For hydrogeological
 testing and analysis above and below the base of the USDW, a 12.25-inch diameter pilot-hole will be
 drilled in multiple stages and tested to an estimated depth of approximately 5,250 feet bls. Core sampling
 and packer testing at Wells IW-1 and DZMW-1 will be conducted to evaluate the subsurface hydrogeology.
 This information will provide data to properly design Well IW-1 regarding the final casing seat depths and
 total borehole depth along with the associated Well DZMW-1 monitoring zones.

 A steel (or equivalent as approved by the FDEP) fluid containment pad beneath the drill rig and rig
 substructure with secondary containment beneath mud tanks, mud pumps and fuel tanks will be built
 prior to commencing drilling at the Well IW-1 location to contain drilling fluids and to prevent water
 quality impacts to the SAS. Additionally, a National Environmental Laboratory Accreditation Program
 (NELAP) certified laboratory will be available to sample and analyze (in accordance with FDEP Standard
 Operating Procedures [SOPs]) the PMWs throughout construction and testing to confirm no water quality
 impacts to the SAS.

 The proposed work sequence for the mobilization and site preparation will be as follows:

     1.    Install temporary water, sewer, electrical, wireless internet, and cell phone services.

     2.    Conduct a pre-construction video survey of the site to document existing site conditions.

     3.    Perform site preparation: clearing, grubbing, stripping and debris removal. Remove and dispose
           of non-hazardous debris and build up soil sub-base for drilling pad.



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     4.    Drill a pilot hole to confirm the base of the surficial aquifer. The casing seat depth of the 60-inch
           OD (wall thickness to be determined) pit carbon steel casing will terminate in the confining unit
           (Intermediate Confining Unit) for isolation of the Surficial Aquifer and stabilize shallow
           unconsolidated sediments for drilling operations. The casing seat depth will be determined by
           the Contractor and reviewed and approved by the Project Geologist/Engineer prior to its
           installation. Excavate fill materials and install a 60-inch OD (wall thickness to be determined) pit
           carbon steel casing to the depth required for the drilling system; the Project Geologist/Engineer
           will oversee the installation of the pit casing. The final floor elevation within the pit casing will
           accommodate the installation of a rotating head or other sealing mechanisms to control fluids
           during drilling. Excavated materials shall be stockpiled onsite.

     5.    Construct a temporary fabricated steel (or equal) fluid containment pad.

     6.    Install, develop, and sample four 4-inch diameter polyvinyl chloride (PVC) shallow PMWs at
           approved locations, as required by the FDEP. PMW locations are shown in Exhibit 2 and PMW
           construction details are show in Exhibit 5. NELAP certified laboratory will be utilized to conduct
           analyses on background samples collected at the PMWs.

     7.    Mobilize drilling and other required materials and equipment required for construction.

 The sequential description of construction, well drilling and testing activities associated with IW-1 is
 shown below. Exhibit 11A provides a summary of testing to be conducted while drilling Exploratory Well
 IW-1.

     1.    Drill a pilot hole with a 12.25-inch diameter bit to approximately 550 feet bls using the direct
           mud-rotary method. Record mechanical deviation surveys and collect rock formation samples in
           accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     2.    Conduct geophysical logging [Caliper (CAL), natural gamma-ray (NGR), spontaneous potential
           (SP), dual-induction (DIL), borehole compensated sonic w/ variable density log (BHCS/VDL) and
           Acoustic Borehole Imager (ABI)] in accordance with Exhibit 11A – Summary of Testing for
           Exploratory Well IW-1.

     3.    Ream the pilot hole to a nominal 60-inch diameter borehole to approximately 515 feet bls using
           the direct mud-rotary method. Record mechanical deviation surveys at intervals in accordance
           with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     4.    Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11A – Summary of Testing
           for Exploratory Well IW-1.

     5.    Install the 50-inch OD surface carbon steel casing to approximately 510 feet bls in accordance
           with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction
           Details, and cement to surface. Conduct geophysical logging [Temperature (TEMP) and NGR]
           after each cement stage in accordance with Exhibit 11A – Summary of Testing for Exploratory
           Well IW-1 to confirm top of cement in conjunction with measurement from tremie pipe hard
           tags.

     6.    Install the artesian flow control device, to control flow at the artesian head pressures within the
           Floridan Aquifer System during reverse-air circulation drilling.



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     7.    Drill out cement plug and drill a pilot hole centered at the bottom of the 50-inch OD surface
           carbon steel casing with a 12.25-inch diameter bit to approximately 1,400 feet bls using the
           reverse-air circulation method. Record mechanical deviation surveys, collect rock formation and
           water quality samples in accordance with Exhibit 11A – Summary of Testing for Exploratory Well
           IW-1.

     8.    Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, color video survey (TV)
           or Optical Borehole Imager (OBI) or ABI, TEMP, fluid resistivity (FR) and flowmeter (FM); Dynamic
           logs: TEMP, FR and FM) on the pilot hole in accordance to Exhibit 11A – Summary of Testing for
           Exploratory Well IW-1.

     9.    Conduct up to two (2) packer tests at depths in accordance with Exhibit 11A – Summary of
           Testing for Exploratory Well IW-1.

     10. Back-plug the pilot hole with cement to the base of the 50-inch OD surface carbon steel casing.

     11. Ream the pilot hole to a nominal 50-inch diameter borehole to approximately 1,355 feet bls using
         the reverse-air circulation method. Record mechanical deviation surveys at intervals in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     12. Conduct geophysical logging (CAL and NGR) in the reamed hole in accordance with Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     13. Install the 40-inch OD intermediate carbon steel casing to approximately 1,350 feet bls in
         accordance with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1
         Construction Details and cement to surface. After each cement stage, perform static TEMP and
         NGR logs in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1 to
         confirm the top of cement in conjunction with measurement from tremie pipe hard tags.

     14. Drill out cement plug and drill a pilot hole centered at the bottom of the 40-inch OD intermediate
         carbon steel casing with a 12.25-inch bit to approximately 3,100 feet bls using the reverse-air
         circulation method. Record mechanical deviation surveys, collect rock formation and water
         quality samples in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     15. During drilling of the pilot hole collect up to four (4) cores at depths selected in accordance with
         Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     16. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     17. Conduct up to four (4) packer tests at depths in accordance with Exhibit 11A – Summary of
         Testing for Exploratory Well IW-1.

     18. Back-plug the pilot hole with cement to the base of the 40-inch OD intermediate carbon steel
         casing.

     19. Ream the pilot hole to a nominal 40-inch diameter borehole to approximately 3,005 feet bls using
         the reverse-air circulation method. Record mechanical deviation surveys at intervals in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.


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     20. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11A – Summary of Testing
         for Exploratory Well IW-1.

     21. Install the 30-inch OD intermediate carbon steel casing to approximately 3,000 feet bls in
         accordance with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1
         Construction Details and cement to surface. After each cement stage, perform static TEMP and
         NGR logs in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1 to
         confirm the top of cement in conjunction with measurement from tremie pipe hard tags.

     22. Drill out cement plug and drill a pilot hole centered at the bottom of the 30-inch OD intermediate
         carbon steel casing with a 12.25-inch bit to 5,250 feet bls using the reverse-air circulation
         method. Record mechanical deviation surveys, collect rock formation, and water quality samples
         in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     23. During drilling of the pilot hole collect up to eight (8) cores at depths in accordance with Exhibit
         11A – Summary of Testing for Exploratory Well IW-1.

     24. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     25. Conduct up to four (4) packer tests at depths in accordance with Exhibit 11A – Summary of
         Testing for Exploratory Well IW-1.

     26. Install drillable bridge plug at a depth of ±4,130 feet bls.

     27. Back-plug the pilot hole with cement to the base of the 30-inch OD intermediate carbon steel
         casing.

     28. Ream the pilot hole to a nominal 30-inch diameter borehole to approximately 4,115 feet bls using
         the reverse-air circulation method. Record mechanical deviation surveys at intervals in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     29. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11A – Summary of Testing
         for Exploratory Well IW-1.

     30. Install the 20-inch OD final seamless steel casing to approximately 4,110 feet bls in accordance
         with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction
         Details and conduct a standard cement bond log on the casing, before cementing, in accordance
         with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     31. Cement the 20-inch OD final seamless steel casing from the bottom of the casing to ± 300 feet
         bls. After each cement stage, perform static TEMP and NGR logs to confirm the top of cement in
         conjunction with measurement from tremie pipe hard tags in accordance with Exhibit 11A -
         Summary of Testing for Exploratory Well IW-1. Logging may be waived if poor fill-up is
         encountered.

     32. Conduct a standard cement bond log following completion of cementing of the 20-inch OD final
         seamless steel casing to within 300 feet of land surface in accordance with Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.


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     33. Cement the final ±300 feet of the 20-inch OD final seamless steel casing.

     34. Conduct casing pressure test of the 20-inch OD final seamless steel casing in accordance with
         Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     35. Drill out cement plug at the base the 20-inch OD final seamless steel casing and ream the pilot
         hole to a nominal 20-inch diameter borehole to approximately 5,250 feet bls using the reverse-
         air circulation method. Record mechanical deviation surveys at intervals in accordance with
         Exhibit 11A - Summary of Testing for Exploratory Well IW-1.

     36. Conduct geophysical logging (CAL, NGR, TV) in accordance to Exhibit 18A - Summary of Testing
         for Exploratory Well IW-1.

     37. Install the 10.72-inch ID Red Box 1250 FRP tubing (or approved equal) and cementing packer to
         approximately 4,100 feet bls with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well
         DZMW-1 Construction Details and conduct a standard cement bond log on the casing, before
         cementing, in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     38. Cement the 10.72-inch ID Red Box 1250 FRP injection tubing from the bottom of the tubing to ±
         300 feet bls. After each cement stage, perform static TEMP and NGR logs to confirm the top of
         cement in conjunction with measurement from tremie pipe hard tags in accordance with Exhibit
         11A - Summary of Testing for Exploratory Well IW-1. Logging may be waived if poor fill-up is
         encountered.

     39. Conduct a standard cement bond log following completion of cementing of the 10.72-inch ID Red
         Box 1250 FRP injection tubing to within 300 feet of land surface in accordance with Exhibit 11A
         – Summary of Testing for Exploratory Well IW-1.

     40. Cement the final ±300 feet of the 10.72-inch ID Red Box 1250 FRP injection tubing.

     41. Conduct casing pressure test the 10.72-inch ID Red Box 1250 FRP injection tubing in accordance
         with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     42. Develop the well (injection zone). Dispose of produced settled water in the discharge location at
         the Facility approved by the engineer of record (EOR). Purge well in accordance with FDEP SOP
         protocol.

     43. In accordance with FDEP SOP protocol, upon completion of development, collect background
         groundwater samples from the injection zone and submit them to a NELAP-Certified laboratory
         for analysis of Primary and Secondary Drinking Water Standards (Note: asbestos, Dioxin,
         butachlor, acrylamide, and epichlorohydrine will be sampled for only for the background
         groundwater samples) and Industrial Wastewater Indicator Parameters for Groundwater
         Monitoring.

     44. Complete installation of wellhead fittings and valves in accordance with Exhibit 6 – Exploratory
         Well IW-1 and Dual-Zone Monitor Well Wellhead Completion Details.

     45. Prepare for remaining mechanical integrity testing and furnish and install temporary piping,
         pumps, and valves to deliver clean and clear water for conducting a color video survey for the




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           final inspection of the 10.72-inch ID Red Box 1250 FRP injection tubing and open hole in
           accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     46. An injection test shall be conducted upon re-classifying the well for operation as a Class I
         Industrial Injection Well. Once re-classified, FDEP will be notified of injection testing and
         conducting external mechanical integrity testing with geophysical logging (NGR, high-resolution
         temperature [HRT] log and a radioactive tracer survey [RTS]) in accordance with Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     47. Install temporary barriers and final concrete pad. Plug and abandon temporary shallow
         monitoring wells.

     48. Clean and restore disturbed areas around the drilling site.

 The following provides a description of the construction, well drilling, and testing activities associated with
 the construction of DZMW-1, which will be permitted through the future Class I Construction Permit
 Application. Exhibit 11B provides a Summary of Testing to be conducted during construction activities.
 The final design of DZMW-1 will be contingent upon the results of IW-1 drilling and testing.

     1.    Drill a pilot hole to confirm the base of the surficial aquifer. The casing seat depth of the 34-inch
           OD (wall thickness to be determined) pit carbon steel casing will terminate in the confining unit
           (Intermediate Confining Unit) for isolation of the Surficial Aquifer and stabilize shallow
           unconsolidated sediments for drilling operations. The casing seat depth will be determined by
           the Contractor and reviewed and approved by the Project Geologist/Engineer prior to its
           installation. Excavate fill materials and install a 34-inch OD (wall thickness to be determined) pit
           carbon steel casing to the depth required for the drilling system; the Project Geologist/Engineer
           will oversee the installation of the pit casing. The final floor elevation within the pit casing will
           accommodate the installation of a rotating head or other sealing mechanisms to control fluids
           during drilling. Excavated materials shall be stockpiled onsite.

     2.    Construct a temporary fabricated steel (or equal) fluid containment pad.

     3.    Install four (4) 4-inch diameter PVC shallow PMWs at locations approved by the FDEP. PMW
           locations are shown in Exhibit 2 Proposed Exploratory Well, Dual-Zone Monitoring Well and
           Pad Monitoring Well Locations and PMW construction details are show in Exhibit 5 – Pad
           Monitoring Well Design. A NELAP certified laboratory will be utilized to conduct analyses on
           background samples collected at the PMWs.

     4.    Mobilize and set up drilling equipment at the MW site.

     5.    Drill a nominal 12.25-inch diameter pilot hole using standard mud-rotary drilling methods to
           approximately 550 feet bls, record mechanical deviation surveys and collect rock formation
           samples at intervals in accordance with Exhibit 11B – Summary of Testing for Dual-Zone Monitor
           Well DZMW-1.

     6.    Conduct geophysical logging in accordance with Exhibit 11B – Summary of Testing for Dual-Zone
           Monitor Well DZMW-1 (CAL, NGR, SP, DIL, BHCS w/ VDL and ABI).




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     7.    Ream pilot hole to nominal 34-inch diameter borehole using the direct mud-rotary method to
           approximately 515 feet bls and record mechanical deviation surveys at intervals in accordance
           with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     8.    Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11B – Summary of Testing
           for Dual-Zone Monitor Well DZMW-1.

     9.    Install the 24-inch OD surface carbon steel casing (0.500-inch wall) to approximately 510 feet bls
           in accordance with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1
           Construction Details, and cement to surface. Conduct geophysical logging [Temperature (TEMP)
           and NGR] after each cement stage in accordance with Exhibit 11B – Summary of Testing for Dual-
           Zone Monitor Well DZMW-1 to confirm top of cement in conjunction with measurement from
           tremie pipe hard tags.

     10. Install the artesian flow control device, to control flow at the artesian head pressures within the
         Floridan Aquifer System during reverse-air circulation drilling.

     11. Drill out cement plug and drill a nominal 12.25-inch diameter hole centered at the bottom of the
         24-inch OD casing to approximately 2,100 feet bls using the reverse-air circulation method.
         Record mechanical deviation surveys, collect rock/water formation samples, and analyze air-
         lifted water samples during reverse-air drilling in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1.

     12. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     13. Conduct up to two (2) packer tests at depths in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1. Collect and analyze (NELAP-Certified laboratory)
         groundwater samples during packer testing to confirm the water quality of the UMZ.

     14. Install drillable bridge plug at a depth of ±2,015 feet bls.

     15. Back-plug the pilot hole with cement to the base of the 24-inch OD surface carbon steel casing.

     16. Ream pilot hole to nominal 24-inch diameter borehole using the direct mud-rotary method to
         approximately 2,005 feet bls and record mechanical deviation surveys at intervals in accordance
         with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     17. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11B – Summary of Testing
         for Dual-Zone Monitor Well DZMW-1.

     18. Install the 16-inch OD final seamless steel casing to approximately 2,000 feet bls in accordance
         with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction
         Details and cement to surface. After each cement stage, perform static TEMP and NGR logs in
         accordance with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1 to
         confirm the top of cement in conjunction with measurement from tremie pipe hard tags.

     19. Drill out cement plug and drill a nominal 12.25-inch diameter hole centered at the bottom of the
         16-inch OD final seamless steel casing to approximately 3,020 feet bls using the reverse-air


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           circulation method. Record mechanical deviation surveys, collect rock/water formation samples,
           and analyze air-lifted water samples during reverse-air drilling in accordance with Exhibit 11B –
           Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     20. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     21. Conduct up to two (2) packer tests at depths in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1. Collect and analyze (NELAP-Certified laboratory)
         groundwater samples during packer testing to confirm the water quality of the LMZ.

     22. Install the 6.21-inch ID Red Box 1250 FRP tubing (or approved equal) with attached external
         cementing packer to approximately 2,920 feet bls in accordance with Exhibit 3 – Exploratory
         Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction Details. and conduct a standard
         cement bond log on the casing, before cementing, in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1.

     23. Cement approximately 820 feet of the bottom 6.21-inch ID Red Box 1250 FRP tubing, from
         approximately 2,920 feet to 2,100 feet bls. After each cement stage, perform static TEMP and
         NGR logs in accordance with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well
         DZMW-1 to confirm the top of cement in conjunction with measurement from tremie pipe hard
         tags.

     24. Conduct CBL once cementing is complete in accordance with Exhibit 11B – Summary of Testing
         for Dual-Zone Monitor Well DZMW-1

     25. Install temporary wellhead appurtenances, and after the cement has cured, perform casing
         pressure test on the 6.21-inch ID FRP tubing using an inflatable down-hole packer in accordance
         with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1

     26. Develop both monitoring zones in accordance with Exhibit 11B – Summary of Testing for Dual-
         Zone Monitor Well DZMW-1, following FDEP SOP protocol. Upon completion of development,
         collect a groundwater sample from each completed monitoring zone and submit them to a
         NELAP-Certified laboratory for analysis of Primary and Secondary Drinking Water Standards
         (Note: asbestos, Dioxin, butachlor, acrylamide, and epichlorohydrine will be sampled for only for
         the background groundwater samples) and Industrial Wastewater Indicator Parameters for
         Groundwater Monitoring.

     27. Perform final inspection of 6.21-inch ID FRP tubing by running a CAL log (open-hole only) and TV
         survey while flowing or pumping the 6.21-inch ID FRP tubing in accordance with Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1. Discharge produced settled water
         to discharge location at the Facility approved by the EOR.

     28. Install temporary wellhead assembly and appurtenances in accordance with Exhibit 5 –
         Temporary Wellhead Drawings.

     29. Install temporary pressure transducer in each monitoring zone (UMZ and LMZ) for measurement
         of artesian head (elevation) during pre-injection test background period, injection testing, and
         recovery periods (pending FDEP approval).


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 5. Abandonment plan.

 This Plugging and Abandonment (P&A) plan outlines the procedures and estimated cost for P&A for Well
 IW-1, which is expected to be converted into Injection Well IW-1, and for the Dual-Zone Monitor Well
 DZMW-1 located at the Facility. Well IW-1 will have an approximate depth of 5,250 feet bls, while Well
 DZMW-1 will have an approximate depth of 3,020 feet bls. If the injection well system is abandoned, the
 injection zone and monitoring zones must be effectively plugged and sealed to prevent the upward
 migration of fluid from the injection zone and/or an interchange of formation water between aquifers.
 The P&A opinion of estimated costs is provided in Exhibit 12A, and the Abandonment Details are provided
 in Exhibit 12B.

 This P&A plan describes a procedure for plugging and sealing Well IW-1 and both monitoring zones of
 Well DZMW-1 using gravel and cement. Gravel will be used to fill in the injection zone up to 10 feet below
 the base of the FRP tubing. The 10.72-inch ID FRP injection tubing will then be plugged with cement from
 above the gravel top to land surface. For Well DZMW-1, each monitoring zone will be filled with gravel in
 the open borehole intervals and each respective casing will be cemented to land surface.

 The following is a sequence of gravel and cement sealing of the Well IW-1 injection zone and of the Well
 DZMW-1 monitoring zones. The cost calculations allow for the purchase of all the materials and services
 necessary for well abandonment tasks and represent the approximate cost for P&A of the Wells IW-1 and
 DZMW-1, including a 10% contingency and estimated associated oversight for engineering costs of 20%.

 As presented in Exhibit 12B, the materials, quantities and services provided to plug Well IW-1 will proceed
 as follows:

     1. Mobilize drill rig, kill the well by filling the cemented 10.72-inch ID FRP injection tubing with
        weighted drilling mud or salt, and remove the valve assembly and appurtenances from the
        wellhead. Conduct geophysical logging.

     2. Add a volume of crushed limestone gravel to the well equal to the volume of the open hole section
        of Well IW-1 to fill the open formation to approximately 10 feet below the bottom of the 10.72-
        inch ID FRP injection tubing. Verify the depth to the top of the gravel by tagging with a wireline.
        Place neat cement in stages into the 10.72-inch ID FRP injection tubing through a tremie pipe to
        the top of the gravel. The quantity of cement pumped above the top of the gravel should be
        equivalent to the volume of cement required to fill approximately 10 feet of open hole and the
        entire length of 10.72-inch ID FRP injection tubing.

     3. The cement should be allowed to set for 12 to 24 hours and then hard tagged with a wireline or
        tremie pipe to determine if sufficient fill up has been achieved.

     4. The remainder of the 10.72-inch ID FRP injection tubing can then be filled with neat cement using
        the tremie method to land surface.

 The UMZ and LMZ of Well DZMW-1 will be plugged by filling the open-hole portion of each zone with
 gravel up to 10 feet below the base of the respective casing and pumping cement to fill each respective
 casing to land surface in stages. The LMZ will be abandoned first followed by the UMZ. As presented in
 Exhibit 12B, the proposed plan to abandon Well DZMW lower and upper zones by gravel and cement
 method will proceed as follows:




 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                         2-17

                                            APPX ATT_V5_2194
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     1. Mobilize a drill rig and kill the well by partially filling the 6.21-inch ID FRP tubing of the LMZ with
        weighted drilling mud or salt. Remove the wellhead flanges and appurtenances from the well.
        Conduct geophysical logging.

     2. Add a volume of gravel to the well equal to the volume of the open-hole sections of the
        monitoring zones. Fill the open-hole with gravel to approximately 10 feet below the bottom of
        each casing (to 2,930 feet bls within the LMZ and to 2,010 feet bls within the annulus between
        the 6.21-inch ID FRP tubing and the 16-inch OD final seamless steel casing). Verify the depth to
        gravel placement by hard tagging the gravel top in both zones with a wireline or tremie pipe.

     3. For the LMZ, pump neat cement on top of the gravel placed in the 6.21-inch ID FRP tubing. For
        the UMZ, pump neat cement on top of the gravel through a tremie pipe placed in the annulus
        between the 6.21-inch ID FRP tubing and the 16-inch OD final seamless steel casing. Fill the casings
        with the neat cement in stages to land surface.

     4. Verify the depth of each stage by hard tagging the cement top with a wire line or tremie pipe.

     5. Complete below ground and add monument.




 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                            2-18

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 3.0 Supplemental Information - Future Class I Industrial Injection
     Well Permit Application
 (Responses to Part A, Numbers 1-5 of Form 62-528.900(1))

 A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING
    PERMIT
 1. A map showing the location of the proposed injection wells of well field area for which a permit is
    sought and the applicable area of review. Within the area of review, the map must show the
    number or name, and location of all producing wells, injection wells, abandoned wells, dry holes,
    surface bodies of water, springs, public water systems, mines (surface and subsurface), quarries,
    water wells and other pertinent surface features including residences and roads. The map should
    also show faults, if known or suspected. Only information of public record and pertinent
    information known to the applicant is required to be included on this map.

 This information was provided in Item No. 2 Part (F) of Form 62-528.900(1). Also, please see Exhibits 7A,
 7B, 9, and 10A-10H for associated AOR information.

 2. A tabulation of data on all wells within the area of review which penetrate into the proposed
    injection zone, confining zone, or proposed monitoring zone. Such data shall include a description
    of each well’s type, construction, date drilled, location, depth, record of plugging and/or
    completion, and any additional information the Department may require.

 This information was provided in Item No. 2 Part (F) of Form 62-528.900(1). Also, please see Exhibit 9
 tabulation of wells found within the 1-Mile Area of Review.

 3. Maps and cross sections indicating the general vertical and lateral limits within the area of review
    of all underground sources of drinking water, their position relative to the injection formation and
    the direction of water movement, where known, in each underground source of drinking water
    which may be affected by the proposed injection.

 The different terminology for the hydrogeologic units of the Floridan Aquifer System (FAS) over different
 studies is presented in Exhibit 13 (Williams and Kuniansky, 2016). A stratigraphic column showing the
 relation of hydrogeologic units of the FAS to geologic units and their lithology based on the hydrogeologic
 framework report Synthesis of the Hydrogeologic Framework of the Floridan Aquifer System and
 Delineation of a Major Avon Park Permeable Zone in Central and Southern Florida is presented in
 Exhibit 14A (Reese, R. S. and Richardson E., 2008). Exhibit 14B provides a regional stratigraphic column of
 the Paleogene through the Upper Jurassic aged geologic formations of the South Florida Basin (Roberts-
 Ashby et al., 2013).

 Near the Facility, underground sources of drinking water are present in the upper FAS and potentially in
 the lower FAS. A potentiometric map of the UFA of the FAS which shows groundwater flow is toward the
 coast (West) is presented in Exhibit 15A. The elevation of the top of the FAS is highly variable onsite and
 ranges from approximately -100 feet NGVD29 as depicted on Exhibit 15B. The elevation of the top of the
 LFA is at approximately -1,600 feet NGVD29 as shown in Exhibit 15D. Exhibit 15E shows the elevation of
 the base of the FAS, which is approximately -3,300 feet NGVD29. A map of water quality zone contours



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 indicating the elevation of the 10,000-mg/L TDS isopleth (USDW) throughout Florida is presented in
 Exhibit 15F, indicating its presence at approximately 2,400 feet NGVD29 below the Facility. This map also
 shows that the Facility is in a potential salinity inversion area, meaning fresher water could lie beneath
 more saline water, which could indicate that the true base of the USDW is deeper than this depth. The
 estimate of the base of the USDW from Exhibit 15F is approximately 400 feet shallower than the
 anticipated base of the USDW discussed in Section 2, Item No. 1. Based on the local and regional
 hydrostratigraphic cross sections utilizing nearby wells presented in Exhibits 16B, 16C, 17B, 17C, and 17D,
 the base of the USDW is anticipated to be at 2,800 feet bls below the Facility. An isopach map displaying
 the thickness of freshwater in the FAS is shown in Exhibit 15G, which shows the Facility lies above
 freshwater saturated zone that is approximately 2,200 feet thick.

 An elevation map of the Oldsmar Formation Permeable Zone including the geographical extent of the
 higher-permeability unit called the Boulder Zone is presented in Exhibit 15H. This figure shows the
 Boulder Zone is not present and that the estimated TDS concentration to be less than 10,000 mg/L in the
 region of northwest Polk County, meaning, a USDW could be present in the Oldsmar Formation Permeable
 Zone below the Facility. The thickness of the Middle Cedar Keys Formation which serves as a confining
 unit (Sub-Floridan Confining Unit [SFCU]) below the LFA is presented in Exhibit 15I. A map displaying the
 thickness of the Lower Cedar Keys and Upper Lawson Limestone Formations, a portion of the proposed
 injection zone (UCPZ), is provided in Exhibit 15J. These two maps were obtained from a regional
 investigation of using the Lower Cedar Keys and Upper Lawson Limestone Formations as an injection zone
 for carbon sequestration (Roberts-Ashby et al., 2013).

 The potentiometric surface of deeper hydraulically isolated zones below the FAS, particularly the Upper
 Cretaceous Permeable Zone, have not been extensively mapped like the UFA. The potentiometric surface
 of the Upper Cretaceous Permeable Zone may be influenced by the operation of existing IWs used to
 dispose of municipal or industrial effluent, such as those at the Tampa Electric Company (TECO) Polk
 Power Plant approximately 6 miles southeast of the Facility. Since no operational injection wells have
 been constructed or operated within the AOR for this project, the presence of effluent/concentrate in the
 proposed injection zone or confining units is not expected at the Facility.

 Local hydrostratigraphic cross sections A-A’ and B-B’ are presented in Exhibits 16B and 16C. The depths
 of nearby USDWs (defined by the 10,000 mg/L-isopleth) were gathered from construction and testing
 reports of nearby wells and are indicated in Exhibits 16B and 16C. Using this information, the anticipated
 depth of the USDW at the Facility is expected to be approximately 2,800 feet bls. Regional cross sections
 J-J’, O-O’ and P-P’ published in a revised hydrogeologic framework of the FAS report prepared by the USGS
 are presented in Exhibits 17B, 17C, and 17D, respectively (Williams and Kuniansky, 2016). The depths of
 USDWs in the nearby wells used for the study are included in these figures.

 The base of the USDW is expected to be approximately 835 feet below the base of the Middle Confining
 Unit II (MCU II) and is expected to lie approximately 165 feet above the top of the SFCU. The MCU II is
 expected to be approximately 660 feet thick and the SFCU is expected to be approximately 1,058 feet
 thick below the Facility. The top of the injection zone, the UCPZ, is expected to be encountered
 approximately 1,223 feet below the base of the USDW. These estimated depths and thicknesses are based
 on the hydrogeological investigation performed during the creation of local hydrostratigraphic cross
 sections, discussed further in Item No. 4 below.




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                                             APPX ATT_V5_2197
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 While we anticipate likely drilling the open hole to 5,000 ft bls, so that the injection zone would be located
 in the UCPZ of the Cedar Keys Formation and the underlying Lawson Limestone, should testing results
 indicate that the strata above 4,110 ft bls and below the base of the USDW are sufficiently transmissive
 to accept the target injected water flow, and that there is sufficient confinement between the USDW and
 the proposed injection zone, then Mosaic will confer with FDEP about potential changes to the injection
 zone.

 4. Maps and cross sections detailing the hydrology and geologic structures of the local area.

 Review of published literature revealed no confirmed geologic, tectonic, or physiographic structures, such
 as faults or folds, at the Facility.

 A geological structure map of Florida is presented in Exhibit 18. As shown in this exhibit, the Tampa
 Sarasota Arch is located very close to the Facility. Regional information on the geologic setting is presented
 below in Item No. 5.

 One north-south trending local cross section, A-A’, and one east-west trending cross section, B-B’, are
 presented in Exhibits 16B and 16C. A location map for these hydrostratigraphic cross-sections utilizing
 available data from deep wells within Hillsborough, Pinellas, Polk, Pasco, Sumter, and Hardee Counties, is
 presented in Exhibit 16A. These cross-sections were developed using available data from the FDEP
 Geospatial Open Data Portal, the FDEP Oculus Electronic Management System, and the South Florida
 Water Management District’s (SFWMD) DBHydro environmental database. Delineation of the
 hydrostratigraphic boundaries were established primarily from the construction and testing reports of
 nearby wells as well as interpretation of geophysical logs and lithologic data. The depths of USDWs in
 these nearby wells are also included in these figures. The position of the proposed Facility IW System site
 is shown for reference on the cross-sections which show the general structure of the geologic units
 extending from land surface through the lower Eocene formations. Hydrostratigraphic boundaries for the
 following units are depicted:

         Surficial Aquifer System (SAS)
         Intermediate Confining Unit (ICU)
         Upper Floridan Aquifer (UFA)
         Middle Semi-Confining Unit I (MCU I)
         Avon Park Permeable Zone (APPZ)
         Middle Semi-Confining Unit II (MCU II)
         Lower Floridan Aquifer (LFA)
         Sub-Floridan Confining Unit (SFCU)
         Upper Cretaceous Permeable Zone (UCPZ)
         Semi-Confinement
         Lower Cretaceous Permeable Zone (LCPZ)
 The uppermost aquifer system is the SAS and is composed of unconsolidated sands, clay, marl, shells,
 limestone, and sandy clay. In some areas of Central-West Florida, the SAS is not present because the FAS
 is exposed at the surface due to karst topographic features (Crandall, 2007). In Polk County, the SAS has
 a thickness of approximately 70 feet. The SAS is underlain by low-permeability sediments of the Hawthorn


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                                             APPX ATT_V5_2198
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 Group from the Miocene Epoch. The Hawthorn Group contains sands, clays, limestones and varying
 amounts of phosphate and dolomite content. The Hawthorn group serves as a confining bed referred to
 as the ICU and these sediments are approximately 180 feet thick at the proposed Exploratory Well IW-1
 location.

 The top of the UFA of the FAS is encountered at the base of the ICU which coincides with either the
 limestones of the lower Arcadia Formation or the upper Suwannee Limestone at a depth of approximately
 250 feet bls at the proposed Exploratory Well IW-1 location. A structure map showing the elevation of the
 top of the UFA throughout Florida is presented in Exhibit 15B. Researchers (Miller 1986; Reese, 1994)
 have described multiple discrete confining units separating the individual aquifers of the FAS. The Ocala
 Limestone and upper portion of the Avon Park Formation are typically composed of semi-low-
 permeability limestones and dolostones and serve as a semi-confining unit referred to as the MCU I
 (sometimes called the Ocala-Avon Park Lower Permeability Zone or OCAPLPZ) that separates the UFA from
 the APPZ. The extent of the MCU I is believed to “pinch out” or be very thin in much of Central-West
 Florida and therefore this unit, if present, is considered leaky at the Facility (Williams and Kuniansky,
 2016). The presence of this zone will be confirmed during drilling of the exploratory well. The APPZ is a
 higher permeable zone of the Avon Park Formation and is sometimes considered part of the UFA (Reese
 and Richardson, 2008) or part of the LFA. Some researchers even refer to it as the “Middle Floridan
 Aquifer,” but is considered part of the UFA in this permit application. The entire UFA including the MCU I
 and APPZ is approximately 1,055 feet thick at the Facility.

 Below the UFA is an evaporite-bearing confining unit generally considered not leaky in Central-West
 Florida, called the MCU II (Miller, 1986). The MCU II is sometimes referred to as the Middle Avon Park
 Composite Unit (Williams and Kuniansky, 2016) and contains lower permeability deposits such as
 gypsiferous dolostone, gypsum, anhydrite, limestone, and organic-rich clays in the middle and lower
 portions of the Avon Park Formation. The MCU II separates the UFA from the LFA. Beneath the Facility,
 the MCU II is expected to be approximately 660 feet thick, though could be interbedded with small
 permeable zones. Exhibit 15C presents a structure map showing the elevation to the top of the MCUI I
 and its general composition across Florida. Exhibit 15D presents a structure map showing the elevation
 to the top of the LFA. The LFA is comprised of the Lower Avon Park Formation, the Oldsmar Formation,
 and the Upper Cedar Keys Formation and contains all permeable zones below the MCU II, including a
 Lower Avon Park Permeable Zone and the Oldsmar Formation Permeable Zone (Williams and Kuniansky,
 2016). The elevation of the top of the Oldsmar Formation Permeable Zone is presented in Exhibit 15H,
 which shows the water quality of this unit below the Facility could represent a USDW (TDS concentrations
 below 10,000 mg/L). This figure also shows that the higher permeable zone (Boulder Zone) of the Oldsmar
 Permeable Zone that other’s use as an injection zone for Class I Injection Wells in South Florida is not
 present below the site. The LFA is expected to be approximately 1,000 feet thick under the Facility.

 The Cedar Keys Formation in West-Central Florida is typically classified into three units (upper, middle,
 and lower). The upper unit is typically considered part of the LFA. The middle unit is anhydrite-rich, low in
 permeability and typically considered the primary confining unit (serving as the SFCU in this case) in
 between the FAS and the UCPZ. The Lower Cedar Keys Formation and the Lawson Limestone are
 permeable and serve as the UCPZ. The UCPZ has been researched for its storage potential as an injection
 zone for injection wells, both Class I and Class VI Carbon Sequestration Wells (Roberts-Ashby et al., 2013).
 A map displaying the thickness of the Middle Cedar Keys Formation (that serves as the SFCU) is presented
 in Exhibit 15I. The SFCU is expected to be approximately 1,060 feet thick below the Facility based on the
 hydrostratigraphic projections from nearby wells and interpreted while creating the local cross sections
 provided in Exhibits 16B and 16C. The upper member of the Lawson Limestone is mostly an algal and


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                                             APPX ATT_V5_2199
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 rudistid biostrome that has undergone extensive alteration of the primary and is somewhat high in
 permeability (Applin and Applin 1944, 1965; Miller 1986; Roberts-Ashby et al., 2013) and the lower
 member is composed of chalk with thin lenses of dolostone and is lower in permeability (Roberts-Ashby
 et al., 2013). A map displaying the thickness of the Lower Cedar Keys Formation and the Upper Lawson
 Limestone (referred to as the Cedar Keys/Lawson Limestone injection zone [CKLIZ] in the figure) is
 presented in Exhibit 15J. These two formations have also been considered as a potential injection zone
 for carbon capture and sequestration (CCS), based on research by Roberts-Ashby et al., 2013, and do not
 include the Lower Lawson Limestone unit. This storage complex is depicted on the stratigraphic column
 provided in Exhibit 14B. The Lower Lawson Limestone is believed to be permeable enough to receive
 wastewater and is thus included in the LCPZ in the region of West-Central Florida according to the TECO
 IW-2 Well Completion Report (MWH, 2013b). The UCPZ is expected to be approximately 1,020 feet thick
 below the Facility.

 5. Generalized maps and cross sections illustrating the regional geologic setting.

 Three regional cross sections created during a regional USGS study Revised Hydrogeologic Framework of
 the Floridan Aquifer System in Florida and Parts of Georgia, Alabama, and South Carolina (Williams and
 Kuniansky, 2016) are presented in Exhibits 17B, 17C, and 17D. These include one north-south trending (J-
 J’) and two east-west trending (O-O’ and P-P’), respectively, in the region of the Facility. A location map
 for the wells used in these hydrostratigraphic cross sections is presented in Exhibit 17A. The depths of
 USDWs in nearby wells are also included in this figure. Hydrostratigraphic and lithologic boundaries are
 presented in these cross sections. All the regional-scale maps referred to in the above Item No. 4 are also
 relevant to Item No. 5.

 The Facility is located within the Atlantic Coastal Plain physiographic region. The region’s geologic and
 tectonic setting is the product of a complex history of continental collisions and rifting followed by
 deposition of sediments on the Florida platform. Basement rocks consist of Paleozoic and Mesozoic aged
 igneous, metamorphic, and sedimentary rocks. The overlying Mesozoic Era carbonate and evaporite
 sedimentary rocks may be 15,000 feet thick (Miller, 1986). Overlying the Mesozoic Era rocks is
 approximately 6,000 feet of Cenozoic Era carbonate and siliciclastic sedimentary rocks (Applin and Applin,
 1944, Arthur, J.D., 1988; Milton, C., 1972). The geologic structures as shown in Exhibit 18 that have
 affected shallow Tertiary and Quaternary Period sediments of the Florida Platform have been defined by
 numerous authors (Puri and Vernon, 1974; Miller, 1986; Scott, 1988; Scott, 1992). Most of the structures
 recognized as influencing the deposition, erosion and alteration of the Cenozoic Era sediments in Florida
 do not appear to have had a significant effect on the surface expression of the lithostratigraphic units
 (Scott, 1988).

 Previously mentioned, local hydrogeologic cross-sections for west-central Florida are shown in
 Exhibits 16B and 16C. Exhibit 14B provides a generalized stratigraphic column of the geologic formations
 below the region of the Facility obtained from a regional-scale investigation of using the Upper Cretaceous
 units in Florida as an injection zone for carbon sequestration (Roberts-Ashby et al., 2013). A geologic map
 of the Northern Florida Peninsula is presented in Exhibit 18A and 18B. The position of the proposed
 Facility IW System site is shown for reference on the cross-sections which show the general structure of
 the geologic units extending from land surface through the lower Eocene formations.




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                                             APPX ATT_V5_2200
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                                         APPX ATT_V5_2201
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 Sincerely,




 Ben L Koplin
 Sr Manager, Environmental

 Encl:   FDEP Form 62-528.900(1)
         Delegation of Authority – Ms. Jody Hilderman
         Mosaic Green Bay Bartow Exploratory Well IW-1 Class V, Group 9, Exploratory Injection
         Well Construction Permit Application


 cc:     John Coates, FDEP
         Pat Kane, Mosaic
         Jody Hilderman, Mosaic
         Santino Provenzano, Mosaic
         Dara Ford, Mosaic
         Monica Tochor, Mosaic
         Jackie Barron, Mosaic




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 CERTIFICATIONS
 I certify under penalty of law that this document and all attachments were prepared under my direction
 or supervision in accordance with a system designed to assure that qualified personnel properly gather
 and evaluate the information submitted. Based on my inquiry of the person or persons who manage the
 system, or those persons directly responsible for gathering the information, the information submitted is,
 to the best of my knowledge and belief, true, accurate, and complete. I am aware that there are significant
 penalties for submitting false information, including the possibility of fine and imprisonment for knowing
 violations.

 PROFESSIONAL ENGINEER
 The engineering features of the Class V, Group 9, Exploratory Injection Well Construction Permit
 Application for Mosaic Fertilizer, LLC, March 2024, were prepared by, or reviewed by, a Licensed
 Professional Engineer in the State of Florida.


   Jon Dinges, P.E.


   3/18/2024
   Date


   Wϱϰϳϰϳ
   License No.


 PROFESSIONAL GEOLOGIST
 The geological evaluation and interpretations contained in the Class V, Group 9, Exploratory Injection Well
 Construction Permit Application for Mosaic Fertilizer, LLC, March 2024, were prepared by, or reviewed
 by, a Licensed Professional Geologist in the State of Florida.


   Ed Rectenwald, P.G.


   3/18/2024
   Date


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 LIST OF ACRONYMS AND ABBREVIATIONS
 ASR              Aquifer Storage and Recovery
 AOR              Area of Review
 APPZ             Avon Park Permeable Zone
 ASTM             American Society for Testing and Materials
 BHCS             Borehole Compensated Sonic Log
 bls              below land surface
 BZ               Boulder Zone
 CAL              Caliper Log
 CBL              Cement Bond Log
 DIL              Dual Induction Log
 DZMW             Dual-Zone Monitoring Well
 EOR              Engineer of Record
 FAS              Floridan Aquifer System
 F.A.C.           Florida Administrative Code
 FDEP             Florida Department of Environmental Protection
 FGS              Florida Geological Survey
 FM               Flowmeter Log
 FR               Fluid Resistivity Log
 FRP              Fiberglass Reinforced Plastic
 ft               Feet
 feet/min         Feet per minute
 feet/sec         Feet per second
 gpm              Gallons per minute
 HRT              High Resolution Temperature Log
 ICU              intermediate confining unit
 ID               Inside diameter
 IW               Injection Well
 LCPZ             Lower Cretaceous Permeable Zone
 LFA              Lower Floridan aquifer
 LMZ              Lower Monitoring Zone
 MCU              Middle Confining Unit
 MGD              Million gallons per day
 mg/L             Milligrams per Liter
 MIT              Mechanical Integrity Testing
 NAVD             North American Vertical Datum
 NELAP            National Environmental Laboratory Accreditation Program
 NGR              Natural Gamma Ray Log
 NGVD             National Geodetic Vertical Datum
 OD               Outside diameter
 P&A              Plugging and Abandonment
 PMW              Pad Monitoring Well
 psi              Pounds per Square Inch
 PVC              Polyvinyl chloride
 RTS              Radioactive Tracer Survey
 SAS              Surficial Aquifer System
 SFCU             Sub-Floridan Confining Unit


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 SFWMD            South Florida Water Management District
 SOP              Standard Operating Procedures
 SP               Spontaneous Potential Log
 SWFWMD           Southwest Florida Water Management District
 TEMP             Temperature Log
 TD               Total Depth
 TDS              Total Dissolved Solids
 TV               Color Video Survey
 UCPZ             Upper Cretaceous Permeable Zone
 UFA              Upper Floridan aquifer
 UIC              Underground Injection Control
 UMZ              Upper Monitoring Zone
 USDW             Underground Source of Drinking Water
 USGS             United States Geological Survey
 VDL              Variable Density Log
 WWTF             Wastewater Treatment Facility




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 Permit Application and Documentation Format
 The information required in FDEP Form No. 62-528.900(1) Application to Construct/Operate/Abandon
 Class I, III, or V Injection Well Systems is included herein and is divided into the following sections:

 Section 1 -      FDEP Form No. 62-528.900(1) Application to Construct/Operate/Abandon Class V Well
                  Systems. The executed Class V Exploratory Well Construction and Testing Permit
                  application is contained in this section and addresses the specific information requested
                  in Application Form 62-528.900(1).

 Section 2 -      Class V Exploratory Well Construction Supporting Data and Part F Responses to Part F of
                  Form 62-528.900(1).

 Section 3 -      Supplemental Information for Future Class I Industrial Well Construction Permit
                  Application. Section 3 provides additional information not specifically required for the
                  Class V Exploratory Well Construction Permit. This is a preview of information that will be
                  submitted for the Class I Well Construction Permit application and is provided here only
                  as general information to help with expediting the Class V Well Construction Permit
                  application review.

 All project well schematics and figures are included in the Exhibits.




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 1.0 FDEP Application to Construct/Operate/Abandon Class I,
     III, or V Injection Well Systems
 FDEP Rule No. 62- 528.900(1)] Forms for Underground Injection Control




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                                                                        DEP Form No:            62-528.900(1)
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                                                                              Operate/Abandon Class I, III,
                                                                                  or V Injection Well Systems
                                                                        Effective Date:                      .
                                                                        DEP Application No,:                 .
                  ENGINEERING AND HYDROLOGIC DATA                       :$&6BBBBBBBBBBBBBB (Filled in by DEP)
                  REQUIRED FOR SUPPORT OF APPLICATION
                  TO CONSTRUCT, OPERATE, AND ABANDON
                  CLASS I, III, OR V INJECTION WELL SYSTEMS

      The following information shall be provided for each type of permit application.

N/A   A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING PERMIT

         1. A map showing the location of the proposed injection wells of well field
            area for which a permit is sought and the applicable area of review.
            Within the area of review, the map must show the number or name, and
            location of all producing wells, injection wells, abandoned wells, dry
            holes, surface bodies of water, springs, public water systems, mines
            (surface and subsurface), quarries, water wells and other pertinent
            surface features including residences and roads.    The map should also
            show faults, if known or suspected. Only information of public record
            and pertinent information known to the applicant is required to be
            included on this map.

         2. A tabulation of data on all wells within the area of review which penetrate
            into the proposed injection zone, confining zone, or proposed monitoring
            zone.    Such data shall include a description of each well’s type,
            construction, date drilled, location, depth, record of plugging and/or
            completion, and any additional information the Department may require.

         3. Maps and cross sections indicating the general vertical and lateral limits
            within the area of review of all underground sources of drinking water,
            their position relative to the injection formation and the direction of
            water movement, where known, in each underground source of drinking water
            which may be affected by the proposed injection.

         4. Maps and cross sections detailing the hydrology and geologic structures
            of the local area.

         5. Generalized maps and cross sections illustrating the regional geologic
            setting.

         6. Proposed operating data.

            (a) Average and maximum daily rate and volume of the fluid to be injected;

            (b) Average and maximum injection pressure; and,

            (c) Source and an analysis of the chemical, physical, radiological and
                biological characteristics of injection fluids.

         7. Proposed formation testing program to obtain an analysis of the chemical,
            physical and radiological characteristics of and other information on the
            injection zone.

         8. Proposed stimulation program.

         9. Proposed injection procedure.

        10. Engineering drawings of the surface and subsurface construction details
            of the system.




                                  APPX ATT_V5_2217
                                                                         DEP Form No:           62-528.900(1)
                                                                       Form Title: Application to Construct/
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                                                                               Operate/Abandon Class I, III,
                                                                                   or V Injection Well Systems
                                                                         Effective Date:                     .
                                                                         DEP Application No,:                .
         11. Contingency plans to cope with all shut-ins or well         :$&6BBBBBBBBBBBBBB(Filled in by DEP)
             failures, so as to protect the quality of the waters
             of the State as defined in Rule 62-3 and 62-520, F.A.C., including
             alternate or emergency discharge provisions.

         12. Plans (including maps) and proposed monitoring data to be reported for
             meeting the monitoring requirements in Rule 62-528.425, F.A.C.

         13. For wells within the area of review which penetrate the injection zone
             but are not properly completed or plugged, the corrective action proposed
             to be taken under Rule 62-528.300(5), F.A.C.

         14. Construction procedures including a cementing and casing program, logging
             procedures, deviation checks, proposed methods for isolating drilling
             fluids from surficial aquifers, proposed blowout protection (if
             necessary), and a drilling, testing and coring program.

         15. A certification that the applicant has ensured, through a performance
             bond or other appropriate means, the resources necessary to close, plug
             or abandon the well as required by Rule 62-528.435(9), F.A.C.

N/A    B. CLASS I INJECTION WELL OPERATION PERMIT

          1. A report shall be submitted with each application for a Class I Well
             operating permit, which shall include, but not be limited to, the
             following information:

             (a) Results of the information obtained under the construction permit
                 described in A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING
                 PERMIT, including:

                 (1) All available logging and testing program data and construction
                     data on the well or well field;

                 (2) A satisfactory demonstration of mechanical integrity for all new
                     wells pursuant to Rule 62-528.300(6), F.A.C;

                 (3) The actual operating data, including injection pressures versus
                     pumping rates where feasible, or the anticipated maximum
                     pressure and flow rate at which the permittee will operate, if
                     approved by the Department;

                 (4) The actual injection procedure;

                 (5) The compatibility of injected waste with fluids in the injection
                     zone and minerals in both the injection zone and the confining
                     zone; and,

                 (6) The status of corrective action on defective wells in the area
                     of review.

             (b) Record drawings, based upon inspections by the engineer or persons
                 under his direct supervision, with all deviations noted;

             (c) Certification of completion submitted by the engineer of record;

             (d) If requested by the Department, operation manual including emergency
                 procedures;

             (e) Proposed monitoring program and data to be submitted;


                                   APPX ATT_V5_2218
                                                                        DEP Form No:           62-528.900(1)
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                                                                              Operate/Abandon Class I, III,
                                                                                  or V Injection Well Systems
                                                                        Effective Date:                     .
                                                                        DEP Application No,:                .
            (f) Proof that the existence of the well has been           :$&6BBBBBBBBBBBBBB(Filled in by DEP)
                recorded on the surveyor’s plan at the county
                courthouse; and,

            (g) Proposed plugging    and   abandonment   plan    pursuant     to       Rule   62-
                528.435(2), F.A.C.

N/A   C. CLASS I WELL OPERATION REPERMITTING

         1. An updated map showing the location of the injection wells or well field
            area for which a permit is sought and the applicable area of review.
            Within the area of review, the map must show the number or name, and
            location of all producing wells, injection wells, abandoned wells, dry
            holes, surface bodies of water, springs, public water systems, mines
            (surface and subsurface), quarries, water wells and other pertinent
            surface features including residences and roads.    The map should also
            show faults, if known or suspected. Only information of pubic record and
            pertinent information known to the applicant is required to be included
            on this map.

         2. A tabulation of data on all wells within the area of review which penetrate
            into the injection zone, confining zone, or monitoring zone. Such data
            shall include a description of each well’s type, construction, date
            drilled, location, depth, record of plugging and/or completion, and any
            additional information the Department may require.

         3. Maps and cross sections indicating the general vertical and lateral limits
            within the area of review of all underground sources of drinking water,
            their position relative to the injection formation and the direction of
            water movement, where known, in each underground source of drinking water
            which may be affected by the injection.

         4. Maps and cross sections detailing the hydrology and geologic structures
            of the local area.

         5. Generalized maps and cross sections illustrating the regional geologic
            setting.

         6. Contingency plans to cope with all shut-ins or well failures, so as to
            protect the quality of the waters of the State as defined in Rule 62-3
            and 62-520, F.A.C., including alternate or emergency discharge
            provisions.

        7. For wells within the area of review which penetrate the injection zone
           but are not properly completed or plugged, the corrective action proposed
           to be taken under Rule 62-528.300(5), F.A.C.

        8. A certification that the applicant has ensured, through a performance
           bond or other appropriate means, the resources necessary to close, plug
           or abandon the well as required by Rule 62-528.435(9), F.A.C.

        9. A report shall be submitted with each application for repermitting of
           Class I Well operation which shall include the following information:

            (a) All available logging and testing program data and construction data
                on the well or well field;




                                  APPX ATT_V5_2219
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                                                                             Operate/Abandon Class I, III,
                                                                                 or V Injection Well Systems
                                                                       Effective Date:                     .
                                                                       DEP Application No,:                .
                                                                       :$&6BBBBBBBBBBBBBB(Filled in by DEP)

            (b) A satisfactory demonstration of mechanical integrity for all wells
                pursuant to Rule 62-528.300(6), F.A.C.;

            (c) The actual operating data, including injection pressures versus
                pumping rates where feasible, or the anticipated maximum pressure
                and flow rate at which the permittee will operate, if approved by
                the Department;

            (d) The actual injection procedure;

            (e) The compatibility of injected waste with fluids in the injection zone
                and minerals in both the injection zone and the confining zone;

            (f) The status of corrective actin on defective wells in the area of
                review;

            (g) Record drawings, based upon inspections by the engineer or persons
                under his direct supervision, with all deviations noted;

            (h) Certification of completion submitted by the engineer of record;

            (i) An updated operation manual including emergency procedures;

            (j) Proposed revisions to the monitoring program or data to be submitted;
                and,

            (k) Proposed plugging    and   abandonment   plan   pursuant     to       Rule   62-
                528.435(2), F.A.C.
N/A   D. CLASS I WELL PLUGGING AND ABANDONMENT PERMIT

         1. The reasons for abandonment.

         2. A proposed plan for plugging and abandonment describing the preferred and
            alternate methods, and justification for use.

            (a) The type and number of plugs to be used;

            (b) The placement of each plug including the elevation of the top and
                bottom;

            (c) The type and grade and quantity of cement or any other approved
                plugging material to be used; and,

            (d) The method for placement of the plugs.

         3. The procedure to be used to meet the requirements of Rule 62-528.435,
            F.A.C.




                                  APPX ATT_V5_2220
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                                                                             Operate/Abandon Class I, III,
                                                                                 or V Injection Well Systems
                                                                       Effective Date:                     .
                                                                       DEP Application No,:                .
                                                                       :$&6BBBBBBBBBBBBBB(Filled in by DEP)

N/A   E. CLASS III WELLS CONSTRUCTION/OPERATION/PLUGGING AND ABANDONMENT PERMIT

      Construction Phase

         1. A map showing the location of the proposed injection wells or well field
            area for which a permit is sought and the applicable area of review.
            Within the area of review, the map must show the number or name, and
            location of all producing wells, injection wells, abandoned wells, dry
            holes, surface bodies of water, springs, public water system, mines
            (surface and subsurface), quarries, water wells and other pertinent
            surface features including residences and roads.    The map should also
            show faults, if known or suspected. Only information of public record
            and pertinent information known to the applicant is required to be
            included on this map.

        2. A tabulation of data on all wells within the area of review which penetrate
           into the proposed injection zone, confining zone, or proposed monitoring
           zone.    Such data shall include a description of each well’s type,
           construction, date drilled, location, depth, record of plugging and/or
           completion, and any additional information the Department may require.

        3. Maps and cross sections indicating the general vertical and lateral limits
           within the area of review of all underground sources of drinking water,
           their position relative to the injection formation and the direction of
           water movement, where known, in each underground source of drinking water
           which may be affected by the proposed injection.

        4. Maps and cross sections detailing the hydrology and geologic structures
           of the local area.

        5. Generalized maps and cross sections illustrating the regional geologic
           setting.

        6. Proposed operating data:

           (a) Average and maximum daily rate and volume of the fluid to be injected;

           (b) Average and maximum injection pressure; and,

           (c) Source and an analysis of the chemical, physical, radiological and
               biological characteristics of injection fluids, including any
               additives.

        7. Proposed formation testing program to obtain an analysis of the chemical,
           physical and radiological characteristics of and other information on the
           injection zone.

        8. Proposed stimulation program.

        9. Proposed injection procedure.

        10. Engineering drawings of the surface and subsurface construction details
            of the system.




                                 APPX ATT_V5_2221
                                                                  DEP Form No:           62-528.900(1)
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                                                                        Operate/Abandon Class I, III,
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                                                                  Effective Date:                     .
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   11. Contingency plans to cope with all shut-ins or well failures or
       catastrophic collapse, so as to protect the quality of the waters of the
       State as defined in Rule 62-3 and 62-520, F.A.C., including alternate or
       emergency discharge provisions.

   12. Plans (including maps) and proposed monitoring data to be reported for
       meeting the monitoring requirements in Rule 62-528.425, F.A.C.

   13. For wells within the area of review which penetrate the injection zone
       but are not properly completed or plugged, the corrective action proposed
       to be taken under Rule 62-528.300(5), F.A.C.

   14. Construction procedures including a cementing and casing program, logging
       procedures, deviation checks, proposed methods for isolating drilling
       fluids from surficial aquifers, and a drilling, testing and coring
       program.

   15. A certificate that the applicant has ensured, through a performance bond
       or other appropriate means, the resources necessary to close, plug or
       abandon the well as required by Rule 62-528.435(9), F.A.C.

   16. Expected changes in pressure, native fluid displacement, direction of
       movement of injection fluid.

   17. A proposed monitoring plan, which includes a plan for detecting migration
       of fluids into underground sources of drinking water, a plan to detect
       water quality violation in the monitoring wells, and the proposed
       monitoring data to be submitted.

 Operation Phase

    1. The following information shall be provided to the Department prior to
       granting approval for the operation of the well or well field:

       (a) All available logging and testing program data and construction data
           on the well or well field;

       (b) A satisfactory demonstration of mechanical integrity for all new
           wells pursuant to Rule 62-528.300(6), F.A.C.;

       (c) The actual operating data, including injection pressure versus
           pumping rate where feasible, or the anticipated maximum pressure and
           flow rate at which the permittee will operate, if approved by the
           Department;

       (d) The results of the formation testing program;

       (e) The actual injection procedure; and,

       (f) The status of corrective action on defective wells in the area of
           review.

 Plugging and abandonment Phase

    1. The justification for abandonment.




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                                                                         Operate/Abandon Class I, III,
                                                                             or V Injection Well Systems
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    2. A proposed plan for plugging and abandonment describing the preferred and
       alternate methods.

       (a) The type and number of plugs to be used;

       (b) The placement of each plug including the elevation of the top and
           bottom;

       (c) The type and grade and quantity of cement or any other approved
           plugging material to be used; and,

       (d) The method for placement of the plugs.

    3. The procedure to be used to meet the requirements of Rule 62-528.435,
       F.A.C.

 F. EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT

    1. Conceptual plan of the injection project. Include number of injection
       wells, proposed injection zone, nature and volume of injection fluid, and
       proposed monitoring program.

    2. Preliminary Area of Review Study.     Include the proposed radius of the
       area of review with justification for that radius. Provide a map showing
       the location of the proposed injection well or well field area for which
       a permit is sought and the applicable area of review. Within the area of
       review, the map must show the number or name, and location of all producing
       wells, injection wells, abandoned wells, dry holes, surface bodies of
       water, springs, public water systems, mines (surface and subsurface),
       quarries, water wells and other pertinent surface features including
       residences and roads.     The map should also show faults, if known or
       suspected. Only information of public record and pertinent information
       known to the applicant is required to be included on this map.

    3. Proposed other uses of the exploratory well.

    4. Drilling and testing plan for the exploratory well. The drilling plan
       must specify the proposed drilling program, sampling, coring, and testing
       procedures.

    5. Abandonment Plan.




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N/A   G. CLASS V WELL CONSTRUCTION PERMIT

      (This form should be used for Class V Wells instead of Form 62-528.900(3),
      F.A.C., when there is a need for a Technical Advisory Committee and an
      engineering report.)

         1. Type and number of proposed Class V Wells:

                    Wells Receiving Domestic Waste

                    Desalination Process Concentrate Wells (Reverse Osmosis, etc.)

                    Aquifer Storage and Recovery Wells

                    Aquifer Remediation Wells

                    Salt-water Intrusion Barrier Wells

                    Cooling Water Return Flow Wells Open-looped System

                    Subsidence Control Wells

                    $TXLIHU 5HFKDUJH Wells

                    Experimental Technology Wells

                    Wells used to inject spent brine after halogen recovery

                    Radioactive Waste Disposal Wells*

                    Borehole Slurry Mining Wells

                    Other non-hazardous Industrial or Commercial Disposal Wells

                    (explain)

                    Other (explain)

            *Provided the concentrations of the waste do not exceed drinking water
             standards contained in Chapter 62-550, F.A.C.

         2. Project Description:

            (a) Description and use of proposed injection system;

            (b) Nature and volume of injected fluid (the Department may require an
                analysis including bacteriological analysis) in accordance with Rule
                62-528.635(2)(b), F.A.C.; and,

            (c) Proposed pretreatment.

         3. Water well contractor’s name, title, state license number, address, phone
            number and signature.




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          4. Well Design and Construction Details. (For multi-casing configurations
             or unusual construction provisions, an elevation drawing of the proposed
             well should be attached.)

             (a) Proposed total depth;

             (b) Proposed depth and type of casing(s);

             (c) Diameter of well;

             (d) Cement type, depth, thickness; and,

              (e) Injection pumps (if applicable):                          gpm @                                psi

                                          Controls:




          5. Water Supply Wells - When required by Rule 62-528.635(1), F.A.C., attach
             a map section showing the locations of all water supply wells within a
             one-half (1/2) mile radius of the proposed well.    The well depths and
             casing depths should be included. When required by Rule 62-528.635(2),
             F.A.C., results of bacteriological examinations of water from all water
             supply wells within one-half (1/2) mile and drilled to approximate depth
             of proposed well should be attached.

          6. Area of review (When required by Rule 62-528.300(4), F.A.C.)

             Include the proposed radius of the area of review with justification for
             that radius. Provide a map showing the location of the proposed injection
             well or well field area for which a permit is sought and the applicable
             area of review. Within the area of review, the map must show the number
             or name, and location of all producing wells, injection wells, abandoned
             wells, dry holes, surface bodies of water, springs, public water systems,
             mines (surface and subsurface), quarries, water wells and other pertinent
             surface features including residences and roads.     The map should also
             show faults, if known or suspected. Only information of public record
             and pertinent information known to the applicant is required to be
             included on this map.

N/A    H. CLASS V WELL OPERATION PERMIT

       (Final report of the construction that includes the following information may
       be submitted with the application to operate.)

           1. Permit Number of Class V Construction Permit:


           2. Owner’s Name:


           3. Type of Wells:




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         4. Construction and Testing Summary:

            (a) Actual Dimensions:

             Diameter                       Well Depth                          Casing Depth
                               (inches)                         (feet)                                   (feet)




            (b) Result of Initial Testing

         5. Proposed Operating Data:

            (a) Injection Rate (GPM);

            (b) Description of injected waste; and,

            (c) Injection pressure and pump controls.

         6. Proposed Monitoring Plan (if any):

            (a)   Number of monitoring wells;

            (b)   Depth(s);

            (c)   Parameters;

            (d)   Frequency of sampling; and,

             (e) Instrumentation (if applicable) Flow

                                                Pressure


N/A   I. CLASS V WELLS PLUGGING AND ABANDONMENT PERMIT

         1. Permit number of Class V construction or operating permit.

         2. Type of well.

         3. Proposed plugging procedures, plans and specifications.

         4. Reasons for abandonment.




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N/A   J. MONITOR WELL PERMIT

      This section should be used only when application is made for a monitor well
      only.   If a monitor well is to be constructed under a Class I, III, or V
      injection well permit, it is not necessary to fill in this section.

         1. A site map showing the location of the proposed monitor wells for which
            a permit is sought. The map must be to scale and show the number or name,
            and location of all producing wells, injection wells, abandoned wells,
            dry holes, water wells and other pertinent surface features including
            structures and roads.

        2. Maps and cross sections indicating the general vertical and lateral limits
           within the area of review of all underground sources of drinking water,
           their position relative to the injection formation and the direction of
           water movement, where known, in each underground source of drinking water
           which may be affected by the proposed injection.

        3. Maps and cross sections detailing the hydrology and geologic structures
           of the local area.

        4. Generalized maps and cross sections illustrating the regional geologic
           setting.

        5. Proposed formation testing program to obtain an anlysis of the chemical,
           physical and radiological characteristics of and other information on the
           monitor zone(s).

        6. Proposed monitoring procedure.

        7. Engineering drawings of the surface and subsurface construction details
           of the monitoring system.

        8. Proposed monitoring data to be reported        for   meeting     the    monitoring
           requirements in Rule 62-528.425, F.A.C.

        9. Construction procedures including a cementing and casing program, logging
           procedures, deviation checks, proposed methods for isolating drilling
           fluids from surficial aquifers, proposed blowout protection (if
           necessary), and a drilling, testing and coring program

        10. Monitor Well Information:

               On-site         Multizone        Single-zone

                 Regional       Other (specify)

             Proposed Monitoring Interval(s)

             Distance and Direction From Associated Injection Well




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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1



 2.0 Class V Exploratory Well Construction Permit Supporting
     Data
 (Responses to Part F of Form 62-528.900(1))
 The following addresses the information required in FDEP UIC permit application (FDEP Form 62-
 528.900(1)), page 10, Section F “EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT”. The permit
 application required information is shown in bold type followed by the supporting technical information.

 F. EXPLORATORY WELL CONSTRUCTION AND TESTING PERMIT
 1. Conceptual plan of the injection project. Include number of injection wells, proposed injection zone,
    nature and volume of injection fluid, and proposed monitoring program.

 Injection Well Hydraulic Design Criteria

 The proposed Class V Exploratory Injection Well (IW-1) has been designed for the injection of pre-treated,
 non-hazardous industrial wastewater staged at Mosaic Fertilizer, LLC’s (Mosaic) Green Bay and Bartow
 Facilities (FDEP Wastewater Permits FL0001589 and FL0000752) phosphogypsum stacks (gyp-stacks),
 from phreatic water collected by the gypstack underdrain systems, and associated pre-treated process
 water(s). The phreatic water, or gypsum stack pore water, collected in the underdrain system is not
 considered a separate waste stream and is characteristically similar to ponded process water. The water
 collected in the underdrain system is returned to the gypstack and will be comingled with the process
 water that will go through pre-treatment.

 During construction of Well IW-1, the local hydrogeology will be investigated to confirm the properties of
 the target injection zone (Upper Cretaceous Permeable Zone [UCPZ] as compatible for injection of pre-
 treated wastewater from both Facilities. The location of Mosaic’s Facilities is shown in Exhibit 1. The
 location for Well IW-1 is shown in Exhibit 2.

 As shown in Exhibit 3, the injection well will be constructed with a 20-inch outside diameter (OD), 0.500-
 inch wall, final seamless steel casing. A nominal 10.72-inch inside diameter (ID) RedBox 1250 FRP injection
 tubing with cementing packer will be installed and cemented inside the 20-inch OD final seamless steel
 casing. In accordance with fluid velocity limitations for the injection well, the design injection capacity is
 approximately 2,775 gallons per minute (gpm) (or 4.00 Million Gallons per Day [MGD]) at 10 feet per
 second (ft/sec). The proposed injection well system will include a dual-zone monitoring well (DZMW-1)
 for continuous monitoring of the hydraulic head and water quality within two completed monitoring
 zones, above and below the underground source of drinking water (USDW).

 Following construction and initial testing of IW-1 and DZMW-1, Mosaic will seek to re-classify the
 exploratory well to a UIC Class I industrial injection well for operational testing. The Class I well will
 facilitate long-term water management and support the site closure strategy. In the event of a well shut-
 in, the Facilities will maintain permitted options for managing wastewater using a Reverse Osmosis
 system, onsite lime treatment or transferring to other Mosaic facilities in accordance with NPDES
 authorizations, or other permitted treatment and disposal options, until UIC can be resumed.




 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                             2-1

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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 As shown in Exhibit 3, Well IW-1 is designed as a multi-stage cased well with a total depth (TD) of
 approximately 5,250 feet below land surface (bls). Well IW-1 will be constructed with five telescoped steel
 casings (diameters 60-inch, 50-inch, 40-inch, 30-inch, and 20-inch) installed to isolate individual
 groundwater production zones as the well is drilled to depth, as shown in Exhibit 4. All steel casings
 installed during construction of the well will be cemented to land surface with type II or IL cement. The
 final casing depth is estimated to be 4,060 feet bls. The well is planned to be drilled to TD estimated at
 5,250 feet bls and completed with an open hole injection zones in the Upper Cretaceous Permeable Zone
 (UCPZ) of the Cedar Keys Formation and the underlying Lawson Limestone. Mosaic will confer with FDEP
 about potential changes to the injection zone based on findings through exploratory drilling.

 The base of the USDW (groundwater having a total dissolved solids concentration of less than 10,000
 milligrams per liter [mg/L]) was identified approximately 5.3 miles to the east at a depth of 2,794 feet bls
 at the KC Industries during construction of its Class V Exploratory Injection Well IW-1 (KCI, 2019). Based
 on this information and hydrogeological data obtained from other nearby wells, it is anticipated that the
 base of the USDW may occur at approximately 2,860 feet bls at the proposed location for this injection
 well system. The 30-inch OD intermediate carbon steel casing and 20-inch OD final seamless steel casing
 for Well IW-1 is designed to extend below the base of the USDW and will be adjusted to accommodate
 local geological findings as the well is constructed.

 During well construction cementing activities, and subject to the Department’s approval, Mosaic may use
 an American Society for Testing and Materials (ASTM) C595M-21PLC/Type 1L cement with up to 6%
 bentonite or higher, by weight. Type II or IL neat cement will be used to cement the 60-inch, 50-inch, and
 40-inch OD carbon steel casings from their bases back up to ground surface. Type II or IL neat cement will
 be used to cement the 30-inch and 20-inch OD casings and the 10.72-inch ID RedBox 1250 FRP injection
 tubing from their bases in the casing-to-formation intervals and below the USDW. Type II or IL cement
 with up to 6% bentonite by weight may be used to cement the casing-inside-casing intervals above the
 USDW to ground surface for the 30-inch and 20-inch OD casings and the 10.72-inch ID RedBox 1250 FRP
 injection tubing.

 Since Well IW-1 is designed to meet the construction requirements for a Class 1 industrial injection well,
 a packer assembly will be installed to isolate the nominal 10.72-inch ID RedBox 1250 FRP injection tubing
 within the 20-inch OD final seamless steel casing. The annulus between the 20-inch OD final seamless
 steel casing and the nominal 10.72-inch ID RedBox 1250 FRP injection tubing will be cemented back to
 ground surface.

 To expedite UIC permitting and construction schedule, IW-1 will be initially permitted as a UIC Class V
 Exploratory Well (Class V, Group 9), to evaluate the UCPZ of the Cedar Keys Formation and the underlying
 Lawson Limestone for injection. Upon completion of drilling and testing, and prior to any operational
 injection testing, Mosaic will submit a new UIC well construction permit application to reclassify the
 permitting Class V exploratory well as a UIC Class I Industrial injection well.

 Dual-Zone Monitor Well (DZMW-1) Design

 Following the completion of drilling and testing at the Class V Exploratory Well IW-1 to the proposed depth
 of the Lower Monitoring Zone (LMZ) for the dual-zone monitoring well (DZMW-1), construction of DZMW-
 1 may begin. This strategy will provide all the necessary information to construct DZMW-1. DZMW-1 will
 be constructed for continuous monitoring of the hydraulic head within two isolated monitoring zones
 (Upper Monitoring Zone [UMZ] and LMZ). The UMZ will be located above the base of the USDW and the
 LMZ will be located just above the principal confining strata and below the base of the USDW, based on


 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                           2-2

                                            APPX ATT_V5_2230
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 local ambient water quality conditions. Well DZMW-1 will also be used for collection of groundwater
 samples for laboratory analysis during injection well operation. As shown on Exhibit 3, the UMZ is
 anticipated to be constructed from approximately 2,075 feet to 2,200 feet bls and the LMZ from
 approximately 2,970 feet to 3,070 feet bls, respectively.

 The exact monitoring intervals will be confirmed during the construction of Well IW-1. Following interval
 testing during the drilling of Well DZMW-1, groundwater quality will be evaluated, and the results
 provided to FDEP for final monitoring interval selection and approval.

 DZMW-1 will be designed with pumps and piping to facilitate purging and collection of groundwater
 samples produced from the monitoring zones for disposal in the injection well or to the pre-treatment
 pump station for eventual disposal in the injection well. The final design will be contingent upon the
 drilling and testing results of Wells IW-1 and DZMW-1.

 Permit specified groundwater quality analyses and hydraulic head (elevation in feet) will be conducted in
 both monitoring zones (upper and lower) of Well DZMW-1. Upon FDEP’s approval to commence
 operational testing, the collected data will be electronically measured and recorded for submittal,
 including the monthly operating reports of Well DZMW-1.

 Shallow Pad Monitoring Well Design (For Monitoring During Construction)

 Four (4) shallow pad monitoring wells (PMWs) are proposed, which will surround Well IW-1, for Surficial
 Aquifer System (SAS) water level and water quality monitoring as shown in Exhibit 2. The locations of
 these shallow PMWs will be submitted to FDEP for approval prior to their installation and initiation of
 installation activities. Construction details of the PMWs are detailed in Exhibit 5.

 Proposed Instrumentation and Control (For Future Class I Permit)

 A preliminary wellhead drawing for Wells IW-1 and DZMW-1 is provided in Exhibit 6. The preliminary
 process flow diagram that shows the interrelationship of the well, pumping station, and monitoring and
 control instrumentation will be provided with the UIC Class I Well Construction Permit Application
 submittal, at a later date.

 Proposed Monitoring for Operational Testing (For Future Class I Permit)

 Following the construction and testing of Exploratory Well IW-1 and DZMW-1, Mosaic expects to seek to
 re-classify the injection well system as a UIC Class I industrial injection well for operational testing. Once
 in service, an approved monitoring program will commence which will include the required operational
 data and water quality sampling in accordance with the Class I well construction permit.

 The Facilities’ wastewater intended for injection will undergo pre-treatment, including to adjust the water
 chemistry for compatibility with the subsurface formations. As required for the Class I re-classification,
 an initial waste stream analysis of the pre-treated process water will be collected for the following water
 quality parameters prior to operation:

         Primary Drinking Water Standards. (Note: asbestos, Dioxin, butachlor, acrylamide, and
          epichlorohydrine will be sampled for only in the initial waste stream analysis);
         Secondary Drinking Water Standards; and Wastewater Quality Indicators




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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 shown in Exhibit 1. The Facilities are located in a rural area and approximately 30 miles inland from
 seawater (i.e., Hillsborough Bay).

 Mosaic has performed detailed investigations to locate all wells that extended through and below the SAS
 within the AOR. These retired wells have been systematically plugged and abandoned to State standards
 per Chapter 40D-3, Florida Statutes. A comprehensive review of multiple public well permit databases
 was completed to identify all wells within the AOR for this application. Many of the wells are represented
 in multiple databases, and sometimes even within the same database given both construction and
 abandonment permits for the same well are represented as individual permit actions. Well permits within
 the public domain databases from the United States Geological Survey (USGS), Florida Geological Survey
 (FGS) Bureau of Mining and Minerals, Florida Department of Environmental Protection (FDEP), South
 Florida Water Management District (SFWMD) and Southwest Florida Water Management District
 (SWFWMD) were reviewed. A total of 1,567 wells and permits were identified within the AOR. Exhibit 9
 provides a tabulation of well permits found within the AOR; the permits are indexed and presented on
 the aerial maps shown in Exhibits 10A through 10I. It should again be noted that some of the wells in the
 inventory may be duplicated due to the nature of extracting data from numerous databases and
 therefore, Exhibit 9 provides a total tabulation of well permits from each database. Exhibits are outlined
 as follows:

         Exhibits 9: Tabulation of Wells and permits found within the AOR;
         Exhibit 10A: FGS Database Wells within the AOR;
         Exhibit 10B: USGS Database Wells within the AOR;
         Exhibit 10C: SFWMD and SWFWMD Database of Well permits within the AOR;
         Exhibit 10D: FDEP Database UIC Monitoring Wells within the AOR;
         Exhibit 10E: FDEP Database UIC Class V Non-ASR Wells within AOR;
         Exhibit 10F: FDEP Database UIC Class V ASR Wells within AOR;
         Exhibit 10G: FDEP Database UIC Class I Wells within the AOR;
         Exhibit 10H: Oil and Gas Database Wells within the AOR;
         Exhibit 10I: Mosaic’s Well Inventory within the AOR;
 There are no wells known to be improperly abandoned and none of the well construction permits
 identified within the AOR indicate penetration depths within a magnitude of order to the proposed
 injection or confining zones. The deepest well in the AOR is “365045 – 1”, an industrial water supply
 production well that has a total depth of 1,140 feet bls; therefore, no wells penetrate the depths of the
 proposed UMZ (2,075 feet to 2,200 feet bls), the LMZ (2,970 feet to 3,070 feet bls) or injection zone
 (beginning at approximately 4,060 feet bls). Table 2-3 and Table 2-4 summarize the wells in the AOR and
 are separated by agency database, well type, and maximum depth.




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                                            APPX ATT_V5_2233
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 These wells vary in total depth from 20 feet to 840 feet. The deepest documented well is owned and
 operated by Mosaic and is located within the boundary of the Facilities. Based on the location and depths
 of these wells, they are not expected to be affected by the operation of the proposed IW system.

 USGS Well Inventory

 In the USGS database, shown in Exhibit 10B, 11 wells are documented within the AOR for this well survey.
 The 11 wells identified in the AOR were classified as inactive groundwater monitoring wells.

 The wells identified in the USGS inventory range from 119 feet to 760 feet bls with the deepest well
 located within the boundary of the Facilities. Based on the location and depth of these wells, they are not
 expected to be affected by the operation of the proposed IW System.

 SWFWMD / SFWMD Well Permit Inventory

 A total of 1,500 wells were identified within the AOR in the SWFWMD/SFWMD wells inventory, shown in
 Exhibit 10C. The 1,500 wells identified in the AOR were classified as:

         949 Monitor
         Ɣ 339 of these are Proposed Well Construction Permits (WCP) Wells
         266 Plugged
         Ɣ 113 of these are Proposed WCP Wells
         54 Remediation – Recovery
         Ɣ 49 of these are Proposed WCP Wells
         47 Test
         Ɣ 3 of these are Proposed WCP Wells
         39 Domestic
         35 Unknown
         33 Dewatering
         Ɣ 32 of these are Proposed WCP Wells
         20 Industrial
         17 Sealing Water
         13 Public Supply
         Ɣ 6 of these are Proposed WCP Wells
         12 Irrigation
         Ɣ 3 of these are Proposed WCP Wells
         8 Repair or Deepen
         4 Mining
         2 Essential Services (Fire Protection)



 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                           2-7

                                            APPX ATT_V5_2235
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


         1 Livestock - Proposed WCP Well


 The wells identified range from 5 feet to 1,140 feet bls in total depth with the deepest well located within
 the boundary of the Facilities. The deepest documented well is owned and operated by Mosaic. Based
 on the location and depth of these wells, they are not expected to be affected by the operation of the
 proposed IW System.

 FDEP Well Inventory

 A total of 36 wells were identified within the 1-mile AOR in the FDEP well inventory:

         8 Monitoring well (Exhibit 10D). This exhibit currently displays 3 wells due to the following wells
          share the same coordinates:
            Ɣ MW-6 and MW-5
            Ɣ MW-2A, Well #1, and Well #2
            Ɣ MW-4A, Well #3, and Well #4
         28 Class V non-aquifer storage and recovery (ASR) well (Exhibit 10E)
         0 Class V ASR well (Exhibit 10F)
         0 Class I Industrial Injection well (Exhibit 10G)
         0 Oil and Gas permitted well (Exhibit 10H)

 It is important to note that of the 36 wells identified in this database, 17 have no reported depths. Among
 the wells with recorded depths, the values vary from 150 feet to 615 feet bls as total depth with the
 deepest well located within the boundary of the Facilities. The deepest documented well is owned and
 operated by Mosaic. Based on the location and depth of these wells, they are not expected to be affected
 by the operation of the proposed IW System.

 Mosaic Inventory

 A total of 954 Mosaic wells were identified within the AOR. These wells are shown within the well
 inventories of the FGS (12 wells), USGS (5 wells), SWFWMD/SFWMD (909 wells), and FDEP (28 wells) and
 are shown in Exhibit 10I. The owner of these wells, Mosaic, is identified in the well inventories under
 various names such as International Minerals & Chemical, C F Chemicals Inc., CF Industries Inc., Cargill,
 Central Phosphates Inc., among others.

 Table 2-5 below summarizes the Mosaic wells within the AOR databases. Plugged & abandoned wells and
 proposed wells are included in the summary.




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 prior to commencing drilling at the Well IW-1 location to contain drilling fluids and to prevent water
 quality impacts to the SAS. Additionally, a National Environmental Laboratory Accreditation Program
 (NELAP) certified laboratory will be available to sample and analyze (in accordance with FDEP Standard
 Operating Procedures [SOPs]) the PMWs throughout construction and testing to confirm no water quality
 impacts to the SAS.

 The proposed work sequence for the mobilization and site preparation will be as follows:

     1.    Install temporary water, sewer, electrical, wireless internet, and cell phone services.

     2.    Conduct a pre-construction video survey of the site to document existing site conditions.

     3.    Perform site preparation: clearing, grubbing, stripping and debris removal. Remove and dispose
           of non-hazardous debris and build up soil sub-base for drilling pad.

     4.    Drill a pilot hole to confirm the base of the surficial aquifer. The casing seat depth of the 60-inch
           OD (wall thickness to be determined) pit carbon steel casing will terminate in the confining unit
           (Intermediate Confining Unit) for isolation of the Surficial Aquifer and stabilize shallow
           unconsolidated sediments for drilling operations. The casing seat depth will be determined by
           the Contractor and reviewed and approved by the Project Geologist/Engineer prior to its
           installation. Excavate fill materials and install a 60-inch OD (wall thickness to be determined) pit
           carbon steel casing to the depth required for the drilling system; the Project Geologist/Engineer
           will oversee the installation of the pit casing. The final floor elevation within the pit casing will
           accommodate the installation of a rotating head or other sealing mechanisms to control fluids
           during drilling. Excavated materials shall be stockpiled onsite.

     5.    Construct a temporary fabricated steel (or equal) fluid containment pad.

     6.    Install, develop, and sample four 4-inch diameter polyvinyl chloride (PVC) shallow PMWs at
           approved locations, as required by the FDEP. PMW locations are shown in Exhibit 2 and PMW
           construction details are show in Exhibit 5. A NELAP certified laboratory will be utilized to conduct
           analyses on background samples collected at the PMWs.

     7.    Mobilize drilling and other required materials and equipment required for construction.

 The sequential description of construction, well drilling and testing activities associated with Well IW-1 is
 shown below. Exhibit 11A provides a summary of testing to be conducted while drilling the Class V
 Exploratory Well IW-1.

     1.    Drill a pilot hole with a 12.25-inch diameter bit to approximately 550 feet bls using the direct
           mud-rotary method. Record mechanical deviation surveys and collect rock formation samples in
           accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     2.    Conduct geophysical logging [Caliper (CAL), natural gamma-ray (NGR), spontaneous potential
           (SP), dual-induction (DIL), borehole compensated sonic w/ variable density log (BHCS/VDL) and
           Acoustic Borehole Imager (ABI)] in accordance with Exhibit 11A – Summary of Testing for
           Exploratory Well IW-1.




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     3.    Ream the pilot hole to a nominal 60-inch diameter borehole to approximately 505 feet bls using
           the direct mud-rotary method. Record mechanical deviation surveys at intervals in accordance
           with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     4.    Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11A – Summary of Testing
           for Exploratory Well IW-1.

     5.    Install the 50-inch OD surface carbon steel casing to approximately 500 feet bls in accordance
           with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction
           Details, and cement to surface. Conduct geophysical logging [Temperature (TEMP) and NGR]
           after each cement stage in accordance with Exhibit 11A – Summary of Testing for Exploratory
           Well IW-1 to confirm top of cement in conjunction with measurement from tremie pipe hard
           tags.

     6.    Install the artesian flow control device, to control flow at the artesian head pressures within the
           Floridan Aquifer System during reverse-air circulation drilling.

     7.    Drill out cement plug and drill a pilot hole centered at the bottom of the 50-inch OD surface
           carbon steel casing with a 12.25-inch diameter bit to approximately 1,250 feet bls using the
           reverse-air circulation method. Record mechanical deviation surveys, collect rock formation and
           water quality samples in accordance with Exhibit 11A – Summary of Testing for Exploratory Well
           IW-1.

     8.    Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, color video survey (TV)
           or Optical Borehole Imager (OBI) or ABI, TEMP, fluid resistivity (FR) and flowmeter (FM); Dynamic
           logs: TEMP, FR and FM) on the pilot hole in accordance to Exhibit 11A – Summary of Testing for
           Exploratory Well IW-1.

     9.    Conduct up to two (2) packer tests at depths in accordance with Exhibit 11A – Summary of
           Testing for Exploratory Well IW-1.

     10. Back-plug the pilot hole with cement to the base of the 50-inch OD surface carbon steel casing.

     11. Ream the pilot hole to a nominal 50-inch diameter borehole to approximately 1,180 feet bls using
         the reverse-air circulation method. Record mechanical deviation surveys at intervals in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     12. Conduct geophysical logging (CAL and NGR) in the reamed hole in accordance with Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     13. Install the 40-inch OD intermediate carbon steel casing to approximately 1,175 feet bls in
         accordance with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1
         Construction Details and cement to surface. After each cement stage, perform static TEMP and
         NGR logs in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1 to
         confirm the top of cement in conjunction with measurement from tremie pipe hard tags.

     14. Drill out cement plug and drill a pilot hole centered at the bottom of the 40-inch OD intermediate
         carbon steel casing with a 12.25-inch bit to approximately 3,100 feet bls using the reverse-air
         circulation method. Record mechanical deviation surveys, collect rock formation and water
         quality samples in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.


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     15. During drilling of the pilot hole collect up to four (4) cores at depths selected in accordance with
         Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     16. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     17. Conduct up to four (4) packer tests at depths in accordance with Exhibit 11A – Summary of
         Testing for Exploratory Well IW-1.

     18. Back-plug the pilot hole with cement to the base of the 40-inch OD intermediate carbon steel
         casing.

     19. Ream the pilot hole to a nominal 40-inch diameter borehole to approximately 2,975 feet bls using
         the reverse-air circulation method. Record mechanical deviation surveys at intervals in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     20. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11A – Summary of Testing
         for Exploratory Well IW-1.

     21. Install the 30-inch OD intermediate carbon steel casing to approximately 2,970 feet bls in
         accordance with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1
         Construction Details and cement to surface. After each cement stage, perform static TEMP and
         NGR logs in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1 to
         confirm the top of cement in conjunction with measurement from tremie pipe hard tags.

     22. Drill out cement plug and drill a pilot hole centered at the bottom of the 30-inch OD intermediate
         carbon steel casing with a 12.25-inch bit to 5,250 feet bls using the reverse-air circulation
         method. Record mechanical deviation surveys, collect rock formation, and water quality samples
         in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     23. During drilling of the pilot hole collect up to eight (8) cores at depths in accordance with Exhibit
         11A – Summary of Testing for Exploratory Well IW-1.

     24. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     25. Conduct up to four (4) packer tests at depths in accordance with Exhibit 11A – Summary of
         Testing for Exploratory Well IW-1.

     26. Install drillable bridge plug at a depth of ±4,070 feet bls.

     27. Back-plug the pilot hole with cement to the base of the 30-inch OD intermediate carbon steel
         casing.

     28. Ream the pilot hole to a nominal 30-inch diameter borehole to approximately 4,065 feet bls using
         the reverse-air circulation method. Record mechanical deviation surveys at intervals in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.




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     29. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11A – Summary of Testing
         for Exploratory Well IW-1.

     30. Install the 20-inch OD final seamless steel casing to approximately 4,060 feet bls in accordance
         with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction
         Details and conduct a standard cement bond log on the casing, before cementing, in accordance
         with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     31. Cement the 20-inch OD final seamless steel casing from the bottom of the casing to ± 300 feet
         bls. After each cement stage, perform static TEMP and NGR logs to confirm the top of cement in
         conjunction with measurement from tremie pipe hard tags in accordance with Exhibit 11A -
         Summary of Testing for Exploratory Well IW-1. Logging may be waived if poor fill-up is
         encountered.

     32. Conduct a standard cement bond log following completion of cementing of the 20-inch OD final
         seamless steel casing to within 300 feet of land surface in accordance with Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     33. Cement the final ±300 feet of the 20-inch OD final seamless steel casing.

     34. Conduct casing pressure test of the 20-inch OD final seamless steel casing in accordance with
         Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     35. Drill out cement plug at the base the 20-inch OD final seamless steel casing and ream the pilot
         hole to a nominal 16-inch diameter borehole to approximately 5,250 feet bls using the reverse-
         air circulation method. Record mechanical deviation surveys at intervals in accordance with
         Exhibit 11A - Summary of Testing for Exploratory Well IW-1.

     36. Conduct geophysical logging (CAL, NGR, TV) in accordance to Exhibit 18A - Summary of Testing
         for Exploratory Well IW-1.

     37. Install the 10.72-inch ID Red Box 1250 FRP tubing (or approved equal) and cementing packer to
         approximately 4,050 feet bls with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well
         DZMW-1 Construction Details and conduct a standard cement bond log on the casing, before
         cementing, in accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     38. Cement the 10.72-inch ID Red Box 1250 FRP injection tubing from the bottom of the tubing to ±
         300 feet bls. After each cement stage, perform static TEMP and NGR logs to confirm the top of
         cement in conjunction with measurement from tremie pipe hard tags in accordance with Exhibit
         11A - Summary of Testing for Exploratory Well IW-1. Logging may be waived if poor fill-up is
         encountered.

     39. Conduct a standard cement bond log following completion of cementing of the 10.72-inch ID Red
         Box 1250 FRP injection tubing to within 300 feet of land surface in accordance with Exhibit 11A
         – Summary of Testing for Exploratory Well IW-1.

     40. Cement the final ±300 feet of the 10.72-inch ID Red Box 1250 FRP injection tubing.

     41. Conduct casing pressure test the 10.72-inch ID Red Box 1250 FRP injection tubing in accordance
         with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.


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     42. Develop the well (injection zone). Dispose of produced settled water in the discharge location at
         the Facilities approved by the engineer of record (EOR). Purge well in accordance with FDEP SOP
         protocol.

     43. In accordance with FDEP SOP protocol, upon completion of development, collect background
         groundwater samples from the injection zone and submit them to a NELAP-Certified laboratory
         for analysis of Primary and Secondary Drinking Water Standards (Note: asbestos, Dioxin,
         butachlor, acrylamide, and epichlorohydrine will be sampled for only for the background
         groundwater samples) and Industrial Wastewater Indicator Parameters for Groundwater
         Monitoring.

     44. Complete installation of wellhead fittings and valves in accordance with Exhibit 6 – Exploratory
         Well IW-1 and Dual-Zone Monitor Well Wellhead Completion Details.

     45. Prepare for remaining mechanical integrity testing and furnish and install temporary piping,
         pumps, and valves to deliver clean and clear water for conducting a color video survey for the
         final inspection of the 10.72-inch ID Red Box 1250 FRP injection tubing and open hole in
         accordance with Exhibit 11A – Summary of Testing for Exploratory Well IW-1.

     46. An injection test shall be conducted upon re-classifying the well for operation as a Class I
         Industrial Injection Well. Once re-classified, FDEP will be notified of injection testing and
         conducting external mechanical integrity testing with geophysical logging (NGR, high-resolution
         temperature [HRT] log and a radioactive tracer survey [RTS]) in accordance with Exhibit 11A –
         Summary of Testing for Exploratory Well IW-1.

     47. Install temporary barriers and final concrete pad. Plug and abandon temporary shallow
         monitoring wells.

     48. Clean and restore disturbed areas around the drilling site.

 The following provides a chronological description of the construction, well drilling, and testing activities
 associated with the construction of Well DZMW-1, which may be started after Class V Exploratory Well
 IW-1 reaches the proposed LMZ depth for Well DZMW-1 and all the necessary information has been
 collected and evaluated to define the UMZ, USDW and LMZ at the site. Exhibit 11B provides a Summary
 of Testing to be conducted during construction activities. The final design of Well DZMW-1 will be
 contingent upon the results of Well IW-1 drilling and testing.

     1.    Drill a pilot hole to confirm the base of the surficial aquifer. The casing seat depth of the 34-inch
           OD (wall thickness to be determined) pit carbon steel casing will terminate in the confining unit
           (Intermediate Confining Unit) for isolation of the Surficial Aquifer and stabilize shallow
           unconsolidated sediments for drilling operations. The casing seat depth will be determined by
           the Contractor and reviewed and approved by the Project Geologist/Engineer prior to its
           installation. Excavate fill materials and install a 34-inch OD (wall thickness to be determined) pit
           carbon steel casing to the depth required for the drilling system; the Project Geologist/Engineer
           will oversee the installation of the pit casing. The final floor elevation within the pit casing will
           accommodate the installation of a rotating head or other sealing mechanisms to control fluids
           during drilling. Excavated materials shall be stockpiled onsite.

     2.    Construct a temporary fabricated steel (or equal) fluid containment pad.



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     3.    Install four (4) 4-inch diameter PVC shallow PMWs at locations approved by the FDEP. PMW
           locations are shown in Exhibit 2 Proposed Exploratory Well, Dual-Zone Monitoring Well and
           Pad Monitoring Well Locations and PMW construction details are show in Exhibit 5 – Pad
           Monitoring Well Design. A NELAP certified laboratory will be utilized to conduct analyses on
           background samples collected at the PMWs.

     4.    Mobilize and set up drilling equipment at the MW site.

     5.    Drill a nominal 12.25-inch diameter pilot hole using standard mud-rotary drilling methods to
           approximately 550 feet bls, record mechanical deviation surveys and collect rock formation
           samples at intervals in accordance with Exhibit 11B – Summary of Testing for Dual-Zone Monitor
           Well DZMW-1.

     6.    Conduct geophysical logging in accordance with Exhibit 11B – Summary of Testing for Dual-Zone
           Monitor Well DZMW-1 (CAL, NGR, SP, DIL, BHCS w/ VDL and ABI).

     7.    Ream pilot hole to nominal 34-inch diameter borehole using the direct mud-rotary method to
           approximately 505 feet bls and record mechanical deviation surveys at intervals in accordance
           with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     8.    Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11B – Summary of Testing
           for Dual-Zone Monitor Well DZMW-1.

     9.    Install the 24-inch OD surface carbon steel casing (0.500-inch wall) to approximately 500 feet bls
           in accordance with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1
           Construction Details, and cement to surface. Conduct geophysical logging [Temperature (TEMP)
           and NGR] after each cement stage in accordance with Exhibit 11B – Summary of Testing for Dual-
           Zone Monitor Well DZMW-1 to confirm top of cement in conjunction with measurement from
           tremie pipe hard tags.

     10. Install the artesian flow control device, to control flow at the artesian head pressures within the
         Floridan Aquifer System during reverse-air circulation drilling.

     11. Drill out cement plug and drill a nominal 12.25-inch diameter hole centered at the bottom of the
         24-inch OD casing to approximately 2,200 feet bls using the reverse-air circulation method.
         Record mechanical deviation surveys, collect rock/water formation samples, and analyze air-
         lifted water samples during reverse-air drilling in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1.

     12. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     13. Conduct up to two (2) packer tests at depths in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1. Collect and analyze (NELAP-Certified laboratory)
         groundwater samples during packer testing to confirm the water quality of the UMZ.

     14. Install drillable bridge plug at a depth of ±2,080 feet bls.

     15. Back-plug the pilot hole with cement to the base of the 24-inch OD surface carbon steel casing.


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     16. Ream pilot hole to nominal 24-inch diameter borehole using the direct mud-rotary method to
         approximately 2,080 feet bls and record mechanical deviation surveys at intervals in accordance
         with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     17. Conduct geophysical logging (CAL and NGR) in accordance with Exhibit 11B – Summary of Testing
         for Dual-Zone Monitor Well DZMW-1.

     18. Install the 16-inch OD final seamless steel casing to approximately 2,075 feet bls in accordance
         with Exhibit 3 – Exploratory Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction
         Details and cement to surface. After each cement stage, perform static TEMP and NGR logs in
         accordance with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1 to
         confirm the top of cement in conjunction with measurement from tremie pipe hard tags.

     19. Drill out cement plug and drill a nominal 12.25-inch diameter hole centered at the bottom of the
         16-inch OD final seamless steel casing to approximately 3,070 feet bls using the reverse-air
         circulation method. Record mechanical deviation surveys, collect rock/water formation samples,
         and analyze air-lifted water samples during reverse-air drilling in accordance with Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     20. Conduct geophysical logging (Static Logs: CAL, NGR, SP, DIL, BHCS w/ VDL, TV or OBI or ABI, TEMP,
         FR and FM; Dynamic logs: TEMP: FR and FM) on the pilot hole in accordance to Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1.

     21. Conduct up to two (2) packer tests at depths in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1. Collect and analyze (NELAP-Certified laboratory)
         groundwater samples during packer testing to confirm the water quality of the LMZ.

     22. Install the 6.21-inch ID Red Box 1250 FRP tubing (or approved equal) with attached external
         cementing packer to approximately 2,970 feet bls in accordance with Exhibit 3 – Exploratory
         Well IW-1 and Dual-Zone Monitor Well DZMW-1 Construction Details. And conduct a standard
         cement bond log on the casing, before cementing, in accordance with Exhibit 11B – Summary of
         Testing for Dual-Zone Monitor Well DZMW-1.

     23. Cement approximately 770 feet of the bottom 6.21-inch ID Red Box 1250 FRP tubing, from
         approximately 2,970 feet to 2,200 feet bls. After each cement stage, perform static TEMP and
         NGR logs in accordance with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well
         DZMW-1 to confirm the top of cement in conjunction with measurement from tremie pipe hard
         tags.

     24. Conduct CBL once cementing is complete in accordance with Exhibit 11B – Summary of Testing
         for Dual-Zone Monitor Well DZMW-1.

     25. Install temporary wellhead appurtenances, and after the cement has cured, perform casing
         pressure test on the 6.21-inch ID FRP tubing using an inflatable down-hole packer in accordance
         with Exhibit 11B – Summary of Testing for Dual-Zone Monitor Well DZMW-1

     26. Develop both monitoring zones in accordance with Exhibit 11B – Summary of Testing for Dual-
         Zone Monitor Well DZMW-1, following FDEP SOP protocol. Upon completion of development,
         collect a groundwater sample from each completed monitoring zone and submit them to a
         NELAP-Certified laboratory for analysis of Primary and Secondary Drinking Water Standards


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           (Note: asbestos, Dioxin, butachlor, acrylamide, and epichlorohydrine will be sampled for only for
           the background groundwater samples) and Industrial Wastewater Indicator Parameters for
           Groundwater Monitoring.

     27. Perform final inspection of 6.21-inch ID FRP tubing by running a CAL log (open-hole only) and TV
         survey while flowing or pumping the 6.21-inch ID FRP tubing in accordance with Exhibit 11B –
         Summary of Testing for Dual-Zone Monitor Well DZMW-1. Discharge produced settled water
         to discharge location at the Facilities approved by the EOR.

     28. Install temporary wellhead assembly and appurtenances in accordance with Exhibit 5 –
         Temporary Wellhead Drawings.

     29. Install temporary pressure transducer in each monitoring zone (UMZ and LMZ) for measurement
         of artesian head (elevation) during pre-injection test background period, injection testing, and
         recovery periods (pending FDEP approval).

 5. Abandonment plan.

 This Plugging and Abandonment (P&A) plan outlines the procedures and estimated cost for P&A for Well
 IW-1, which is proposed to be converted into Injection Well IW-1, and for Well DZMW-1 located at the
 Facilities. Well IW-1 will have an approximate depth of 5,250 feet bls, while Well DZMW-1 will have an
 approximate depth of 3,070 feet bls. If the injection well system is abandoned, the injection zone and
 monitoring zones must be effectively plugged and sealed to prevent the upward migration of fluid from
 the injection zone and/or an interchange of formation water between aquifers. The P&A opinion of
 estimated costs is provided in Exhibit 12A, and the Abandonment Details are provided in Exhibit 12B.

 This P&A plan describes the procedure for plugging and sealing Well IW-1 and both monitoring zones of
 Well DZMW-1 using gravel and cement. Gravel will be used to fill in the injection zone up to 10 feet below
 the base of the FRP tubing. The 10.72-inch ID FRP injection tubing will then be plugged with cement from
 above the gravel top to land surface. For Well DZMW-1, each monitoring zone will be filled with gravel in
 the open borehole intervals up to 10 feet below the base of each casing and each respective casing will
 be cemented to land surface.

 The following is a sequence of gravel and cement sealing of the Well IW-1 injection zone and of the Well
 DZMW-1 monitoring zones. The cost calculations allow for the purchase of all the materials and services
 necessary for well abandonment tasks and represent the approximate cost for P&A of the Wells IW and
 DZMW, including a 10% contingency and estimated associated oversight for engineering costs of 20%.

 As presented in Exhibit 12B, the materials, quantities and services provided to plug the IW will proceed
 as follows:

     1. Mobilize drill rig, kill the well by filling the cemented 10.72-inch ID FRP injection tubing with
        weighted drilling mud or salt, and remove the valve assembly and appurtenances from the
        wellhead. Conduct geophysical logging.

     2. Add a volume of crushed limestone gravel to the well equal to the volume of the open hole section
        of Well IW-1 to fill the open formation to approximately 10 feet below the bottom of the 10.72-
        inch ID FRP injection tubing. Verify the depth to the top of the gravel by tagging with a wireline.
        Place neat cement in stages into the 10.72-inch ID FRP injection tubing through a tremie pipe to
        the top of the gravel. The quantity of cement pumped above the top of the gravel should be


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          equivalent to the volume of cement required to fill approximately 10 feet of open hole and the
          entire length of 10.72-inch ID FRP injection tubing.

     3. The cement should be allowed to set for 12 to 24 hours and then hard tagged with a wireline or
        tremie pipe to determine if sufficient fill up has been achieved.

     4. The remainder of the 10.72-inch ID FRP injection tubing can then be filled with neat cement using
        the tremie method to land surface.

 The UMZ and LMZ of the Well DZMW-1 will be plugged by filling the open-hole portion of each zone with
 gravel up to 10 feet below the base of the respective casing and pumping cement to fill each respective
 casing to land surface in stages. The LMZ will be abandoned first followed by the UMZ. As presented in
 Exhibit 12B, the proposed plan to abandon the Well DZMW lower and upper zones by gravel and cement
 method will proceed as follows:

     1. Mobilize a drill rig and kill the well by partially filling the 6.21-inch ID FRP tubing of the LMZ with
        weighted drilling mud or salt. Remove the wellhead flanges and appurtenances from the well.
        Conduct geophysical logging.

     2. Add a volume of gravel to the well equal to the volume of the open-hole sections of the
        monitoring zones. Fill the open-hole with gravel to approximately 10 feet below the bottom of
        each casing (to 2,980 feet bls within the 6.21-inch ID FRP tubing and to 2,085 feet bls within the
        annulus between the 6.21-inch ID FRP tubing and the 16-inch OD final seamless steel casing).
        Verify the depth to gravel placement by hard tagging the gravel top in both zones with a wireline
        or tremie pipe.

     3. For the LMZ, pump neat cement on top of the gravel placed in the 6.21-inch ID FRP tubing. For
        the UMZ, pump neat cement on top of the gravel through a tremie pipe placed in the annulus
        between the 6.21-inch ID FRP tubing and the 16-inch OD final seamless steel casing. Fill the casings
        with the neat cement in stages to land surface.

     4. Verify the depth of each stage by hard tagging the cement top with a wire line or tremie pipe.

     5. Complete below ground and add monument.




 BLACK & VEATCH | Class V Exploratory Well Construction Permit Supporting Data                            2-18

                                            APPX ATT_V5_2246
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1



 3.0 Supplemental Information - Future Class I Industrial Injection
     Well Permit Application
 (Responses to Part A, Numbers 1-5 of Form 62-528.900(1))

 A. CLASS I TEST/INJECTION WELL CONSTRUCTION AND TESTING
    PERMIT
 1. A map showing the location of the proposed injection wells of well field area for which a permit is
    sought and the applicable area of review. Within the area of review, the map must show the
    number or name, and location of all producing wells, injection wells, abandoned wells, dry holes,
    surface bodies of water, springs, public water systems, mines (surface and subsurface), quarries,
    water wells and other pertinent surface features including residences and roads. The map should
    also show faults, if known or suspected. Only information of public record and pertinent
    information known to the applicant is required to be included on this map.

 This information was provided in Item No. 2 Part (F) of Form 62-528.900(1). Also, please see Exhibits 7A,
 7B, 9, and 10A-10H for associated AOR information.

 2. A tabulation of data on all wells within the area of review which penetrate into the proposed
    injection zone, confining zone, or proposed monitoring zone. Such data shall include a description
    of each well’s type, construction, date drilled, location, depth, record of plugging and/or
    completion, and any additional information the Department may require.

 This information was provided in Item No. 2 Part (F) of Form 62-528.900(1). Also, please see Exhibit 9
 Tabulation of wells and well permits found within the 1-Mile Area of Review.

 3. Maps and cross sections indicating the general vertical and lateral limits within the area of review
    of all underground sources of drinking water, their position relative to the injection formation and
    the direction of water movement, where known, in each underground source of drinking water
    which may be affected by the proposed injection.

 The different terminology for the hydrogeologic units of the Floridan Aquifer System (FAS) over different
 studies is presented in Exhibit 13 (Williams and Kuniansky, 2016). A stratigraphic column showing the
 relation of hydrogeologic units of the FAS to geologic units and their lithology based on the hydrogeologic
 framework report Synthesis of the Hydrogeologic Framework of the Floridan Aquifer System and
 Delineation of a Major Avon Park Permeable Zone in Central and Southern Florida is presented in
 Exhibit 14A (Reese, R. S. and Richardson E., 2008). Exhibit 14B provides a regional stratigraphic column of
 the Paleogene through the Upper Jurassic aged geologic formations of the South Florida Basin (Roberts-
 Ashby et al., 2013).

 Near the Facilities, underground sources of drinking water are present in the upper FAS and potentially in
 the lower FAS. A potentiometric map of the UFA is presented in Exhibit 15A, showing groundwater flow
 is toward the coast (West). The elevation of the top of the FAS is highly variable onsite and ranges from
 approximately -50 feet NGVD29 as depicted on Exhibit 15B. The elevation of the top of the LFA is at
 approximately -1,475 feet NGVD29 as shown in Exhibit 15D. Exhibit 15E shows the elevation of the base
 of the FAS, which is approximately -3,100 feet NGVD29. A map of water quality zone contours indicating



 BLACK & VEATCH | Supplemental Information - Future Class I Industrial Injection Well Permit Application             3-1

                                             APPX ATT_V5_2247
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 the elevation of the 10,000-mg/L TDS isopleth (USDW) throughout Florida is presented in Exhibit 15F,
 indicating its presence at approximately 2,600 feet NGVD29 below the Facilities. This map also shows that
 the Facilities are in a potential salinity inversion area, meaning fresher water could lie beneath more saline
 water. The estimate of the base of the USDW from Exhibit 15F is approximately 260 feet shallower than
 the anticipated base of the USDW discussed in Section 2, Item No. 1. Based on the local and regional
 hydrostratigraphic cross sections utilizing nearby wells presented in Exhibits 16B, 16C and 16D, the base
 of the USDW is anticipated to be at 2,860 feet bls below the Facilities. An isopach map displaying the
 thickness of freshwater in the FAS is shown in Exhibit 15G, which shows the Facility lie above freshwater
 saturated zone that is approximately 2,600 feet thick.

 An elevation map of the Oldsmar Formation Permeable Zone including the geographical extent of the
 higher-permeability unit called the Boulder Zone is presented in Exhibit 15H. This figure shows the
 Boulder Zone is not present and that the estimated TDS concentration is less than 10,000 mg/L in the
 region of western Polk County, meaning, a USDW could be present in the Oldsmar Formation Permeable
 Zone below the Facilities. The thickness of the Middle Cedar Keys Formation which serves as a confining
 unit (Sub-Floridan Confining Unit [SFCU]) below the LFA is presented in Exhibit 15I. A map displaying the
 thickness of the Lower Cedar Keys and Upper Lawson Limestone Formations, a portion of the proposed
 injection zone (UCPZ), is provided in Exhibit 15J. These two maps were obtained from a regional
 investigation of using the Lower Cedar Keys and Upper Lawson Limestone Formations as an injection zone
 for carbon sequestration (Roberts-Ashby et al., 2013).

 The potentiometric surface of deeper hydraulically isolated zones below the FAS, particularly the Upper
 Cretaceous Permeable Zone, have not been extensively mapped like the UFA. The potentiometric surface
 of the Upper Cretaceous Permeable Zone may be influenced by the operation of existing IWs used to
 dispose of municipal or industrial effluent, such as those at the Tampa Electric Company (TECO) Polk
 Power Plant approximately 11 miles south of the Facilities. Since no operational injection wells have been
 constructed or operated within the AOR for this project, the presence of effluent/concentrate in the
 proposed injection zone or confining units is not expected at the Facilities.

 Local hydrostratigraphic cross sections A-A’, B-B’ and C-C’ are presented in Exhibits 16B, 16C and 16D.
 The depths of nearby USDWs (defined by the 10,000 mg/L-isopleth) were gathered from construction and
 testing reports of nearby wells and are indicated in Exhibits 16B, 16C and 16D. Using this information, the
 anticipated depth of the USDW at the Facilities is expected to be approximately 2,860 feet bls. Regional
 cross section P-P’ published in a revised hydrogeologic framework of the FAS report prepared by the USGS
 is presented in Exhibit 17B (Williams and Kuniansky, 2016). The depths of USDWs in the nearby wells used
 for the study are included in these figures.

 The base of the USDW is expected to be approximately 788 feet below the base of the Middle Confining
 Unit II (MCU II) and is expected to lie approximately 60 feet above the top of the SFCU. The MCU II is
 expected to be approximately 945 feet thick and the SFCU is expected to be approximately 1,065 feet
 thick below the Facilities. The top of the injection zone, the UCPZ, is expected to be encountered
 approximately 1,125 feet below the base of the USDW. These estimated depths and thicknesses are based
 on the hydrogeological investigation performed during the creation of local hydrostratigraphic cross
 sections, discussed further in Item No. 4 below.

 The open hole is designed to a depth of 5,250 ft bls, with the injection zone interpretted to be in the UCPZ
 of the Cedar Keys Formation and the underlying Lawson Limestone. Should test results indicate that the
 strata above 3,000 ft bls and below the base of the USDW has adequate transmissivity and sufficient



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                                             APPX ATT_V5_2248
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 confinement between the USDW and the proposed injection zone, Mosaic will confer with FDEP about
 potential changes to the injection zone.

 4. Maps and cross sections detailing the hydrology and geologic structures of the local area.

 Review of published literature revealed no confirmed geologic, tectonic, or physiographic structures, such
 as faults, folds, or penetrating sinkholes at the Facilities. A geological structure map of Florida is presented
 in Exhibit 18. Regional information on the geologic setting is presented below in Item No. 5.

 Two north-south trending local cross sections, A-A’ and C-C’, and one east-west trending cross section, B-
 B’, are presented in Exhibits 16B, 16 C and 16D. A location map for these hydrostratigraphic cross-sections
 utilizing available data from deep wells within Hillsborough, Polk, Pasco, Sumter, Lake, Manatee, Pinellas
 and Hardee Counties, is presented in Exhibit 16A. These cross-sections were developed using available
 data from the FDEP Geospatial Open Data Portal, the FDEP Oculus Electronic Management System, and
 the South Florida Water Management District’s (SFWMD) DBHydro environmental database. Delineation
 of the hydrostratigraphic boundaries were established primarily from the construction and testing reports
 of nearby wells as well as interpretation of geophysical logs and lithologic data. The depths of USDWs in
 these nearby wells are also included in these figures. The position of the proposed Facilities IW System
 site is shown for reference on the cross-sections which show the general structure of the geologic units
 extending from land surface through the lower Cretaceous formations. Hydrostratigraphic boundaries for
 the following units are depicted:

         Surficial Aquifer System (SAS)
         Intermediate Confining Unit (ICU)
         Upper Floridan Aquifer (UFA)
         Middle Semi-Confining Unit I (MCU I)
         Avon Park Permeable Zone (APPZ)
         Middle Semi-Confining Unit II (MCU II)
         Lower Floridan Aquifer (LFA)
         Sub-Floridan Confining Unit (SFCU)
         Upper Cretaceous Permeable Zone (UCPZ)
         Semi-Confinement
 The uppermost aquifer system is the SAS and is composed of unconsolidated sands, clay, marl, shells,
 limestone, and sandy clay. In some areas of Central-West Florida, the SAS is not present because the FAS
 is exposed at the surface due to karst topographic features (Crandall, 2007). In Polk County, the SAS has
 a thickness of approximately 85 feet. The SAS is underlain by low-permeability sediments of the Hawthorn
 Group from the Miocene Epoch. The Hawthorn Group contains sands, clays, limestones and varying
 amounts of phosphate and dolomite content. The Hawthorn group serves as a confining bed referred to
 as the ICU and these sediments are approximately 175 feet thick at the proposed Exploratory Well IW-1
 location.

 The top of the UFA of the FAS is encountered at the base of the ICU which coincides with either the
 limestones of the lower Arcadia Formation or the upper Suwannee Limestone at a depth of approximately
 260 feet bls at the proposed Exploratory Well IW-1 location. A structure map showing the elevation of the


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                                             APPX ATT_V5_2249
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 top of the UFA throughout Florida is presented in Exhibit 15B. Researchers (Miller 1986; Reese, 1994)
 have described multiple discrete confining units separating the individual aquifers of the FAS. The Ocala
 Limestone and upper portion of the Avon Park Formation are typically composed of semi-low-
 permeability limestones and dolostones and serve as a semi-confining unit referred to as the MCU I
 (sometimes called the Ocala-Avon Park Lower Permeability Zone or OCAPLPZ) that separates the UFA from
 the APPZ. The extent of the MCU I is believed to “pinch out” or be very thin in much of Central-West
 Florida and therefore this unit, if present, is considered leaky at the Facilities (Williams and Kuniansky,
 2016). The presence of this zone will be confirmed during drilling of the exploratory well. The APPZ is a
 higher permeable zone of the Avon Park Formation and is sometimes considered part of the UFA (Reese
 and Richardson, 2008) or part of the LFA. Some researchers even refer to it as the “Middle Floridan
 Aquifer,” but is considered part of the UFA in this report. The entire UFA including the MCU I and APPZ is
 approximately 870 feet thick at the Facilities.

 Below the UFA is an evaporite-bearing confining unit generally considered not leaky in Central-West
 Florida, called the MCU II (Miller, 1986). The MCU II is sometimes referred to as the Middle Avon Park
 Composite Unit (Williams and Kuniansky, 2016) and contains lower permeability deposits such as
 gypsiferous dolostone, gypsum, anhydrite, limestone, and organic-rich clays in the middle and lower
 portions of the Avon Park Formation. The MCU II separates the UFA from the LFA. Beneath the Facilities,
 the MCU II is expected to be approximately 945 feet thick, though could be interbedded with small
 permeable zones. Exhibit 15C presents a structure map showing the elevation to the top of the MCU II
 and its general composition across Florida. Exhibit 15D presents a structure map showing the elevation
 to the top of the LFA. The LFA is comprised of the Lower Avon Park Formation, the Oldsmar Formation,
 and the Upper Cedar Keys Formation and contains all permeable zones below the MCU II, including a
 Lower Avon Park Permeable Zone and the Oldsmar Formation Permeable Zone (Williams and Kuniansky,
 2016). The elevation of the top of the Oldsmar Formation Permeable Zone is presented in Exhibit 15H,
 which shows the water quality of this unit below the Facilities could represent a USDW (TDS
 concentrations below 10,000 mg/L). This figure also shows that the higher permeable zone (Boulder Zone)
 of the Oldsmar Permeable Zone that others use as an injection zone for Class I Injection Wells in South
 Florida. The Boulder Zone is not present below the site. The LFA is expected to be approximately 850 feet
 thick under the Facilities.

 The Cedar Keys Formation in West-Central Florida is typically classified into three units (upper, middle,
 and lower). The upper unit is typically considered part of the LFA. The middle unit is anhydrite-rich, low in
 permeability and typically considered the primary confining unit (serving as the SFCU in this case) in
 between the FAS and the UCPZ. The Lower Cedar Keys Formation and the Lawson Limestone are
 permeable and serve as the UCPZ. The UCPZ has been researched for its storage potential as an injection
 zone for injection wells, both Class I and Class VI Carbon Sequestration Wells (Roberts-Ashby et al., 2013).
 A map displaying the thickness of the Middle Cedar Keys Formation (that serves as the SFCU) is presented
 in Exhibit 15I. The SFCU is expected to be approximately 1,065 feet thick below the Facilities based on the
 hydrostratigraphic projections from nearby wells and interpreted while creating the local cross sections
 provided in Exhibits 16B and 16C. The upper member of the Lawson Limestone is mostly an algal and
 rudistid biostrome that has undergone extensive alteration of the primary and is somewhat high in
 permeability (Applin and Applin 1944, 1967; Miller 1986; Roberts-Ashby et al., 2013) and the lower
 member is composed of chalk with thin lenses of dolostone and is lower in permeability (Roberts-Ashby
 et al., 2013). A map displaying the thickness of the Lower Cedar Keys Formation and the Upper Lawson
 Limestone (referred to as the Cedar Keys/Lawson Limestone injection zone [CKLIZ] in the figure) is
 presented in Exhibit 15J. These two formations have also been considered as a potential injection zone
 for carbon capture and sequestration (CCS), based on research by Roberts-Ashby et al., 2013, and do not


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                                             APPX ATT_V5_2250
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 Mosaic Fertilizer, LLC | Mosaic Green Bay-Bartow Facility Exploratory Well IW-1


 include the Lower Lawson Limestone unit. This storage complex is depicted on the stratigraphic column
 provided in Exhibit 14B. The Lower Lawson Limestone is believed to be permeable enough to receive
 wastewater and is thus included in the LCPZ in the region of West-Central Florida according to the TECO
 IW-2 Well Completion Report (MWH, 2013). The UCPZ is expected to be approximately 965 feet thick
 below the Facilities.

 5. Generalized maps and cross sections illustrating the regional geologic setting.

 One regional cross section created during a regional USGS study Revised Hydrogeologic Framework of the
 Floridan Aquifer System in Florida and Parts of Georgia, Alabama, and South Carolina (Williams and
 Kuniansky, 2016) is presented in Exhibit 17B. These include one east-west trending (P-P’), in the region of
 the Facilities. A location map for the wells used in these hydrostratigraphic cross sections is presented in
 Exhibit 17A. The depths of USDWs in nearby wells are also included in this figure. Hydrostratigraphic and
 lithologic boundaries are presented in these cross sections. All the regional-scale maps referred to in the
 above Item No. 4 are also relevant to Item No. 5.

 The Facilities are located within the Atlantic Coastal Plain physiographic region. The region’s geologic and
 tectonic setting is the product of a complex history of continental collisions and rifting followed by
 deposition of sediments on the Florida platform. Basement rocks consist of Paleozoic and Mesozoic aged
 igneous, metamorphic, and sedimentary rocks. The overlying Mesozoic Era carbonate and evaporite
 sedimentary rocks may be 15,000 feet thick (Miller, 1986). Overlying the Mesozoic Era rocks,
 approximately 6,000 feet of Cenozoic Era carbonate and siliciclastic sedimentary rocks occur (Applin and
 Applin, 1944, Arthur, J.D., 1988; Milton, C., 1972). The geologic structures as shown in Exhibit 18 that have
 affected shallow Tertiary and Quaternary Period sediments of the Florida Platform have been defined by
 numerous authors (Puri and Vernon, 1974; Miller, 1986; Scott, 1988; Scott, 1992). Most of the structures
 recognized as influencing the deposition, erosion and alteration of the Cenozoic Era sediments in Florida
 do not appear to have had a significant effect on the surface expression of the lithostratigraphic units
 (Scott, 1988).

 As previously mentioned, local hydrogeologic cross-sections for west-central Florida are shown in
 Exhibits 16B, 16C and 16D. Exhibit 14B provides a generalized stratigraphic column of the geologic
 formations below the region of the Facilities obtained from a regional-scale investigation of using the
 Upper Cretaceous units in Florida as an injection zone for carbon sequestration (Roberts-Ashby et al.,
 2013). A geologic map of the Northern Florida Peninsula is presented in Exhibit 19A and 19B. The position
 of the proposed Facilities IW System site is shown for reference on the cross-sections which show the
 general structure of the geologic units extending from land surface through the lower Eocene formations.




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                                             APPX ATT_V5_2251
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                                         APPX ATT_V5_2252
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                                         APPX ATT_V5_2253
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                              F LORIDA
                                     A DEPARTMENTT OF                                          Ronn DeSantis
                                                                                                    Governor
                              Environmentall Protection                                      Jeanette Nuñez
                                                                                                Lt. Governor
                                              Bob Martinez Center
                                            2600 Blair Stone Road                          Alexiss A.. Lambert
                                         Tallahassee, FL 32399-2400                                   Secretary


Sent Via Electronic Mail                                                 1RYHPEHU , 2024

In the Matter of an Application for Permit by:

Scott Wuitschick                               UIC Permit File: 0441607-001-UC/1EX
Geotechnical Director                         WACS Facility ID: 108119
Mosaic Fertilizer, LLC                                County: Hillsborough
13830 Circa Crossing Drive                               Class: Class V Exploratory Well System
Lithia, Florida 33547                                     Well: IW-1
Scott.Wuitschick@MosaicCo.com                    Permit Type: Construction
                                                      Facility: Mosaic Class V Exploratory Well

                                       Notice of Draft Permit
The Department of Environmental Protection (Department) hereby gives notice that a draft permit
has been developed for the proposed project as detailed in the application specified above, for the
reasons stated below.
The applicant, Mosaic Fertilizer, LLC, Scott Wuitschick, Geotechnical Director, 13830 Circa Crossing
Drive, Lithia, Florida 33547, applied on October 27, 2023, for a Class V exploratory well construction
permit.
The Department has permitting jurisdiction under Chapter 403 of the Florida Statutes (F.S.) and the
rules adopted thereunder. The project is not exempt from permitting procedures. The Department
has determined that an Underground Injection Control permit is required for the proposed work.
Pursuant to Section 403.815, F.S., and Rule 62-528.315(6)(b) of the Florida Administrative Code, the
applicant is required to publish at their own expense the enclosed Notice of Draft Permit. The notice
must be published one time only within 30 days in a newspaper of general circulation in the area
affected. For the purpose of this rule, "publication in a newspaper of general circulation in the area
affected" means publication in a newspaper meeting the requirements of Sections 50.011 and
50.031, F.S., in the county where the activity is to take place. The applicant shall provide proof of
publication to the Aquifer Protection Program of the Department within seven (7) days of publication.
Failure to publish the notice and provide proof of publication within the allotted time may result in the
denial of the permit.
Any interested person may submit written comments on the draft permit within 30 days of the public
notice. Written comments may be submitted to the Department of Environmental Protection, Aquifer
Protection Program, 2600 Blair Stone Road, MS 3530, Tallahassee, Florida 32399-2400. All comments
received within the 30-day period and during the public meeting will be considered by the
Department in formulating a final decision concerning this project. If a public meeting is arranged, it
must be held in the area of the well no less than 30 days after publication of this notice for the
purpose of receiving verbal and written comment concerning this project. If a public meeting is not
arranged prior to publication, the notice must provide an opportunity for a public meeting. If a public


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Permittee:
  USCA CaseScott Wuitschick, Geotechnical
            #25-1087          Document Director
                                          #2105058              UIC03/10/2025
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           Mosaic Fertilizer, LLC                             WACS Facility ID: 108119
           Mosaic Class V Exploratory Well                               Date: 1RYHPEHU , 2024

meeting is later scheduled, there will be another 30-day notice period for that meeting. Please
contact Walsta Jean-Baptiste, at 850-245-8386 for additional information.

Executing and Clerking:
Executed in Tallahassee, Florida
State of Florida Department of Environmental Protection




            _____________________
    _____________________________________
                 Richard Lobinske, Ph.D.
               Environmental Administrator
              Underground Injection Control
                Aquifer Protection Program
        Division of Water Resource Management

Certificate of Service
The undersigned duly designated clerk hereby certifies that this Notice of Draft Permit and all copies
were sent on the filing date 1RYHPEHU , 2024, to the following listed persons:
Richard Lobinske, DEP/TLH, Richard.Lobinske@FloridaDEP.gov
Annette Solveigh, DEP/TLH, Annette.Solveigh@FloridaDEP.gov
Walsta Jean-Baptiste, DEP/TLH, Walsta.JeanBaptiste@FloridaDEP.gov
James Dodson, DEP/TLH, James.Dodson@FloridaDEP.gov
Cheryl Greenwell, DEP/TLH, Cheryl.Greenwell@FloridaDEP.gov
Edith Chuy, DEP/TLH, Edith.Chuy@FloridaDEP.gov
Emily Larson, DEP/SWD, Emily.Larson@FloridaDEP.gov
Ronald McCulley, DEP/TLH, Ronald.McCulley@FloridaDEP.gov
Jon M Dinges, Black & Veatch, DingesJ@BV.com
Edward Rectenwald, Black & Veatch, RectenwaldE@BV.com
Anamaria Sarmiento, Black & Veatch, SarmientoA@BV.com
Ed Coppock, Hillsborough EPC, CoppockE@EPCHC.org
Sam Elrabi, Hillsborough EPC, Elrabi@EPCHC.org
Matthew Knoll, DEP/TLH, Matthew.Knoll@DEP.state.FL.us
Jason Meadows, USEPA/ATL, Meadows.JasonB@EPA.gov
Filing and Acknowledgment
Filed, on this date, pursuant to Section 120.52, Florida Statutes, with the designated Department
Clerk, receipt of which is hereby acknowledged.

 Marjane C. Digitally       signed by
                   Marjane C. Taylor
                   Date: 2024.11.22
 Taylor
 __________________________________
                   16:07:28 -05'00'             ______________________
                  Clerk                                         Date




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      USCA Case #25-1087                    State of Florida Filed: 03/10/2025
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                                 Department of Environmental Protection

                                       Notice of Draft Permit
The Department of Environmental Protection hereby provides notice that it has prepared a draft permit
for the proposed project as detailed in the application, subject to the conditions specified in the draft
permit and summarized below. The applicant, Mosaic Fertilizer, LLC, Scott Wuitschick, Geotechnical
Director, 13830 Circa Crossing Drive, Lithia, Florida 33547 applied on Oct 27, 2023, for a Class V
exploratory well construction permit. The project is located at Mosaic Class V Exploratory Well, 10609
Paul S Buchman Hwy, Plant City, Florida 33565, in Hillsborough County (File 0441607-001-UC/1EX,
WACS ID 108119).
The permittee will construct one non-hazardous Class V Group 9 exploratory well (IW-1) and associated
dual-zone monitor well (DZMW-1) at the Mosaic Fertilizer, LLC, Plant City Concentrate Facility. No
injection is authorized by this permit with the exception of a short-term injection test to test the
suitability of the proposed injection zone.
The permittee will later apply for well reclassification as a non-hazardous Class I injection well for the
disposal of non-hazardous phosphogypsum stack system (gyp-stack) industrial wastewater stored in the
Mosaic Plant City Concentrate Facility, the phreatic water collected by the gyp-stack underdrain system,
and recovery well water from the Mosaic Plant City Concentrate Facility. Injectate will be limited to
wastewater generated and treated at the Mosaic Plant City facility and regulated under its National
Pollutant Discharge Elimination System Permit (FL0000078).
The primary proposed location for IW- LV ODWLWXGH Û   1 DQG ORQJLWXGH Û   : DQG
WKH VHFRQGDU\ ORFDWLRQ LV ODWLWXGH Û   1 DQG ORQJLWXGH Û   :
IW-1 is proposed to be constructed with a 20-inch diameter casing set to 3,610 feet below land surface
(bls), a 10.72-inch diameter tubing set to 3,600 feet bls with a cemented annulus, and total depth of
5,100 feet bls.
The Department has permitting jurisdiction under Chapter 403 of the Florida Statutes and the rules
adopted thereunder. The project is not exempt from permitting procedures. The Department has
determined that an Underground Injection Control permit is required for the proposed work.
Any interested person may submit written comments on the draft permit and may request a public meeting
within 30 days after publication of this public notice. A request for a public meeting shall be submitted in
writing and shall state the nature of the issues proposed to be raised in the meeting. If a public meeting is
later scheduled, there will be another 30-day notice period for that meeting. Written comments or a public
meeting request shall be submitted to the Department of Environmental Protection, Aquifer Protection
Program, 2600 Blair Stone Road, MS 3530, Tallahassee, Florida 32399-2400, which is the office processing
this permit application. All comments received within the 30-day period will be considered in formulation of
the Department's final decision regarding permit issuance.
The files associated with this order are available for public inspection during normal business hours, 8
a.m. to 5 p.m., Monday through Friday, except state holidays, at the Department of Environmental
Protection, Southwest District, and at the Department of Environmental Protection, Aquifer Protection
Program office in Tallahassee. Any additional information concerning this project may be obtained by
contacting Walsta Jean-Baptiste, at 850-245-8386.




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                                                                                             n DeSantis
   USCA Case #25-1087             Florida Department
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                                                                                                  Governor

                            Environmentall Protection                                      Jeanette Nuñez
                                                                                              Lt. Governor
                                            Bob Martinez Center
                                          2600 Blair Stone Road                          Alexiss A.. Lambert
                                       Tallahassee, FL 32399-2400                                   Secretary

                             Underground Injection Control
                          Class V, Group 9, Exploratory Permit
Permittee                                                 Permit/Certification
Scott Wuitschick, Geotechnical Director   UIC Permit Number: 0441607-001-UC/1EX
Mosaic Fertilizer, LLC                     WACS Facility ID: 108119
13830 Circa Crossing Drive                 Date of Issuance: Draft
Lithia, Florida 33547                     Date of Expiration: Draft
Scott.Wuitschick@MosaicCo.com              Permit Processor: Walsta Jean-Baptiste

Facility                                             Location
Mosaic Plant City Facility                             County: Hillsborough
10609 Paul S Buchman HWY                              Latitude: IW-1 Primary: 28° 08' 51.25" N
Plant City, Florida 33565                                       IW-1 Secondary: 28° 09' 43.02" N
                                                    Longitude: IW-1 Primary: 82° 08' 19.08" W
                                                                IW-1 Secondary: 82° 08' 29.90" W

     Project: Exploratory Well System IW-1
     This permit is issued under the provisions of Chapter 403, Florida Statutes (F.S.), and
     the rules adopted thereunder, particularly Chapter 62-528, Florida Administrative Code
     (F.A.C.). The above-named permittee is hereby authorized to perform the work or
     operate the facility shown on the application and approved drawing(s), plans, and other
     documents attached hereto or on file with the Department of Environmental Protection
     (Department) and made a part hereof and specifically described as follows.
     To Construct: One non-hazardous Class V, Group 9, exploratory well (IW-1) at the
     Mosaic Fertilizer, LLC, Plant City Concentrate Facility. No injection is authorized by this
     permit with the exception of a short-term injection test to test the suitability of the
     proposed injection zone.
     The permittee will later apply for well reclassification as a non-hazardous Class I
     injection well for the disposal of non-hazardous phosphogypsum stack system (gyp-
     stack) industrial wastewater stored in the Mosaic Plant City Concentrate Facility, the
     phreatic water collected by the gyp-stack underdrain system, and recovery well water
     from the Mosaic Plant City Concentrate Facility. Injectate will be limited to wastewater
     generated and treated at the Mosaic Plant City facility and regulated under its National
     Pollutant Discharge Elimination System Permit (FL0000078).
     The primary proposed location for IW- LV ODWLWXGH Û   1 DQG ORQJLWXGH Û
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     08' 29.90" W.



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          shall be properly plugged and abandoned. Within 180 days of well abandonment,
          the permittee shall submit to the Department the proposed plugging method,
          pursuant to Rule 62-528.460, F.A.C. [62-528.435(6) and 62-528.460(1), F.A.C.]
 II.    Site Requirements
       1. A drilling pad shall be provided to collect spillage of contaminants and to support
          the heaviest load that will be encountered during drilling.
          [62-528.410(9)(b), F.A.C.]
       2. No drilling operations shall begin without an approved disposal site for drilling
          fluids, cuttings, or waste. It shall be the permittee’s responsibility to obtain the
          necessary approval(s) for disposal prior to the start of construction. A detailed
          disposal plan shall be submitted to the Department prior to the commencement of
          drilling activities for the exploratory well and monitor well. [62-528.410(9)(a),
          F.A.C.]
       3. Specific drilling pad dimensions and design drawings for Department record shall
          be provided prior to commencing construction and shortly after selection of the
          drilling contractor. [62-528.410(9)(b), F.A.C.]
       4. The water table monitor wells surrounding the well pads shall be sampled and
          analyzed prior to drilling the exploratory well or monitor well and then weekly
          thereafter. Sampling shall include specific conductance (μmhos/cm), pH (standard
          units), chloride (mg/L), temperature (C), and water level (feet or PSI).
          [62-528.410(9)(b), F.A.C.]
       5. Hurricane Preparedness – Upon the issuance of a “Hurricane Watch” by the
          National Weather Service, the preparations to be made include but are not
          necessarily limited to the following:
          a. Secure all on-site salt and stockpiled additive materials to prevent surface
             and/or groundwater contamination.
          b. Properly secure drilling equipment and rig(s) to prevent damage to well(s) and
             on-site treatment process equipment.
          [62-528.307(1)(f), F.A.C.]
III.    Construction and Testing Requirements
       A. General
        1. Any construction, modification, repair, or abandonment of a well shall be
           performed by a Florida licensed water well contractor, licensed under Chapter
           62-532, F.A.C., to engage in the business of construction, modification, repair, or
           abandonment of a well. [62-532.200, F.A.C.]
        2. Well construction shall follow the requirements of Rule 62-532.500 for Water
           Well Construction Standards. [62-532.500, F.A.C.]




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     3. The measurement points for drilling and logging operations shall be surveyed
        and referenced to the North American Vertical Datum of 1988 (NAVD 88) prior to
        the onset of drilling activities for the exploratory well or monitor well. [62-
         160.240(3)(b)3., F.A.C.]
     4. Blow-out preventers or comparable flow control devices shall be installed on the
        exploratory well and monitor well prior to penetration of the Floridan aquifer
        system. [62-528.410(9)(c), F.A.C.]
     5. The Department shall be notified 7 days prior to the mobilization of drilling
        operations to the site. [62-528.430(1), F.A.C.]
     6. Waters spilled during construction or testing of the exploratory well system shall
        be contained and properly disposed. [62-528.307(1)(e) and (f), and 62-
         528.410(9)(b), F.A.C.]
     7. If additives that were not approved in the permit application are used during
        grouting, for lost circulation, or for any other reason, information on their
        properties shall be submitted to the Department prior to their use for review and
        approval. [62-528.410(5)(c), F.A.C.]
     8. No more than 6% bentonite gel shall be used to cement any casing or tubing
        unless advance approval is received from the Department due to conditions
        found during the drilling and logging of the well. [62-528.410(5)(f) and 62-
         528.420(5)(c), F.A.C.]
    B. Evaluation and Testing
     1. The construction, geophysical logging, and packer testing programs shall be
        implemented in accordance with this permit and as proposed in the following
        submittals:
          October 27, 2023, Well Construction Application
          January 16, 2024, Request for Additional Information (RAI)
          May 29, 2024, Application Addendum
          July 2, 2024, Revised Application Addendum
          Other approved submittals received by the Department.
         [62.528.307(1)(b), F.A.C.]
     2. Exact depths of casing seats and monitor intervals shall be determined based on
        field conditions and the results obtained during the construction and testing
        program and are subject to the conditions of this permit. The exploratory well
        will be constructed first followed by the monitor well. [62-528.410(4)(c), F.A.C.]
     3. Interval or packer tests shall be conducted in both the exploratory well and the
        monitor wells to identify confinement and the base of the USDW.
        a. The program shall include the number of interval or packer tests identified in
           the permit application, at intervals which are to be field determined.



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         b. At least one interval or packer test shall be conducted in each proposed
            monitoring interval.
         c. Interval or packer tests shall be conducted in the anticipated confining
            intervals, from the lowermost zone of the USDW to the top of the potential
            injection zone. Results from the interval or packer tests will contribute to the
            demonstration of confinement. To the extent feasible, the interval or packer
            tests shall be performed over intervals that are sufficiently narrow so as not
            to include high hydraulic conductivity beds.
         d. Water samples shall be collected from each interval or packer test, and
            analyzed for total dissolved solids (TDS), chlorides, specific conductance,
            ammonia, total Kjeldahl nitrogen, and sulfate.
         [62-528.405(1)(a) and (2)(a), and 62-528.420(6)(f), F.A.C.]
     4. Department approval is required prior to the following stages of construction and
        testing:
         Exploratory Well:
         a. Selection of exploratory well location
         b. Intermediate (30-inch) casing seat in exploratory well
         c. Final (20-inch) casing seat in exploratory well
         d. Final seat for 11.75-inch injection tubing and packer in exploratory well
         e. Short-term injection test
         [62-528.410(4)(c) and 62-528.420(4)(c), F.A.C.]
     5. The depth of the USDW and the background water quality of the monitor zones
        shall be determined during drilling and testing using the following information:
        a. Water samples from packer test data with analysis and interpretation.
        b. Geophysical logging upon reaching the total depth of the appropriate pilot
           hole interval including the following logs at a minimum: caliper, gamma ray,
           dual induction, and borehole compensated sonic. Other logs as identified in
           the permit application documents shall be run.
         [62-528.405(1)(a) and 62-528.405(3)(b), F.A.C.]
     6. The upper monitor interval shall be established within the lowermost portion of
        the USDW unless it can be demonstrated that no zone is present that can
        produce adequate water for collection of representative groundwater samples.
         [62-528.425(1)(g)4., F.A.C.]
         The lower monitoring interval shall be positioned in a zone below the base of the
         USDW that can produce adequate water for collection of representative
         groundwater samples. [62-528.425(1)(g)4., F.A.C.]
     7. The data and analysis supporting the selection of the monitoring intervals shall
        be submitted to the Department after the collection, interpretation, and analysis
        of all pertinent cores, geophysical logs, packer tests and analysis of fluid
        samples. The Department shall approve the final selection of the specific upper


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         and lower monitoring intervals prior to monitor well completion. [62-
         528.420(4)(c), F.A.C.]
     8. To identify the upper and lower monitoring zones, the following information from
        the potential injection and monitor wells and all available on-site sources of data
        shall be analyzed, interpreted and submitted for Department review and
        approval:
        a. Borehole televiewer or downhole television survey.
        b. The characteristics of the transition zone (especially regarding TDS) in the
           vicinity of the base of the USDW.
        c. Packer test data including water quality (TDS, chlorides, sulfate, specific
           conductance, ammonia, and total Kjeldahl nitrogen, at a minimum).
        d. The specific capacity of the proposed upper and lower monitoring zones
           based on packer testing results.
        e. The identification of the base of the USDW.
         [62-528.420(4)(c), F.A.C.]
     9. Confinement shall be demonstrated using at a minimum, directly measured
        lithologic properties, geophysical evidence, and tests performed while pumping
        the formation. [62-528.405(2)(c), F.A.C.]
     10.Test results pertaining to formation testing shall include and/or specifically
        reference the following informational and quality control items:
        a. Information that documents the calibration of tools, including field checks
            prior to testing.
        b. The conditioning/development of the borehole prior to logging, including the
            techniques used and the time periods in which they were applied, and
        c. Pertaining to packer/pump testing - recording the pumping rate regularly
            throughout the test to account for possible variations in the pumping rate,
            and providing information regarding the detection of packer leaks, if any,
            during testing.
         [62-528.405(2) and (3), F.A.C.]
     11.Representative samples of circulation fluid shall be collected when drilling with
        water, air, or reverse air during the drilling of the pilot holes of the exploratory
        well and the monitor well. Representative samples of circulation fluid shall be
        collected at a minimum of every 90 feet during drilling. The circulation fluid
        samples shall be analyzed for chloride and specific conductance at a minimum.
         [62-528.405(1)(a), 62-528.420(6)(g), F.A.C.]
     12.If effluent is encountered or suspected during pilot hole drilling and testing, the
        Department shall be notified immediately by telephone and in writing and
        immediate appropriate precautionary measures shall be taken to prevent any
        upward fluid movement. [62-528.440(2)(d), F.A.C.]




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    C. Mechanical Integrity
     1. Mechanical Integrity:
        a. Injection is prohibited until the permittee affirmatively demonstrates that the
           well has mechanical integrity, and a construction permit has been issued for a
           Class I injection well. Note that under this Class V exploratory well permit,
           injection of wastewater is not allowed even after demonstrating mechanical
           integrity.
        b. If the Department determines that the exploratory well lacks mechanical
           integrity, written notice shall be given to the permittee.
         [62-528.307(2)(f), F.A.C.]
     2. Mechanical integrity of each potential injection well shall be determined pursuant
        to Rules 62-528.300(6)(b) and (c), F.A.C. For wells with a fluid-filled
        casing/tubing annulus, this includes both continuous annular monitoring and a
        pressure test of the casing/tubing annulus every 5 years. [62-528.300(6)(b) and
         (c), F.A.C.]
     3. Verification of pressure gauge calibration must be provided to the Department
        representative at the time of the test and in the certified test report. [62-
         528.300(6)(f), F.A.C.]
     4. The Department’s Southwest District office must be notified a minimum of seven
        (7) calendar days prior to all testing for mechanical integrity on the exploratory
        well. Any change in the approved testing procedure must be approved by the
        Department before testing begins. All testing must be initiated during daylight
        hours, Monday through Friday other than State Holidays, unless approval has
        been given by the Department. An evaluation of test results must be submitted
        with all test data. [62-528.300(6)(f), F.A.C.]
    D. Surface Equipment
     1. The integrity of the monitoring zone sampling systems shall be maintained at all
        times. Sampling lines shall be clearly and unambiguously identified by monitoring
        zone at the point at which samples are drawn. All reasonable and prudent
        precautions shall be taken to ensure that samples are properly identified by
        monitor well name or zone and that samples obtained are representative of
        those zones. Sampling lines and equipment shall be kept free of contamination
        with independent discharges and no interconnections with any other lines. [62-
         528.307(1)(f) and 62-528.307(2)(b), F.A.C.]
     2. The surface equipment and piping for the exploratory well and the monitor well
        shall be kept free of corrosion at all times. [62-528.307(1)(f) and 62-
         528.307(2)(b), F.A.C.]
     3. Spillage onto the exploratory well or the monitor well pads during construction
        activities, and any waters spilled during mechanical integrity testing,


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         Case     Wuitschick, Geotechnical
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           maintenance, testing, or repairs to the system shall be contained on the pads
           and discharged through an approved method of disposal. [62-528.307(1)(f) and
           62 528.307(2)(b), F.A.C.]
       4. After well construction activities are complete, the exploratory well pads are not,
          unless specific approval is obtained from the Department, to be used for storage
          of any material or equipment at any time. [62 528.307(1)(f) and 62-
           528.307(2)(b), F.A.C.]
       5. Four surficial aquifer monitor wells, identified as Pad Monitor Wells (PMWs), shall
          be located near the corners of the pads to be constructed for the exploratory
          well and the monitor well, and shall be identified by number or pad location, i.e.
          NW, NE, SW, and SE. If located in a traffic area the well head(s) must be
          protected by traffic bearing enclosure(s) and cover(s). Each cover must lock and
          be specifically marked to identify the well and its purpose. The PMWs shall be
          sampled as follows:
          a. During the construction and associated testing phases, the PMWs shall be
             VDPSOHG ZHHNO\ IRU FKORULGHV PJ/  VSHFLILF FRQGXFWDQFH ǋPKRs/cm or
             ǋ6FP  ILHOG WHPSHUDWXUH DQG ZDWHU OHYHO UHODWLYH WR WKH 1RUWK $PHULFDQ
             Vertical Datum of 1988 (NAVD 88). Chlorides and specific conductance may
             be from field or lab samples.
          b. Initial PMW analyses shall be submitted prior to the onset of drilling activities.
          c. The PMWs shall also be sampled for total dissolved solids (mg/L, laboratory
             samples) during the first four weeks of PMW sampling and at all times when
             specifically requested by the Department.
          d. The results of the PMW analyses shall be submitted to the Department in the
             weekly progress report. The PMWs shall be retained in service throughout the
             construction phase of the project. Upon completion of construction, the
             permittee may submit a request to the Department for cessation of sampling
             followed by capping, or plugging and abandonment of these wells.
           [62-528.410(9)(b), F.A.C.]
IV.    Quality Assurance/Quality Control
      1. The permittee shall ensure that the construction of this exploratory well system
         shall be as described in the application and supporting documents. Any proposed
         modifications to the permit, construction procedures, testing procedures,
         completion procedures, or any additional work not described in the application or
         supporting documents shall be submitted in writing to the Aquifer Protection
         Program (APP) Tallahassee office for review and clearance prior to
         implementation. Changes of negligible impact to the environment and staff time
         will be reviewed by the program manager, cleared when appropriate and
         incorporated into this permit. Changes or modifications other than those described
         above will require submission of a completed application and appropriate
         processing fee as per Rule 62-4.050, F.A.C. [62-4.050, F.A.C.]


                                                 8
                                         APPX ATT_V5_2264
Permittee:
USCA       Scott
        Case     Wuitschick, Geotechnical
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    2. All water quality samples required by this permit shall be collected in accordance
       with the appropriate Department Standard Operation Procedures (SOP), pursuant
       to Chapter 62-160, F.A.C., Field Procedures. A certified laboratory shall conduct
       the analytical work, as provided by Chapter 62-160, F.A.C., Laboratory
       Certification. Department approved test methods shall be utilized, unless otherwise
       stated in this permit. All calibration procedures for field testing and laboratory
       equipment shall follow manufacturer’s instrumentation manuals and satisfy the
       requirements of the Department SOPs. A listing of the SOPs pertaining to field and
       laboratory activities is available at the DEP website at:
       http://www.dep.state.fl.us/water/sas/sop/sops.htm [62-4.246, 62-160, F.A.C.]
    3. All reports submitted to satisfy the requirements of this permit shall be signed by a
       person authorized under Rule 62-528.340(1), F.A.C., or a duly authorized
       representative of that person under Rule 62-528.340(2), F.A.C. All reports required
       by this permit which are submitted to the Department shall contain the following
       certification as required by Rule 62-528.340(4), F.A.C.:
           I certify under penalty of law that this document and all attachments were
           prepared under my direction or supervision in accordance with a system
           designed to assure that qualified personnel properly gather and evaluate
           the information submitted. Based on my inquiry of the person or persons
           who manage the system, or those persons directly responsible for gathering
           the information, the information submitted is, to the best of my knowledge
           and belief, true, accurate, and complete. I am aware that there are
           significant penalties for submitting false information, including the
           possibility of fine and imprisonment for knowing violations.
           [62-528.340(1), (2), and (4), F.A.C.]
    4. Analyses shall be conducted on unfiltered samples, unless filtered samples have
       been approved by the Department as being more representative of groundwater
       conditions. [62-520.310(5), F.A.C.]
    5. A professional engineer registered pursuant to Chapter 471, F.S., shall be retained
       throughout the construction period to be responsible for the construction operation
       and to certify the application, specifications, completion report, and other related
       documents. The Department shall be notified immediately of any change of
       engineer. [62-528.440(5)(b), F.A.C.]
    6. Continuous on-site supervision by qualified personnel (engineer and/or geologist,
       as applicable) is required during all testing and geophysical logging operations.
       [62-528.440(5)(b), F.A.C.]
  V. Reporting Requirements
     1. The drilling and construction schedule, site layout of drilling pad, and pad
        monitor well locations shall be submitted to the Department during site



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         preparation but prior to drilling operation commencement for the exploratory
         well system. [62-528.430(2)(a), F.A.C.]
     2. Weekly progress reports shall be submitted to the APP Tallahassee office and
        Southwest District offices throughout the construction period for each well.
        These reports, which may be submitted by electronic mail, shall be submitted
        within 48 hours of the end of the period of record and shall include at a
        minimum the following information:
        a. A cover letter summary of the daily engineer report, driller’s log, and a
           projection for activities in the next reporting period.
        b. Daily engineer’s reports and driller’s/work logs with detailed descriptions of all
           drilling progress, cementing, testing, logging, and casing installation activities.
        c. Description of daily footage drilled by diameter of bit, size of hole opener, or
           reamer being used.
        d. Collection of drilling cuttings every 10 feet and at every formation change.
        e. Description of work during installation and cementing of casing, including
           amounts of casing and cement used. Details of cementing operations shall
           include the number of cementing stages, and the following information for
           each stage of cementing: the volume and type of cement pumped, the
           theoretical fill depth, and the actual tag depth. From both the physical tag
           and the geophysical logs, a percent fill shall be calculated. An explanation of
           any deviation between actual versus theoretical fill shall be provided.
        f. Details of the additions of salt or other materials to suppress well flow,
           including the date, depth, and amount of material used.
        g. Description of testing accomplished including (but not limited to) pumping
           and packer tests.
        h. Lithologic logs and core descriptions with cuttings description, formation and
           depth encountered.
        i. Geophysical logs, video logs, and deviation survey results.
        j. Water quality analyses, including but not limited to the weekly water quality
           analysis and water levels for the PMWs.
        k. Well development records.
        l. Description of any construction problems that developed during the reporting
           period and current status.
        m. Interpretations included with all test results and logs submitted.
        n. Documentation of disposal of drilling fluids, cuttings, formation water, or
           waste as per specific condition II.2.
         [62-528.410(9)(a) and 62-528.430(1), F.A.C.]
     3. The final selection of specific potential injection and monitor intervals must be
        approved by the Department. In order to obtain an approval, the permittee shall
        submit a written request to the APP Tallahassee office. All casing seat requests
        for the exploratory well and the monitor well shall be accompanied by technical



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         justification. To the extent possible, each casing seat request should address the
         following items:
         a. Lithologic and geophysical logs with interpretations, as the interpretations
             relate to the casing seat.
         b. Water quality data (including but not necessarily limited to TDS
             concentrations).
         c. Identification of confining units, including hydrogeologic data and
             interpretations.
         d. Identification of monitor zones.
         e. Casing depth evaluation (mechanically secure formation, potential for grout
             seal).
         f. Lithologic drilling rate and weight on bit data, with interpretations (related to
             the casing seat).
         g. Identification of the base of the USDW using water quality and geophysical
             log interpretations.
         h. A certified (PE or PG) evaluation of all logging and test results submitted with
             test data.
         i. Transmissivity or specific capacity of proposed monitor zone.
         j. Packer test drawdown curves and interpretation.
         [62-528.410(4)(c), 62-528.420(4)(c), F.A.C.]
     4. The short-term injection test request shall contain the following justifications:
        a. Cement bond logs and interpretation.
        b. Final downhole television survey with interpretation.
        c. Demonstration of mechanical integrity, which shall include pressure testing
           results, and temperature logging results (if the injection test is to be after any
           of these mechanical integrity tests).
        d. Reasonable assurance that adequate confinement exists.
        e. Planned injection testing procedures.
        f. Proposed source water to be used. Wastewater may not be used for the test.
           An analysis of the proposed water source is required prior to Department
           approval, according to the table below:




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                Water Source            Required Analyses
                Potable Water           No analysis needed.
                Groundwater             Sample the water for:
                                         total dissolved solids (mg/L)
                                         chloride (mg/L)
                                         specific conductance (temperature compensated,
                                           μmhos/cm or mS/cm)
                                         total suspended solids (TSS) (mg/L)
                                         nitrogen, ammonia, total as N (mg/L)
                                         nitrogen, total Kjeldahl as N (TKN, mg/L)
                                         nitrogen, nitrate, total as N (mg/L)
                                         sodium (mg/L)
                                         potassium (mg/L)
                                         calcium (mg/L)
                                         magnesium (mg/L)
                                         total iron (mg/L)
                                         bicarbonate (mg/L)
                                         phosphorous, total as P (mg/L)
                                         pH (standard units, s.u.)
                                         sulfate, total as SO4 (mg/L)
                                         field temperature (°C)
                                         gross alpha (picoCuries per liter [pCi/L])
                                         combined radium-226 and radium-228 (pCi/L)
                Surface Water           As above for groundwater, with the additional
                                        constituents:
                                         total coliform (CFU/100ML)
                                         fecal coliform (cfu/100mL)
                                         Escherichia coli (cfu/100mL)
                                         Enterococci (cfu/100mL)
                                         turbidity (Nephelometric Turbidity Unit [NTU])
              [62-528.405(3)(b), F.A.C.]
     5. Upon completion of analysis of cores and sample cuttings recovered during the
        construction of wells covered by this permit (when no longer needed by the well
        owner), the permittee shall contact the Geological Sample Acquisition &
        Management Section of the Florida Geological Survey (FGS) to arrange for the
        transfer of the cores and cuttings. [62-528.450(5), F.A.C.]
     6. All cores and cuttings for FGS shall be shipped to the Florida Geological Survey,
        Geological Sample Acquisition & Management Section, 3915 Commonwealth
        Boulevard, Tallahassee, Florida 32399. All cores and samples shall clearly identify
        the site name, well name/number, depths of samples/cores, and the




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         latitude/longitude location of the well(s) using the form in this permit. [62-
         528.450(5), F.A.C.]
     7. A final report of the construction and testing of the exploratory well and the
        monitor well shall be submitted no later than 120 days after the completion of
        well construction and testing, pursuant to Rule 62-528.430(1)(e), F.A.C. In
        addition, a copy of the cover letter for the report shall be sent to the U. S.
        Environmental Protection Agency, Region 4, UIC program, 61 Forsyth St. SW,
        Atlanta, Georgia 30303-8909, or R4gwuic@EPA.gov. This report shall include as
        a minimum, definitions of the potential injection interval, all relevant confining
        units, all monitor zones, and the depth of the base of the USDW, including all
        relevant data and interpretations. [62-528.605(2), F.A.C.]
 VI. Abnormal Events
     1. In the event the permittee is temporarily unable to comply with any of the
        conditions of a permit due to breakdown of equipment, power outages or
        destruction by hazard of fire, wind, or by other cause, the permittee of the
        facility shall notify the Southwest District. [62-528.415(4)(a), F.A.C.]
     2. Notification shall be made in person, by telephone, or by electronic mail (e-mail)
        within 24 hours of breakdown or malfunction to the Southwest District Office. [62-
         528.307(1)(x), F.A.C.]
     3. A written report of any noncompliance referenced in Specific Condition Number
        VI.1. above shall be submitted to the Southwest District Office and the APP
        Tallahassee office within five days after its occurrence. The report shall describe
        the nature and cause of the breakdown or malfunction, the steps being taken or
        planned to be taken to correct the problem and prevent its reoccurrence,
        emergency procedures in use pending correction of the problem, and the time
        when the facility will again be operating in accordance with permit conditions.
         [62-528.415(4)(b), F.A.C.]
     4. Reporting Requirements
         The permittee shall report to the Department's Southwest District Office any
         noncompliance which may endanger health or the environment. Any information
         shall be provided orally within 24 hours from the time the permittee becomes
         aware of the circumstances. A written submission shall also be provided within
         five days of the time the permittee becomes aware of the circumstances. The
         written submission shall contain: A description of the noncompliance and its
         cause; the period of noncompliance including exact dates and time, and if the
         noncompliance has not been corrected, the anticipated time it is expected to
         continue; and steps taken or planned to reduce, eliminate, and prevent
         recurrence of the noncompliance.




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         a. The following shall be included as information which must be reported within
            24 hours under this condition:
           1) Any unanticipated bypass which causes any reclaimed water or effluent to
              exceed any permit limitation or results in an unpermitted discharge,
           2) Any upset which causes any reclaimed water or the effluent to exceed any
              limitation in the permit,
           3) Violation of a maximum daily discharge limitation for any of the pollutants
              specifically listed in the permit for such notice, and
           4) Any unauthorized discharge to surface or groundwaters.
         b. Oral reports as required by this subsection shall be provided as follows:
           1) For unauthorized releases or spills of treated or untreated wastewater
              reported pursuant to subparagraph (a)4. that are in excess of 1,000
              gallons per incident, or where information indicates that public health or
              the environment will be endangered, oral reports shall be provided to the
              State Watch Office Toll Free Number 800-320-0519, as soon as
              practical, but no later than 24 hours from the time the permittee becomes
              aware of the discharge. The permittee, to the extent known, shall provide
              the following information to the State Watch Office:
              a) Name, address, and telephone number of person reporting;
              b) Name, address, and telephone number of permittee or responsible
                  person for the discharge;
              c) Date and time of the discharge and status of discharge (ongoing or
                  ceased);
              d) Characteristics of the wastewater spilled or released (untreated or
                  treated, industrial or domestic wastewater);
              e) Estimated amount of the discharge;
              f) Location or address of the discharge;
              g) Source and cause of the discharge;
              h) Whether the discharge was contained on-site, and cleanup actions
                  taken to date;
              i) Description of area affected by the discharge, including name of water
                  body affected, if any; and
              j) Other persons or agencies contacted
           2) Oral reports, not otherwise required to be provided pursuant to
              subparagraph b.1 above, shall be provided to the Department's Southwest
              District office within 24 hours from the time the permittee becomes aware
              of the circumstances.
         c. If the oral report has been received within 24 hours, the noncompliance has
            been corrected, and the noncompliance did not endanger health or the




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             environment, the Department's Southwest District office shall waive the
             written report.
         [403.077(2)(d), F.S., 62-528.307(1)(e) and 62-528.307(1)(x), F.A.C.]
     5. Pollution Notification
         a. In accordance with subsection 403.077, F.S., in the event of a reportable
            pollution release, an owner or operator of the installation at which the
            reportable pollution release occurs must provide to the department
            information reported to the State Watch Office within the Division of
            Emergency Management pursuant to any department rule, permit, order, or
            variance, within 24 hours after the owner’s or operator’s discovery of such
            reportable pollution release. The Department’s Pollution Notice website is at
            https://FloridaDEP.gov/pollutionnotice.
         b. If multiple parties are subject to the notification requirements based on a
            single reportable pollution release, a single notification made by one party in
            accordance with this section constitutes compliance on behalf of all parties
            subject to the requirement. However, if the notification is not made in
            accordance with this section, the department may pursue enforcement
            against all parties subject to the requirement.
         c. If, after providing notice pursuant to paragraph (a), the owner or operator of
            the installation determines that a reportable pollution release did not occur or
            that an amendment to the notice is warranted, the owner or operator may
            submit a letter to the department documenting such determination.
         d. If, after providing notice pursuant to paragraph (a), the installation owner or
            operator discovers that a reportable pollution release has migrated outside
            the property boundaries of the installation, the owner or operator must
            provide an additional notice to the department that the release has migrated
            outside the property boundaries within 24 hours after its discovery of the
            migration outside of the property boundaries.
         [403.077(2)(d), F.S., 62-528.307(1)(e) and 62-528.307(1)(x), F.A.C.]

  General Conditions
     1. The terms, conditions, requirements, limitations and restrictions set forth in this
        permit are "permit conditions" and are binding and enforceable pursuant to
        section 403.141, F.S. [62-528.307(1)(a)]
     2. This permit is valid only for the specific processes and operations applied for and
        indicated in the approved drawings or exhibits. Any unauthorized deviation from
        the approved drawings, exhibits, specifications, or conditions of this permit may
        constitute grounds for revocation and enforcement action. [62-528.307(1)(b),
         F.A.C.]




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     3. As provided in subsection 403.087(7), F.S., the issuance of this permit does not
        convey any vested rights or exclusive privileges. Neither does it authorize any
        injury to public or private property or any invasion of personal rights, nor
        infringement of federal, state, or local laws or regulations. This permit is not a
        waiver of or approval of any other Department permit that may be required for
        other aspects of the total project which are not addressed in this permit. [62-
         528.307(1)(c), F.A.C.]
     4. This permit conveys no title to land, water, does not constitute State recognition
        or acknowledgment of title, and does not constitute authority for the use of
        submerged lands unless herein provided and the necessary title or leasehold
        interests have been obtained from the State. Only the Trustees of the Internal
        Improvement Trust Fund may express State opinion as to title. [62-
         528.307(1)(d), F.A.C.]
     5. This permit does not relieve the permittee from liability for harm to human
        health or welfare, animal, or plant life, or property caused by the construction or
        operation of this permitted source, or from penalties there from; nor does it
        allow the permittee to cause pollution in contravention of Florida Statutes and
        Department rules, unless specifically authorized by an order from the
        Department. [62-528.307(1)(e), F.A.C.]
     6. The permittee shall properly operate and maintain the facility and systems of
        treatment and control (and related appurtenances) that are installed and used by
        the permittee to achieve compliance with the conditions of this permit or are
        required by Department rules. This provision includes the operation of backup or
        auxiliary facilities or similar systems when necessary to achieve compliance with
        the conditions of the permit and when required by Department rules. [62-
         528.307(1)(f), F.A.C.]
     7. The permittee, by accepting this permit, specifically agrees to allow authorized
        Department personnel, upon presentation of credentials or other documents as
        may be required by law and at reasonable times, access to the premises where
        the permitted activity is located or conducted to:
        a. Have access to and copy any records that must be kept under conditions of
           this permit;
        b. Inspect the facility, equipment, practices, or operations regulated or required
           under this permit; and
        c. Sample or monitor any substances or parameters at any location reasonably
           necessary to assure compliance with this permit or Department rules.
        d. Reasonable time will depend on the nature of the concern being investigated.
         [62-528.307(1)(g), F.A.C.]




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     8. If, for any reason, the permittee does not comply with or will be unable to
        comply with any condition or limitation specified in this permit, the permittee
        shall immediately provide the Department with the following information:
        a. A description of and cause of noncompliance; and
        b. The period of noncompliance, including dates and times; or, if not corrected
             the anticipated time the noncompliance is expected to continue, and steps
             being taken to reduce, eliminate, and prevent the recurrence of the
             noncompliance. The permittee shall be responsible for any and all damages
             which may result and may be subject to enforcement action by the
             Department for penalties or for revocation of this permit.
         [62-528.307(1)(h), F.A.C.]
     9. In accepting this permit, the permittee understands and agrees that all records,
        notes, monitoring data and other information relating to the construction or
        operation of this permitted source which are submitted to the Department may
        be used by the Department as evidence in any enforcement case involving the
        permitted source arising under the Florida Statutes or Department rules, except
        where such use is proscribed by sections 403.111 and 403.73, F.S. Such
        evidence shall only be used to the extent it is consistent with the Florida Rules of
        Civil Procedure and appropriate evidentiary rules. [62-528.307(1)(i), F.A.C.]
     10.The permittee agrees to comply with changes in Department rules and Florida
        Statutes after a reasonable time for compliance; provided, however, the
        permittee does not waive any other rights granted by Florida Statutes or
        Department rules. [62-528.307(1)(j), F.A.C.]
     11.This permit is transferable only upon Department approval in accordance with
        rules 62-4.120 and 62-528.350, F.A.C. The permittee shall be liable for any non-
        compliance of the permitted activity until the transfer is approved by the
        Department. [62-528.307(1)(k), F.A.C.]
     12.This permit or a copy thereof shall be kept at the work site of the permitted
        activity. [62-528.307(1)(l), F.A.C.]
     13.The permittee shall comply with the following:
        a. Upon request, the permittee shall furnish all records and plans required under
           Department rules. During enforcement actions, the retention period for all
           records shall be extended automatically unless the Department determines
           that the records are no longer required.
        b. The permittee shall hold at the facility or other location designated by this
           permit records of all monitoring information (including calibration and
           maintenance records and all original strip chart recordings for continuous
           monitoring instrumentation) required by the permit, copies of all reports
           required by this permit, and records of all data used to complete the
           application for this permit. These materials shall be retained at least three


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            years from the date of the sample, measurement, report, or application
            unless otherwise specified by Department rule.
         c. Records of monitoring information shall include:
            1) the date, exact place, and time of sampling or measurements;
            2) the person responsible for performing the sampling or measurements;
            3) the dates analyses were performed;
            4) the person responsible for performing the analyses;
            5) the analytical techniques or methods used;
            6) the results of such analyses.
         d. The permittee shall furnish to the Department, within the time requested in
            writing, any information which the Department requests to determine
            whether cause exists for modifying, revoking and reissuing, or terminating
            this permit, or to determine compliance with this permit.
         e. If the permittee becomes aware that relevant facts were not submitted or
            were incorrect in the permit application or in any report to the Department,
            such facts or information shall be corrected promptly.
         [62-528.307(1)(m), F.A.C.]
     14.All applications, reports, or information required by the Department shall be
        certified as being true, accurate, and complete. [62-528.307(1)(n), F.A.C.]
     15.Reports of compliance or noncompliance with, or any progress reports on,
        requirements contained in any compliance schedule of this permit shall be
        submitted no later than 14 days following each scheduled date. [62-
         528.307(1)(o), F.A.C.]
     16.Any permit noncompliance constitutes a violation of the Safe Drinking Water Act
        and is grounds for enforcement action; for permit termination, revocation and
        reissuance, or modification; or for denial of a permit renewal application. [62-
         528.307(1)(p), F.A.C.]
     17.It shall not be a defense for a permittee in an enforcement action that it would
        have been necessary to halt or reduce the permitted activity in order to maintain
        compliance with the conditions of this permit. [62-528.307(1)(q), F.A.C.]
     18.The permittee shall take all reasonable steps to minimize or correct any adverse
        impact on the environment resulting from noncompliance with this permit. [62-
         528.307(1)(r), F.A.C.]
     19.This permit may be modified, revoked and reissued, or terminated for cause, as
        provided in 40 C.F.R. sections 144.39(a), 144.40(a), and 144.41 (1998). The
        filing of a request by the permittee for a permit modification, revocation or
        reissuance, or termination, or a notification of planned changes or anticipated
        noncompliance, does not stay any permit condition. [62-528.307(1)(s), F.A.C.]




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     20.The permittee shall retain all records of all monitoring information concerning the
        nature and composition of injected fluid until five years after completion of any
        plugging and abandonment procedures specified under rule 62-528.435, F.A.C.
        The permittee shall deliver the records to the Department office that issued the
        permit at the conclusion of the retention period unless the permittee elects to
        continue retention of the records. [62-528.307(1)(t), F.A.C.]
     21.All reports and other submittals required to comply with this permit shall be
        signed by a person authorized under rules 62-528.340(1) or (2), F.A.C. All
        reports shall contain the certification required in rule 62-528.340(4), F.A.C. [62-
         528.307(1)(u), F.A.C.]
     22.The permittee shall notify the Department as soon as possible of any planned
        physical alterations or additions to the permitted facility. In addition, prior
        approval is required for activities described in rule 62-528.410(1)(h). [62-
         528.307(1)(v), F.A.C.]
     23.The permittee shall give advance notice to the Department of any planned
        changes in the permitted facility or injection activity which may result in
        noncompliance with permit requirements. [62-528.307(1)(w), F.A.C.]
     24.The permittee shall report any noncompliance which may endanger health or the
        environment including:
        a. Any monitoring or other information which indicates that any contaminant
             may cause an endangerment to an underground source of drinking water; or
        b. Any noncompliance with a permit condition or malfunction of the injection
             system which may cause fluid migration into or between underground
             sources of drinking water.
        Any information shall be provided orally within 24 hours from the time the
        permittee becomes aware of the circumstances. A written submission shall also
        be provided within 5 days of the time the permittee becomes aware of the
        circumstances. The written submission shall contain a description of the
        noncompliance and its cause, the period of noncompliance, including exact dates
        and times, and if the noncompliance has not been corrected, the anticipated time
        it is expected to continue; and the steps taken or planned to reduce, eliminate,
        and prevent reoccurrence of the noncompliance.
         [62-528.307(1)(x), F.A.C.]




                                               19
                                        APPX ATT_V5_2275
Permittee:
USCA       Scott
        Case     Wuitschick, Geotechnical
             #25-1087         DocumentDirector
                                          #2105058   UIC
                                                       C Permitt Number:
                                                          Filed:          : 0441607-001-UC/1EX
                                                                  03/10/2025        Page 283 of 322
           Mosaic Fertilizer, LLC                      WACS S Facilityy ID:: 108119
           Mosaic Plant City Facility                              Date: 1RYHPEHU , 2024



          Issued this (Day) day of (Month) 2024
                    State of Florida
         Department of Environmental Protection




                Draft
          ___________________________________
                   Richard Lobinske, Ph.D.
                 Environmental Administrator
                Underground Injection Control
                  Aquifer Protection Program
          Division of Water Resource Management




                                               20
                                        APPX ATT_V5_2276
    USCA Case #25-1087         Document #2105058             Filed: 03/10/2025      Page 284 of 322
                                               Fact Sheet
                                          Mosaic Fertilizer, LLC
                                          Plant City Concentrate
                                             Class V, Group 9
                                  Permit Number: 0441607-001-UC/1EX
                                            WACS ID: 108119
                                           1RYHPEHU , 2024

Construction permit for the Mosaic Plant City Concentrate Class V, Group 9, exploratory injection well
IW-1 and associated monitor well DZMW-1.
1. General Information
   A. Statutory Basis for Requiring/Issuing Permit
      The Department of Environmental Protection (Department or DEP) has permitting jurisdiction
      under Chapter 403, Florida Statutes (F.S.), and the rules adopted thereunder. The project is
      not exempt from permitting procedures. The Department has determined that an Underground
      Injection Control permit is required for the project.
   B. Name and Address of Applicant
      Scott Wuitschick
      Geotechnical Director
      Mosaic Fertilizer, LLC
      13830 Circa Crossing Drive
      Lithia, Florida 33547
      Scott.Wuitschick@MosaicCo.com
      Facility Location
      Mosaic Plant City Concentrate Facility
      10609 Paul S Buchman Hwy
      Plant City, Florida 33565
      Hillsborough County
   C. Description of Applicant's Operation
      To construct one non-hazardous Class V, Group 9, exploratory well (IW-1) at the Mosaic
      Fertilizer, LLC, Plant City Concentrate Facility. No injection is authorized by this permit with the
      exception of a short-term injection test to test the suitability of the proposed injection zone.
      The permittee will later apply for well reclassification as a non-hazardous Class I injection well
      for the disposal of non-hazardous phosphogypsum stack system (gyp-stack) industrial
      wastewater stored in the Mosaic Plant City Concentrate Facility, the phreatic water collected by
      the gyp-stack underdrain system, and recovery well water from the Mosaic Plant City
      Concentrate Facility. Injectate will be limited to wastewater generated and treated at the
      Mosaic Plant City facility and regulated under its National Pollutant Discharge Elimination
      System Permit (FL0000078).
      The primary proposed location for IW- LV ODWLWXGH Û   1 DQG ORQJLWXGH Û 
       : DQG WKH VHFRQGDU\ ORFDWLRQ LV ODWLWXGH Û   1 DQG ORQJLWXGH Û  
      W.


                                       APPX ATT_V5_2277
   Permittee:: Scott Wuitschick, Geotechnical Director          UIC Permit Number: 0441607-001-UC/1EX
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                                                                        Facility ID: 108119
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     IW-1 is proposed to be constructed with a 20-inch diameter casing set to 3,610 feet below
     land surface (bls), an 11.75-inch diameter tubing set to 3,610 feet bls with a cemented
     annulus, and total depth of 8,000 feet bls.
  D. Permitting History of this Facility
     1. This is the first injection well permit application associated with this facility.
  E. Documents Used in Permitting Process
     1. Black & Veatch “Mosaic Plant City Facility Exploratory Well IW-1 Florida Department of
        Environmental Protection Class V, Group 9, Exploratory Injection Well Construction Permit
        Application dated October 17, 2023.
     2. DEP First Request for Additional Information dated January 16, 2024 – RAI request 1
     3. Black & Veatch “Mosaic Plant City First Request for Additional Information (RAI) dated
        February 15, 2024 – RAI response
     4. Black & Veatch Application Addendum dated May 29, 2024.
     5. Black & Veatch Revised Application Addendum figure received July 2, 2024.
2. Reasons Permit was Issued, Derivation of Decision
  A. Area of Review (Rule 62-528.440(6), Florida Administrative Code (F.A.C.))
     According to the construction permit application, an area of review (AOR) radius of 1 mile was
     established based on a projected horizontal extent of influence from the facility. The area of
     review was completed for both the primary and secondary proposed locations. Based on the
     completion of an AOR study the applicant did not identify any wells within the AOR that were
     not properly constructed or abandoned and none of the wells identified in the AOR extend to
     the depth of the proposed confining or injection zones.
     The AOR radius calculation using an estimated 4.0 mgd volume over a 10 year period resulted
     in a radius of 0.75 miles. The result was rounded up to 1 mile. The estimate is considered to
     be conservative because the AOR represents a radius 1 mile from the Mosaic property
     boundary which is a greater distance than if it were from either the primary or secondary
     proposed well locations located within the Mosaic property boundary.
     The primary proposed injection well location is DW ODWLWXGH Û 8' 51.25" N and longitude 82Û
     08' 19.08" W and the secondary proposed injection well location is at ODWLWXGH Û 9' 43.02" N
     and longitude 82Û 08' 29.90" W.
     See Documents Used in the Permitting Process (Document) number 1, above.
  B. Mechanical Integrity Demonstration (Rule 62-528.300(6), F.A.C.)
     Mechanical integrity of injection well IW-1 will be demonstrated during construction by the
     following methods:
         1. A cement-top temperature log will be performed in each casing string after each
            cementing stage that does not result in cement returns at surface.
         2. A cement bond log (CBL) will be run in the 20-inch final casing of IW-1 after cementing.
         3. A pressure tests will be performed in the 20-inch diameter casing at 150 pounds per
            square inch (psi) for 1 hour.

                                                     2
                                        APPX ATT_V5_2278
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            Mosaic  Fertilizer, LLCDocument #2105058    Filed:WACS
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                                                                   Facility ID: 108119
            Plant City Concentrate Facility                           Date: 1RYHPEHU , 2024

      4. A video survey of the completed injection well will be conducted.
      5. A CBL will be run in the nominal 11.75-inch injection tubing before and after cementing.
      6. A pressure test will be performed in the 11.75-inch injection tubing after it is cemented,
         at a minimum of 50 psi for 1 hour. Pressure changes will be considered acceptable if
         they are within the 5% limit allowed by the Department.
      7. Temperature and radioactive tracer surveys will be performed in IW-1 to demonstrate
         external mechanical integrity after construction is completed.
  Mechanical integrity of monitor well DZMW-1 will be demonstrated during construction by the
  following methods:
      1. A cement-top temperature log will be performed in each casing string after each
         cementing stage that does not result in cement returns at surface.
      2. A CBL will be run on the 16-inch casing prior to cementing the a final CBL will be run
         once cement is approximately 300 feet from the surface.
      3. A pressure test will be performed in the 16-inch casing of DZMW-1 after it is cemented,
         at a minimum of 150 psi for 1 hour.
      4. A CBL will be run in the 7-inch casing of DZMW-1 before and after it is cemented.
      5. A pressure test will be performed in the 7-inch casing of DZMW-1 after it is cemented,
         at a minimum of 50 psi for 1 hour. Pressure changes will be considered acceptable if
         they are within the 5% limit allowed by the Department.
      6. Video and temperature surveys of the 7-inch casing of DZMW-1 will be conducted after
         construction of the well is completed.
  See Document number 1, above.
C. Confinement (Rule 62-528.405(2), F.A.C.)
  According to the construction application, the proposed injection well IW-1 will be reclassified
  from Class V to Class I after construction. It is anticipated that there is sufficient confinement
  below the base of the Underground Source of Drinking Water (USDW). Based on the
  information presented in the application, the Sub-Floridan Confining Unit is expected to occur
  between approximately 2,720 feet bls and the top of the proposed injection zone at 3,610 feet
  bls.
  Rock cores will be collected at select depths between the base of the USDW and the top of the
  injection zones. Representative sections of each acceptable core are to be analyzed for vertical
  and horizontal hydraulic conductivity, porosity, and specific gravity. A minimum of four packer
  tests will be performed to characterize the Cretaceous strata. The presence and degree of
  confinement above the injection zone will be evaluated based on the core analyses, packer-
  pump testing, and wireline geophysical logging results.
  See Document numbers 1-5, above.




                                                  3
                                     APPX ATT_V5_2279
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D. Underground Source of Drinking Water (Rule 62-528.405(1)(a), F.A.C.)
  The USDW is an aquifer or its portion that supplies drinking water for human consumption, is
  classified by subsection 62-520.410(1), F.A.C., as Class F-I, G-I or G-II ground water, or
  contains total dissolved solids (TDS) of less than 10,000 milligrams per liter (mg/L) and is not
  an exempted aquifer. The interface where the concentration of TDS in groundwater exceeds
  10,000 mg/L is defined by rule as the base of a USDW.
  The anticipated base of the USDW at the proposed injection site is in Oldsmar Formation of
  the Lower Floridan aquifer at approximately 2,600 feet bls. The actual depth of the base of the
  USDW will be determined during IW-1 and DZMW-1 construction and testing. Data collection
  will include analyses of reverse-air discharge fluids during drilling, analyses of packer-pumping
  test water samples, and wireline geophysical logging.
  See Document number 1, above.
E. Injection Zone Testing (Rule 62-528.405(2)&(3), F.A.C.)
  Injection zone testing will be performed through water quality testing, core analyses, wireline
  geophysical logs, and short-term injection testing in IW-1. The proposed injection zone is from
  a depth of approximately 3,610 to 8,000 feet bls in the Upper Cretaceous Permeable Zone.
  Except for a short-term injection test, injection is prohibited until the permittee is issued a
  Class I injection well permit. The proposed short-term injection test will be conducted at 2,775
  gpm for 12 hours.
  See Document numbers 1-5, above.
F. Well Construction
  The conventional mud-rotary drilling method will be employed for all drilling above the base of
  the surface casings set near the top of the Floridan Aquifer System. Drilling below that point
  will be done by the reverse-air, closed-circulation method. A drilling pad shall be provided to
  collect spillage of contaminants and to support the heaviest load that will be encountered
  during drilling. All casings shall be new and unused, designed for the life expectancy of the
  well, and cemented to land surface in accordance with Rule 62-528.410(4)(a).
  The proposed, cemented annulus between the 20-inch OD injection casing and the nominal
  11.75-inch injection tubing is an alternate design to that specified in Rule 62-528.415(1)(e),
  F.A.C. This alternate design has been demonstrated to reliably provide a comparable level of
  protection to the USDW at other facilities and is approved in accordance with 62-
  528.410(1)(e)1., F.A.C.
  According to the applicant, the proposed casings will serve to isolate individual production
  zones within the USDW. The 60-inch diameter steel pit casing depth will be decided by the
  onsite geologist. Once the pit casing is installed, a pilot hole will be drilled to allow testing to
  determine the base of the surficial aquifer. The 50-inch diameter steel surface casing will be
  installed to approximately 330 feet bls and terminate in the closest confining unit (Hawthorn
  Group). The purpose of the surface casing is to isolate the surficial aquifer. The 40-inch
  diameter steel intermediate casing will be installed to an estimated 1,100 feet bls and isolate
  the Upper Floridan aquifer and extend into the Middle Confining Unit II of the Avon Park
  Formation. The 30-inch diameter steel intermediate casing will be installed to an estimated
                                                  4
                                     APPX ATT_V5_2280
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     Not required by Chapter 62-528, F.A.C. for this exploratory Class V, Group 9, well to cope with
     shut-ins or well failures because no injection is allowed with the exception of a short-term
     injection test. However, emergency discharge will be required, if the well is later converted to
     a Class I injection well.
     Drilling/Construction:
     1. A drilling pad shall be provided to collect spillage of contaminants (62-528.410(9)(b),
        F.A.C.).
     2. Flow control shall be used when drilling into formations in which pressure heads exceed
        land surface, to prevent the uncontrolled release of formation or drilling fluids at land
        surface (62-528.410(9)(c), F.A.C.).
     3. At a minimum, all salt and on-site, stockpiled additive materials shall be secured to prevent
        surface and/or groundwater contamination, and all drilling equipment shall be properly
        secured to prevent damage to well(s) and on-site treatment processes upon the issuance
        of a “Hurricane Watch” by the National Weather Service (62-528.307(1)(f), F.A.C.).
3. Agency Action
  A draft permit will be issued as per Rule 62-528.310, F.A.C.
4. Public Rights
  Public notice of this draft permit will include the details of a public meeting, or will state that any
  interested person may request a public meeting within 30 days of the public notice. A request for
  a public meeting shall be in writing and shall state the nature of the issues proposed to be raised
  at the meeting. If a public meeting is later scheduled, there will be another 30-day notice period
  for that meeting. Any interested person may submit written comments on the draft permit within
  30 days of the public notice or through the public meeting date, as appropriate. Written
  comments or a public meeting request may be submitted to the Department of Environmental
  Protection, Aquifer Protection Program, 2600 Blair Stone Road, MS 3530, Tallahassee, Florida
  32399-2400. All comments received within the 30-day period and through the public meeting date
  will be considered in formulation of the Department’s final decision regarding permit issuance.
  After the conclusion of the public comment period and public meeting described above the
  Department may revise the conditions of the permit based on such public comment. Then the
  applicant will publish Notice of the Proposed Agency Action. A person whose substantial interests
  are affected by the Department's proposed permitting decision may petition for an administrative
  proceeding (hearing). Accordingly, the Department's final action may be different from the
  position taken by it in the Notice of the Proposed Agency Action. The petition must conform to the
  requirements specified in the Notice and be filed (received) within 14 days of publication of the
  Notice in the Office of General Counsel, M.S. 35, 3900 Commonwealth Boulevard, Tallahassee,
  Florida 32399-3000. The failure of any person to file a Petition within the appropriate time period
  shall constitute a waiver of that person’s right to request an administrative (hearing) under
  Section 120.569 and Section 120.57 of the Florida Statutes, or to intervene in this proceeding and
  participate as a party to it. Any subsequent intervention (in a proceeding initiated by another
  party) will only be at the discretion of the presiding officer upon filing of a motion in compliance
  with Rule 28-106.205 of the Florida Administrative Code.

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                                        APPX ATT_V5_2282
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  The application, draft permit, and fact sheet are available for public inspection during normal
  business hours, 8 a.m. to 5 p.m., Monday through Friday, except legal holidays, at the Department
  of Environmental Protection, Southwest District Office, 13051 N. Telecom Parkway, Temple
  Terrace, Florida 33637-0926, and at the Department of Environmental Protection, 2600 Blair Stone
  Road, Tallahassee, Florida 32399-2400. Additional information related to this project may be
  requested from the Agency Contact below.
5. Agency Contact
  Walsta Jean-Baptiste, P.G.
  Aquifer Protection Program
  Florida Department of Environmental Protection
  2600 Blair Stone Road, MS 3530
  Tallahassee, Florida 32399-2400
  Phone: 850-245-8386
  Walsta.JeanBaptiste@FloridaDEP.gov




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                                        APPX ATT_V5_2283
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USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 292 of 322
But what is the source of this shifting circulation? According to
     USCA Case #25-1087         Document #2105058             Filed: 03/10/2025   Page 293 of 322
Dangendorf,   climate models reveal   two factors at play.

“Approximately 40% of the acceleration that we have seen
since 2010 can be attributed to man-made climate change,
but there’s a residual 60% that we couldn’t explain with
climate models,” said Dangendorf.

The remaining percentage was caused by natural wind-driven
ocean circulation unique to the Southeast and Gulf Coast, the
researchers found.
“It’s a region bounded by the western boundary current, or
the Gulf Stream, so that makes it very prone to fluctuations
and therefore we can see these massive changes on decadal
time-scales,” said Dangendorf.

Why it’s important: Accelerated sea level rise and continued
global warming will affect local communities, Dangendorf said
“One thing that is particularly visible over this period of
acceleration is that the high-tide flooding has on average
doubled in the Gulf of Mexico,” he said. “We are very close to
threshold that any further increase in the rate of sea level rise
will lead to substantially larger, exponential changes in high-
tide flooding, bringing a big burden for many of the
communities in the area that haven’t dealt with that much
before.”

This is on top of the damages caused by seasonal hurricanes
like Katrina or Sandy that are expected to become more
frequent due to climate change. The community may need to
prepare for these risks.

Dangendorf says that the next step is to expand their researc
along the entire coast.

“We want to understand how these acceleration hotspots shif
along the coastline, and the role of ocean dynamics,” he said.
“We want to investigate how we can understand these natura
fluctuations, and better predict them into the near future.”


                                Site Manager: Carmen Blackwood
                             NASA Responsible Official: Stephen Berrick


                                        APPX ATT_V5_2286
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 294 of 322
 5/10/24, 1 33 PM                                      How climate change is making hurricanes more dangerous » Yale Climate Connections
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global warming      #25-1087
               are already makingDocument
                                  hurricanes#2105058         Filed:
                                             stronger and more      03/10/2025
                                                               destructive.        Page
                                                                            The latest    295 ofshows
                                                                                       research  322 the
trend is likely to continue as long as the climate continues to warm.




How does a hurricane form?

Whether called hurricanes in the Atlantic Ocean, typhoons in the western Pacific Ocean, or cyclones in the
Indian Ocean, strong tropical cyclones are an example of nature’s fiercest fury.


The criteria that conspire to form tropical cyclones are rather simple. It all starts with a small atmospheric
disturbance located in or near a tropical ocean. If water temperatures are warm enough, generally more than
80 degrees Fahrenheit, and atmospheric conditions are supportive with moisture and uniform winds, a tropical
system can evolve. In the Atlantic the system first becomes a tropical depression. As it gets stronger the
system graduates to a tropical storm and then finally, when winds rise over 74 mph, it is termed a hurricane.


Are hurricanes becoming more frequent?

Generally speaking, the warmer the water temperatures, the more heat energy is available and the higher the
potential for tropical cyclones to develop. So it’s reasonable to assume that as humans continue to release
planet-warming greenhouse gases, the likelihood of tropical cyclone activity increases.

                                                               APPX ATT_V5_2288
 https://yaleclimateconnections.org/2019/07/how-climate-change-is-making-hurricanes-more-dangerous/                                        2/8
 5/10/24, 1 33 PM                                      How climate change is making hurricanes more dangerous » Yale Climate Connections
       USCAthat
By and large, Case  #25-1087
                is true, but in theDocument
                                    real world#2105058             Filed: 03/10/2025
                                               it’s a little more complicated  than that. Page 296 of 322
                                                                                          The conventional
wisdom is that storm intensity will increase but storm frequency will either decrease or remain unchanged.


Finding trends in either the number or intensity of tropical cyclones is complicated because reliable records
date back only as far as consistent and complete global satellite observations. Since 1985, a remarkably
consistent average of approximately 80 tropical cyclones has formed each year, ranging from a low of 65 to
a maximum of 90.


In terms of frequency, studies have consistently shown “no discernible trend in the global number of tropical
cyclones.” In addition, authors of a 2013 study found no human-caused signal in annual global tropical
cyclone or hurricane frequencies.


Are hurricanes getting stronger?

The authors of that same 2013 study found a substantial regional and global increase in the proportion of the
strongest hurricanes category 4 and 5 storms. The authors attribute that increase to global heating of the
climate: “We conclude that since 1975 there has been a substantial and observable regional and global
increase in the proportion of Cat 4-5 hurricanes of 25-30 percent per °C of anthropogenic (human-caused)
global warming.”


Interestingly, the increase in those most powerful of storms is balanced by a similar decrease in category 1 and
category 2 hurricanes. The authors put forth this intriguing theory: “We suggest that this [balance] arises from
the capped nature of tropical cyclones to a maximum value defined by the potential intensity, which increases
only slightly with global warming.”


Are hurricanes intensifying more rapidly?

Rapid intensification, defined as an increase of wind speed of at least 35 mph in 24 hours, has recently
garnered a lot of attention as a result of hurricanes like Harvey, Irma, Maria and Michael in 2017 and 2018.
Examining the hurricane record in the Atlantic basin from 1986 to 2015, a recent study found rapid
intensification increased 4.4 mph per decade. The study’s authors attribute most of the gains to a shift into the
warmer phase of the Atlantic Multidecadal Oscillation, a natural cycle.


But the authors of a 2019 paper led by scientists at NOAA’s Geophysical Fluid Dynamics Laboratory suggest
that global warming also plays a role. Using simulations from one of the most advanced climate models
available, called HiFLOR, the team of researchers concludes that recent increases in rapid intensification “is
outside HiFLOR’s estimate of expected internal climate variability which suggests the model’s depiction of
climate oscillations like the AMO cannot explain the observed trend.”
                                                               APPX ATT_V5_2289
 https://yaleclimateconnections.org/2019/07/how-climate-change-is-making-hurricanes-more-dangerous/                                        3/8
 5/10/24, 1 33 PM                                      How climate change is making hurricanes more dangerous » Yale Climate Connections

So whileUSCA   Case
         the team   #25-1087
                  cannot attribute Document    #2105058 gainsFiled:
                                   the rapid intensification        03/10/2025 warming,
                                                              to human-caused    Page 297
                                                                                        theyofdo
                                                                                               322
                                                                                                 say
human-caused warming significantly increases extreme tropical cyclone intensification rates in the HiFLOR
model.


Are hurricanes producing more rain?

When it comes to the link between a warming world and weather, one of the most well-understood and robust
connections is increased rainfall. Simply put, the warmer the air is, the more moisture it can hold and the
more rain it produces. Generally, the increase in rainfall follows the Clausius-Clapeyron equation, which
dictates that for every one degree Celsius (1.8 degrees Fahrenheit) increase, the atmosphere can hold 7% more
moisture.


This increase in moisture and rainfall does not fall uniformly; in tropical cyclones this effect is boosted. In a
2018 paper about the link between increasing ocean heat content and hurricanes, lead author Kevin Trenberth
of the National Center for Atmospheric Research explains that “the convergence of moisture into a storm not
only leads to higher precipitation but also, for certain storms, greater intensity and growth.” So we can see that
a combination of warmer air and water lead to increases in rainfall beyond the simple Clausius-Clapeyron
relationship.


A good example of that is the unprecedented 60 inches of rain that fell in 2017 in southeast Texas in
Hurricane Harvey. Researchers have concluded that a repeat of rainfall that intense is predicted to happen only
once every 9,000 years. A majority of the rain was caused by Harvey’s extremely slow movement. But
multiple attribution studies conclude that a significant amount of rain can be traced to human-caused
warming, with various estimates ranging from 15% to 20% to 38%. Using the term “biblical” to describe
Harvey’s rainfall, MIT’s Kerry Emanuel calculates a six-fold increase in the probability of an event of that
magnitude since just the late 20th century.


A team investigating extreme rainfall in Hurricane Maria reached a similar conclusion: “[E]xtreme
precipitation, like that of Hurricane Maria, has become much more likely in recent years and long‐term trends
in atmospheric and sea surface temperature are both linked to increased precipitation in Puerto Rico.” That
paper finds the probability of rainfall of Maria’s magnitude has increased by a factor of almost five in the
most heavily impacted areas.


Does climate change affect the forward speed of hurricanes?

Some climate scientists theorize that slower steering currents resulting from a warmer climate may have
contributed to Harvey’s lethargic movement. At this point, that question remains unanswered.

                                                               APPX ATT_V5_2290
 https://yaleclimateconnections.org/2019/07/how-climate-change-is-making-hurricanes-more-dangerous/                                        4/8
 5/10/24, 1 33 PM                                      How climate change is making hurricanes more dangerous » Yale Climate Connections
        USCA
But a 2018     Case
           study    #25-1087James
                 by NOAA’s      Document  #2105058a 10% global
                                  Kossin discovered      Filed: reduction
                                                                03/10/2025      Page speed
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                                                                                              tropical
cyclones since 1949. Even more concerning – because of the impact on flooding – is the heightened
slowdown detected over land areas: 21% in the western north Pacific and 16% in the North Atlantic. Authors
of another study support these concerns, finding a significant positive trend over the past several decades in
coastal rainfall from tropical cyclones that stall. That study does not, however, reach a conclusion on the
reason for the increased stalling.


Will hurricanes become more common in the future?

In a comprehensive 2015 paper, lead author Thomas Knutson of NOAA GFDL and co-authors examined a
middle-of-the-road warming scenario using computer model simulations. Along with many other studies,
their projections show a general future decrease in the overall number of tropical cyclones.


This decrease in number of storms is generally believed to be a byproduct of increasing wind shear hostile
environmental winds expected in the tropics. But there may be another, more significant reason for the
anticipated decrease in storm number.


According to Emanuel of MIT, an increase in saturation deficit of the atmosphere at cloud level is the culprit
identified on model simulations. In simpler terms, the saturation deficit just means the atmosphere has a
tougher time reaching its capacity of moisture.


While many models do forecast a decrease in number, Emanuel’s 2013 study, using a higher-end warming
scenario, found that the frequency of tropical cyclones increased in most locations. And that study is not
alone. A more recent study Kieran Bhatia from NOAA GFDL, using the high-resolution HiFLOR model,
shows a global increase in storm frequency of 9% and a 23% increase in the Atlantic basin by the end of the
21st century.


When asked about the conflicting research findings on cyclone frequency, Emanuel said by email: “My own
view is that we really do not know at this point whether the overall global frequency of [tropical cyclones]
will increase, decrease, or stay the same. It is an area of active research.”


But Emanuel stresses that the frequency metric is dominated by weak storms that typically do not do much
damage, making frequency much less consequential than nailing down future intensity and rainfall.


“There is a strong consensus in the tropical cyclone climate community that the incidence of high-category
events will increase, and that storms will precipitate more,” Emanuel said.


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                              intense in the future? Filed: 03/10/2025                                                          Page 299 of 322


According to NOAA, 85% of all damages from hurricanes come from category 3, 4, and 5 storms. That’s the
case in part because of their intense winds. Incredibly, a hurricane with 150-mph wind speed has 256 times the
damage potential of a hurricane with 75-mph winds.


In a 2015 paper using future model simulations, Knutson found an “increase in average cyclone intensity,
precipitation rates, and the number and occurrence days of very intense category 4 and 5 storms.” Specifically,
the simulations calculated a 28% increase in category 4 and 5 storms globally, with a 335% increase in the
northeast Pacific and a 42% increase in the North Atlantic.


In Bhatia’s 2018 study, the intensity gains are even more alarming. The HiFLOR simulations project the
number of major cyclones (category 3, 4, and 5) to increase by 20% globally and 29% in the Atlantic by 2081-
2100. But HiFLOR suggests a significant increase in major systems even sooner.


The numbers really spike when isolating just category 5 storms, with an 85% global jump and 136% Atlantic
basin leap. Of these findings, Bhatia says, “HiFLOR climate change experiments signal that tropical cyclones
will more routinely reach wind speeds that are well above the category 5 threshold, hinting that the Saffir
Simpson scale might need to be extended to include higher categories in the early 21st century.”


How will hurricane rainfall change in the future?

Projections of future rainfall increases in tropical cyclones are also notable. Knutson’s study finds a global
rain rate increase of 14% by the end of the 21st century.


Emanuel’s 2017 study of Hurricane Harvey calculates that hurricane rains of 20 inches in Texas will evolve
from a once-in-100-year event at the end of the 20th century to a once-in-5.5-year occurrence by 2100. Given
that the vast majority of damage from storms like Hurricanes Harvey and Florence come from rainfall, these
findings raise concerns.


Will hurricanes intensify more rapidly in the future?

Rapid intensification is one of the least well-predicted tropical cyclone processes and also one of the most
dangerous, because storms that intensify quickly tend to catch people off guard. Rapid intensification is
another aspect of tropical cyclones characterized by broad agreement among researchers.



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Along with    Caseaspects
           various #25-1087      Document
                          of intensity,       #2105058
                                        the 2018 HiFLOR studyFiled: 03/10/2025
                                                              “signals that climate Page 300
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                                                                                           could allow TCs
[tropical cyclones] to rapidly intensify over a larger portion of the world’s oceans and increase TC
intensification rates dramatically.”


A 2017 paper by Kerry Emanuel finds that “the incidence of storms that intensify rapidly just before landfall
increases substantially as a result of global warming.” To illustrate just how large the changes are, Emanuel
quantifies them: “These results suggest that a storm that intensifies 70 mph in the 24 hours just before
landfall, occurring on average once per century in the climate of the late twentieth century, may occur every 5-
10 years by the end of this century.”


Is there a danger to people or property?

Given the expected boost in intense cyclones, society faces growing threats. With a combination of stronger
storms, sea-level rise, increased coastal populations, and infrastructure exposure, damages and disruptions
will continue to mount.


Since 1970, the global population exposed to tropical cyclone hazards has increased threefold a figure
expected to continue to increase over the next few decades. Tropical cyclone damages, adjusted for inflation,
are rising by approximately 6% per year since 1970.


The vast majority of deaths are caused by the most lethal storm systems, and in fact more than half of
tropical cyclone-related deaths in the U.S. since 1900 have been caused by just three storms. Although those
mortality numbers are decreasing because of better warnings and preparation, it is easy to see that a future
with more intense storms will cause more serious societal impacts.


Storm surge is one the deadliest aspects of landfalling tropical systems, responsible for nearly 50% of deaths
since 1963. Experts estimate that global sea-level will rise between a couple to a few feet by the end of the
century. In itself, even without stronger cyclones, sea-level rise will cause exponential damages and
exposures.


In a prophetic paper published just before Hurricane Sandy, four researchers warned that sea-level rise and
changes in storm climatology would increase the risk of disastrous floods in New York City. Specifically, they
calculated that a present-day 1-in-100-year flood will occur once every three to 20 years, and a 500-year flood
will happen once every 25-240 years by 2100.


A warmer climate will also bring some shifts in storm locations. For example, the authors of a 2014 paper
discovered that tropical systems increasingly are reaching maximum intensity farther north or south from the

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                                                                      the Atlantic basin, 301 prospect
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areas of the U.S. northeast coast and maritime Canada in greater danger of a stronger hurricane.


This recent paper also forecasts an elevated threat of land-falling tropical cyclones in Taiwan, the
Philippines, Hawaii, and the southeastern United States.


Using 21st-century climate model projections, a more recent study led by Mingfang Ting of Columbia
University concludes that human-caused warming may lead to a weakening of disruptive vertical wind shear
during active Atlantic hurricane cycles. Recall that “wind shear” refers to hostile environmental winds that act
as a barrier to storms, helping to weaken and sometimes steer storms away from land. If this research pans
out, wind shear will be less able to weaken future storms along the U.S. East Coast during periods of
heightened hurricane activity.


This weakening of wind shear is likely to result in more rapid intensification of storms as they near landfall.
On a massively populated coast with a heavily built environment, this combination will be dangerous and
destructive.


Assessing the risk from both wind and storm surge, the author of a 2017 paper concludes: “In combination,
climate change and coastal development will cause hurricane damage to increase faster than the U.S. economy
is expected to grow. In addition, we find that the number of people facing substantial expected damage will,
on average, increase more than eight-fold over the next 60 years.”


It’s clear from the research presented above that threats from tropical systems, and in particular from the most
intense cyclones, are increasing. This trend will continue for the foreseeable future. Although some of these
anticipated impacts are already baked into our warmer climate, the most serious escalations can still be
averted. The only remedy is a rapid decarbonization of our economy and a society that is better prepared for
threats coming our way.


Jeff Berardelli is a meteorologist and climate contributor to CBS News in New York City.


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Increased U.S. coastal hurricane risk under                                                                                           rights reserved;
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climate change                                                                                                                        American Association
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Samson M. Hagos1, Michael F. Wehner2, James P. Kossin3, Mingfang Ting4                                                                Works. Distributed
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Several pathways for how climate change may influence the U.S. coastal hurricane risk have been proposed, but                         Commons Attribution
the physical mechanisms and possible connections between various pathways remain unclear. Here, future pro-                           NonCommercial
jections of hurricane activity (1980–2100), downscaled from multiple climate models using a synthetic hurricane                       License 4.0 (CC BY-NC).
model, show an enhanced hurricane frequency for the Gulf and lower East coast regions. The increase in coastal
hurricane frequency is driven primarily by changes in steering flow, which can be attributed to the development
of an upper-level cyclonic circulation over the western Atlantic. The latter is part of the baroclinic stationary
Rossby waves forced mainly by increased diabatic heating in the eastern tropical Pacific, a robust signal
across the multimodel ensemble. Last, these heating changes also play a key role in decreasing wind shear
near the U.S. coast, further aggravating coastal hurricane risk enhanced by the physically connected steering
flow changes.




                                                                                                                                                                 Downloaded from https://www.science.org on March 04, 2025
INTRODUCTION                                                                         physical understanding, robust quantification of anthropogenic in-
Hurricanes rank among the leading causes of economic damages in                      fluence on near-coastal hurricane characteristics is difficult to
the United States annually (1–3) with wide-ranging societal impacts                  achieve on the basis of observations and dynamical models (15,
upon landfall (4, 5). It is thus of great socioeconomic and scientific               35). On average, only one to two hurricanes make landfall each
interest to understand how the risk associated with hurricanes will                  year over the continental United States (2), and such limited histor-
evolve in the future climate. As the planet continues to warm, global                ical records are not enough to derive meaningful estimates of how
hurricane risk is expected to rise (1, 6–11), because of increases in                the long-term risk posed by the hurricanes may respond to a chang-
storm maximum intensity (11–15), decreases in translation speed                      ing climate (35, 36). General circulation models (GCMs) are the
(11, 16–18), increasing near-center precipitation rate (19–21), and                  most straightforward approach to assessing the impact of climate
shifting tracks (22). However, examining changes in storm charac-                    change on hurricane risk as they directly simulate hurricane evolu-
teristics at global or basin scales can occasionally mask notable re-                tion based on physical laws. However, it is computationally expen-
gional shifts in climate model simulations, making it difficult to                   sive to generate a sufficient number of storms for hazard assessment
interpret hurricane risk locally. Therefore, besides exploring                       because high spatial resolutions are necessary to realistically simu-
changes in various aspects of hurricanes on the global scale, a                      late the distributions of storm tracks and intensities (15, 37, 38).
better understanding of how hurricane characteristics will evolve                        Consequently, statistical-dynamical downscaling methods ex-
on regional scales is particularly important for assessing future                    ploiting the dependence of hurricane climatology on the large-
losses resulting from landfalling storms. As indicated by a                          scale storm environment have been developed to generate large en-
number of studies, anticipated stalling of storms (16–18, 23), in-                   sembles of synthetic hurricane tracks (35, 36, 39). In this study, we
creasing hurricane intensification rates (24, 25), and slower dissipa-               use the Risk Analysis Framework for Tropical Cyclones (RAFT)
tion after landfall (26) could pose greater hazards to coastal                       (40), a hybrid modeling approach that combines physics, statistics,
communities in future (27). In addition, future growth in popula-                    and machine learning to produce a large number of synthetic hur-
tion and wealth along the U.S. Gulf and East coasts combined with                    ricanes, including tracks and along-track intensities (see Materials
rising sea levels (6, 15) could further exacerbate the risk associated               and Methods and text S1), to understand how the U.S. coastal hur-
with landfalling hurricanes (2).                                                     ricane risk may change with projected climate change. Subse-
    Despite this, the physical mechanisms responsible for how an-                    quently, we use a nonlinear stationary wave model (SWM) (41) to
thropogenic climate change will influence certain aspects of hurri-                  uncover the dynamical mechanisms that play a key role in the evolv-
canes in the nearshore region are not well understood. For instance,                 ing coastal hurricane risk.
climate models project a robust decrease in vertical wind shear near
the U.S. coast (24, 25, 28, 29), but the underlying physical rationales
have not been firmly established. Similarly, the relative importance                 RESULTS
of various processes leading to the slowdown of storms (16–18, 23)                   The coastal hurricane frequency (CHF) (42), estimated on the basis
and changes in hurricane landfall (30–34) remains unclear. Beyond                    of RAFT (40) and environmental fields from National Centers for
                                                                                     Environmental Prediction (NCEP) (43) and ECMWF Reanalysis v5
1
                                                                                     (ERA5) (44) (see Materials and Methods), is shown in Fig. 1A over
  Pacific Northwest National Laboratory, Richland, WA, USA. 2Lawrence Berkeley Na-   the historical period of 1979–2018. The CHF is defined as the
tional Laboratory, Berkeley, CA, USA. 3The Climate Service, an S&P Global Company,
Madison, WI, USA. 4Lamont-Doherty Earth Observatory, Columbia University, Pal-       number of 6-hour overland hurricane track locations per square
isades, NY, USA.                                                                     degree per year, where the storm intensity exceeds a threshold
*Corresponding author. Email: karthik.balaguru@pnnl.gov


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Fig. 1. Projected change in U.S. hurricane risk based on Risk Analysis Framework for Tropical Cyclones (RAFT). (A) Climatological coastal hurricane frequency
(CHF), defined as the number of 6-hour hurricane track locations per square degree per year, obtained when RAFT is used with reanalysis (1979–2018). All track locations
where the storm intensity exceeds 25 knots are used. (B) Climatological CHF obtained when RAFT is used with historical phase 6 of the Coupled Model Intercomparison
Project (CMIP6) simulations. Ensemble mean of eight models for the historical period 1980–2014 is shown. All track locations where the storm intensity exceeds 21.5 knots
are used to estimate CHF. (C) Change in CHF for the future period (2066–2100) with respect to the historical period (1980–2014) under the SSP585 emissions scenario. (D)
As in (C) but based only on the track model in RAFT. A 2-day cutoff is used to truncate tracks over land. (E) Change in CHF for the future period based on projected change
in translation speed. (F) Contribution of projected change in landfall to future change in CHF estimated as the difference between (D) and (E). In (C) to (F), black dots
indicate those locations where seven of the eight models agree on the sign of the change.




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(see Materials and Methods). The potential threat that hurricanes        distribution of genesis is held fixed for both the historical and future
pose to coastal communities can be assessed using the CHF                periods, in part due to the ambiguity associated with future projec-
because it considers the combined effects of hurricane frequency,        tions of Atlantic hurricane genesis (see text S1 for further details).
intensity, track patterns, and translation speeds. As revealed in        Nevertheless, an examination of CHF changes projected by high-
Fig. 1A, the Gulf Coast and the lower East Coast (south of 40°N)         resolution climate models points toward potential regional uncer-
have experienced higher hurricane risk than the upper East Coast         tainty associated with results based on RAFT that ignores genesis
(north of 40°N) from 1979 to 2018. Regions that have been partic-        changes, especially for the lower East Coast (see text S2). Despite
ularly vulnerable to hurricanes include the lower East Coast,            the limitations associated with the representation of genesis in
Florida, and the coasts of Texas and Louisiana (Fig. 1A). Further-       RAFT, the framework provides an effective means to isolate the
more, CHF simulated with the reanalysis datasets is in reasonable        role of steering flow in the evolving hurricane risk. The impact of
agreement with that obtained using the best-track data (fig. S1A)        changes in hurricane track pattern on CHF, obtained as the differ-
with a pattern correlation of about 0.7 (significant at the 99% con-     ence between Fig. 1D and Fig. 1E (see Materials and Methods), sug-
fidence level) and a mean absolute error of about 0.05, demonstrat-      gests that it plays the dominant role. More specifically, the dipole-
ing the ability of RAFT to quantitatively estimate the risk posed by     like spatial pattern of a broad increase in CHF over the Gulf and
hurricanes for the coastal regions. Next, environmental fields           lower East Coast regions, and a projected decrease in CHF near
derived from eight climate models belonging to phase 6 of the            the upper East Coast, can mainly be attributed to steering flow-
Coupled Model Intercomparison Project (CMIP6) (45) are used              induced changes in hurricane tracks. The map of changes in hurri-
with RAFT (see Materials and Methods). The spatial pattern of            cane strike probabilities along the coast (fig. S2) is consistent with
CHF obtained by applying RAFT to the historical CMIP6 simula-            this assessment.
tions, covering the period 1980–2014, shows broad agreement with             Because future changes in CHF projected by RAFT are mainly




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that generated using reanalysis (a pattern correlation of 0.85 that is   caused by shifts in tracks, we now explore how the environmental
significant at the 99% level and a mean absolute error of about 0.04)    steering flow and its associated large-scale winds will evolve as
as it presents higher CHF along the lower East Coast, over Florida       climate changes. Changes in the multimodel ensemble mean steer-
peninsula and near the Texas coast (Fig. 1B). However, some biases       ing flow (Fig. 2A) under the SSP585 scenario reveal that the steering
in the magnitude are visible. RAFT forced with the environmental         flow is projected to become more easterly near the East Coast and
fields from CMIP6 simulations tends to underestimate the CHF             more southeasterly in the Gulf of Mexico. Away from the East Coast,
over Florida peninsula, and the CHF near the upper East Coast is         the steering flow will become northeasterly over much of the North
somewhat overestimated during 1980–2014. Despite the discrepan-          Atlantic, especially north of 20°N. At the basin scale, the change in
cies, many aspects of the observed CHF (fig. S1A) are captured by        hurricane frequency projected by RAFT (fig. S1D) suggests a large
RAFT during the historical period when combined with the CMIP6           increase over the western Atlantic and a weak decrease over the
multimodel ensemble.                                                     eastern Atlantic. The increase over the western Atlantic occurs
    Now, we consider potential changes in CHF under “SSP585,” a          because of two reasons. First, the change in hurricane steering
future climate scenario in which the planet’s radiative forcing is ex-   flow shifts tracks westward and closer to the U.S. coast. Second,
pected to increase by about 8.5 Wm−2 at the end of the 21st century      the westward shift in tracks causes storms to go through a climato-
(46). Changes in CHF for the future period (2066–2100) with              logically more favorable environment in the western part of the
respect to the historical period (1980–2014) are positive over           basin. Consequently, there is a substantial enhancement of hurri-
much of the Gulf Coast and the lower East Coast (Fig. 1C), with          cane frequency over the western Atlantic that leads to an increase
the largest increases projected to occur over the northern Gulf          in CHF for the Gulf Coast and lower East Coast regions (Fig. 1C).
Coast and Florida peninsula. However, for the upper East Coast,              Also, these changes in steering flow tend to oppose the climato-
the CHF anomalies are weakly negative and largely insignificant.         logical steering flow pattern and will decrease the hurricane trans-
Because changes in the CHF include the joint effects of intensity        lation speed in the subtropical North Atlantic and over the
and steering flow, we next examine the changes in CHF based              continental United States (Fig. 2B). This is consistent with the in-
only on the track model within RAFT to isolate the role of steering      fluence of translation speed on CHF noted earlier (Fig. 1E). In
flow. The results based on the track model, assuming no change in        RAFT, the steering flow is defined as a weighted mean of winds at
hurricane intensity (Fig. 1D), suggest that the CHF will likely in-      200 and 850 hPa. Examining changes of winds at different levels
crease over much of the Gulf Coast, Florida peninsula, and the           separately shows that steering flow changes are dominated by the
lower East Coast and decrease near the upper East Coast and are          200-hPa anomalous easterlies and southeasterlies close to the U.S.
largely consistent with those based on the combined changes of in-       coast (Fig. 2C) and by those at 850 hPa away from the U.S. coast in
tensity and tracks (Fig. 1C). The similarity between Fig. 1C and         the North Atlantic (Fig. 2D). At 200 hPa, the development of a cy-
Fig. 1D indicates that differences in steering flow are the major        clonic circulation anomaly above the Gulf of Mexico (Fig. 2C) is
drivers for the overall change in CHF. Further decomposing the           visible, and the northern branch of the cyclone decelerates the west-
effects of steering flow (see Materials and Methods) reveals that        erlies north of 30°N and may cause a considerable slowdown of
the contribution from translation speed (Fig. 1E) is notable but         storms near the populated coastal regions (18, 16). Changes in
weakly positive for most coastal areas. The positive contribution        850-hPa winds are northeasterly north of 30°N, and northerly
of translation speed to CHF is due to a slowing down or stalling         between 20°N and 30°N (Fig. 2D). In addition, the intensifying east-
of storms over the US (Fig 2B), which is projected to occur under        erly trades over the Caribbean sea tend to accelerate storm motion
climate change by some studies (16–18). Besides translation speed,       over this area, consistent with previous studies (18). While these
landfall or a shift in tracks is the other important pathway through     results are based on winds at the 200- and 850-hPa levels, additional
which the steering flow affects CHF. Note that the spatiotemporal

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Fig. 2. Projected changes in the environmental steering flow under the SSP585 scenario. (A) Vector changes in steering flow. (B) Changes in translation speed
(shaded) with vectors of climatological steering flow from the historical period overlaid. Vector changes in winds at (C) upper level (200 hPa) and (D) lower level (850 hPa).
Note that the winds at the upper and lower levels are multiplied by 0.2 and 0.8, respectively, to reflect their relevance to the steering flow. Changes are based on the
ensemble mean of eight phase 6 of the Coupled Model Intercomparison Project (CMIP6) models. All parameters are averaged over the months of August to October.
“Change” indicates the difference between the mean over the future period (2066–2100) and the historical period (1980–2014). In (A), (C), and (D), blue arrows indicate
locations where changes in vector magnitude are statistically significant at the 95% level based on the Student’s t test. In (B), nonwhite shaded areas represent locations
where changes in translation speed are significant at the 95% level based on the Student’s t test.


analysis indicates that they are not sensitive to the exact definition of                circulation is assessed by the following sensitivity runs: CTRL +
steering flow used (fig. S3).                                                            ΔBS, CTRL + ΔDH, and CTRL + ΔTranF, respectively. In each ex-
    Diagnoses using RAFT delineate the dominant role of steering                         periment, only the future input of interest is used and all other
flow in driving the heightened U.S. coastal hurricane risk under a                       inputs are fixed at their historical values. See text S3 for a more de-
changing climate and motivate us to explore the following impor-                         tailed description of the model and its validation.
tant question: What are the underlying dynamical mechanisms re-                              As revealed by the ensemble mean of CMIP6 projections, the
sponsible for changes in the large-scale hurricane steering flow?                        tropospheric response to the increasing anthropogenic forcing is
Climatological steering flow is principally shaped by geographically                     characterized by a vertical phase reversal between 10°N and 40°N
fixed low-frequency circulation patterns, such as the subtropical                        (Fig. 3, A and B). At 850 hPa, a region of positive streamfunction
high (47), which are an integral part of the stationary waves.                           (ψ) anomaly with anticyclonic flow extends from the Caribbean Sea
These planetary-scale, zonally asymmetric circulation features are                       in the Atlantic to about 120°W in the eastern Pacific, and two anom-
relatively stable on the seasonal time scales and arise because of lon-                  alous lows are located over the subtropical central Pacific and the
gitudinal asymmetries in topography, diabatic heating, and synoptic                      eastern North Atlantic (Fig. 3A). The projected lower tropospheric
eddies (48, 49, 50). Also, they are influenced by the structure of the                   circulation pattern suggests a potential westward shift or expansion
background zonal-mean flow (51). Here, to better understand the                          of the North Atlantic subtropical high (52), which has been regard-
key physical driver in the CMIP6 models, we carry out seven ideal-                       ed to have important implications for the U.S. regional precipitation
ized sensitivity experiments with the SWM (table S1). The control                        in a warmer climate (53). Meanwhile, the strengthened upper-level
run (CTRL) computes deviations from a prescribed zonally sym-                            cyclonic circulation above the far-eastern North Pacific and the Gulf
metric mean state in response to the diabatic heating, transient                         of Mexico plays a decisive role in steering flow changes near the U.S.
eddies, and topography in the present (1980–2014) climate. Simu-                         coast, as noted earlier (Fig. 2A). When the SWM is subject to simul-
lations for the future period (2066–2100) are conducted by applying                      taneous changes in basic states, diabatic heating, and transient
the basic state and various asymmetric forcings projected by CMIP6                       eddies, the spatial pattern of the coupled model’s circulation re-
models under the SSP585 emissions scenario as perturbations to the                       sponse is qualitatively reproduced at both 850- and 200-hPa levels
CTRL. The relative contribution of the anomalous basic state, dia-                       (Fig. 3, C and D). The magnitude of ψ difference, however, is some-
batic heating, and transient forcing to the projected total change in                    what overestimated in the model, particularly for the anomalous


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Fig. 3. Changes in the large-scale wind patterns under the SSP585 scenario simulated by the stationary wave model (SWM). Projected changes in streamfunction
(shaded, 106 m2s−1) and winds (vector, ms−1) simulated by the ensemble mean of eight phase 6 of the Coupled Model Intercomparison Project (CMIP6) models at (A) 850
and (B) 200 hPa. In (A) and (B), white stippling denotes the areas where the changes in streamfunction are statistically significant at 95% level based on the Student’s t test.
(C) and (D) are same as (A) and (B), but for changes simulated by the SWM. All parameters are averaged over the months of August to October. Change indicates the
difference between the mean over the future period (2066–2100) and the historical period (1980–2014). EQ, equator.


high centered over the Central American region at 850                                     region, which extends over large swaths of the southern United
hPa (Fig. 3C).                                                                            States and into the Atlantic storm-track region. Also, it is worth
    Because the SWM reasonably reproduces the large-scale dynam-                          noting that the easterly trades in the lower troposphere (Fig. 4C),
ical response of CMIP6 models to anthropogenic forcing, it allows                         as well as the upper tropospheric westerly winds, intensify
us to further examine the effect of each forcing mechanism and un-                        (Fig. 4B) in response to variations of tropical heating (Fig. 4D)
derstand their relative importance. In particular, the primary goal is                    over the Caribbean Sea. Such flow differences help to explain why
to understand the physical drivers behind the anomalous 200-hPa                           several studies (25, 28, 56) found a secular increase of vertical wind
cyclonic circulation (Fig. 3B). The changing zonal-mean basic state                       shear over this region in different climate model projections. Fur-
partially contributes to the increased landfall probability (Fig. 1, D                    thermore, the baroclinic circulation response (Fig. 4, B and C)
and F) possibly through the enhanced easterlies over the subtropical                      excited by the diabatic cooling in the tropical North Atlantic and
northwestern Atlantic and the coastal regions of the Gulf of Mexico                       the positive heating anomalies over the tropical northeastern
(Fig. 4A). The weakening of westerly wind occurs over a broad lat-                        Pacific (Fig. 4D) is largely consistent with the Gill model’s solution
itude band between 0° and 30°N (Fig. 4A) and is consistent with the                       (57). Previously, it has been proposed that the formation of such a
poleward shift of the zonal-mean midlatitude jet in the Northern                          heat-induced stationary baroclinic Rossby wave is mainly reinforced
Hemisphere (fig. S4A), which has been robustly projected by                               by the anomalous diabatic cooling over the tropical North Atlantic
various climate models (18, 54, 55). According to the thermal-                            in the late 21st century (56). To test this hypothesis, two sensitivity
wind relationship, such jet response requires a broad warming ex-                         experiments (i.e., CTRL + ΔPacDH and CTRL + ΔAtlDH in table
pansion from the tropics to about 40°N (fig. S4A), and the adiabatic                      S1) are further carried out. However, our results draw a different
warming in the subtropical mid- and upper troposphere can be                              conclusion and suggest that the positive heating anomalies over
further traced back to the enhanced descending motion driven by                           the tropical Pacific sector (fig. S5A) play a dominant role in main-
transient eddies (54). On the other hand, the response to the anom-                       taining the anomalously extensive baroclinic circulation extending
alous transient momentum forcing is relatively weak in the SWM                            from eastern Africa to the northeastern Pacific (fig. S5, B and C),
(fig. S4B), and both changes in the zonal-mean basic state and tran-                      with the secondary contribution coming from the anomalous dia-
sient forcing are unable to explain the enhanced 200-hPa cyclonic                         batic cooling over the tropical North Atlantic (fig. S5, D to F). A
winds in a warmer climate (Fig. 3B).                                                      weaker baroclinic atmospheric response (fig. S5, E and F) is
    The strengthening of upper tropospheric cyclonic circulation                          found when the SWM is forced by regional diabatic cooling
with global warming is primarily caused by changes in diabatic                            shown in fig. S5D.
heating (Fig. 4B). Underneath the broad cyclonic circulation, a                               So far, we have seen how future changes in the large-scale winds
low-level anticyclonic anomaly forms over the Central American                            forced by heating changes in the tropics can affect U.S. hurricanes


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Fig. 4. Understanding changes in the large-scale wind patterns under the SSP585 scenario using the stationary wave model (SWM). (A) Contribution from the
anomalous zonal-mean basic state to changes in the streamfunction (shaded, 106 m2s−1) and winds (vector, ms−1) at 200 hPa. (B) Same as (A), but for the contribution
from the anomalous zonally asymmetric diabatic heating. (C) Same as (B), but at 850 hPa. (D) Projected changes in column-averaged pressure-weighted diabatic heating
(K day−1). Stippling indicates locations where the ensemble-mean changes are statistically significant at the 95% level. All parameters are averaged over the months of
August to October. Change indicates the difference between the mean over the future period (2066–2100) and the historical period (1980–2014). EQ, equator.


and landfall through their influence on steering flow. However, the                  30–34). However, considerable uncertainty remains regarding the
projected changes of winds at different levels can also affect the ver-              effect of steering flow changes with some studies favoring an in-
tical wind shear near the U.S. coast. The CMIP6 multimodel ensem-                    crease in U.S. hurricane landfall (34) and others projecting a pre-
ble suggests that wind shear will likely reduce near the East Coast of               dominant decrease (31, 33). A physical rationale for the projected
the United States and the northern Gulf of Mexico (Fig. 5A), in line                 changes in steering flow has not been established. In this study,
with several previous studies (24, 25, 28, 29). When the SWM is                      we address this using a suite of numerical simulations based on
forced by simultaneous changes in basic states, diabatic heating,                    RAFT and a SWM. With a large number of synthetic tracks simu-
and transient eddies, it broadly reproduces the spatial pattern of                   lated by RAFT which overcome the GCM hurricane sampling issue,
wind shear responses over the North Atlantic and the eastern                         our results indicate that future changes in steering flow will likely
Pacific (Fig. 5B). In particular, the SWM consistently shows a de-                   favor an increase in CHF, especially for the Gulf Coast and lower
crease in shear near the East and Gulf coastal regions (Fig. 5B).                    East Coast. Furthermore, changes in the steering flow are mainly
Further analysis reveals that changes in diabatic heating are primar-                driven by the projected strengthening of an upper tropospheric cy-
ily responsible for the shear reduction near the coast (Fig. 5C) with                clonic circulation above the Gulf of Mexico, which can be regarded
the secondary contribution coming from the changing basic state                      as a Gill-type response to the enhanced heating in the eastern trop-
(Fig. 5D). Thus, in addition to altering the steering flow, future                   ical Pacific and diabatic cooling over the tropical North Atlantic
changes in diabatic heating could lead to increases in hurricane in-                 (Fig. 6). Although simulations based on RAFT project an average
tensification (24, 25) and tropical cyclogenesis (34) near the U.S.                  increase in CHF of 37 ± 30% for the U.S. Gulf and Atlantic
coast through the influence on wind shear, highlighting the broad                    coasts, it must be noted that the use of a time-invariant genesis
implication of the mechanism identified in this study. Nevertheless,                 may introduce some uncertainties in these estimates. A qualitative
the projected decrease in translation speeds over the subtropical                    examination of results based on high-resolution climate models
North Atlantic (Fig. 2B) is mainly driven by changes in basic state                  suggests that changes in cyclogenesis may overwhelm the effects
(fig. S6), which can be likely linked to the poleward shift of the mid-              of steering flow changes in certain regions (text S2). Therefore,
latitude westerlies (18).                                                            studies that address the ambiguity associated with a shift in
                                                                                     genesis are needed to further reduce the uncertainty in our projec-
                                                                                     tions of future hurricane risk.
DISCUSSION                                                                               In this study, we have also demonstrated the sensitivity of pro-
Several studies examined shifts in hurricane tracks, at global and re-               jected large-scale winds to tropical heating, or precipitation
gional scales, in observations and future climate projections (18, 22,               changes, which are largely governed by the spatial pattern of


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Fig. 5. Understanding changes in vertical wind shear under the SSP585 scenario. (A) Projected changes in wind shear (ms−1) by the ensemble mean of eight phase 6
of the Coupled Model Intercomparison Project (CMIP6) models. White stippling denotes the regions where the changes in wind shear are statistically significant at the
95% level. VWS, vertical wind shear. (B) is same as (A), but for changes simulated by the SWM. (C) Contribution from the anomalous diabatic heating to changes in shear.
(D) Same as (C), but for contribution from the anomalous zonal-mean basic state. EQ, equator.


future sea surface temperature (SST) warming (58–60). The physical                   MATERIALS AND METHODS
framework of relative SST warming is mainly built upon thermody-                     Data
namic considerations. In the tropics, upper tropospheric warming is                  Hurricane track data are obtained from the National Hurricane
nearly uniform and approximately follows tropical-mean SST                           Center’s HURDAT2 database and used to compute the CHF.
warming (58) because temperature gradients are quickly adjusted                      Data for the large-scale hurricane environment are obtained from
by equatorial waves (61, 62). In contrast, the moist static energy                   NCEP reanalysis (43) and ERA5 reanalysis (44) and used with
in the boundary layer is strongly modulated by the local SST (63).                   RAFT to produce synthetic hurricane tracks for the historical
Enhanced local SST warming therefore leads to a regional destabi-                    period (40). First, monthly mean winds at a spatial resolution of
lization of the atmosphere and favors the occurrence of convective                   2.5° from NCEP reanalysis are used to generate hurricane steering
precipitation, enhancing diabatic heating. Correlation analysis indi-                flow and vertical wind shear. Next, to generate intensity along
cates that the intermodel uncertainty of projected heating trends                    tracks, potential intensity and other thermodynamic parameters
over the tropical Pacific and the Maritime continent is strongly con-                that play a key role in hurricane intensification are estimated on
strained by the response of the equatorial Pacific zonal SST gradient                the basis of ERA5 reanalysis, which has a spatial resolution of
to climate change (fig. S7B), suggesting the need to reduce the dif-                 about 0.3°. This is, in part, due to the smaller spatial scales of ther-
ferences in SST projection (fig. S7A). Some studies suggested a shift                modynamic parameters like SST and relative humidity compared to
toward a more El Niño–like mean state under global warming (58).                     dynamical wind fields. The results show that RAFT can well repre-
While CMIP5 models show large uncertainty in such SST warming                        sent the salient features of Atlantic hurricanes, including the spatial
patterns, a strong consensus has emerged in the CMIP6 multimodel                     distribution of tracks and lifetime maximum intensities (40).
ensemble regarding the El Niño–like warming pattern under                               Similarly, data for the large-scale environment are obtained from
climate change (64), but the differences between the CMIP5 and                       eight fully coupled climate models belonging to CMIP6 (45): Cana-
CMIP6 SST warming patterns are not well understood. Important                        dian Earth System Model (CanESM5), Euro-Mediterranean Centre
sources contributing to the uncertainty of future SST warming                        on Climate Change–coupled climate model (CMCC-CM2-SR5),
pattern include large-scale ocean dynamics (65, 66), cloud-radiation                 EC-Earth Consortium Model (EC-Earth3), Geophysical Fluid Dy-
feedback (67), wind-evaporation SST feedback (68), and internal                      namics Laboratory Climate Model (GFDLCM4), Institute Pierre
variability associated with the Interdecadal Pacific Oscillation                     Simon Laplace Climate Model (IPSL-CM6A-LR), Model for Inter-
(64). A better representation of these physical processes in the                     disciplinary Research on Climate (MIROC6), Max Planck Institute
climate models and improved observations that can be used to                         Earth System Model (MPI-ESM1-2-LR), and Meteorological Re-
further constrain the parameterized model physics are expected to                    search Institute Earth System Model (MRI-ESM2-0). The choice
increase our confidence in future projections of large-scale circula-                of these eight models is based on the availability of data for both
tion (68). Last, large ensemble simulations also help to better quan-                the “historical” period and the “future” period under the SSP585
tify the projected uncertainty associated with internal climate                      emissions scenario (46). A sensitivity analysis has been conducted
variability.                                                                         by computing trends in steering flow and diabatic heating using the


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Fig. 6. Schematic illustration of the main mechanisms of coastal hurricane frequency (CHF) changes identified in this study. As the climate warms, an increase in
CHF for the U.S. Gulf and lower East coasts is projected to occur and is driven primarily by changes in steering flow. The strengthening upper tropospheric cyclonic




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circulation above the western Atlantic plays a pivotal role in the steering flow changes. Also, the contrasting upper- and lower-level circulation anomalies reduce the
vertical wind shear near the U.S. coastal regions. These changes in circulation can be regarded as a response to the projected increases in diabatic heating and warmer sea
surface temperature (SST) over the eastern tropical Pacific, which is a robust signal across the phase 6 of the Coupled Model Intercomparison Project (CMIP6) multimodel
ensemble.


SSP585 simulations only and by considering more than 40 CMIP6                          Stationary wave model
models. The results obtained suggest that these eight models are                       To understand the causes behind the projected changes in steering
broadly representative of the CMIP6 multimodel ensemble. Last,                         flow, we use a nonlinear SWM (41). Using the SWM, we performed
hurricane tracks from a suite of high-resolution climate model sim-                    a set of numerical sensitivity experiments to explore the mecha-
ulations (69) belonging to High Resolution Model Intercomparison                       nisms responsible for the changes in the large-scale winds and
Project (HighResMIP) (70) are used to generate projections of CHF                      hence the steering flow. The SWM takes the basic state (which in-
and compare with RAFT (text S2).                                                       cludes zonal-mean horizontal winds, air temperature, and surface
                                                                                       pressure), diabatic heating, transient fluxes, and orography as
Synthetic hurricane model                                                              inputs to generate the quasi–steady-state large-scale dynamical
The RAFT (40) is a hybrid modeling approach that can generate                          fields. For further details regarding the SWM, its validation, and
large ensembles of hurricanes with realistic spatial track patterns                    the various experiments performed, see text S3 and table S1.
and distributions of intensity. Genesis locations are randomly
sampled from a Gaussian spatiotemporal probability distribution                        Calculations
based on historical observations (35). Tracks are then generated                       The CHF is estimated as the number of 6-hour overland hurricane
using a “beta-advection” method where a weighted average of                            track locations per square degree per year. All storm locations where
winds in the upper (200 hPa) and lower (850 hPa) troposphere                           the intensity exceeds a threshold are considered in this calculation.
are used to guide the forward motion of storms. Subsequently, a                        In the track model of RAFT, we use a 2-day cutoff to truncate tracks
deep neural network–based approach is used in RAFT to generate                         over land. Furthermore, at the end of the 2-day period following
intensity along tracks (40). Eleven environmental predictors that                      landfall, storms reach an intensity of about 25 knots on average in
play a key role in hurricane intensification (71, 40) are estimated                    observations (72). On the basis of the method of quantile mapping
from reanalysis and climate models and used with the intensity                         (73), a 25-knot threshold in observations translates to 21.5 knots
component of RAFT to produce hurricane intensity along tracks:                         when RAFT is used with CMIP6 models. Thus, to ensure consisten-
current intensity, intensity change in the previous 6 hours, vertical                  cy between CHF estimates based on the track model, and those
wind shear estimated between 200 and 850 hPa, zonal wind at 200                        based on including the intensity model along with the track
hPa, maximum potential intensity, latitude, longitude, equivalent                      model, we use a threshold of 25 knots for RAFT when used with
potential temperature at 1000 hPa, relative humidity averaged                          reanalysis and a threshold of 21.5 knots when RAFT is used with
between 700- and 850-hPa levels, zonal component of storm                              CMIP6 models. However, note that our main conclusions are not
motion, and distance to the nearest major landmass. While an over-                     very sensitive to the threshold and similar results are obtained
view of RAFT has been documented previously (40), see text S1 for a                    using a 1-day cutoff.
detailed discussion of how RAFT is combined with CMIP6 models                              Changes in steering flow cause changes in CHF primarily
to project hurricane activity into the future.                                         through translation speed and landfall, especially in the region
                                                                                       close to the coast. To separate the contribution of changes in
                                                                                       storm translation speed and landfall to the total CHF change,


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    6484 (2021).                                                                                           on Coupled Modeling, which is responsible for CMIP5 and CMIP6, and thank the climate
                                                                                                           modeling groups for producing and making available the model output. Funding: This
                                                                                                           research was supported by the U.S. Department of Energy (DOE) Office of Science Biological



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and Environmental Research as part of the Regional and Global Model Analysis (RGMA)                  interests. Data and materials availability: All data needed to evaluate the conclusions in the
program area through the Water Cycle and Climate Extremes Modeling (WACCEM) project and              paper are present in the paper and/or the Supplementary Materials. Hurricane track data from
as part of the RGMA and MultiSector Dynamics (MSD) program areas through the collaborative,          RAFT analyzed and presented in this study are available at https://zenodo.org/record/
multiprogram Integrated Coastal Modeling (ICoM) project. The research used computational             7465149#.Y6JQJ-zMJeV. SWM simulations used in this study are available at https://zenodo.org/
resources from the National Energy Research Scientific Computing Center (NERSC), a U.S. DOE          record/7459326#.Y6DhAuzMJeV%7D. The sources for other publicly available data used in this
User Facility supported by the Office of Science under contract DE-AC02-05CH11231. The Pacific       study are as follows: Best track data (www.nhc.noaa.gov/data/#hurdat), ERA5 reanalysis data
Northwest National Laboratory is operated for U.S. DOE by Battelle Memorial Institute under          (www.ecmwf.int/en/forecasts/datasets/reanalysis-datasets/era5), NCEP/NCAR reanalysis data
contract DE-AC05-76RL01830. For CMIP5 and CMIP6, the U.S. DOE’s Program for Climate Model            (https://psl.noaa.gov/data/gridded/data.ncep.reanalysis.html), CMIP6 data for the historical
Diagnostics and Intercomparison provides coordinating support and led the development of             and future periods (https://esgf-node.llnl.gov/projects/cmip6/), and HighResMIP hurricane
software infrastructure in partnership with the Global Organization for Earth System Science         track data (https://catalogue.ceda.ac.uk/uuid/438268b75fed4f27988dc02f8a1d756d).
Portals. Author contributions: K.B. developed the main idea and methodology with inputs
from W.X., C.-C.C., L.R.L., D.R.J., and S.M.H. W.X. performed simulations with RAFT. C.-C.C.         Submitted 23 September 2022
conducted the SWM experiments. K.B., C.-C.C., W.X., and L.R.L. wrote the paper and performed         Accepted 6 March 2023
analysis. D.R.J., S.M.H., M.F.W., J.P.K., and M.T. provided feedback and helped in the preparation   Published 7 April 2023
of the manuscript. Competing interests: The authors declare that they have no competing              10.1126/sciadv.adf0259




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  From:            Kautz, Lance
  To:              Grave de Peralta, Diego
  Cc:              Sardinas, Evelyn; D"Abreu, Gordon
  Subject:         FW: Riverview 5-Day Follow Up Report
  Date:            Wednesday, October 16, 2024 7:56:28 AM
  Attachments:     image001.png
                   image002.png




  From: Ford, Dara <Dara.Ford@mosaicco.com>
  Sent: Tuesday, October 15, 2024 5:53 PM
  To: Kautz, Lance <Lance.Kautz@FloridaDEP.gov>
  Cc: Provenzano, Santino <Santino.Provenzano@mosaicco.com>; Figueroa, Veronica
  <Veronica.Figueroa@mosaicco.com>; Coates, John <John.Coates@FloridaDEP.gov>; Knoll, Matthew
  <Matthew.Knoll@dep.state.fl.us>; Koplin, Ben <Ben.Koplin@mosaicco.com>
  Subject: Riverview 5-Day Follow Up Report


                                          EXTERNAL MESSAGE
   This email originated outside of DEP. Please use caution when opening attachments, clicking links,
                                       or responding to this email.
  Mr. Kautz,

  This correspondence serves as the 5 day follow up to Mosaic’s verbal notification provided to the Department on
  Thursday, October 10th at approximately 11:00 AM.

  At 10:30 am on October 10, 2024, Mosaic personnel discovered that two collection manways associated with the
  Closed West Phosphogypsum Stack seepage collection system were damaged during Hurricane Milton. The
  damaged manways allowed the commingling of water from the seepage collection system with large volumes of
  rainfall associated with the heavy rainbands encountered during the passage of the core of the storm - rainfall
  amounts estimated to be in excess of 12 inches. The commingled seepage water and rainfall, sampled after the
  storm and found to have a pH of 5.3 SU, overtopped an adjacent roadway and discharged into Hillsborough Bay.
  A sample collected in Hillsborough Bay in the vicinity of the location of the sheet flow over the roadway was 7.49
  SU.

  Mosaic stopped the discharge at approximately 2:00 pm on October 10, 2024, and after installing a coffer dam
  and pump system, began diverting the commingled water back to the facility process water system. The State
  Watch Office (#2024-9043) was notified. After initial reporting, based on observations in the field, the final
  discharge volume has been estimated at approximately 39,600 gallons of seepage water commingled with an
  unquantifiable volume of rainwater. The NRC was also contacted, however Mosaic was informed that only the
  State Watch Office required notification.

  As reported to the agencies, and supported by the field readings collected in the adjacent receiving waters in
  Hillsborough Bay, there was no visual evidence of impact observed and no injuries due to this discharge.

  Please contact me if you have any questions. Below is a copy of the pollution notice for your reference.

  Dara Ford

                 Dara Ford | Sr. Environmental Advisor
                 Mosaic Fertilizer, LLC | 13830 Circa Crossing Drive | Lithia, Florida 33547
                 C: 863.860.0989 | F: 863.844.5451 | E: dara.ford@mosaicco.com | W: www.mosaicco.com




                                               APPX ATT_V5_2306
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  From: no-reply@dep.state.fl.us <no-reply@dep.state.fl.us>
  Sent: Thursday, October 10, 2024 8:34 PM
  To: Ford, Dara - New Wales <Dara.Ford@mosaicco.com>
  Subject: Public Notice of Pollution - Initial Notice Received

  CAUTION-EXTERNAL EMAIL: Do not click links or attachments unless you know the content
  is safe. If unsure, click the Phish Alert button or contact the Global Service Desk.


                                         FLORIDA DEPARTMENT OF                               Ron DeSantis
                                                                                                  Governor
                                        Environmental Protection
                                                                                          Jeanette Nuñez
                                           Marjory Stoneman Douglas Building                  Lt. Governor
                                            3900 Commonwealth Boulevard
                                            Tallahassee, Florida 32399-3000               Shawn Hamilton
                                                                                                 Secretary


                                                   Pollution Notice


    Pursuant to Section 403.077, F.S., the Department of Environmental Protection has received the
    following Public Notice of Pollution for a reportable release. All information displayed was submitted
    by the reporting party.

    Type of Notice: Initial Report
    Date of Notice: 10/10/2024

    Incident Information
    Name of Incident: Riverview Impacted Stormwater Release
    State Watch Office Case Number:
    Start of Incident: 10/10/2024 02:00 AM
    End of Incident: 10/10/2024 02:00 PM

    Incident Description
    An indeterminate volume of impacted stormwater released offsite in connection with Hurricane Milton.

    Incident Location
    Facility/Installation Name: Mosaic Fertilizer LLC - Riverview Facility
    Address Line 1: 8813 US Hwy 41 South
    Address Line 2:
    Directions:
    City: Riverview
    State: FL
    Zip Code: 33578
    Coordinates (in decimal degrees):
    Lat: 27.868, Long: -82.401
    Click to view Incident Location
    Impacted Counties: Hillsborough
    Updated Impact:

    Incident Reported By
    Name: Dara Ford


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   Title: Sr. Environmental Advisor
   Phone: (863) 860-0989
   Ext:
   E-mail Address: dara.ford@mosaicco.com
   Relationship: Sr. Environmental Advisor

   On-Site Contact
   Name: Jackie Barron
   Phone: (941) 322-6811
   Ext:
   E-mail Address: jackie.barron@mosaicco.com

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   Florida Department of Environmental Protection
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